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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

         --------------------------------------------------------- x
                                                                   :
         In re:                                                    : Chapter 11
                                                                   :
         VIRGIN ORBIT HOLDINGS, INC., et al., 1 : Case No. 23-10405 (KBO)
                                                                   :
                             Debtors.                              : (Jointly Administered)
                                                                   :
         --------------------------------------------------------- x


                                 SCHEDULES OF ASSETS AND LIABILITIES FOR
                                    VIRGIN ORBIT, LLC (CASE NO. 23-10408)




         1
             The Debtors in these cases, along with the last four digits of each debtor’s federal tax identification number,
             are: Virgin Orbit Holdings, Inc. (6914); Virgin Orbit National Systems, LLC (3801) (“VO-NS”); Vieco USA,
             Inc. (0492); Virgin Orbit, LLC (9648); and JACM Holdings, Inc. (1445). The Debtors’ address, other than Debtor
             VO-NS, is 4022 East Conant Street, Long Beach, CA 90808. Debtor VO-NS’s address is 1960 E. Grand Avenue,
             El Segundo, CA 90245.
30300967.1
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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

         --------------------------------------------------------- x
                                                                   :
         In re:                                                    : Chapter 11
                                                                   :
         VIRGIN ORBIT HOLDINGS, INC., et al., 1 : Case No. 23-10405 (KBO)
                                                                   :
                             Debtors.                              : (Jointly Administered)
                                                                   :
         --------------------------------------------------------- x

               GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
                        AND DISCLAIMER REGARDING THE DEBTORS’
                          SCHEDULES OF ASSETS AND LIABILITIES

                 The above-captioned debtors and debtors in possession (each, a “Debtor,” and collectively,
         the “Debtors”) are filing their Schedules of Assets and Liabilities (collectively, the “Schedules”)
         in the United States Bankruptcy Court for the District of Delaware (the “Court”). The Debtors,
         with the assistance of their professional advisors, prepared the Schedules in accordance with
         section 521 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy
         Code”), and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                These Global Notes and Statement of Limitations, Methodology, and Disclaimer
         Regarding the Schedules and Statements (the “Global Notes”) pertain to the Schedules. These
         Global Notes should be referred to as part of, and reviewed in connection with, the Schedules. 2

                 The Schedules have been prepared based on information provided by the Debtors’
         management and other employees, including the Debtors’ Chief Financial Officer, and the
         Debtors’ professional advisors. The Schedules are unaudited and subject to potential adjustment.
         In preparing the Schedules, the Debtors relied on financial data derived from their books and
         records that was available at the time of preparation. The Debtors have used commercially
         reasonable efforts to ensure the accuracy and completeness of such information and data; however,
         subsequent information, data, or discovery may result in material changes to the Schedules and
         inadvertent errors, omissions, or inaccuracies may exist. The Debtors and their estates reserve all
         rights to amend or supplement the Schedules as may be necessary and appropriate.


         1
             The Debtors in these cases, along with the last four digits of each debtor’s federal tax identification number,
             are: Virgin Orbit Holdings, Inc. (6914); Virgin Orbit National Systems, LLC (3801) (“VO-NS”); Vieco
             USA, Inc. (0492); Virgin Orbit, LLC (9648); and JACM Holdings, Inc. (1445). The Debtors’ address, other
             than Debtor VO-NS, is 4022 East Conant Street, Long Beach, CA 90808. Debtor VO-NS’s address is 1960
             E. Grand Avenue, El Segundo, CA 90245.
         2
             These Global Notes are in addition to any specific notes that may be contained in the Schedules. The
             fact that the Debtors have prepared a general note herein with respect to any of the Schedules and not to
             others should not be interpreted as a decision by the Debtors to exclude the applicability of such general
             note to the Debtors’ remaining Schedules, as appropriate.
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         Reservation of Rights. Nothing contained in the Schedules or these Global Notes shall constitute
         a waiver of any rights of the Debtors and their estates or an admission with respect to the Debtors’
         chapter 11 cases, including, but not limited to, any issues involving objections to claims, setoff or
         recoupment, equitable subordination or recharacterization of debt, defenses, characterization or re-
         characterization of contracts, leases and claims, assumption or rejection of contracts and leases
         and/or causes of action arising under the Bankruptcy Code or any other applicable laws.

         Description of the Cases and “As of” Information Date. On April 4, 2023 (the “Petition
         Date”), each of the Debtors filed voluntary petitions for relief with the Court under chapter 11 of
         the Bankruptcy Code. Pursuant to sections 1107(a) and 1108 of the Bankruptcy Code, the Debtors
         are continuing to manage their financial affairs as debtors in possession. Unless otherwise
         indicated herein or in the Schedules, all financial information for the Debtors in the Schedules and
         these Global Notes is provided as of the Petition Date or as close to the Petition Date as reasonably
         practicable under the circumstances.

         Basis of Presentation. The Schedules do not purport to represent financial statements prepared
         in accordance with Generally Accepted Accounting Principles (“GAAP”), nor are they intended
         to fully reconcile to any financial statements prepared by the Debtors.

         In addition, the Debtors historically prepared consolidated unaudited quarterly and consolidated
         audited annual financial statements, which include all of the Debtors, as well as affiliated non-
         Debtor entities. Unlike the consolidated financial statements, the Schedules generally reflect the
         assets and liabilities of each Debtor on a non-consolidated basis. Accordingly, the amounts listed
         in the Schedules will likely differ, at times materially, from the consolidated financial reports
         prepared historically by the Debtors.

         Recharacterization. Notwithstanding the Debtors’ commercially reasonable efforts to properly
         characterize, classify, categorize, or designate certain claims, assets, executory contracts,
         unexpired leases, and other items reported in the Schedules, the Debtors may nevertheless seek to
         recharacterize, reclassify, recategorize, redesignate, add, or delete items included in the Schedules,
         and the Debtors and their estates reserve all rights in this regard.

         Accounts Payable and Disbursement Systems. The Debtors maintain a cash management
         system (the “Cash Management System”) to collect and disburse funds in the ordinary course of
         business. A more complete description of the Cash Management System is set forth in the Motion
         of Debtors for Entry of Interim and Final Orders (A) Authorizing Debtors to (I) Continue
         Operating Existing Cash Management System, (II) Honor Certain Prepetition Obligations Related
         Thereto, (III) Maintain Existing Business Forms, and (IV) Continue to Perform Intercompany
         Transactions, (B) Waiving Certain Requirements Under Section 345 of the Bankruptcy Code and
         the U.S. Trustee Guidelines, and (C) Granting Related Relief [Docket No. 9] filed on April 4, 2023
         (the “Cash Management Motion”).

         Insiders. Persons listed as “insiders” have been included for informational purposes only, and
         such listing is not intended to be, nor should it be construed as, a legal characterization of such
         person as an insider, nor does it serve as an admission of any fact, claim, right or defense, and all
         such claims, rights, and defenses with respect thereto are hereby expressly reserved. Further, the
         Debtors and their estates do not take any position with respect to: (a) any such person’s influence

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         over the control of the Debtors; (b) the management responsibilities or functions of any such
         individual; (c) the decision-making or corporate authority of any such individual; or (d) whether
         any such individual could successfully argue that he or she is not an “insider” under applicable
         law, including, without limitation, the federal securities laws, or with respect to any theories of
         liability or for any other purpose.

         Summary of Significant Reporting Policies. The following is a summary of certain significant
         reporting policies:

                       a.       Current Market Value – Net Book Value. It would be prohibitively
         expensive, unduly burdensome, and an inefficient use of estate resources for the Debtors to obtain
         current market valuations for all estate assets. Accordingly, unless otherwise indicated herein or
         in the Schedules, the Schedules reflect the net book values, rather than current market values, of
         the Debtors’ assets as of the Petition Date (unless another date is indicated herein or in the
         Schedules), and may not reflect the net realizable value.

                        b.       First Day Orders. Pursuant to various “first day” orders and any
         supplements or amendments to such orders entered by the Bankruptcy Court [Docket Nos. 59–68]
         (each, a “First Day Order,” and collectively, the “First Day Orders”), the Debtor and its estate
         are authorized to pay certain prepetition claims, including, without limitation, certain claims
         relating to employee wages and benefits, claims for taxes and fees, claims of vendors and shippers,
         and claims related to insurance programs. The Debtor has not included certain claims of this nature
         in the Schedules to the extent that such claims have been paid or will be paid under the First Day
         Orders.

                         c.      Setoffs. To the extent the Debtors have incurred or effectuated any ordinary
         course setoffs with third parties (including, without limitation, customers and vendors) prior to the
         Petition Date, or are subject to the occurrence of, or maintain the right to effectuate, ordinary
         course setoffs on account of activities occurring prior to the Petition Date, claims of creditors listed
         may not reflect all such setoffs. The Debtors and their estates reserve all rights with respect to any
         such setoffs.

                         d.       Credits and Adjustments. Claims of creditors are listed in the amounts
         entered on the Debtors’ books and records, and may not reflect all credits, allowances, or other
         adjustments due from such creditors to the Debtors. The Debtors and their estates reserve all rights
         with regard to any such credits, allowances and other adjustments, including, without limitation,
         the right to assert claims, objections, setoffs and recoupments with respect to the same.

                         e.       Leases. In the ordinary course of business, the Debtors may lease certain
         equipment or non-residential real property from certain third-party lessors for use in the ordinary
         course of their business. Nothing in the Schedules is, or shall be construed as, an admission as to
         the determination of the legal status of any lease (including, without limitation, whether any lease
         is a true lease or a financing arrangement, and whether such lease is unexpired), and the Debtors
         and their estates reserve all rights with respect to such issues.

                         f.    Executory Contracts and Unexpired Leases. The Debtors have not set
         forth executory contracts and unexpired leases as assets in the Schedules, even though these
         contracts and leases may have some value to the Debtors’ estates. Rather, executory contracts and

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         unexpired leases have been set forth solely on Schedule G. The Debtors’ rejection of executory
         contracts and unexpired leases may result in the assertion of rejection damages claims against the
         Debtors and their estates; however, the Schedules do not reflect any claims for rejection damages.
         The Debtors and their estates reserve all rights with respect to the assertion of any such claims.

                         g.      Unknown or Undetermined Amounts. Where a description of an amount
         is left blank or listed as “unknown” or “undetermined,” such response is not intended to reflect
         upon the materiality of such amount.

                          h.      Liabilities. The Debtors have sought to allocate liabilities between the
         prepetition and postpetition periods based on the information available at the time of filing the
         Schedules. If additional information becomes available or further research is conducted, the
         allocation of liabilities between the prepetition and postpetition periods may change. Accordingly,
         the Debtors and their estates reserve all rights to amend, supplement, or otherwise modify the
         Schedules as is necessary or appropriate.

                          i.     Estimates. The Debtors were required to make certain estimates and
         assumptions that affect the reported amounts of assets and liabilities and reported revenue and
         expenses. The Debtors and their estates reserve all rights to amend the reported amounts of assets,
         liabilities, revenue, and expenses to reflect changes in those estimates and assumptions.

                          j.    Classifications. Listing a claim (a) on Schedule D as “secured;” (b) on
         Schedule E/F as “unsecured priority,” or “unsecured non-priority;” or (c) listing a contract or lease
         on Schedule G as “executory” or “unexpired,” does not constitute an admission by the Debtors
         and their estates of the legal rights of any claimant, or a waiver of the rights of the Debtors and
         their estates to amend these Schedules to recharacterize or reclassify any claim or contract.

                         k.      Claims Description. The Debtors and their estates reserve all rights to
         dispute, and to assert any offsets or defenses to, any claim reflected on the applicable Schedule on
         any grounds, including, without limitation, amount, liability, validity, priority or classification,
         and to subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.”

                         l.     Guaranties and Other Secondary Liability Claims. Guaranties and other
         secondary liability claims (collectively, the “Guaranties”) with respect to the Debtors’ contracts
         and leases may not be included on Schedule H. Therefore, the Debtors and their estates reserve
         all rights to amend the Schedules to the extent additional Guaranties are identified.




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                                            NOTES FOR SCHEDULES

         Schedule A/B – Assets – Real and Personal Property. As set forth above, the Debtors and their
         estates are authorized to pay certain prepetition claims pursuant to the First Day Orders. In
         addition, the assets listed in Schedule A/B are recorded as of February 28, 2023.

         Part 1. The Debtors have excluded bank accounts with no balance. In addition, as described in
         the Cash Management Motion, a portion of two of the Debtors’ operating accounts (1205-VO-US
         and 1919-VO-NS) are restricted and serve as collateral for the Debtors’ corporate credit card
         program. Specifically, such accounts hold restricted cash in the amounts of approximately
         $157,500 and $78,750, respectively. The cash balances listed in the Schedules are recorded as of
         the Petition Date. Certain of the cash balances listed in the Schedules may differ from the cash
         balances listed in the Cash Management Motion due to certain de minimis payments made by the
         Debtors prior to filing the Cash Management Motion.

         Part 5. As set forth above, all inventory values identified in Schedule A/B, Part 5 are listed as net
         book value unless otherwise stated.

         Part 7. The Debtors’ books and records do not differentiate between office furniture and office
         fixtures. Accordingly, the Debtors have listed all office furniture and fixtures in the aggregate in
         their response to question 39.

         Part 11, Item 72. Debtor Virgin Orbit Holdings, Inc. is the parent of a consolidated tax group that
         comprises all of the Debtors. Accordingly, the Debtors file Federal and state tax returns on a
         consolidated or combined basis. The Debtors maintain certain deferred tax assets from
         consolidated or combined tax filings, which are listed under Schedule A/B, Part 11, Item 72 for
         Vieco USA, Inc. The Debtors reserve all rights to assert that the deferred tax assets are property
         of a different Debtor.

         Part 11, Item 74. Despite their commercially reasonable efforts to identify all known assets, the
         Debtors may not have listed certain causes of action or potential causes of action against third
         parties as assets in Schedule A/B, Part 11, Item 74, including, but not limited to, causes of action
         arising under the Bankruptcy Code or any other applicable laws (including, but not limited to,
         intellectual property laws). The Debtors and their estates reserve all rights with respect to any
         claims and causes of action that they may have, and neither these Global Notes nor the Schedules
         and Statements shall be deemed a waiver of any such claims and causes of actions, or in any way
         waive, prejudice, impair, or otherwise affect the assertion of such claims and causes of action.

         Part 11, Item 77.1. Intercompany transactions by and among the Debtors are presented on a net
         balance basis as of February 28, 2023.

         Schedule D – Creditors Who Have Claims Secured by Property. Except as otherwise agreed
         pursuant to a stipulation, agreed order, or other order entered by the Court that is or becomes final,
         the Debtors and their estates reserve all rights to dispute or challenge the validity, perfection, or
         immunity from avoidance of any lien purported to be granted or perfected in any specific asset to
         a creditor listed on Schedule D of any of the Debtors. Moreover, although the Debtors may have
         scheduled claims of various creditors as secured claims for informational purposes, no current

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         valuation of the Debtors’ assets in which such creditors may have a lien has been undertaken.
         Except as otherwise agreed pursuant to a stipulation, agreed order, or other order entered by the
         Court that is or becomes final, the Debtors and their estates reserve all rights to dispute or challenge
         the secured nature of any such claim or the characterization of the structure of any transaction,
         document, or instrument related to any such claim. The descriptions provided in Schedule D are
         intended only to be a summary. Reference to the applicable loan agreements and related
         documents is necessary for a complete description of the collateral and the nature, extent and
         priority of any liens. Nothing in these Global Notes or the Schedules and Statements shall be
         deemed a modification or interpretation of the terms of such agreements.

         In certain instances, a Debtor may be a co-obligor with respect to scheduled claims of other
         Debtors. No claim set forth on the Schedule D of any Debtor is intended to acknowledge claims
         of creditors that are or may be otherwise satisfied or discharged.

         The Debtors have not included on Schedule D all parties that may believe their claims are secured
         through setoff rights, deposits posted by, or on behalf of, the Debtors, inchoate statutory lien rights,
         or real property lessors, utility companies and other parties which may hold security deposits.

         Certain of the amounts listed for parties on Schedule D may not be reflective of any accrued and
         unpaid interest, prepayment premiums, and other similar fees or expenses that such parties may be
         entitled to, and are not reflective of any payments made by the Debtors subsequent to the Petition
         Date.

         Schedule E/F – Creditors Who Have Unsecured Claims.

         Part 2. Certain creditors listed on Part 2 of Schedule E/F may owe amounts to the Debtors;
         accordingly, the Debtors and their estates may have valid setoff and recoupment rights with respect
         to such amounts. The Debtors and their estates reserve all rights to challenge any setoff and
         recoupment rights that may be asserted against them. The Debtors and their estates reserve all
         rights to dispute or challenge the validity, perfection, or immunity from avoidance of any lien
         purported to be perfected by a creditor listed on Part 2 of Schedule E/F.

         The Debtors have used commercially reasonable efforts to include all creditors on Part 2 of
         Schedule E/F. The amounts listed for liabilities on Schedule E/F may be exclusive of certain
         contingent and unliquidated amounts.

         Any intercompany claims listed in Schedule F are recorded as of February 28, 2023. Such claims
         fluctuate over time and may change materially once reconciled with information available as of
         the Petition Date.

         To the extent that they have been paid, the Debtors have not listed on Part 2 of Schedule E/F,
         among others, certain unsecured employee wage or benefit claims or claims related to the Debtors’
         insurance programs for which the Debtors have been granted authority to pay pursuant to any First
         Day Orders. The Debtors and their estates reserve their rights to dispute or challenge whether
         creditors listed on Schedule E/F are entitled to priority claims.

         Third parties should not anticipate that the relationship of aggregate asset values and aggregate
         liabilities set forth in the Schedules will reflect their ultimate recoveries in these chapter 11 cases.
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         Actual assets and liabilities may deviate from the amounts shown in the Schedules due to various
         events that occur throughout the duration of these chapter 11 cases.

         Schedule G – Executory Contracts and Unexpired Leases. Although commercially reasonable
         efforts have been made to ensure the accuracy of Schedule G regarding executory contracts and
         unexpired leases, inadvertent errors, omissions, or over-inclusion may have occurred in preparing
         Schedule G. Omission of a contract, lease or other agreement from Schedule G does not constitute
         an admission that such omitted contract, lease or agreement is not an executory contract or
         unexpired lease. Schedule G may be amended at any time to add any omitted executory contracts,
         unexpired leases and other agreements to which the Debtors are a party, including, without
         limitation, to add any that the Debtors did not list on Schedule G at this time. Likewise, the listing
         of an agreement on Schedule G does not constitute an admission that such agreement is an
         executory contract or unexpired lease, or that such agreement was in effect or unexpired on the
         Petition Date or is valid or enforceable. The agreements listed on Schedule G may have expired,
         or may have been modified, amended, or supplemented from time to time by various amendments,
         restatements, waivers, estoppel certificates, letters and other documents, instruments and
         agreements that may not be listed on Schedule G.

         All rights, claims, and causes of action of the Debtors and their estates with respect to the
         agreements listed on Schedule G are hereby reserved and preserved. The Debtors and their estates
         hereby reserve all rights to: (a) dispute the validity, status, or enforceability of any agreements set
         forth on Schedule G; (b) dispute or challenge the characterization of the structure of any
         transaction, document or instrument related to a creditor’s claim, including, but not limited to, the
         agreements listed on Schedule G; and (c) amend or supplement Schedule G, as necessary.

                                     [Remainder of page intentionally left blank]




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 Fill in this information to identify the case:

 Debtor name           Virgin Orbit, LLC

 United States Bankruptcy Court for the:               District of Delaware


 Case number (If known):                23-10408
                                                                                                                                                                                          ¨ Check if this is an
                                                                                                                                                                                              amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15


Part 1: Summary of Assets


 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
           Copy line 88 from Schedule A/B ................................................................................................................................
                                                                                                                                                                                         $      19,751,222.48*


     1b. Total personal property:
                                                                                                                                                                                         $     214,117,786.27*
           Copy line 91A from Schedule A/B ..............................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                         $     233,869,008.75*
           Copy line 92 from Schedule A/B ................................................................................................................................




Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                         $      72,153,699.99*
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..........................................


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                         $          539,831.88
           Copy the total claims from Part 1 from line 5a of Schedule E/F .................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        + $    198,153,339.40*
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .......................................................




 4. Total liabilities ...............................................................................................................................................................
                                                                                                                                                                                         $     270,846,871.27*
      Lines 2 + 3a + 3b




 *Plus Undetermined Amounts

   Official Form 206Sum                                           Summary of Assets and Liabilities for Non-Individuals                                                                           page 1
                                  Case 23-10408-KBO                   Doc 4       Filed 04/24/23           Page 10 of 626
   Fill in this information to identify the case:

    Debtor name Virgin Orbit, LLC


    United States Bankruptcy Court for the: District of Delaware
                                                                                                                                           ¨ Check if this is an
    Case number (If known) 23-10408                                                                                                            amended filing



 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                         12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
 which the debtor holds rights and powers exercisable for the debtor 's own benefit. Also include assets and properties which have no book value, such as fully
 depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
 Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
 name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
 include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
 the value of secured claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and cash equivalents

 1. Does the debtor have any cash or cash equivalents?

    ¨      No. Go to Part 2.
    þ      Yes. Fill in the information below.

                                                                                                                                     Current value of debtor's
     All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                     interest

 2. Cash on hand                                                                                                                     $                      0.00

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number

    3.1 JP Morgan Chase Bank                                       Operating                     1    2     0     5                  $               837,374.22

    3.2                                                                                                                              $


 4. Other cash equivalents (Identify all)

    4.1 None                                                                                                                         $                      0.00

    4.2                                                                                                                              $


 5. Total of Part 1
                                                                                                                                     $               837,374.22
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

    ¨ No.Go to Part 3.
                                                                                                                                     Current value of debtor's
    þ Yes. Fill in the information below.                                                                                            interest
 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1 See Attached Rider                                                                                                           $               269,649.08
    7.2                                                                                                                              $



Official Form 206A/B                                      Schedule A/B: Assets - Real and Personal Property                                        Page 1
Debtor      Virgin Orbit, LLC        Case 23-10408-KBO                  Doc 4         Filed 04/24/23              Page   11 of(If known)
                                                                                                                   Case number    626 23-10408
            Name



 8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

     8.1 See Attached Rider                                                                                                             $          10,867,992.66

     8.2                                                                                                                                $

 9. Total of Part 2.
                                                                                                                                        $          11,137,641.74
     Add lines 7 through 8. Copy the total to line 81.


 Part 3: Accounts receivable

 10. Does the debtor have any accounts receivable?

     ¨       No. Go to Part 4.
     þ       Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
 11. Accounts receivable

         11a. 90 days old or less:                   0.00                              0.00                       =   ......            $                    0.00
                                       face amount                       doubtful or uncollectible accounts

         11b. Over 90 days old:                3,610,971.68                       3,099,263.75                    =   ......            $             511,707.93
                                       face amount                       doubtful or uncollectible accounts

  12. Total of Part 3
                                                                                                                                        $             511,707.93
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


 Part 4:       Investments

  13. Does the debtor own any investments?

     ¨       No. Go to Part 5.
     þ       Yes. Fill in the information below.                                                              Valuation method         Current value of debtor's
                                                                                                              used for current value   interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:
     14.1 None                                                                                                                          $                    0.00

     14.2                                                                                                                               $


 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
         Name of entity:                                                            % of ownership:
     15.1 See Attached Rider                                                                          %                                 $          Undetermined

     15.2                                                                                             %                                 $



 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1

         Describe:
     16.1 None                                                                                                                          $                    0.00

     16.2                                                                                                                               $



 17. Total of Part 4                                                                                                                    $          Undetermined
         Add lines 14 through 16. Copy the total to line 83.


*Plus Undetermined Amounts

Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                       Page 2
Debtor     Virgin Orbit, LLC       Case 23-10408-KBO                     Doc 4       Filed 04/24/23        Page   12 of(If known)
                                                                                                            Case number    626 23-10408
           Name



 Part 5:       Inventory, excluding agriculture assets

 18. Does the debtor own any inventory (excluding agriculture assets)?

     ¨       No. Go to Part 6.
     þ       Yes. Fill in the information below.
         General Description                              Date of the last           Net book value of   Valuation method          Current value of
                                                          physical inventory         debtor's interest   used for current          debtor's interest
                                                                                     (Where available)   value

     19. Raw materials
     Raw Materials                                                               $       68,868,505.38   Net Book Value            $          68,868,505.38
                                                               MM / DD / YYYY
     20. Work in progress
     Work In Progress                                                            $       41,890,112.78   Net Book Value            $          41,890,112.78
                                                               MM / DD / YYYY
     21. Finished goods, including goods held for resale
     None                                                                        $                                                 $                    0.00
                                                               MM / DD / YYYY
     22. Other inventory or supplies

     Other Inventory                                                             $        3,561,403.59   Net Book Value            $           3,561,403.59
                                                               MM / DD / YYYY

  23. Total of Part 5.
                                                                                                                                   $         114,320,021.75
         Add lines 19 through 22. Copy the total to line 84.

  24. Is any of the property listed in Part 5 perishable?
     þ       No
     ¨       Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed ?

     ¨       No
     þ       Yes. Book value $       Undetermined Valuation method N/A                           Current value $   Undetermined

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year ?

     þ       No
     ¨       Yes

 Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     þ       No. Go to Part 7.
     ¨       Yes. Fill in the information below.

         General Description                                                         Net book value of   Valuation method         Current value of debtor's
                                                                                     debtor's interest   used for current         interest
                                                                                     (Where available)   value

  28. Crops-either planted or harvested
                                                                                 $                                                 $

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                                 $                                                 $

  30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                                 $                                                 $

  31. Farm and fishing supplies, chemicals, and feed
                                                                                 $                                                 $

  32. Other farming and fishing-related property not already listed in Part 6
                                                                                 $                                                 $



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                                      Page 3
Debtor     Virgin Orbit, LLC       Case 23-10408-KBO                  Doc 4      Filed 04/24/23         Page   13 of(If known)
                                                                                                         Case number    626 23-10408
           Name


 33. Total of Part 6.
                                                                                                                               $                   0.00
         Add lines 28 through 32. Copy the total to line 85.

 34. Is the debtor a member of an agricultural cooperative?

    ¨        No
    ¨        Yes. Is any of the debtor’s property stored at the cooperative?

           ¨       No
           ¨       Yes

 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ¨        No
    ¨        Yes. Book value $                       Valuation method                        Current value $

 36. Is a depreciation schedule available for any of the property listed in Part 6?

    ¨        No
    ¨        Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year ?

    ¨        No
    ¨        Yes

 Part 7:       Office furniture, fixtures, and equipment; and collectibles

 38 Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    ¨        No. Go to Part 8.
    þ        Yes. Fill in the information below.

         General Description                                                    Net book value of     Valuation method       Current value of debtor's
                                                                                debtor's interest     used for current       interest
                                                                                (Where available)     value

 39. Office furniture
    Office Furniture                                                            $       446,126.52    Net Book Value           $            446,126.52

 40. Office fixtures
    None                                                                        $                                              $                   0.00

 41. Office equipment, including all computer equipment and
     communication systems equipment and software
    See Attached Rider                                                          $      5,279,588.54                            $          5,279,588.54

 42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
     artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
     or baseball card collections; other collections, memorabilia, or collectibles
    42.1 None                                                                   $                                              $                   0.00
    42.2                                                                        $                                              $
    42.3                                                                        $                                              $

 43. Total of Part 7.
                                                                                                                               $          5,725,715.06
         Add lines 39 through 42. Copy the total to line 86.

 44. Is a depreciation schedule available for any of the property listed in Part 7?

    ¨        No
    þ        Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year ?

    þ        No
    ¨        Yes



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                                 Page 4
                                    Case 23-10408-KBO                 Doc 4        Filed 04/24/23        Page 14 of 626
Debtor      Virgin Orbit, LLC                                                                                Case number (If known) 23-10408
            Name



 Part 8:        Machinery, equipment, and vehicles

 46. Does the debtor own or lease any machinery, equipment, or vehicles?

     ¨       No. Go to Part 9.
     þ        Yes. Fill in the information below.
         General Description                                                       Net book value of   Valuation method             Current value of debtor's
         Include year, make, model, and identification numbers ( i.e., VIN,        debtor's interest   used for current             interest
         HIN, or N-number)                                                         (Where available)   value


 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1 Vehicles                                                             $          174,237.17   Net Book Value                $            174,237.17
     47.2                                                                      $                                                     $
     47.3                                                                      $                                                     $
     47.4                                                                      $                                                     $


 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
     trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1 None                                                                 $                                                     $                    0.00
     48.2                                                                      $                                                     $


  49. Aircraft and accessories
     49.1 None                                                                 $                                                     $                    0.00
     49.2                                                                      $                                                     $


  50. Other machinery, fixtures, and equipment (excluding farm
      machinery and equipment)

     See Attached Rider                                                        $       31,933,809.66                                 $         31,933,809.66



  51. Total of Part 8.
                                                                                                                                     $         32,108,046.83
         Add lines 47 through 50. Copy the total to line 87.


  52. Is a depreciation schedule available for any of the property listed in Part 8?
     ¨        No
     þ        Yes


  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     þ        No
     ¨        Yes




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                       Page 5
Debtor      Virgin Orbit, LLC      Case 23-10408-KBO                    Doc 4          Filed 04/24/23             Page   15 of(If known)
                                                                                                                   Case number    626 23-10408
            Name



 Part 9: Real property

 54. Does the debtor own or lease any real property?

     ¨ No. Go to Part 10.
     þ Yes. Fill in the information below.
  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
     Description and location of property                         Nature and extent           Net book value of     Valuation method         Current value of
     Include street address or other description such as          of debtor’s interest        debtor's interest     used for current         debtor's interest
     Assessor Parcel Number (APN), and type of property           in property                 (Where available)     value
     (for example, acreage, factory, warehouse, apartment
     or office building), if available.


     55.1 See Attached Rider                                                              $      19,751,222.48*                              $      19,751,222.48*
     55.2                                                                                 $                                                  $
     55.3                                                                                 $                                                  $
     55.4                                                                                 $                                                  $
     55.5                                                                                 $                                                  $
     55.6                                                                                 $                                                  $

  56. Total of Part 9.
                                                                                                                                             $      19,751,222.48*
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
  57. Is a depreciation schedule available for any of the property listed in Part 9?

     ¨ No
     þ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year ?

     þ No
     ¨ Yes
Part 10: Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?
     ¨       No. Go to Part 11.
     þ       Yes. Fill in the information below.

         General Description                                                           Net book value of     Valuation method          Current value of debtor's
                                                                                       debtor's interest     used for current          interest
                                                                                       (Where available)     value

  60. Patents, copyrights, trademarks, and trade secrets
     See Attached Rider                                                            $          Undetermined                               $           Undetermined

  61. Internet domain names and websites
     See Attached Rider                                                            $          Undetermined                               $           Undetermined

  62. Licenses, franchises, and royalties
     None                                                                          $                                                     $                       0.00

  63. Customer lists, mailing lists, or other compilations
     None                                                                          $                                                     $                       0.00

  64. Other intangibles, or intellectual property
     None                                                                          $                                                     $                       0.00

  65. Goodwill
     None                                                                          $                                                     $                       0.00

  66. Total of Part 10.
                                                                                                                                             $       Undetermined
         Add lines 60 through 65. Copy the total to line 89.

  *Plus Undetermined Amounts

Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                        Page 6
Debtor      Virgin Orbit, LLC      Case 23-10408-KBO                    Doc 4        Filed 04/24/23           Page   16 of(If known)
                                                                                                               Case number    626 23-10408
            Name


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     þ No
     ¨ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10 ?
     þ No
     ¨ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
Part 11: All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

     ¨ No. Go to Part 12.
     þ Yes. Fill in the information below.                                                                                                 Current value of
                                                                                                                                           debtor's interest
  71. Notes receivable
         Description (include name of obligor)
         None                                                                                                                    =     $                   0.00
                                                                          Total Face Amount   Doubtful or uncollectible Amount

  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)
         None                                                                                                  Tax Year                $                   0.00
                                                                                                               Tax Year                $
                                                                                                               Tax Year                $

  73. Interests in insurance policies or annuities
         See Attached Rider                                                                                                            $          Undetermined

  74. Causes of action against third parties (whether or not a lawsuit
      has been filed)
         None                                                                                                                          $                   0.00

         Nature of Claim
         Amount Requested          $

  75. Other contingent and unliquidated claims or causes of action of
      every nature, including counterclaims of the debtor and rights to
      set off claims
         None                                                                                                                          $                   0.00

         Nature of Claim
         Amount Requested          $

  76. Trusts, equitable or future interests in property
         None                                                                                                                          $                   0.00

  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership
         See Attached Rider                                                                                                            $         49,477,278.74
                                                                                                                                       $

  78. Total of Part 11.
                                                                                                                                       $         49,477,278.74*
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
  *Plus Undetermined Amounts


Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                     Page 7
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Debtor     Virgin Orbit, LLC                                                                                                   Case number (If known)   23-10408
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 Part 12: Summary

 In Part 12 copy all of the totals from the earlier parts of the form.


                                                                                                            Current value of                      Current value
         Type of Property
                                                                                                            personal property                    of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $             837,374.22

  81. Deposits and prepayments. Copy line 9, Part 2.                                                       $         11,137,641.74

  82. Accounts receivable. Copy line 12, Part 3.                                                           $             511,707.93

  83. Investments. Copy line 17, Part 4.                                                                   $         Undetermined

  84. Inventory. Copy line 23, Part 5.                                                                     $       114,320,021.75

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $                   0.00

  86. Office furniture, fixtures, and equipment; and collectibles.                                         $          5,725,715.06
         Copy line 43, Part 7.
  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $         32,108,046.83

  88. Real property. Copy line 56, Part 9. . ...............................................................................                     $19,751,222.48*

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $         Undetermined

  90. All other assets. Copy line 78, Part 11.                                                             $       49,477,278.74*

  91. Total. Add lines 80 through 90 for each column..............................91a.                     $      214,117,786.27*      + 91b.    $19,751,222.48*




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92................................................................................................   $ 233,869,008.75*



  *Plus Undetermined Amounts




Official Form 206A/B                                                Schedule A/B: Assets - Real and Personal Property                                                     Page 8
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Debtor Name: Virgin Orbit, LLC                                                                                              Case Number: 23-10408

                                                              Assets - Real and Personal Property

                                           Part 2, Question 7: Deposits, including security deposits and utility deposits



Deposits, including security deposits and utility deposits                                Current value of debtor's
(Description, including name of holder of deposit)                                        interest

Deposit - Lease Security Deposit: 1800 M Street Owner, LP                                                                                     $8,997.08


Deposit - Lease Security Deposit: Vogel Engineers, Inc.                                                                                      $23,000.00


Deposit - Lease Security Deposit: Vogel Properties                                                                                          $221,000.00


Deposit - Security Deposit: Switch, Ltd.                                                                                                     $15,902.00


Deposit - Utility Deposit: City of Long Beach                                                                                                   $750.00


TOTAL                                                                                                                                       $269,649.08




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                               Case 23-10408-KBO                Doc 4        Filed 04/24/23          Page 19 of 626
Debtor Name: Virgin Orbit, LLC                                                                                            Case Number: 23-10408

                                                          Assets - Real and Personal Property


                      Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                     Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)       interest

Prepayment - Insurance: Aon Risk Ins. Services West                                                                                       $310,704.58


Prepayment - Insurance: Arthur Gallagher                                                                                                  $170,816.80


Prepayment - Insurance: Exceptional Risk Advisors LLC                                                                                       $5,316.72


Prepayment - Insurance: Vogel Engineers, Inc.                                                                                              $13,496.45


Prepayment - Insurance: Willis Towers Watson Insurance Services West, Inc.                                                                $615,985.55


Prepayment - IT Vendor: Appextremes, LLC (d/b/a Conga)                                                                                     $16,665.42


Prepayment - IT Vendor: Arqit, Inc.                                                                                                        $16,666.67


Prepayment - IT Vendor: Salesforce                                                                                                         $29,825.45


Prepayment - IT Vendor: Saratech                                                                                                          $180,260.18


Prepayment - Licenses / Subscriptions: Altium Inc.                                                                                          $4,183.96


Prepayment - Licenses / Subscriptions: Ata Engineering Inc                                                                                 $33,129.00


Prepayment - Licenses / Subscriptions: Brian Murphy                                                                                         $9,107.28


Prepayment - Licenses / Subscriptions: Cad/Cam Consulting Services Inc.                                                                     $1,512.44


Prepayment - Licenses / Subscriptions: Clear-Com, LLC                                                                                       $1,551.66


Prepayment - Licenses / Subscriptions: Coreform LLC                                                                                         $5,775.00


Prepayment - Licenses / Subscriptions: Cornerstone OnDemand Inc.                                                                            $9,038.27


Prepayment - Licenses / Subscriptions: Cullimore And Ring Technologies Inc                                                                 $24,628.59


Prepayment - Licenses / Subscriptions: Data Centric Enterprises, LLC                                                                      $372,010.82


Prepayment - Licenses / Subscriptions: GC Micro Corporation                                                                                 $7,755.00


Prepayment - Licenses / Subscriptions: Global Software, LLC (d/b/a Insightsoftware)                                                         $6,423.76


Prepayment - Licenses / Subscriptions: High QA, Inc.                                                                                        $8,320.80


Prepayment - Licenses / Subscriptions: iBASEt, Inc.                                                                                        $31,529.18


Prepayment - Licenses / Subscriptions: Microsoft Corporation                                                                              $234,477.96



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Debtor Name: Virgin Orbit, LLC                                                                                           Case Number: 23-10408

                                                          Assets - Real and Personal Property


                     Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                    Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)      interest

Prepayment - Licenses / Subscriptions: Nth Generation Computing, Inc.                                                                    $131,801.46


Prepayment - Licenses / Subscriptions: Oracle America, Inc.                                                                               $27,465.27


Prepayment - Licenses / Subscriptions: Real-Time Innovations                                                                               $5,297.92


Prepayment - Licenses / Subscriptions: Rego Consulting Corporation                                                                        $15,987.76


Prepayment - Licenses / Subscriptions: Royal News Corporation                                                                              $5,906.25


Prepayment - Licenses / Subscriptions: Software And Engineering Associates, Inc.                                                          $13,050.00


Prepayment - Licenses / Subscriptions: The Music Bed LLC                                                                                   $3,000.00


Prepayment - Licenses / Subscriptions: Zoho Corporation                                                                                   $15,927.04


Prepayment - Membership(s): Space Foundation                                                                                              $57,833.30


Prepayment - Membership(s): Spaceinafrica                                                                                                  $2,868.81


Prepayment - VAT Input Tax                                                                                                                $14,846.46


Prepayment - Vendor: Ams Collective Inc                                                                                                    $2,514.70


Prepayment - Vendor: Aon Consulting Inc.                                                                                                   $1,183.33


Prepayment - Vendor: Bay City Flyers, LLC (d/b/a Aero City Jets)                                                                          $34,880.00


Prepayment - Vendor: Business Wire, Inc                                                                                                    $9,090.90


Prepayment - Vendor: CDW Direct                                                                                                           $17,647.04


Prepayment - Vendor: Diligent Corporation                                                                                                 $17,419.98


Prepayment - Vendor: DMG Mori USA, Inc.                                                                                                    $6,229.15


Prepayment - Vendor: Dun & Bradstreet Inc                                                                                                  $6,874.52


Prepayment - Vendor: Everbridge, Inc                                                                                                       $6,542.16


Prepayment - Vendor: Gallup, Inc.                                                                                                         $12,534.41


Prepayment - Vendor: iCIMS, Inc.                                                                                                          $20,040.36


Prepayment - Vendor: IHS Global Inc.                                                                                                     $152,423.10



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                                                         Assets - Real and Personal Property


                     Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                    Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)      interest

Prepayment - Vendor: Inceptra LLC                                                                                                         $19,066.68


Prepayment - Vendor: Insight Investment Holdings, LLC (d/b/a Red8 LLC)                                                                   $125,174.22


Prepayment - Vendor: Intel Americas, Inc.                                                                                                  $6,378.75


Prepayment - Vendor: LinkedIn Corporation                                                                                                 $33,408.12


Prepayment - Vendor: Mathworks Inc.                                                                                                      $105,004.40


Prepayment - Vendor: NASA                                                                                                                $281,180.00


Prepayment - Vendor: National Instruments Corporation                                                                                    $111,000.16


Prepayment - Vendor: Naval Air Warfare Center Weapons Division                                                                            $19,339.07


Prepayment - Vendor: Navex Global                                                                                                          $5,943.91


Prepayment - Vendor: Praecipio Consulting, LLC.                                                                                            $7,408.31


Prepayment - Vendor: Rapid7 LLC                                                                                                           $15,302.00


Prepayment - Vendor: Rescale, Inc.                                                                                                        $89,878.39


Prepayment - Vendor: Smartsheet Inc.                                                                                                      $87,499.15


Prepayment - Vendor: Spec Innovations                                                                                                      $7,840.00


Prepayment - Vendor: The Ultimate Software Group, Inc.                                                                                    $35,755.66


Prepayment - Vendor: Trace3                                                                                                              $686,662.06


Prepayment - Vendor: Trimble Inc                                                                                                           $3,737.52


Prepayment - Vendor: Upkeep Technologies, Inc.                                                                                             $7,875.00


Prepayment - Vendor: Virtusaero LLC                                                                                                        $7,678.02


Prepayment - Vendor: Water Tower Research LLC                                                                                             $28,000.00


Prepayment - Vendor: Wowza Media Systems LLC                                                                                               $5,265.00


Prepayment - Vendor: Wpengine, LLC                                                                                                        $20,608.00


Prepayment - Vendor: Zuken USA Inc.                                                                                                        $2,857.20



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                                                           Assets - Real and Personal Property


                     Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                    Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)      interest

Prepayment - Vendor: Americas Generators, Inc                                                                                             $21,135.00


Prepayment - Vendor: Barber Nichols, Inc                                                                                                $1,923,837.31


Prepayment - Vendor: Bellows Mfg & Research                                                                                              $234,000.00


Prepayment - Vendor: Carbon-Carbon Advanced Technologies Inc                                                                             $883,751.66


Prepayment - Vendor: Combined Utilities Box Systems, Inc                                                                                  $16,372.42


Prepayment - Vendor: Ensign-Bickford Aerospace & Defense Company                                                                            $4,029.82


Prepayment - Vendor: G Systems, Inc.                                                                                                     $114,328.98


Prepayment - Vendor: Honeywell Aerospace                                                                                                 $691,698.00


Prepayment - Vendor: Isis - Innovative Solutions In Space Bv                                                                             $538,540.50


Prepayment - Vendor: Jansens Aircraft Systems Controls                                                                                   $200,874.00


Prepayment - Vendor: Leaf Space S.R.L.                                                                                                    $10,317.50


Prepayment - Vendor: NASA                                                                                                                $246,337.43


Prepayment - Vendor: North American Crane Company                                                                                        $246,800.28


Prepayment - Vendor: Planetary Systems Corporation                                                                                       $101,800.00


Prepayment - Vendor: Redwire Space, Inc.                                                                                                 $739,586.00


Prepayment - Vendor: Rescale, Inc.                                                                                                        $10,000.00


Prepayment - Vendor: Schwab Industries, Inc                                                                                              $108,876.00


Prepayment - Workers Comp. Insurance: Aon (Bermuda) Ltd.                                                                                  $65,681.87


Prepayment - Workers Comp. Insurance: Aon Risk Insurance Services West                                                                   $256,618.81


Retainer: Alvarez & Marsal                                                                                                                $50,000.00


TOTAL                                                                                                                                  $10,867,992.66




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                                                                Assets - Real and Personal Property


Part 4, Question 15: Non-publicly traded stock interests in incorporated and unincorporated businesses, including any interest in an LLC, partnership, or joint venture.



    Non-publicly traded stock and interests in incorporated and                        % of         Valuation method             Current value of debtor's
    unincorporated businesses, including any interest in an LLC,                     Ownership      used for current value       interest
    partnership, or joint venture (Name of entity:)
    Ground Station Mexico S.A. de C.V.                                                 97.66%       N/A                                              Undetermined


    JACM Holdings, Inc.                                                                 100%        N/A                                              Undetermined


    Virgin Orbit Brasil Limitada                                                        100%        N/A                                              Undetermined


    Virgin Orbit National Systems, LLC                                                  100%        N/A                                              Undetermined


    Virgin Orbit UK Limited                                                             100%        N/A                                              Undetermined


    SatRev S.A.                                                                     Undetermined N/A                                                 Undetermined


    Sky and Space Global                                                            Undetermined N/A                                                 Undetermined


                                                                                                    TOTAL                                                     $0.00
                                                                                                                                             + Undetermined Amounts




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Debtor Name: Virgin Orbit, LLC                                                                                        Case Number: 23-10408

                                                           Assets - Real and Personal Property

               Part 7, Question 41: Office equipment, including all computer equipment and communication systems equipment and software



Office equipment, including all computer equipment and               Net book value of     Valuation method          Current value of debtor's
communication systems equipment and software                         debtor's interest     used for current value    interest
                                                                     (Where available)
IT Hardware: All Other IT Hardware                                         $1,664,993.33 Net Book Value                                   $1,664,993.33


IT Hardware: Capital Lease(s)                                              $1,349,802.99 Net Book Value                                   $1,349,802.99


IT Hardware: 10142 IT GSE Solution                                           $882,793.90 Net Book Value                                    $882,793.90


IT Software: QuantumCloud- Pilot Instance, Perpetual License                  $311,111.12 Net Book Value                                    $311,111.12


IT Software: Pilot Instance, Single Instance, Perpetual License              $277,777.78 Net Book Value                                    $277,777.78


IT Software: All Other IT Software                                           $272,510.59 Net Book Value                                    $272,510.59


IT Hardware: HPE DL380 G10 96TB CTO Svr for Cohesity                         $155,396.50 Net Book Value                                    $155,396.50


IT Software: Oracle Apps/DB Upgrade Project                                   $90,363.00 Net Book Value                                     $90,363.00


IT Software: Solumina User Licenses                                           $81,597.21 Net Book Value                                     $81,597.21


IT Software: VMware vSphere 7 Enterprise and HCI Program Kit                  $78,974.03 Net Book Value                                     $78,974.03


IT Hardware: HP Blades - G10 - Expansion K8 Flight Software                   $63,911.17 Net Book Value                                     $63,911.17
Cluster
IT Hardware: Palo Alto Networks PA-5250 with redundant AC                     $50,356.92 Net Book Value                                     $50,356.92
power supplies

                                                                                          TOTAL                                           $5,279,588.54




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                                 Case 23-10408-KBO                    Doc 4      Filed 04/24/23         Page 25 of 626
Debtor Name: Virgin Orbit, LLC                                                                                           Case Number: 23-10408

                                                               Assets - Real and Personal Property

                         Part 8, Question 50: Other machinery, fixtures, and equipment (excluding farm machinery and equipment)



Other machinery, fixtures, and equipment                                 Net book value of     Valuation method         Current value of debtor's
(excluding farm machinery and equipment)                                 debtor's interest     used for current value   interest
                                                                         (Where available)
Equipment: NT6600DCG/4000 3D Hybrid Machine                                     $2,428,983.79 Net Book Value                              $2,428,983.79


Equipment: Automated Ultrasonic Inspection Equipment                            $1,017,502.67 Net Book Value                              $1,017,502.67


Equipment: 3rd Autoclave Project 10151                                           $948,609.46 Net Book Value                                 $948,609.46


Equipment: Multiax CNC Milling and Drilling Machine                              $892,896.64 Net Book Value                                 $892,896.64


Equipment: LASERTEC 30 SLM 2nd Generation                                        $535,500.00 Net Book Value                                 $535,500.00


Equipment: DMG Mori DMC85                                                        $486,610.49 Net Book Value                                 $486,610.49


Equipment: Transportable Versatile (Ground/Sea) S-Band                           $418,412.07 Net Book Value                                 $418,412.07
Telemetry Station SPARTE

Equipment: DMG Mori DMC125FD and Cert                                            $281,189.78 Net Book Value                                 $281,189.78


Equipment: Prop Components Test Equipment                                        $195,135.30 Net Book Value                                 $195,135.30


Equipment: DMG Mori DMU-50 5-Axis VMC 3rd Gen. 60 Tools S/N                      $183,750.00 Net Book Value                                 $183,750.00
14505766684

Equipment: Mobile Clean Room Trailer                                             $162,791.93 Net Book Value                                 $162,791.93


Equipment: RF Test Equipment - Oracle Project #10136                             $159,782.61 Net Book Value                                 $159,782.61


Equipment: 30x34x10 Logi-Clean ISO Class 8 Rigid Wall Clean                      $147,831.05 Net Book Value                                 $147,831.05
Room

Equipment: Ground Support Equipment [GSE] Supporting 747                         $132,983.00 Net Book Value                                 $132,983.00
Operations

Equipment: ACU-401-EMP-Base Unit                                                 $116,149.21 Net Book Value                                 $116,149.21


Equipment: Test Equipment Sales:VO_PCTS-1 Prop Component                         $113,766.83 Net Book Value                                 $113,766.83
Test System 1

Equipment: L1 Integration Tooling                                                $103,603.94 Net Book Value                                 $103,603.94


Equipment: 225kV X-Ray Vault and Control room                                     $96,684.37 Net Book Value                                  $96,684.37


Equipment: Duplicate Bridge Crane                                                  $94,112.10 Net Book Value                                 $94,112.10


Equipment: Keller Vario-1, Dust Collector                                         $92,346.85 Net Book Value                                  $92,346.85


Equipment: Tank to Support Nickel Plating of Virgin Orbit 's                      $84,000.00 Net Book Value                                  $84,000.00
N3.1/N3.2 Chambers

Equipment: Bench Top FlowCam for Dynamic Imaging Particle                         $83,165.88 Net Book Value                                  $83,165.88
Analysis with a Camera

Equipment: Panasonic Connectivity System for Cosmic Girl                          $82,038.51 Net Book Value                                  $82,038.51


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                                 Case 23-10408-KBO                    Doc 4      Filed 04/24/23         Page 26 of 626
Debtor Name: Virgin Orbit, LLC                                                                                           Case Number: 23-10408

                                                               Assets - Real and Personal Property

                          Part 8, Question 50: Other machinery, fixtures, and equipment (excluding farm machinery and equipment)



Other machinery, fixtures, and equipment                                 Net book value of     Valuation method         Current value of debtor's
(excluding farm machinery and equipment)                                 debtor's interest     used for current value   interest
                                                                         (Where available)
Equipment: RMC151E-H2-A2-UI/O; Motion Control Unit                                $76,856.58 Net Book Value                                  $76,856.58


Equipment: All Other Equipment                                                $20,930,147.04 Net Book Value                              $20,930,147.04


Tooling: 00079959-501_Rev. 02D_S2 L1.1 LOX Skirt NC Fixture                      $178,289.79 Net Book Value                                 $178,289.79


Tooling: TOOLING AND LAY-UP FOR N4 48" NOZZLES UNIT #6                            $84,355.58 Net Book Value                                  $84,355.58
AND UNIT #7

Tooling: 00095299-100_Rev. 01D_ MASTER MODEL, AFT                                 $72,721.89 Net Book Value                                  $72,721.89
BULKHEAD

Tooling: 00061004-501_Rev. 02D - MANDREL ASSY, S2 FUEL                            $66,544.40 Net Book Value                                  $66,544.40


Tooling: 00098900-001 Design LayUp Mold                                           $62,788.78 Net Book Value                                  $62,788.78


Tooling: ASC00021-501, Trim & Drill Fixture, Raceway Tray                         $62,271.00 Net Book Value                                  $62,271.00


Tooling: 00017214-510_Rev. 01D_FIN BLADDER MOLD SET-1                             $61,039.21 Net Book Value                                  $61,039.21
ASSEMBLY

Tooling: RUNWAY EXTENSION, INTEGRATION                                            $58,063.61 Net Book Value                                  $58,063.61


Tooling: ASC00021-501 - Trim & Drill Fixture                                      $54,604.10 Net Book Value                                  $54,604.10


Tooling: 00061304-501_Rev. 02D - MANDREL ASSY, S2 LOX                             $51,530.50 Net Book Value                                  $51,530.50


Tooling: ASC00016-501_ Rev. 01D_LayUp Tool, S2 Fill & Drain                        $46,911.58 Net Book Value                                 $46,911.58
Bathtub

Tooling: SLA PATTERN FOR P62103                                                   $42,352.22 Net Book Value                                  $42,352.22


Tooling: Nickel plating and inspection holding fixture, N3.1                      $42,203.70 Net Book Value                                  $42,203.70
Chamber

Tooling: ASC00025 T&D Fixture for S2 Tube Mount                                   $39,016.50 Net Book Value                                  $39,016.50


Tooling: 00077851-501_LAYUP TOOL, BARREL SECTION, STP                             $37,867.90 Net Book Value                                  $37,867.90
ADAPTER LAYOUT

Tooling: MODIFY ROCKET COVER IN ACCORDANCE WITH                                   $34,652.70 Net Book Value                                  $34,652.70
DRAWING # 00054093-501

Tooling: ASC00009-501_Rev. 01D_WELD JIG - HIGH                                    $33,787.50 Net Book Value                                  $33,787.50
PRESSURE LINE

Tooling: 00006756-501_Rev. 02D_LAYUP TOOL, POLAR INSERT                           $32,859.33 Net Book Value                                  $32,859.33
S1 LOX TANK

Tooling: 00089581-501_Rev. 01D_SOFI POLAR FITTING                                 $30,645.34 Net Book Value                                  $30,645.34
ADAPTOR, S2 LOX, L1.1

Tooling: 00017214-530_Rev. 01D_SET-3 ASSEMBLY OF FIN IML                          $30,209.97 Net Book Value                                  $30,209.97
SI BLADDER MOLD ASSEMBLY

Tooling: ASC00014-501_Rev. 01D_Layup Mold, S2 Fuel COPV                           $29,939.00 Net Book Value                                  $29,939.00


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                                   Case 23-10408-KBO                 Doc 4       Filed 04/24/23          Page 27 of 626
Debtor Name: Virgin Orbit, LLC                                                                                              Case Number: 23-10408

                                                             Assets - Real and Personal Property

                             Part 8, Question 50: Other machinery, fixtures, and equipment (excluding farm machinery and equipment)



Other machinery, fixtures, and equipment                                 Net book value of     Valuation method            Current value of debtor's
(excluding farm machinery and equipment)                                 debtor's interest     used for current value      interest
                                                                         (Where available)
Tooling: ASC00010-501_Rev. 01D_LAYUP TOOL, SPIN START                             $28,923.70 Net Book Value                                     $28,923.70
COPV MOUNT, CRADLE

Tooling: 00055136-501_Rev. 01D_ FIN CAN, VERTICAL                                 $27,625.00 Net Book Value                                     $27,625.00
ASSEMBLY TOOL

Tooling: ASC00015-501_Rev. 01D_TRIM & DRILL FIXTURE                               $27,000.00 Net Book Value                                     $27,000.00
ASSY, S2 FUEL COPV CRADLE

Tooling: All Other Tooling                                                       $832,756.26 Net Book Value                                    $832,756.26


                                                                                               TOTAL                                        $31,933,809.66




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                                     Case 23-10408-KBO                    Doc 4      Filed 04/24/23         Page 28 of 626
Debtor Name: Virgin Orbit, LLC                                                                                                 Case Number: 23-10408

                                                                 Assets - Real and Personal Property

               Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Description and location of property                   Nature and extent          Net book value of    Valuation method         Current value of
Include street address or other description such as    of debtor’s interest       debtor's interest    used for current         debtor's interest
Assessor Parcel Number (APN), and type of property     in property                (Where available)    value
(for example, acreage, factory, warehouse, apartment
or office building), if available.

Buildings & Land                                       Buildings & Land               $12,289,435.40 Net Book Value                             $12,289,435.40


Leasehold Improvements                                 Leasehold                       $7,461,787.08 Net Book Value                              $7,461,787.08
                                                       Improvements

3880 McGowen Street                                    Manufacturing,                  Undetermined N/A                                          Undetermined
Long Beach, CA 90808                                   Warehouse and Office
                                                       Lease
4022 E. Conant Street                                  Manufacturing,                  Undetermined N/A                                          Undetermined
Long Beach, CA 90808                                   Warehouse and Office
                                                       Lease
1800 M. Street, NW                                     Office Lease                    Undetermined N/A                                          Undetermined
Suite 525
Wsahington, DC 20036

                                                                                                       TOTAL                                    $19,751,222.48
                                                                                                                                         + Undetermined Amounts




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                             Case 23-10408-KBO                Doc 4       Filed 04/24/23           Page 29 of 626
Debtor Name: Virgin Orbit, LLC                                                                                      Case Number: 23-10408

                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method         Current value of debtor's
                                                                    debtor's interest     used for current value   interest
                                                                    (Where available)
Trademark: LauncherOne (US App/Reg #: 86253808 / 4780065) -               Undetermined N/A                                           Undetermined
Registered

Trademark: Vox Space (US App/Reg #: 87508634 / 6289678) -                 Undetermined N/A                                           Undetermined
Registered

Trademark: Vox Space (US App/Reg #: 97037929) - Pending                   Undetermined N/A                                           Undetermined


Trade Secrets                                                             Undetermined N/A                                           Undetermined


                                                                                          TOTAL                                                $0.00
                                                                                                                             + Undetermined Amounts




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                             Case 23-10408-KBO        Doc 4      Filed 04/24/23          Page 30 of 626
Debtor Name: Virgin Orbit, LLC                                                                             Case Number: 23-10408

                                                Assets - Real and Personal Property


                                      Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                         Net book value of     Valuation method         Current value of debtor's
                                                           debtor's interest     used for current value   interest
                                                           (Where available)
Launcherone.com                                                  Undetermined N/A                                           Undetermined


Voxspace.com                                                     Undetermined N/A                                           Undetermined


                                                                                TOTAL                                                 $0.00
                                                                                                                    + Undetermined Amounts




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                              Case 23-10408-KBO                 Doc 4           Filed 04/24/23        Page 31 of 626
Debtor Name: Virgin Orbit, LLC                                                                                     Case Number: 23-10408

                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number            Current value of debtor's
(Description)                                                                                                     interest
Aegis Syndicate; HCC Syndicate; Chaucer            Cargo International                   23696M22                                  Undetermined
Syndicate

AIG                                                Auto                                  01CA0101779751                            Undetermined


AIG                                                Foreign Package                       WS11018400                                Undetermined


AIG                                                General Liability / Inland Marine     02LX0534057451                            Undetermined


AIG                                                Management Lines-D&O                  19292773                                  Undetermined


AIG                                                Management Lines-D&O                  19292771                                  Undetermined


AIG                                                Management Lines-D&O                  19292770                                  Undetermined


AIG                                                Umbrella                              29UD0199192901                            Undetermined


American Home Assurance Company (AIG)              Property                              015680556                                 Undetermined


Argonaut Insurance Company (RT Specialty)          Employment Practices Liability        ML4209549-4                               Undetermined


Argonaut Insurance Company (RT Specialty)          Fiduciary Liability                   ML4282934-0                               Undetermined


AWAC                                               Management Lines-D&O                  3132026                                   Undetermined


AWAC                                               Management Lines-D&O                  3132024                                   Undetermined


AXA XL                                             Management Lines-D&O                  ELU187344-22                              Undetermined


AXA XL                                             Management Lines-D&O                  ELU18734122                               Undetermined


AXIS                                               Management Lines-D&O                  P00100072035402                           Undetermined


Axis Surplus Insurance Company (Amwins)            Difference In Conditions ($5M PO      ELF658165-22                              Undetermined
                                                   $10M)

Berkley                                            Management Lines-D&O                  BPRO8088481                               Undetermined


Berkley                                            Management Lines-D&O                  BPRO8088480                               Undetermined


Berkshire                                          Management Lines-D&O                  47EPC31950702                             Undetermined


Bowhead                                            Management Lines-D&O                  ECL14524841301                            Undetermined


Canopius                                           Management Lines-D&O                  SGC091201                                 Undetermined


Canopius Underwritering Agency, Inc.               Launch Vehicle Flight Insurance       GA2306066                                 Undetermined


CNA                                                Excess Liability                      7036435675                                Undetermined


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                              Case 23-10408-KBO                  Doc 4         Filed 04/24/23         Page 32 of 626
Debtor Name: Virgin Orbit, LLC                                                                                     Case Number: 23-10408

                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number            Current value of debtor's
(Description)                                                                                                     interest
Coalition                                          Cyber                                 C4LQ7019619CYBER2023                      Undetermined


Evanston Insurance Company (Amwins)                Difference In Conditions ($5M PO      MKLV5XPR001261                            Undetermined
                                                   $10M)

Everest                                            Management Lines-D&O                  SC5EX00688221                             Undetermined


Everest BDA                                        Management Lines-D&O                  SCBDO00024-221                            Undetermined


Federal Insurance Company (Chubb)                  Business Travel Accident              9908-65-62                                Undetermined


Global Aerospace, Inc.                             Unmanned Aircraft Systems             9026056                                   Undetermined


Great Divide Insurance Company (WWFI)              General Liability (Part Of       CNA750862413                                   Undetermined
                                                   Production Package) Film Package
                                                   Policy (Part Of Production
                                                   Package)
Hiscox                                             Crime                            UKA301851022                                   Undetermined


Hudson                                             Management Lines-D&O                  HN03038247122922                          Undetermined


Landmark American Insurance Company (Amwins)       Difference In Conditions ($5M PO      LHQ429690                                 Undetermined
                                                   $10M)

Liberty Mutual Insurance Company                   Crime                                 PACRABDWLS027                             Undetermined


Lloyd's (Falvey Cargo Underwriting)                Cargo                                 7000025                                   Undetermined


Lloyd's Starstone (Vikco) (Amwins)                 Difference In Conditions ($5M PO      VS592200599                               Undetermined
                                                   $10M)

Old Republic                                       Workers Compensation                  0CAD05303003                              Undetermined


Sompo                                              Management Lines-D&O                  ADX30014678101                            Undetermined


Sompo                                              Management Lines-D&O                  DOX30029064100                            Undetermined


Starr                                              Management Lines-D&O                  1000623793221                             Undetermined


The Hartford                                       Management Lines-D&O                  34DA041096222                             Undetermined


Tokio Marine America Company                       Environmental Pollution Liability     PPK2343847                                Undetermined


Underwriters At Lloyd's London                     Aircraft Hull & Liability             GA2204956                                 Undetermined


Underwriters At Lloyd's London                     Excess Avn 52E                        GA2204958                                 Undetermined


Underwriters At Lloyd's London                     Hull Deductible                       GA2204959                                 Undetermined


Underwriters At Lloyd's London                     Hull War                              GA2204960                                 Undetermined




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                              Case 23-10408-KBO                 Doc 4        Filed 04/24/23           Page 33 of 626
Debtor Name: Virgin Orbit, LLC                                                                                     Case Number: 23-10408

                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number            Current value of debtor's
(Description)                                                                                                     interest
Various Insurers                                   D&O Tail                              TBD                                       Undetermined


Zurich                                             Excess Liability                      AEC698650000                              Undetermined


                                                                                         TOTAL                                                $0.00
                                                                                                                            + Undetermined Amounts




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                              Case 23-10408-KBO                  Doc 4        Filed 04/24/23           Page 34 of 626
Debtor Name: Virgin Orbit, LLC                                                                                      Case Number: 23-10408

                                                           Assets - Real and Personal Property


                                             Part 11, Question 77: Other property of any kind not already listed



Other property of any kind not already listed                                         Current value of debtor's
Examples: Season tickets, country club membership                                     interest
Construction in Progress                                                                                                          $15,295,297.96


FSA Employees Receivable                                                                                                             $85,184.73


Intercompany Receivable - Virgin Orbit Holdings, Inc.                                                                             $22,160,384.45


Intercompany Receivable - Vieco USA, Inc.                                                                                          $2,040,554.31


Intercompany Receivable - Virgin Orbit National Systems, LLC                                                                        $344,138.34


Intercompany Receivable - Virgin Orbit UK Ltd.                                                                                     $9,549,893.95


Intercompany Receivable - JACM Holdings, Inc.                                                                                          $1,825.00


TOTAL                                                                                                                             $49,477,278.74




                                                                        Page 1 of 1
 Fill in this information Case   23-10408-KBO
                          to identify the case:                                     Doc 4          Filed 04/24/23             Page 35 of 626

 Debtor name        Virgin Orbit, LLC

 United States Bankruptcy Court for the:           District of Delaware                                                                                    ¨ Check if this is an
                                                                                                                                                                 amended filing
 Case number (If known):          23-10408


 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                      12/15
 Be as complete and accurate as possible.
 1. Do any creditors have claims secured by debtor's property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      þ Yes. Fill in all of the information below.
 Part 1: List Creditors Who Have Secured Claims
                                                                                                                                       Column A                  Column B
  2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                                 Amount of Claim           Value of collateral
     secured claim, list the creditor separately for each claim.                                                                       Do not deduct the value   that supports this
                                                                                                                                       of collateral.            claim
2.1     Creditor's name                                               Describe debtor’s property that is subject to a lien
        BANK OF THE WEST D/B/A NETAPP CAPITAL                       As provided in the UCC Financing Statement
        SOLUTIONS                                                                                                                      $        Undetermined     $          Undetermined

        Creditor's mailing address
        1625 W. FOUNTAINHEAD PKWY, 10TH FLOOR
        TEMPE, AZ 85282
                                                                     Describe the lien
                                                                    Delaware UCC financing statement file number 20192484454; File date
                                                                    04/10/2019

        Creditor's email address, if known                            Is the creditor an insider or related party?
                                                                      þ No
                                                                      ¨ Yes
        Date debt was incurred             04/10/2019
                                                                      Is anyone else liable on this claim?
        Last 4 digits of account                                      þ No
        number
                                                                      ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                                As of the petition filing date, the claim is:
                                                                      Check all that apply.
        þ No
        ¨ Yes. Specify each creditor, including this                  þ Contingent
            creditor, and its relative priority.                      þ Unliquidated
                                                                      ¨ Disputed
2.2     Creditor's name                                               Describe debtor’s property that is subject to a lien
        CANON FINANCIAL SERVICES, INC.                                As provided in the UCC Financing Statement
                                                                                                                                       $        Undetermined     $          Undetermined
        Creditor's mailing address
        158 GAITHER DRIVE, SUITE 200
        MT. LAUREL, NJ 08054
                                                                      Describe the lien
                                                                      Delaware UCC financing statement file number 20220526135; File
                                                                      date 12/20/2022
        Creditor's email address, if known                            Is the creditor an insider or related party?
                                                                      þ No
                                                                      ¨ Yes
        Date debt was incurred             12/20/2022
                                                                      Is anyone else liable on this claim?
        Last 4 digits of account                                      þ No
        number
                                                                      ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                                As of the petition filing date, the claim is:
                                                                      Check all that apply.
        þ No
        ¨ Yes. Have you already specified the relative                þ Contingent
            priority?                                                 þ Unliquidated
            ¨ No. Specify each creditor, including this               ¨ Disputed
                      creditor, and its relative priority.



            ¨ Yes. The relative priority of creditors is
                       specified on lines

  3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                                  $ 72,153,699.99

                                                                                                                                                                     + Undetermined Amounts



       Official Form 206D                                   Schedule D: Creditors Who Have Claims Secured by Property                                                    Page 1 of 7
                                       Case 23-10408-KBO                   Doc 4          Filed 04/24/23              Page 36 of 626
Debtor     Virgin Orbit, LLC                                                                              Case number (If known): 23-10408
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.3      Creditor's name                                     Describe debtor’s property that is subject to a lien
         CORPORATION SERVICE COMPANY, AS                     As provided in the UCC Financing Statement
         REPRESENTATIVE
                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         801 ADLAI STEVENSON
         SPRINGFIELD, IL 62706
                                                             Describe the lien
                                                            Delaware UCC financing statement file number 20192951288; File
                                                            date 04/29/2019

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?
         UCCSPREP@CSCINFO.COM
                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           04/29/2019
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.4      Creditor's name                                     Describe debtor’s property that is subject to a lien
         CORPORATION SERVICE COMPANY, AS                     As provided in the UCC Financing Statement
         REPRESENTATIVE
                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         PO BOX 2576
         SPRINGFIELD, IL 62708
                                                             Describe the lien
                                                            Delaware UCC financing statement file number 20217120380; File
                                                            date 09/08/2021

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?
         UCCSPREP@CSCINFO.COM
                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           09/08/2021
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    Page 2 of 7
                                       Case 23-10408-KBO                   Doc 4          Filed 04/24/23              Page 37 of 626
Debtor     Virgin Orbit, LLC                                                                              Case number (If known): 23-10408
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.5      Creditor's name                                     Describe debtor’s property that is subject to a lien
         ELECTRO RENT CORPORATION                            As provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         8511 FALLBROOK AVENUE
         SUITE 200
         WEST HILLS, CA 91304                                Describe the lien
                                                            Delaware UCC financing statement file number 20196210392; File
                                                            date 09/06/2019

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           09/06/2019
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.6      Creditor's name                                     Describe debtor’s property that is subject to a lien
         SUMITOMO MITSUI FINANCE & LEASING CO.,              As provided in the UCC Financing Statement
         LTD.
                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         277 PARK AVENUE
         NEW YORK, NY 10172
                                                             Describe the lien
                                                            Delaware UCC financing statement file number 20224742987; File
                                                            date 06/06/2022

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           06/06/2022
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    Page 3 of 7
                                       Case 23-10408-KBO                   Doc 4          Filed 04/24/23              Page 38 of 626
Debtor     Virgin Orbit, LLC                                                                              Case number (If known): 23-10408
           Name


                                                                                                                                  Column A                Column B
   Part 1:         Additional Page                                                                                                Amount of Claim         Value of collateral
                                                                                                                                  Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                          of collateral.          claim
   from the previous page.

2.7      Creditor's name                                     Describe debtor’s property that is subject to a lien
         U.S. BANK EQUIPMENT FINANCE, A DIVISION             As provided in the UCC Financing Statement
         OF U.S. BANK NATIONAL ASSOCIATION
                                                                                                                                  $          Undetermined $        Undetermined
         Creditor's mailing address
         1310 MADRID STREET
         MARSHALL, MN 56258
                                                             Describe the lien
                                                            Delaware UCC financing statement file number 20214618659; File
                                                            date 06/14/2021

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           06/14/2021
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.8      Creditor's name                                     Describe debtor’s property that is subject to a lien
         VIRGIN INVESTMENTS LIMITED                          All assets of the Debtor whether now owned or acquired

                                                                                                                                  $          25,620,833.33 $       Undetermined
         Creditor's mailing address
         CRAIGMUIR CHAMBERS
         ROAD TOWN TORTOLA, VG1110
         VIRGIN ISLANDS                                      Describe the lien
                                                            Guarantor of 2022 Senior Secured Convertible Note. Issued 11/4/2022
                                                            and Due 11/4/2024

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?
         vghl@harneys.com
                                                              ¨ No
                                                              þ Yes
         Date debt was incurred           11/04/2022
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     Page 4 of 7
                                       Case 23-10408-KBO                   Doc 4          Filed 04/24/23              Page 39 of 626
Debtor     Virgin Orbit, LLC                                                                              Case number (If known): 23-10408
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.9      Creditor's name                                     Describe debtor’s property that is subject to a lien
         VIRGIN INVESTMENTS LIMITED                          All assets of the Debtor whether now owned or acquired

                                                                                                                                 $           20,350,000.00 $       Undetermined
         Creditor's mailing address
         CRAIGMUIR CHAMBERS
         ROAD TOWN TORTOLA, VG1110
         VIRGIN ISLANDS                                      Describe the lien
                                                            Guarantor of 2022 Senior Secured Convertible Note. Issued
                                                            12/19/2022 and Due 11/4/2024

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?
         vghl@harneys.com
                                                              ¨ No
                                                              þ Yes
         Date debt was incurred           12/19/2022
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.10     Creditor's name                                     Describe debtor’s property that is subject to a lien
         VIRGIN INVESTMENTS LIMITED                          All assets of the Debtor whether now owned or acquired

                                                                                                                                 $           10,213,333.33 $       Undetermined
         Creditor's mailing address
         CRAIGMUIR CHAMBERS
         ROAD TOWN TORTOLA, VG1110
         VIRGIN ISLANDS                                      Describe the lien
                                                            Guarantor of 2023 Senior Secured Convertible Note. Issued
                                                            1/30/2023 and Due 11/4/2024

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?
         vghl@harneys.com
                                                              ¨ No
                                                              þ Yes
         Date debt was incurred           01/30/2023
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     Page 5 of 7
                                       Case 23-10408-KBO                   Doc 4          Filed 04/24/23              Page 40 of 626
Debtor     Virgin Orbit, LLC                                                                              Case number (If known): 23-10408
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.11     Creditor's name                                     Describe debtor’s property that is subject to a lien
         VIRGIN INVESTMENTS LIMITED                          All assets of the Debtor whether now owned or acquired

                                                                                                                                 $            5,055,000.00 $       Undetermined
         Creditor's mailing address
         CRAIGMUIR CHAMBERS
         ROAD TOWN TORTOLA, VG1110
         VIRGIN ISLANDS                                      Describe the lien
                                                            Guarantor of 2023 Senior Secured Convertible Note. Issued
                                                            2/28/2023 and Due 11/4/2024

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?
         vghl@harneys.com
                                                              ¨ No
                                                              þ Yes
         Date debt was incurred           02/28/2023
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.12     Creditor's name                                     Describe debtor’s property that is subject to a lien
         VIRGIN INVESTMENTS LIMITED                          All assets of the Debtor whether now owned or acquired

                                                                                                                                 $           10,914,533.33 $       Undetermined
         Creditor's mailing address
         CRAIGMUIR CHAMBERS
         ROAD TOWN TORTOLA, VG1110
         VIRGIN ISLANDS                                      Describe the lien
                                                            Guarantor of 2023 Senior Secured Convertible Note. Issued
                                                            3/30/2023 and Due 11/4/2024

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?
         vghl@harneys.com
                                                              ¨ No
                                                              þ Yes
         Date debt was incurred           03/30/2023
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     Page 6 of 7
                                 Case 23-10408-KBO                       Doc 4         Filed 04/24/23               Page 41 of 626
 Debtor    Virgin Orbit, LLC                                                                            Case number (If known):     23-10408
           Name



Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                         On which line in Part 1         Last 4 digits of
   Name and address                                                                                                      did you enter the               account number
                                                                                                                         related creditor?               for this entity

   VIRGIN INVESTMENTS LIMITED
   ATTN: GENERAL COUNSEL                                                                                               Line 2.     11
   C/O VIRGIN MANAGEMENT USA INC
   65 BLEECKER ST, 6TH FLOOR
   NEW YORK, NY 10012

   VIRGIN INVESTMENTS LIMITED
   ATTN: GENERAL COUNSEL                                                                                               Line 2.      8
   C/O VIRGIN MANAGEMENT USA INC
   65 BLEECKER ST, 6TH FLOOR
   NEW YORK, NY 10012

   VIRGIN INVESTMENTS LIMITED
   ATTN: GENERAL COUNSEL                                                                                               Line 2.     10
   C/O VIRGIN MANAGEMENT USA INC
   65 BLEECKER ST, 6TH FLOOR
   NEW YORK, NY 10012

   VIRGIN INVESTMENTS LIMITED
   ATTN: GENERAL COUNSEL                                                                                               Line 2.     12
   C/O VIRGIN MANAGEMENT USA INC
   65 BLEECKER ST, 6TH FLOOR
   NEW YORK, NY 10012

   VIRGIN INVESTMENTS LIMITED
   ATTN: GENERAL COUNSEL                                                                                               Line 2.      9
   C/O VIRGIN MANAGEMENT USA INC
   65 BLEECKER ST, 6TH FLOOR
   NEW YORK, NY 10012


                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




    Official Form 206D                  Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 7 of 7
                                     Case 23-10408-KBO                    Doc 4       Filed 04/24/23            Page 42 of 626
   Fill in this information to identify the case:

    Debtor       Virgin Orbit, LLC


    United States Bankruptcy Court for the:   District of Delaware
                                                                                                                                                ¨ Check if this is an
    Case number      23-10408                                                                                                                         amended filing
    (If known)




 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
 claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets -
 Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the
 entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this
 form.


 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    ¨ No. Go to Part 2.
    þ Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more
    than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                         Total claim            Priority amount
2.1 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $                 296.00    $             296.00
    ADAMS, LINDSEY M.                                                Check all that apply.
    ADDRESS ON FILE
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
    Date or dates debt was incurred
    Undetermined
    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     þ No
    claim: 11 U.S.C. § 507(a) (4)                                    ¨ Yes
2.2 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $                 995.00    $             995.00
    AGUILAR, EDUARDO A                                               Check all that apply.
    ADDRESS ON FILE
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
    Date or dates debt was incurred
    Undetermined
    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     þ No
    claim: 11 U.S.C. § 507(a) (4)                                    ¨ Yes
2.3 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $             1,000.00      $           1,000.00
    AHUMADA, ERNIE RUBEN                                             Check all that apply.
    ADDRESS ON FILE
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
    Date or dates debt was incurred
    Undetermined
    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     þ No
    claim: 11 U.S.C. § 507(a) (4)                                    ¨ Yes


  Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1 of 436
  Debtor     Virgin Orbit, LLC   Case 23-10408-KBO             Doc 4       Filed 04/24/23    Page 43 of 626
                                                                                      Case number (If known) 23-10408
             Name


  Part 1:    Additional Page

Copy this page if more space is needed. Continue numbering the lines sequentially from the
                                                                                                          Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.4   Priority creditor’s name and mailing address                                                        $              48.97   $               48.97
      AHUMADA, RAMIRO                                     As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
      Undetermined

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes
2.5   Priority creditor’s name and mailing address                                                        $        1,401.33      $            1,401.33
      ALAS, EVELYN PATRICIA                               As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
      Undetermined

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes
2.6   Priority creditor’s name and mailing address                                                        $        2,000.00      $            2,000.00
      ALIVANERA, BRIAN                                    As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
      Undetermined

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes
2.7   Priority creditor’s name and mailing address                                                        $             953.93   $             953.93
      ALLAR, JEFFREY MICHAEL                              As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
      Undetermined

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes


  Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 2 of 436
  Debtor     Virgin Orbit, LLC   Case 23-10408-KBO             Doc 4       Filed 04/24/23    Page 44 of 626
                                                                                      Case number (If known) 23-10408
             Name


  Part 1:    Additional Page

Copy this page if more space is needed. Continue numbering the lines sequentially from the
                                                                                                          Total claim           Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.8   Priority creditor’s name and mailing address                                                        $             11.35   $               11.35
      ALVAREZ, RICHARD                                    As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
      Undetermined

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes
2.9   Priority creditor’s name and mailing address                                                        $        1,000.00     $            1,000.00
      AMBROSE, SETH P                                     As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
      Undetermined

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes
2.10 Priority creditor’s name and mailing address                                                         $        1,000.00     $            1,000.00
      ANDERSON, CHRISTOPHER STEVEN                        As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
      Undetermined

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes
2.11 Priority creditor’s name and mailing address                                                         $             0.63    $                   0.63
      ANDERSON, NEWTON E                                  As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
      Undetermined

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes


  Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 3 of 436
  Debtor     Virgin Orbit, LLC   Case 23-10408-KBO             Doc 4       Filed 04/24/23    Page 45 of 626
                                                                                      Case number (If known) 23-10408
             Name


  Part 1:    Additional Page

Copy this page if more space is needed. Continue numbering the lines sequentially from the
                                                                                                          Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.12 Priority creditor’s name and mailing address                                                         $        2,856.67      $            2,856.67
     APONTE, DIANA                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.13 Priority creditor’s name and mailing address                                                         $             197.76   $             197.76
     ARELLANO, LEXIE MARIE                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.14 Priority creditor’s name and mailing address                                                         $             138.14   $             138.14
     ASHDOWN, IAN                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.15 Priority creditor’s name and mailing address                                                         $        1,000.00      $            1,000.00
     ATMA, PETER NOAH                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


  Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 4 of 436
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                                                                                      Case number (If known) 23-10408
             Name


  Part 1:    Additional Page

Copy this page if more space is needed. Continue numbering the lines sequentially from the
                                                                                                          Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.16 Priority creditor’s name and mailing address                                                         $             616.00   $             616.00
     AUBE, AUSTIN HUNTER                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.17 Priority creditor’s name and mailing address                                                         $        2,000.00      $            2,000.00
     AURAND, TANNER MICHAEL                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.18 Priority creditor’s name and mailing address                                                         $        1,876.10      $            1,876.10
     AVILA, CECILIA                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.19 Priority creditor’s name and mailing address                                                         $              20.16   $               20.16
     AVILA, JESSE                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.20 Priority creditor’s name and mailing address                                                         $        2,000.00      $            2,000.00
     AZARTASH-NAMIN, SOLMOZ KATHLEEN                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.21 Priority creditor’s name and mailing address                                                         $             182.07   $             182.07
     BAE, JINWOO                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.22 Priority creditor’s name and mailing address                                                         $        2,000.00      $            2,000.00
     BAEZA, OLEGARIO                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.23 Priority creditor’s name and mailing address                                                         $             857.88   $             857.88
     BAHENA, CARLOS GERARDO                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.24 Priority creditor’s name and mailing address                                                         $        2,000.00      $            2,000.00
     BALBAS, JERRY TOLENTINO                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.25 Priority creditor’s name and mailing address                                                         $             239.30   $             239.30
     BARATTA, ALEXANDER R                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.26 Priority creditor’s name and mailing address                                                         $              38.12   $               38.12
     BARKEY, DYLAN                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.27 Priority creditor’s name and mailing address                                                         $              83.47   $               83.47
     BARRETO, MARTA AMELIA                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.28 Priority creditor’s name and mailing address                                                         $             3.13   $                   3.13
     BARRIENTOS, JEFFREY                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.29 Priority creditor’s name and mailing address                                                         $        1,000.00    $            1,000.00
     BATISTA, GEOFF                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.30 Priority creditor’s name and mailing address                                                         $        1,224.93    $            1,224.93
     BEASLEY, ERIK                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.31 Priority creditor’s name and mailing address                                                         $             9.51   $                   9.51
     BEAVERS, DONOVAN MICHAEL                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.32 Priority creditor’s name and mailing address                                                         $             71.87   $               71.87
     BEAVERS, ELLIOTT                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.33 Priority creditor’s name and mailing address                                                         $        1,056.16     $            1,056.16
     BENITES, DANIEL ERIC                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.34 Priority creditor’s name and mailing address                                                         $             22.89   $               22.89
     BENITES, JUSTIN B                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.35 Priority creditor’s name and mailing address                                                         $        2,008.94     $            2,008.94
     BENTON, RICHARD K                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.36 Priority creditor’s name and mailing address                                                         $        2,740.51      $         2,740.51
     BESS, MICHAEL P                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.37 Priority creditor’s name and mailing address                                                         $             749.29   $           749.29
     BETTENCOURT, KINSEY R                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.38 Priority creditor’s name and mailing address                                                         $              75.45   $            75.45
     BLACKBURN, JUSTIN RAY                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.39 Priority creditor’s name and mailing address                                                         $             709.38   $           709.38
     BLACKWELL, DAVID                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.40 Priority creditor’s name and mailing address                                                         $        2,865.83      $         2,865.83
     BLANCO, NELSON STEVE                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.41 Priority creditor’s name and mailing address                                                         $             879.30   $           879.30
     BLAYLOCK, DARRYL R.                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.42 Priority creditor’s name and mailing address                                                         $              95.95   $            95.95
     BLISS, ROBERT W                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.43 Priority creditor’s name and mailing address                                                         $             995.00   $           995.00
     BLOUNT, DEJON                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.44 Priority creditor’s name and mailing address                                                         $             373.00   $           373.00
     BLUA, JAMES M                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.45 Priority creditor’s name and mailing address                                                         $             417.13   $           417.13
     BONDAREV, GEORGE                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.46 Priority creditor’s name and mailing address                                                         $        2,815.37      $         2,815.37
     BONGIORNO, MICHAEL                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.47 Priority creditor’s name and mailing address                                                         $        1,000.00      $         1,000.00
     BONNER, TARIQ BILAL                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.48 Priority creditor’s name and mailing address                                                         $             202.03   $           202.03
     BOONLUA, LODLIRS                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.49 Priority creditor’s name and mailing address                                                         $             989.00   $           989.00
     BOUDREAU, LORI ANN                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.50 Priority creditor’s name and mailing address                                                         $             938.35   $           938.35
     BREEN, KEVIN                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.51 Priority creditor’s name and mailing address                                                         $        1,971.86      $         1,971.86
     BROOK, BRYAN JAMES                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.52 Priority creditor’s name and mailing address                                                         $        2,000.00      $         2,000.00
     BROWN, CHRISTOPHER DEREK                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.53 Priority creditor’s name and mailing address                                                         $        3,000.00      $         3,000.00
     BROWN, MATTHEW COREY                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.54 Priority creditor’s name and mailing address                                                         $        1,000.00      $         1,000.00
     BUCHBINDER, MICHAEL                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.55 Priority creditor’s name and mailing address                                                         $             166.50   $           166.50
     BUEHLER, BRANDON KYLE                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.56 Priority creditor’s name and mailing address                                                         $             366.72   $           366.72
     BUENROSTRO, MIGUEL                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.57 Priority creditor’s name and mailing address                                                         $               1.80   $             1.80
     BUNNATH, POUMARA JIMMY                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.58 Priority creditor’s name and mailing address                                                         $             672.42   $           672.42
     BUNTING, STEVEN THOMAS                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.59 Priority creditor’s name and mailing address                                                         $             100.00   $           100.00
     BURGOS, NATALIE ANN                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.60 Priority creditor’s name and mailing address                                                         $        1,000.00      $         1,000.00
     BURY, CHRISTOPHER EDWARD                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.61 Priority creditor’s name and mailing address                                                         $             103.16   $           103.16
     BUSCH, TIMOTHY MICHAEL                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.62 Priority creditor’s name and mailing address                                                         $             204.35   $           204.35
     BYRD, NATHAN MONTE                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.63 Priority creditor’s name and mailing address                                                         $        1,000.00      $         1,000.00
     CABANILLAS, EMILIO MACHO                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.64 Priority creditor’s name and mailing address                                                         $        1,000.00     $         1,000.00
     CABRERA, SOFIA MARIE                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.65 Priority creditor’s name and mailing address                                                         $        1,678.59     $         1,678.59
     CALDERON, EDDIE                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.66 Priority creditor’s name and mailing address                                                         $        1,631.12     $         1,631.12
     CALLAHAN, KEVIN GERARD                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.67 Priority creditor’s name and mailing address                                                         $             55.64   $            55.64
     CALLEROS, OMAR                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.68 Priority creditor’s name and mailing address                                                         $              2.40   $             2.40
     CAMPOS, LUIS D                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.69 Priority creditor’s name and mailing address                                                         $        2,000.00     $         2,000.00
     CANCHOLA, DONALD EDWARD                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.70 Priority creditor’s name and mailing address                                                         $        2,759.70     $         2,759.70
     CANNON, MICHAEL KENNETH                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.71 Priority creditor’s name and mailing address                                                         $             77.53   $            77.53
     CAPP, JOSEPH                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.72 Priority creditor’s name and mailing address                                                         $             913.81   $           913.81
     CARDENAS, ANDRES                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.73 Priority creditor’s name and mailing address                                                         $               5.45   $             5.45
     CARLOMUSTO, MICHELLE                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.74 Priority creditor’s name and mailing address                                                         $        1,000.00      $         1,000.00
     CARRILLO, JOHAN                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.75 Priority creditor’s name and mailing address                                                         $        1,000.00      $         1,000.00
     CARTER, JEFFREY                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.76 Priority creditor’s name and mailing address                                                         $        1,000.00    $          1,000.00
     CASAS, RIGOBERTO                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.77 Priority creditor’s name and mailing address                                                         $        1,995.00    $          1,995.00
     CASTANON, EVELIA                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.78 Priority creditor’s name and mailing address                                                         $        1,758.41    $          1,758.41
     CASTANON, PRISCILA                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.79 Priority creditor’s name and mailing address                                                         $             7.84   $              7.84
     CASTILLO, ISAAC                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.80 Priority creditor’s name and mailing address                                                         $        2,738.50      $         2,738.50
     CASTRO, JOSE ALFREDO                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.81 Priority creditor’s name and mailing address                                                         $             970.18   $           970.18
     CASTRO, NATHAN GREGORY                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.82 Priority creditor’s name and mailing address                                                         $               2.60   $             2.60
     CAYAX-MENDOZA, JONATHAN                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.83 Priority creditor’s name and mailing address                                                         $        2,573.72      $         2,573.72
     CERVANTES, REYNA NINA                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.84 Priority creditor’s name and mailing address                                                         $        1,000.00     $         1,000.00
     CEVALLOS, LEO                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.85 Priority creditor’s name and mailing address                                                         $        3,000.00     $         3,000.00
     CHAISSON, BRYAN                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.86 Priority creditor’s name and mailing address                                                         $             54.63   $            54.63
     CHAN, ERIC                                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.87 Priority creditor’s name and mailing address                                                         $        1,000.00     $         1,000.00
     CHANG, ASHLEY                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.88 Priority creditor’s name and mailing address                                                         $             964.08   $           964.08
     CHAVARIN, CARLOS ALEJANDRO                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.89 Priority creditor’s name and mailing address                                                         $        1,000.00      $         1,000.00
     CHAVEZ, ALFONSO IVAN                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.90 Priority creditor’s name and mailing address                                                         $        2,000.00      $         2,000.00
     CHEA, SAVON                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.91 Priority creditor’s name and mailing address                                                         $        3,000.00      $         3,000.00
     CHENG, DA                                            As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.92 Priority creditor’s name and mailing address                                                         $        1,740.63      $         1,740.63
     CHENG, JOSHUA                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.93 Priority creditor’s name and mailing address                                                         $             278.61   $           278.61
     CHIAPPARINE, STEVEN MATHEW                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.94 Priority creditor’s name and mailing address                                                         $             476.38   $           476.38
     CHRISTINA, JOSEPH                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.95 Priority creditor’s name and mailing address                                                         $        1,000.00      $         1,000.00
     COLE, CRAIG LAWRENCE                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.96 Priority creditor’s name and mailing address                                                         $        1,258.25      $         1,258.25
     COLLINS, ZACHARY A                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.97 Priority creditor’s name and mailing address                                                         $             996.16   $           996.16
     COLVIN, EUGENE D                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.98 Priority creditor’s name and mailing address                                                         $        1,000.00      $         1,000.00
     CONDRA, MICHAEL A                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.99 Priority creditor’s name and mailing address                                                         $             854.97   $           854.97
     CONTRERAS, EDWARD MEDINA                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.100 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     COPELAND, JAMES                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.101 Priority creditor’s name and mailing address                                                        $        3,000.00      $         3,000.00
     COREY, COLLIN                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.102 Priority creditor’s name and mailing address                                                        $             876.00   $           876.00
     CORONA, EDUARDO                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.103 Priority creditor’s name and mailing address                                                        $        2,245.63      $         2,245.63
     COTTRILL, KENNA                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.104 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     COTZOMI, HUMBERTO                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.105 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     CREEL, DOUGLAS DWAIN                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.106 Priority creditor’s name and mailing address                                                        $        1,900.07      $         1,900.07
     CRENSHAW, ANTHONY WALTER                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.107 Priority creditor’s name and mailing address                                                        $             807.80   $           807.80
     CUELLAR, GINA                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.108 Priority creditor’s name and mailing address                                                        $             387.27   $           387.27
     CULBERTSON, JOHN ROBERT                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.109 Priority creditor’s name and mailing address                                                        $        1,760.15      $         1,760.15
     CYLKOWSKI, EARL V                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.110 Priority creditor’s name and mailing address                                                        $             522.55   $           522.55
     DAM, GEOFFREY PHI                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.111 Priority creditor’s name and mailing address                                                        $        1,481.57      $         1,481.57
     DANG, BERNICE                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.112 Priority creditor’s name and mailing address                                                        $             452.54   $           452.54
     DAVILA, DAYLAN                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.113 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     DE SOUZA, ALEXANDER                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.114 Priority creditor’s name and mailing address                                                        $             720.00   $           720.00
     DEAGLE, KENNETH EDWARD                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.115 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     DERUYTER, PAIGE                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.116 Priority creditor’s name and mailing address                                                        $        2,943.58      $         2,943.58
     DHING, SIDDHARTH                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.117 Priority creditor’s name and mailing address                                                        $         2,436.11     $         2,436.11
     DIAZ, JOSEPH GABRIEL                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.118 Priority creditor’s name and mailing address                                                        $             911.91   $           911.91
     DICKSTEIN, DYLAN                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.119 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     DIRECTO, CARLOS                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.120 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     DIVINITY, SHEYLA TANAIRY                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.121 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     DONNELLY, JAMES                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.122 Priority creditor’s name and mailing address                                                        $             833.38   $           833.38
     DOUGLAS, WILLIAM                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.123 Priority creditor’s name and mailing address                                                        $             159.28   $           159.28
     D'SOUZA, NEIL                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.124 Priority creditor’s name and mailing address                                                        $        1,000.00    $          1,000.00
     DUCHON, DOUGLAS SAMUEL                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.125 Priority creditor’s name and mailing address                                                        $        1,000.00    $          1,000.00
     DUNCAN, BENJAMIN J                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.126 Priority creditor’s name and mailing address                                                        $        1,958.15    $          1,958.15
     DUNN, RICHARD                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.127 Priority creditor’s name and mailing address                                                        $             9.46   $              9.46
     DURAN, RICHARD                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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2.128 Priority creditor’s name and mailing address                                                        $        2,566.88      $         2,566.88
     EARLEY, ERIC A                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.129 Priority creditor’s name and mailing address                                                        $             284.05   $           284.05
     EDGERTON, JACK ODELL                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.130 Priority creditor’s name and mailing address                                                        $             285.21   $           285.21
     EDWARDS, ANDREW L                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.131 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     EISELE, STEPHEN KARL                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.132 Priority creditor’s name and mailing address                                                        $               0.80   $             0.80
     ELLIS, ASHLEY                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.133 Priority creditor’s name and mailing address                                                        $             142.43   $           142.43
     ENRIQUEZ, DAVID MANUEL                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.134 Priority creditor’s name and mailing address                                                        $              32.25   $            32.25
     ENRIQUEZ, JOSE                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.135 Priority creditor’s name and mailing address                                                        $               1.22   $             1.22
     ENRIQUEZ, MATEO                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.136 Priority creditor’s name and mailing address                                                        $             391.00   $           391.00
     ESQUIVEL FLORES, MYNOR DANIEL                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.137 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     FAHRNY, JAMES NICHOLAS                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.138 Priority creditor’s name and mailing address                                                        $        1,194.15      $         1,194.15
     FALCON, CYNTHIA MARIE                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.139 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     FAROOQ, ATIF                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.140 Priority creditor’s name and mailing address                                                        $             311.90   $           311.90
     FEKADU, BEIMNET HAILU                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.141 Priority creditor’s name and mailing address                                                        $             861.84   $           861.84
     FEREGRINO VEGA, MANUEL                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.142 Priority creditor’s name and mailing address                                                        $             960.00   $           960.00
     FIALA, RONALD MARTIN                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.143 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     FINN, PATRICK                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.144 Priority creditor’s name and mailing address                                                        $        2,160.36      $         2,160.36
     FLETES, JOSE                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.145 Priority creditor’s name and mailing address                                                        $               0.89   $             0.89
     FLORES, ANGELINA                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.146 Priority creditor’s name and mailing address                                                        $             168.56   $           168.56
     FLORES, CHRISTOPHER NICHOLAS                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.147 Priority creditor’s name and mailing address                                                        $             194.30   $           194.30
     FONG, THOMAS                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.148 Priority creditor’s name and mailing address                                                        $             104.15   $           104.15
     FORSYTH, ROBERT THOMAS                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.149 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     FOSTER, NICHOLAS P                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.150 Priority creditor’s name and mailing address                                                        $              29.04   $            29.04
     FOWLER, TIFFANI                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.151 Priority creditor’s name and mailing address                                                        $        1,279.17      $         1,279.17
     FRANCIS, MARK PAUL                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.152 Priority creditor’s name and mailing address                                                        $        1,587.82    $          1,587.82
     FRANCISCO, MARGRETTE ANGELA                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.153 Priority creditor’s name and mailing address                                                        $        1,000.00    $          1,000.00
     FRICKE, JENIFER                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.154 Priority creditor’s name and mailing address                                                        $             2.75   $              2.75
     FROCCHI, KAILEE                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.155 Priority creditor’s name and mailing address                                                        $        2,080.87    $          2,080.87
     FULLER, JOHN D                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.156 Priority creditor’s name and mailing address                                                        $             960.00   $           960.00
     FURBISH, NICHOLAS FRANK                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.157 Priority creditor’s name and mailing address                                                        $        2,515.22      $         2,515.22
     FUSCO, DAVID                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.158 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     GADD, JUAN PABLO                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.159 Priority creditor’s name and mailing address                                                        $        3,000.00      $         3,000.00
     GAIKWAD, SANGRAM KRISHNA                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.160 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     GAMBLE, DAVID BALDWIN                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.161 Priority creditor’s name and mailing address                                                        $              6.12   $             6.12
     GARCIA MORELOS, SAM                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.162 Priority creditor’s name and mailing address                                                        $             29.22   $            29.22
     GARCIA, ANGELICA                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.163 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     GARCIA, CHRISTIAN XAVIER                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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2.164 Priority creditor’s name and mailing address                                                        $              20.95   $            20.95
     GARCIA, FRANCISCO                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.165 Priority creditor’s name and mailing address                                                        $              53.57   $            53.57
     GARCIA, MARIO                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.166 Priority creditor’s name and mailing address                                                        $             184.88   $           184.88
     GARCILAZO, MISAEL AMILCAR                            As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.167 Priority creditor’s name and mailing address                                                        $              70.89   $            70.89
     GARIBAY, JONATHAN                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.168 Priority creditor’s name and mailing address                                                        $        1,795.00      $         1,795.00
     GARLAND, STEVEN RICHARD                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.169 Priority creditor’s name and mailing address                                                        $             325.75   $           325.75
     GEARY, CHRISTOPHER I                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.170 Priority creditor’s name and mailing address                                                        $             350.90   $           350.90
     GEE, BAXTER                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.171 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     GERMAIN, TROY                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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2.172 Priority creditor’s name and mailing address                                                        $             580.29   $           580.29
     GIBBS, TEENA J                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.173 Priority creditor’s name and mailing address                                                        $             507.77   $           507.77
     GIL, OSCAR ANDRE                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.174 Priority creditor’s name and mailing address                                                        $              14.47   $            14.47
     GILMORE, TRENT CHARLES                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.175 Priority creditor’s name and mailing address                                                        $             836.62   $           836.62
     GIOFFREDI, CHARLES                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.176 Priority creditor’s name and mailing address                                                        $        3,000.00   $           3,000.00
     GODINEZ, NOEL ADRIAN                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.177 Priority creditor’s name and mailing address                                                        $        2,850.00   $           2,850.00
     GODOY, AMANDA JANE                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.178 Priority creditor’s name and mailing address                                                        $        1,439.02   $           1,439.02
     GOLD, JEFFREY                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.179 Priority creditor’s name and mailing address                                                        $        2,910.29   $           2,910.29
     GOLDSTEIN, JESSE                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.180 Priority creditor’s name and mailing address                                                        $              88.65   $            88.65
     GOMEZ, ANDREW RAFAEL                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.181 Priority creditor’s name and mailing address                                                        $             471.00   $           471.00
     GOMEZ, RUBEN                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.182 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     GOMMI, ZACHARY                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.183 Priority creditor’s name and mailing address                                                        $              31.04   $            31.04
     GONZALEZ, DANIEL                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.184 Priority creditor’s name and mailing address                                                        $        2,000.00   $           2,000.00
     GONZALEZ, REYANN                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.185 Priority creditor’s name and mailing address                                                        $        1,000.00   $           1,000.00
     GORE, KYLE                                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.186 Priority creditor’s name and mailing address                                                        $        1,000.00   $           1,000.00
     GRASSL, ROLAND REINHOLD                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.187 Priority creditor’s name and mailing address                                                        $        1,000.00   $           1,000.00
     GREAVES, JACKSON R                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.188 Priority creditor’s name and mailing address                                                        $             23.30   $            23.30
     GREMBOWSKI, BRIANNA                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.189 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     GRIFFIN, LUCAS                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.190 Priority creditor’s name and mailing address                                                        $             56.81   $            56.81
     GRINNELL, TYLER JAMES                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.191 Priority creditor’s name and mailing address                                                        $              8.20   $             8.20
     GRIZZELL, KENNETH WILLIAM                            As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.192 Priority creditor’s name and mailing address                                                        $        2,505.00      $         2,505.00
     GRUVER, MICHAEL                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.193 Priority creditor’s name and mailing address                                                        $             192.63   $           192.63
     GUADAN, PETER BEAS                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.194 Priority creditor’s name and mailing address                                                        $             485.94   $           485.94
     GUARDADO, RUBEN                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.195 Priority creditor’s name and mailing address                                                        $              44.23   $            44.23
     GUERRERO, ADRIAN R                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.196 Priority creditor’s name and mailing address                                                        $             900.00   $           900.00
     GUEVARA, GIANCARLO ALFREDO                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.197 Priority creditor’s name and mailing address                                                        $        2,367.17      $         2,367.17
     GUEVARA, MARIO                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.198 Priority creditor’s name and mailing address                                                        $             203.39   $           203.39
     GURROLA, BRETT ANTHONY                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.199 Priority creditor’s name and mailing address                                                        $               2.05   $             2.05
     GUTIERREZ, CHRISTOPHER                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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2.200 Priority creditor’s name and mailing address                                                        $             648.46   $           648.46
     HA, SON                                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.201 Priority creditor’s name and mailing address                                                        $              98.84   $            98.84
     HALLER, BRENDA TERESE                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.202 Priority creditor’s name and mailing address                                                        $        2,930.00      $         2,930.00
     HAMMONS, PERRY VICTOR                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.203 Priority creditor’s name and mailing address                                                        $               1.00   $             1.00
     HAN, JI SUN J                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.204 Priority creditor’s name and mailing address                                                        $        2,000.00   $           2,000.00
     HARRIS, JESSE EDWARD                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.205 Priority creditor’s name and mailing address                                                        $        1,000.00   $           1,000.00
     HATHAWAY, KEITH ALEX                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.206 Priority creditor’s name and mailing address                                                        $        2,000.00   $           2,000.00
     HAWORTH, NOEL E                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.207 Priority creditor’s name and mailing address                                                        $        2,000.00   $           2,000.00
     HAYES, PATRICK                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.208 Priority creditor’s name and mailing address                                                        $             536.12   $           536.12
     HELLOFS, DARRELL                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.209 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     HENDRIKSE, MARC                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.210 Priority creditor’s name and mailing address                                                        $              82.90   $            82.90
     HEREDIA BARRERA, HUGO                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.211 Priority creditor’s name and mailing address                                                        $        1,837.17      $         1,837.17
     HERNANDEZ, ELY                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.212 Priority creditor’s name and mailing address                                                        $        1,322.59     $         1,322.59
     HERNANDEZ, VILMA F                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.213 Priority creditor’s name and mailing address                                                        $             44.17   $            44.17
     HERRERA, ALFONSO                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.214 Priority creditor’s name and mailing address                                                        $              5.73   $             5.73
     HERRERA, EDDIE                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.215 Priority creditor’s name and mailing address                                                        $             72.14   $            72.14
     HERRERA, VICENTE                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.216 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     HIDALGO, JORGE R                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.217 Priority creditor’s name and mailing address                                                        $        2,654.19      $         2,654.19
     HIGGINS, RUSSELL GORDON                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.218 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     HIGHTOWER, SIGMUND                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.219 Priority creditor’s name and mailing address                                                        $             777.86   $           777.86
     HILL, JUSTIN MANNAN                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.220 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     HITTU, EDWARD                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.221 Priority creditor’s name and mailing address                                                        $             821.20   $           821.20
     HO, NGHIA                                            As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.222 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     HO, TIMOTHY TIN-YIN                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.223 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     HOLLANDER, MAXIMILIAN                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.224 Priority creditor’s name and mailing address                                                        $             30.33   $            30.33
     HOLLING, BLAZIE                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.225 Priority creditor’s name and mailing address                                                        $        1,718.35     $         1,718.35
     HOLT, MICHAEL DANA                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.226 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     HOO, JUSON                                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.227 Priority creditor’s name and mailing address                                                        $        1,504.46     $         1,504.46
     HOSE, ZACHARY                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.228 Priority creditor’s name and mailing address                                                        $             296.74   $           296.74
     HOWARD, RICKY DAVID                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.229 Priority creditor’s name and mailing address                                                        $             139.79   $           139.79
     HUERTA, MICHAEL S.                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.230 Priority creditor’s name and mailing address                                                        $             182.58   $           182.58
     HUNZIKER, JAMIE                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.231 Priority creditor’s name and mailing address                                                        $               1.51   $             1.51
     HURST, CHRISTOPHER                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim           Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.232 Priority creditor’s name and mailing address                                                        $        2,824.29     $         2,824.29
     INGRAHAM, CHRISTOPHER WELLS                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.233 Priority creditor’s name and mailing address                                                        $        2,102.05     $         2,102.05
     IRUNGU, STEPHEN                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.234 Priority creditor’s name and mailing address                                                        $             65.47   $            65.47
     JACALONE, TRAVIS                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.235 Priority creditor’s name and mailing address                                                        $        1,916.66     $         1,916.66
     JACKSON, JAMES E                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.236 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     JACOB, MANHAL NASSER                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.237 Priority creditor’s name and mailing address                                                        $             925.78   $           925.78
     JAN, MONICA S                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.238 Priority creditor’s name and mailing address                                                        $             630.36   $           630.36
     JANJUA, FAIZAN                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.239 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     JARVIS, DANIEL PAUL                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.240 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     JENSEN, KAEHUKAI EDWARD                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.241 Priority creditor’s name and mailing address                                                        $             920.00   $           920.00
     JIMENEZ, ANDREW STEVEN                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.242 Priority creditor’s name and mailing address                                                        $              41.42   $            41.42
     JIMENEZ, JOHNNY ROBERT                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.243 Priority creditor’s name and mailing address                                                        $        3,000.00      $         3,000.00
     JOHNSON, GARY                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.244 Priority creditor’s name and mailing address                                                        $              55.33   $            55.33
     JOHNSON, MARLON                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.245 Priority creditor’s name and mailing address                                                        $              28.84   $            28.84
     JOHNSON, TREVOR                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.246 Priority creditor’s name and mailing address                                                        $             186.76   $           186.76
     JOHNSTON, KEVIN                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.247 Priority creditor’s name and mailing address                                                        $             382.27   $           382.27
     JONES, KEVON ONEAL                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.248 Priority creditor’s name and mailing address                                                        $             200.81   $           200.81
     JONES, RYAN SCOTT                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.249 Priority creditor’s name and mailing address                                                        $             985.00   $           985.00
     JONES-SICKLER, ERIN KELLY                            As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.250 Priority creditor’s name and mailing address                                                        $               0.69   $             0.69
     KANG, RONALD                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.251 Priority creditor’s name and mailing address                                                        $             209.97   $           209.97
     KAVENEY, MICHAEL EDWARD                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.252 Priority creditor’s name and mailing address                                                        $        1,097.62      $         1,097.62
     KAWASAKI, RUSSELL                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.253 Priority creditor’s name and mailing address                                                        $              20.65   $            20.65
     KELLY, SHAUN M                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.254 Priority creditor’s name and mailing address                                                        $              11.67   $            11.67
     KEO, SOCHANNARA                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.255 Priority creditor’s name and mailing address                                                        $             726.35   $           726.35
     KERNYTSKYY, OLEH                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.256 Priority creditor’s name and mailing address                                                        $             890.60   $           890.60
     KHONG, BRANDON KHIEM TRONG                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.257 Priority creditor’s name and mailing address                                                        $               6.22   $             6.22
     KHORSHIDI, PEDRAM                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.258 Priority creditor’s name and mailing address                                                        $             248.64   $           248.64
     KIRK, JOHN HENRY                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.259 Priority creditor’s name and mailing address                                                        $             298.77   $           298.77
     KITAJIMA, GEORGE                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.260 Priority creditor’s name and mailing address                                                        $             921.00   $           921.00
     KNIGHT, MATHEW                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.261 Priority creditor’s name and mailing address                                                        $        1,395.35      $         1,395.35
     KOENIG, KAMALU                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.262 Priority creditor’s name and mailing address                                                        $             506.83   $           506.83
     KONG, VANNARA                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.263 Priority creditor’s name and mailing address                                                        $             240.00   $           240.00
     KOWTKO, JEFFREY JOHN                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.264 Priority creditor’s name and mailing address                                                        $              11.54   $            11.54
     KOZLOWSKI, LEON                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.265 Priority creditor’s name and mailing address                                                        $             232.40   $           232.40
     KRISTIANSEN, ERIK                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.266 Priority creditor’s name and mailing address                                                        $              59.05   $            59.05
     KUTZBACH, DUANE MARTIN                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.267 Priority creditor’s name and mailing address                                                        $              16.04   $            16.04
     LACSON, ALLEN NEIL                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.268 Priority creditor’s name and mailing address                                                        $        2,681.41   $           2,681.41
     LACSON, ARIEL M                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.269 Priority creditor’s name and mailing address                                                        $        2,000.00   $           2,000.00
     LAPORTE, CONNIE MARIE                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.270 Priority creditor’s name and mailing address                                                        $        1,000.00   $           1,000.00
     LARKEY, ANDREW                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.271 Priority creditor’s name and mailing address                                                        $        2,000.00   $           2,000.00
     LAROSCHE, DANIEL R                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.272 Priority creditor’s name and mailing address                                                        $        1,699.00      $         1,699.00
     LARSON, RICHARD BRIAN                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.273 Priority creditor’s name and mailing address                                                        $              15.72   $            15.72
     LAWAL, SAUDIQ                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.274 Priority creditor’s name and mailing address                                                        $             591.50   $           591.50
     LE, LAN VAN                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.275 Priority creditor’s name and mailing address                                                        $              19.73   $            19.73
     LE, THANH TRUC THI                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.276 Priority creditor’s name and mailing address                                                        $        1,526.21      $         1,526.21
     LEAKE, DYRONE                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.277 Priority creditor’s name and mailing address                                                        $        2,971.28      $         2,971.28
     LECOUR, MITCH                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.278 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     LEE, JASON                                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.279 Priority creditor’s name and mailing address                                                        $             185.18   $           185.18
     LEE, JOSEPH                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.280 Priority creditor’s name and mailing address                                                        $             561.38   $           561.38
     LEE, PATRICK                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.281 Priority creditor’s name and mailing address                                                        $             458.06   $           458.06
     LEE, TIM                                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.282 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     LEGUIZAMO, LEONARD                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.283 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     LEMOS, GILBERT JOE                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.284 Priority creditor’s name and mailing address                                                        $        2,228.45      $         2,228.45
     LEMUS, LUIS                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.285 Priority creditor’s name and mailing address                                                        $               0.17   $             0.17
     LEVENE, DANIEL HARRY                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.286 Priority creditor’s name and mailing address                                                        $              20.38   $            20.38
     LEYVA, OMAR SANTOS                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.287 Priority creditor’s name and mailing address                                                        $             414.92   $           414.92
     LI, NUAN                                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.288 Priority creditor’s name and mailing address                                                        $               3.86   $             3.86
     LIANG, JASON                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.289 Priority creditor’s name and mailing address                                                        $             294.46   $           294.46
     LIBMAN, ROSS                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.290 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     LIEBGOTT, JACOB ANDREW                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.291 Priority creditor’s name and mailing address                                                        $               1.83   $             1.83
     LING, BOYA                                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.292 Priority creditor’s name and mailing address                                                        $        2,790.13      $         2,790.13
     LLAMAS, JOSE ANTONIO                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.293 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     LOPEZ, ALFREDO                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.294 Priority creditor’s name and mailing address                                                        $             164.05   $           164.05
     LOPEZ, FRANCISCO JOAQUIN                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.295 Priority creditor’s name and mailing address                                                        $               5.90   $             5.90
     LOPEZ, JUAN DIEGO                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.296 Priority creditor’s name and mailing address                                                        $             541.14   $           541.14
     LOPEZ, SYLVIA RUIZ                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.297 Priority creditor’s name and mailing address                                                        $             730.00   $           730.00
     LOPEZ, VINICIO A                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.298 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     LUKAVSKYI, ROMAN                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.299 Priority creditor’s name and mailing address                                                        $              23.99   $            23.99
     MACELLVEN, GEOFFREY DAVID                            As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.300 Priority creditor’s name and mailing address                                                        $              41.68   $            41.68
     MACIAS, GUSTAVO                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.301 Priority creditor’s name and mailing address                                                        $               4.70   $             4.70
     MADRID, ROBERT RAMON                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.302 Priority creditor’s name and mailing address                                                        $             316.14   $           316.14
     MAHARAJ, ARUNA                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.303 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     MALDONADO, NICHOLAS                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.304 Priority creditor’s name and mailing address                                                        $             234.41   $           234.41
     MANALIGOD, JANSSEN C                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.305 Priority creditor’s name and mailing address                                                        $        2,867.31      $         2,867.31
     MANRIQUEZ, ANDREW PHILLIP                            As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.306 Priority creditor’s name and mailing address                                                        $               3.64   $             3.64
     MARATAS, BRANDON MICHAEL                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.307 Priority creditor’s name and mailing address                                                        $             129.23   $           129.23
     MARTIN, RODOLFO                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.308 Priority creditor’s name and mailing address                                                        $             31.50   $            31.50
     MARTINEZ, ARTURO                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.309 Priority creditor’s name and mailing address                                                        $             70.68   $            70.68
     MARUYAMA, WARREN                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.310 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     MAUER, ALEX                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.311 Priority creditor’s name and mailing address                                                        $             17.10   $            17.10
     MAY, OUDDOM                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.312 Priority creditor’s name and mailing address                                                        $             204.03   $           204.03
     MAYA, MIGUEL ANGEL                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.313 Priority creditor’s name and mailing address                                                        $              48.72   $            48.72
     MCCANN, STEVEN                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.314 Priority creditor’s name and mailing address                                                        $             615.98   $           615.98
     MCCOMBS, MICHAEL VINCENT                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.315 Priority creditor’s name and mailing address                                                        $             973.55   $           973.55
     MCCOY, JACOB ANDREW                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.316 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     MCDONALD, LOREAL M.                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.317 Priority creditor’s name and mailing address                                                        $             950.00   $           950.00
     MCDONOUGH, STEVEN MICHAEL                            As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.318 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     MCELHANEY, JESSE D                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.319 Priority creditor’s name and mailing address                                                        $               3.59   $             3.59
     MCFARLAN, JOSEPH MICHAEL                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim          Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.320 Priority creditor’s name and mailing address                                                        $        1,000.00    $          1,000.00
     MCFARLIN, RUSSELL SCOTT                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.321 Priority creditor’s name and mailing address                                                        $        1,000.00    $          1,000.00
     MCGIFFEN, KAYLA C                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.322 Priority creditor’s name and mailing address                                                        $             3.67   $              3.67
     MEDINA, ANGEL                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.323 Priority creditor’s name and mailing address                                                        $             5.69   $              5.69
     MEDINA, IVAN                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.324 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     MEDINA, MARVIN                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.325 Priority creditor’s name and mailing address                                                        $        1,165.69      $         1,165.69
     MEDRANO, ALEX                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.326 Priority creditor’s name and mailing address                                                        $             142.61   $           142.61
     MEJIA, ISAEL                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.327 Priority creditor’s name and mailing address                                                        $              16.28   $            16.28
     MEJIA, PAUL                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.328 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     MENCHACA, MARCOS J                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.329 Priority creditor’s name and mailing address                                                        $               3.68   $             3.68
     MENDEZ, GARRY ROY                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.330 Priority creditor’s name and mailing address                                                        $             465.26   $           465.26
     MENDEZ, MIGUEL G.                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.331 Priority creditor’s name and mailing address                                                        $              21.03   $            21.03
     MENDOZA, KEANNA                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.332 Priority creditor’s name and mailing address                                                        $              83.63   $            83.63
     MENDOZA, RYAN MICHAEL                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.333 Priority creditor’s name and mailing address                                                        $             580.00   $           580.00
     MESGARHA, ELMIRA                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.334 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     METZ, ASHLEY CORIE                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.335 Priority creditor’s name and mailing address                                                        $             951.34   $           951.34
     MEURER, JOSEPH                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.336 Priority creditor’s name and mailing address                                                        $        1,276.60      $         1,276.60
     MILLER, MICHAEL SHAWN                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.337 Priority creditor’s name and mailing address                                                        $             227.16   $           227.16
     MINDLIN-DAVIDSON, JULIEN                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.338 Priority creditor’s name and mailing address                                                        $               2.61   $             2.61
     MONDRAGON, YESENIA                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.339 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     MONTANA, ETHAN                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.340 Priority creditor’s name and mailing address                                                        $        1,950.00      $         1,950.00
     MONTGOMERIE, WILLIAM K                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.341 Priority creditor’s name and mailing address                                                        $             905.95   $           905.95
     MORALES, PATRICK RAY                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.342 Priority creditor’s name and mailing address                                                        $             311.83   $           311.83
     MORALES, VICTOR                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.343 Priority creditor’s name and mailing address                                                        $             112.90   $           112.90
     MORALES, WENDY                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.344 Priority creditor’s name and mailing address                                                        $        2,564.99      $         2,564.99
     MORAN, ERIK                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.345 Priority creditor’s name and mailing address                                                        $              36.98   $            36.98
     MORRISON, ALYSSA                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.346 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     MORRISS, JACOB CHARLES                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.347 Priority creditor’s name and mailing address                                                        $             270.00   $           270.00
     MUNOZ, ANEL                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.348 Priority creditor’s name and mailing address                                                        $        3,000.00   $           3,000.00
     MURPHY, KEITH EDWARD                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.349 Priority creditor’s name and mailing address                                                        $        2,338.22   $           2,338.22
     MUT, VIBOL JAMES                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.350 Priority creditor’s name and mailing address                                                        $        1,000.00   $           1,000.00
     NANKOVA, DANIELA                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.351 Priority creditor’s name and mailing address                                                        $        3,000.00   $           3,000.00
     NATERA, OTHONIEL                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.352 Priority creditor’s name and mailing address                                                        $        2,987.13      $         2,987.13
     NAVARRETE, VICTOR ALFREDO                            As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.353 Priority creditor’s name and mailing address                                                        $             812.25   $           812.25
     NEGRON, JORGE                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.354 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     NEIS, DANIEL H                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.355 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     NEU, MELODY ROSE                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.356 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     NEUBAUER, COREY                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.357 Priority creditor’s name and mailing address                                                        $             292.83   $           292.83
     NEWGENT, BRADLEY THOMAS                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.358 Priority creditor’s name and mailing address                                                        $               5.71   $             5.71
     NG, PHILLIP                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.359 Priority creditor’s name and mailing address                                                        $              88.76   $            88.76
     NGUYEN, DE                                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.360 Priority creditor’s name and mailing address                                                        $        1,319.08      $         1,319.08
     NGUYEN, JAMES                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.361 Priority creditor’s name and mailing address                                                        $               7.75   $             7.75
     NGUYEN, KEVIN TAN                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.362 Priority creditor’s name and mailing address                                                        $             275.03   $           275.03
     NGUYEN, PAUL                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.363 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     NGUYEN, PHILLIP TRAN                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.364 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     NGUYEN, VU V.                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.365 Priority creditor’s name and mailing address                                                        $             499.42   $           499.42
     NINH, BRYAN                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.366 Priority creditor’s name and mailing address                                                        $               1.01   $             1.01
     NOGALES, AMY LYNN                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.367 Priority creditor’s name and mailing address                                                        $        2,595.03      $         2,595.03
     NOLTA, MICHAEL LLOYD                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.368 Priority creditor’s name and mailing address                                                        $        1,777.67      $         1,777.67
     NORRIS, MICHAEL                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.369 Priority creditor’s name and mailing address                                                        $             457.00   $           457.00
     OCHI, KELLEN KAZUAKI                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.370 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     OCHOA-COTA, DIEGO                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.371 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     OCONNOR, CHARLES                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.372 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     ODUNTAN, OLUFEMI                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.373 Priority creditor’s name and mailing address                                                        $        1,343.79      $         1,343.79
     OLIVER, DAVID C                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.374 Priority creditor’s name and mailing address                                                        $             965.88   $           965.88
     OLLOM, STEPHANIE                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.375 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     OMAR, DALYA                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.376 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     ONCHIRI, LORRETTA KWAMBOKA                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.377 Priority creditor’s name and mailing address                                                        $             31.46   $            31.46
     ONGKOWIDJOJO, MICHELLE CHERIE                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.378 Priority creditor’s name and mailing address                                                        $             17.88   $            17.88
     ORDONEZ, LESTHER STUARDO                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.379 Priority creditor’s name and mailing address                                                        $        1,415.86     $         1,415.86
     OROZCO, ALBERT                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.380 Priority creditor’s name and mailing address                                                        $              5.31   $             5.31
     OROZCO, LUIS ALBERTO                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.381 Priority creditor’s name and mailing address                                                        $        3,000.00     $         3,000.00
     ORTEGA, HECTOR                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.382 Priority creditor’s name and mailing address                                                        $             76.74   $            76.74
     ORTEGA, PAUL S.                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.383 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     O'SHANNESSY, PHILLIP ANDERS                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.384 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     OYEDELE, KUNLE                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.385 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     PADILLA, ALEJANDRO                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.386 Priority creditor’s name and mailing address                                                        $             906.67   $           906.67
     PAN, JUNHUA                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.387 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     PARADA, ERIC                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.388 Priority creditor’s name and mailing address                                                        $             36.20   $            36.20
     PARK, JOHN                                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.389 Priority creditor’s name and mailing address                                                        $             13.09   $            13.09
     PASACHE, SAMUEL                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.390 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     PATEL, CHIRAG                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.391 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     PATEL, KUSHAL                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.392 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     PEER, SCOTT GEORGE                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.393 Priority creditor’s name and mailing address                                                        $             175.43   $           175.43
     PEIRIS, LAKSHAN                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.394 Priority creditor’s name and mailing address                                                        $        2,697.88      $         2,697.88
     PEREZ, HUGO                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.395 Priority creditor’s name and mailing address                                                        $              18.41   $            18.41
     PEREZ, MARGARITA                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.396 Priority creditor’s name and mailing address                                                        $             950.00   $           950.00
     PEREZ, OMAR G                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.397 Priority creditor’s name and mailing address                                                        $        2,647.48      $         2,647.48
     PEREZ, VICTOR EDUARDO                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.398 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     PERRY, BRET VRANA                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.399 Priority creditor’s name and mailing address                                                        $             114.91   $           114.91
     PHAM, TRUNG                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.400 Priority creditor’s name and mailing address                                                        $             995.00   $           995.00
     PHAM, VAN LOAN                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.401 Priority creditor’s name and mailing address                                                        $             564.23   $           564.23
     PHON, RATHANA                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.402 Priority creditor’s name and mailing address                                                        $              41.82   $            41.82
     PICKARD, KYLE ROBERT                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.403 Priority creditor’s name and mailing address                                                        $              23.56   $            23.56
     PICKARD, XANDER RAYMOND                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.404 Priority creditor’s name and mailing address                                                        $             401.72   $           401.72
     PICKETT, DANA                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.405 Priority creditor’s name and mailing address                                                        $        1,469.83      $         1,469.83
     PIERSON, FORREST                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.406 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     PIRNIAKAN, NESHAD ROD                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.407 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     PITT, ROBERT                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.408 Priority creditor’s name and mailing address                                                        $        1,421.60      $         1,421.60
     PLASCENCIA, ARNOLDO                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.409 Priority creditor’s name and mailing address                                                        $               1.43   $             1.43
     POLEY, KAYLIN MONIQUE                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.410 Priority creditor’s name and mailing address                                                        $             900.00   $           900.00
     PONCE DAVILA, SAM                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.411 Priority creditor’s name and mailing address                                                        $             152.40   $           152.40
     POONSIRI, JOE                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.412 Priority creditor’s name and mailing address                                                        $             683.15   $           683.15
     PORTER, CHARLES D                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.413 Priority creditor’s name and mailing address                                                        $        2,668.17      $         2,668.17
     PORTILLO DERAS, JUAN E.                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.414 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     POWERS, KELLY SUZANNE                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.415 Priority creditor’s name and mailing address                                                        $        1,357.02      $         1,357.02
     POZOS, EFRAIN                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.416 Priority creditor’s name and mailing address                                                        $        2,067.38      $         2,067.38
     PRADJANATA, MATTHEW                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.417 Priority creditor’s name and mailing address                                                        $             960.00   $           960.00
     PROFENIUS, LUCIENNE MARIE                            As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.418 Priority creditor’s name and mailing address                                                        $        1,517.76      $         1,517.76
     PYSTER, NATHAN                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.419 Priority creditor’s name and mailing address                                                        $             232.21   $           232.21
     QUILISADIO, JUSTIN                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.420 Priority creditor’s name and mailing address                                                        $             412.57   $           412.57
     QUINTO, JESSALYNN                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.421 Priority creditor’s name and mailing address                                                        $        1,617.95      $         1,617.95
     RAFTOGIANIS, MARK THOMAS                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.422 Priority creditor’s name and mailing address                                                        $               0.42   $             0.42
     RAMOS, JOELL STEVEN                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.423 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     RAMOS, LUIS JEFFERSON                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.424 Priority creditor’s name and mailing address                                                        $        1,000.00   $           1,000.00
     RANDALL, CHRISTOPHER                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.425 Priority creditor’s name and mailing address                                                        $        1,000.00   $           1,000.00
     RANDOLPH, STUART                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.426 Priority creditor’s name and mailing address                                                        $        1,000.00   $           1,000.00
     RAWLINGS, RANDY                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.427 Priority creditor’s name and mailing address                                                        $        3,000.00   $           3,000.00
     REICHLE, DAVID                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.428 Priority creditor’s name and mailing address                                                        $             682.10   $           682.10
     REID, HARRY WILLIAM                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.429 Priority creditor’s name and mailing address                                                        $        1,960.00      $         1,960.00
     REILLY, SEAN                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.430 Priority creditor’s name and mailing address                                                        $             798.36   $           798.36
     RENDON, ERIC LOUIS                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.431 Priority creditor’s name and mailing address                                                        $               6.70   $             6.70
     REYES, EDWIN                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.432 Priority creditor’s name and mailing address                                                        $              14.22   $            14.22
     REYNOSO, EDUARDO                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.433 Priority creditor’s name and mailing address                                                        $        1,008.59      $         1,008.59
     RICHTER, SHANE                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.434 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     ROBERTS, SAMUEL JOSEPH                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.435 Priority creditor’s name and mailing address                                                        $             735.09   $           735.09
     ROBLES, EDGAR DANIEL                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.436 Priority creditor’s name and mailing address                                                        $               5.89   $             5.89
     ROCKOFF, NICHOLAS MAXWELL                            As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.437 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     RODRIGUEZ MARTINEZ, LUIS                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.438 Priority creditor’s name and mailing address                                                        $        2,960.00      $         2,960.00
     RODRIGUEZ, EDSON GABRIEL                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.439 Priority creditor’s name and mailing address                                                        $             107.43   $           107.43
     RODRIGUEZ, SABRINA                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.440 Priority creditor’s name and mailing address                                                        $             190.91   $           190.91
     ROGERS, TRAFTON K                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.441 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     ROGERS, XAVIER                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.442 Priority creditor’s name and mailing address                                                        $              12.00   $            12.00
     ROSE, CATHERINE                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.443 Priority creditor’s name and mailing address                                                        $              35.30   $            35.30
     ROSENTHAL, DEVON SHARP                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.444 Priority creditor’s name and mailing address                                                        $             70.32   $            70.32
     RUBIO, CEASAR ANTHONY                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.445 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     RUIZ, RICHARD                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.446 Priority creditor’s name and mailing address                                                        $             78.85   $            78.85
     RUIZ, STEVE RALPH                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.447 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     RUVALCABA, BRADLEY                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.448 Priority creditor’s name and mailing address                                                        $             989.36   $           989.36
     SABIN-CASAMALHUAPA, MAILEAHSA                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.449 Priority creditor’s name and mailing address                                                        $             133.93   $           133.93
     SALATA, ERIK                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.450 Priority creditor’s name and mailing address                                                        $        1,957.34      $         1,957.34
     SALAZAR, CHRISTINE V.                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.451 Priority creditor’s name and mailing address                                                        $             931.00   $           931.00
     SALINAS, MICHAEL                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.452 Priority creditor’s name and mailing address                                                        $             812.78   $           812.78
     SAMBLOTTE, MARIO ANDRES                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.453 Priority creditor’s name and mailing address                                                        $             266.67   $           266.67
     SANCHEZ, CONCEPCION                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.454 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     SANCHEZ, JOSEPH                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.455 Priority creditor’s name and mailing address                                                        $             185.92   $           185.92
     SANCHEZ, MARIO A.                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.456 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     SANDOVAL, FELIPE ROGELIO                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.457 Priority creditor’s name and mailing address                                                        $        2,775.00      $         2,775.00
     SARGENT, BRETT ALAN                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.458 Priority creditor’s name and mailing address                                                        $             960.00   $           960.00
     SASMAL, ARITRA                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.459 Priority creditor’s name and mailing address                                                        $             202.48   $           202.48
     SCARLETT, CHRISTOPHER M                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.460 Priority creditor’s name and mailing address                                                        $             887.86   $           887.86
     SCHAEFER, BRYCE F                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.461 Priority creditor’s name and mailing address                                                        $               0.80   $             0.80
     SCHELETER, VALERIO                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.462 Priority creditor’s name and mailing address                                                        $        1,564.18      $         1,564.18
     SCOTT, RONALD                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.463 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     SENNOTT, AUSTIN MICHAEL                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.464 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     SEPAHRAM, SIAMAK                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.465 Priority creditor’s name and mailing address                                                        $             582.05   $           582.05
     SERMENO, PABEL ALEXANDER                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.466 Priority creditor’s name and mailing address                                                        $             901.80   $           901.80
     SERPA, MICAEEL                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.467 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     SHAH, MICHAEL BHARAT                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.468 Priority creditor’s name and mailing address                                                        $             850.00   $           850.00
     SHAPERY, LEANNE D                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.469 Priority creditor’s name and mailing address                                                        $              40.52   $            40.52
     SHATKIN, STEVEN                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.470 Priority creditor’s name and mailing address                                                        $             265.01   $           265.01
     SHEARER, REBECCA                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.471 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     SHERLOCK, JACOB                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.472 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     SHERMAN, JAMES R                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.473 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     SHOOK, SCOTT                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.474 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     SHORT, DANIEL                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.475 Priority creditor’s name and mailing address                                                        $             695.05   $           695.05
     SIDA, AHLAM                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.476 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     SIDA, JESUS ANTONIO                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.477 Priority creditor’s name and mailing address                                                        $               7.84   $             7.84
     SIERRA, SAMANTHA                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.478 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     SIMSARIAN, ARIS ELLIOTT                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.479 Priority creditor’s name and mailing address                                                        $             129.95   $           129.95
     SLANE, JOHN                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.480 Priority creditor’s name and mailing address                                                        $              52.02   $            52.02
     SLATER, JASON MATTHEW                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.481 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     SMITH, ALEXANDER MATTHEW                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.482 Priority creditor’s name and mailing address                                                        $             982.30   $           982.30
     SMITH, HARRY R                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.483 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     SOLDEVILLA, CLARENCE                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.484 Priority creditor’s name and mailing address                                                        $             841.33   $           841.33
     SORIA MURGUIA, JOSE DANIEL                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.485 Priority creditor’s name and mailing address                                                        $             735.00   $           735.00
     SOWERS, DON                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.486 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     SPANOS, ALEX J                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.487 Priority creditor’s name and mailing address                                                        $        2,810.93      $         2,810.93
     STALEY, WILLIAM K                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.488 Priority creditor’s name and mailing address                                                        $              12.28   $            12.28
     STARKS, NATASHA MARIA                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.489 Priority creditor’s name and mailing address                                                        $             704.23   $           704.23
     STAVROSITU, ANDRE                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.490 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     STEINERT, JACOB ALEXANDER                            As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.491 Priority creditor’s name and mailing address                                                        $             647.42   $           647.42
     STEVENS, MICHAEL JOSEPH                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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2.492 Priority creditor’s name and mailing address                                                        $             309.27   $           309.27
     STOCKWELL, TOBIE CHRISTINE                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.493 Priority creditor’s name and mailing address                                                        $             134.44   $           134.44
     STREHLE, MAXIM G.                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.494 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     STRUDER, CLINT                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.495 Priority creditor’s name and mailing address                                                        $             559.95   $           559.95
     SUGANO, GREGORY SCOTT                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.496 Priority creditor’s name and mailing address                                                        $             202.02   $           202.02
     SULLIVAN, RYAN                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.497 Priority creditor’s name and mailing address                                                        $               5.03   $             5.03
     SWEENEY, RYAN                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.498 Priority creditor’s name and mailing address                                                        $               5.23   $             5.23
     SZENDRO, KYLE N                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.499 Priority creditor’s name and mailing address                                                        $             781.47   $           781.47
     TABONG, ADDISS BAUTISTA                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.500 Priority creditor’s name and mailing address                                                        $             187.45   $           187.45
     TACZA, VICTOR                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.501 Priority creditor’s name and mailing address                                                        $        2,351.04      $         2,351.04
     TALAMANCHI, SWETHA                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.502 Priority creditor’s name and mailing address                                                        $               1.15   $             1.15
     TAM, VERNON                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.503 Priority creditor’s name and mailing address                                                        $        1,062.00      $         1,062.00
     TAN, BENITO MANCHA                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.504 Priority creditor’s name and mailing address                                                        $             943.05   $           943.05
     TAN, JESSE                                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.505 Priority creditor’s name and mailing address                                                        $               0.78   $             0.78
     TANZINI, MICHAEL                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.506 Priority creditor’s name and mailing address                                                        $             990.00   $           990.00
     TASCI, PAULINE                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.507 Priority creditor’s name and mailing address                                                        $        1,625.76      $         1,625.76
     TAYLOR, RICHARD J                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.508 Priority creditor’s name and mailing address                                                        $             921.96   $           921.96
     TELLES, MADISON YVONNE                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.509 Priority creditor’s name and mailing address                                                        $         2,544.11     $         2,544.11
     TELLO, CESAR JAVIER                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.510 Priority creditor’s name and mailing address                                                        $              11.93   $            11.93
     TENARI, TENARI                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.511 Priority creditor’s name and mailing address                                                        $        2,475.59      $         2,475.59
     TESTERMAN, CHRISTOPHER M                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.512 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     THEBEAULT, JOSEPH HENRY                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.513 Priority creditor’s name and mailing address                                                        $             782.39   $           782.39
     TISCHNER, CHRISTOPHER ERIC                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.514 Priority creditor’s name and mailing address                                                        $             995.00   $           995.00
     TOACHE, ANDREW                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.515 Priority creditor’s name and mailing address                                                        $        2,928.89      $         2,928.89
     TOLENTINO, RONALD                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.516 Priority creditor’s name and mailing address                                                        $              40.15   $            40.15
     TOLOSA, ALLYN MIRANDA                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.517 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     TORRES, DAVID C. T.                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.518 Priority creditor’s name and mailing address                                                        $             758.81   $           758.81
     TORRES, MARIO                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.519 Priority creditor’s name and mailing address                                                        $               5.69   $             5.69
     TORRES, ROBERT                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.520 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     TRAN, JOSHUA                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.521 Priority creditor’s name and mailing address                                                        $             914.67   $           914.67
     TRAN, QUAN DINH                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.522 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     TUCK, ROCKY ROBERT                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.523 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     TUCKER, ROMALLIS D                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.524 Priority creditor’s name and mailing address                                                        $             9.38   $              9.38
     TURMAN, JEFFERY THOMAS                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.525 Priority creditor’s name and mailing address                                                        $             1.56   $              1.56
     UCEDA, JUAN                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.526 Priority creditor’s name and mailing address                                                        $        1,000.00    $          1,000.00
     UNDERWOOD, HEIDI RUEFF                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.527 Priority creditor’s name and mailing address                                                        $             9.63   $              9.63
     URIARTE, OSCAR ARMANDO                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.528 Priority creditor’s name and mailing address                                                        $              7.27   $             7.27
     URIBE FAUSTO, ROBERTO                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.529 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     USTINOVA, ANYA                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.530 Priority creditor’s name and mailing address                                                        $             96.85   $            96.85
     VALENCIA, JOSE                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.531 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     VALLEY, GLEN DALE                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.532 Priority creditor’s name and mailing address                                                        $             787.59   $           787.59
     VARELA, OTTO M.                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.533 Priority creditor’s name and mailing address                                                        $             975.80   $           975.80
     VARGAS, CHRISTOPHER                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.534 Priority creditor’s name and mailing address                                                        $              14.22   $            14.22
     VASQUEZ, JOSE                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.535 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     VASQUEZ, MARCO E.                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.536 Priority creditor’s name and mailing address                                                        $        3,000.00      $         3,000.00
     VASQUEZ, ROBERTO JOSE                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.537 Priority creditor’s name and mailing address                                                        $              28.14   $            28.14
     VEGA, JESUS                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.538 Priority creditor’s name and mailing address                                                        $             947.74   $           947.74
     VEGA, KEVIN ALEXANDER                                As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.539 Priority creditor’s name and mailing address                                                        $             211.55   $           211.55
     VELASQUEZ, RAUL ARMANDO                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.540 Priority creditor’s name and mailing address                                                        $              75.16   $            75.16
     VELAZQUEZ, ARTURO                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.541 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     VENTURA, DAVID                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.542 Priority creditor’s name and mailing address                                                        $             598.45   $           598.45
     VILLA, MARIO ALBERTO                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.543 Priority creditor’s name and mailing address                                                        $        1,264.51      $         1,264.51
     VILLA, MIGUEL                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.544 Priority creditor’s name and mailing address                                                        $             388.18   $           388.18
     VILLALOBOS, NICHOLAS                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.545 Priority creditor’s name and mailing address                                                        $             310.00   $           310.00
     VISHWANATH, RAHUL                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.546 Priority creditor’s name and mailing address                                                        $             243.40   $           243.40
     VO, DAVID TUAN-HOANG                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.547 Priority creditor’s name and mailing address                                                        $               2.45   $             2.45
     VU, KENNY H                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.548 Priority creditor’s name and mailing address                                                        $             244.89   $           244.89
     WALL, KATHRYN ELIZABETH                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.549 Priority creditor’s name and mailing address                                                        $             493.61   $           493.61
     WALTON, BRANDT DESMOND                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.550 Priority creditor’s name and mailing address                                                        $             180.16   $           180.16
     WARD, BRENT MAXWELL                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.551 Priority creditor’s name and mailing address                                                        $              11.89   $            11.89
     WARNER, CAREY ANDREW                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.552 Priority creditor’s name and mailing address                                                        $             92.24    $            92.24
     WARREN, ROBERT SCOTT                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.553 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     WATERS, JACOB COY                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.554 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     WATSON, CHRISTOPHER                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.555 Priority creditor’s name and mailing address                                                        $             116.72   $           116.72
     WATSON, PERRY                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.556 Priority creditor’s name and mailing address                                                        $         1,846.11    $         1,846.11
     WATTS, PAUL DAVIS                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.557 Priority creditor’s name and mailing address                                                        $        2,362.39     $         2,362.39
     WAX, ALAN BRADLEY                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.558 Priority creditor’s name and mailing address                                                        $             29.01   $            29.01
     WEAVER, ROBERT LEE                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.559 Priority creditor’s name and mailing address                                                        $        1,213.89     $         1,213.89
     WEDDLE, MATTHEW                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim         Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.560 Priority creditor’s name and mailing address                                                        $        1,000.00   $           1,000.00
     WEISS, HERLANN ROY                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.561 Priority creditor’s name and mailing address                                                        $        3,000.00   $           3,000.00
     WELLS, JONATHAN                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.562 Priority creditor’s name and mailing address                                                        $        1,246.18   $           1,246.18
     WENZLER, NICOLE                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.563 Priority creditor’s name and mailing address                                                        $        2,327.09   $           2,327.09
     WESTERFER, NICHOLAS                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.564 Priority creditor’s name and mailing address                                                        $             555.72   $           555.72
     WETZEL, TODD A                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.565 Priority creditor’s name and mailing address                                                        $        1,443.57      $         1,443.57
     WHITNEY, RICHARD DESMOND                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.566 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     WILCOX, DAVID GRANT                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.567 Priority creditor’s name and mailing address                                                        $        1,480.00      $         1,480.00
     WILLIAMS, WARRENT                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.568 Priority creditor’s name and mailing address                                                        $             895.71   $           895.71
     WILLIS, ALEXIS                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.569 Priority creditor’s name and mailing address                                                        $        1,985.00      $         1,985.00
     WOLPE, ALEXANDER M                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.570 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     WONG, ANDREW                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.571 Priority creditor’s name and mailing address                                                        $             589.04   $           589.04
     WRIGHT, AARON                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                          Total claim           Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.572 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     WYROZYNSKI, PAUL                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.573 Priority creditor’s name and mailing address                                                        $             15.50   $            15.50
     YAMAGATA, DAVID FUMIAKI                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.574 Priority creditor’s name and mailing address                                                        $        1,000.00     $         1,000.00
     YAMASHITA, RYAN                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.575 Priority creditor’s name and mailing address                                                        $        1,860.48     $         1,860.48
     YANEZ, JOSE LUIS                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.576 Priority creditor’s name and mailing address                                                        $             556.46   $           556.46
     YOON, JASON                                          As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.577 Priority creditor’s name and mailing address                                                        $        2,000.00      $         2,000.00
     YOUNG, KANDACE                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.578 Priority creditor’s name and mailing address                                                        $              35.87   $            35.87
     YU CHEN, ANICIA                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.579 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     ZAGORSKI, KEVIN D                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.580 Priority creditor’s name and mailing address                                                        $             742.86   $           742.86
     ZAREMBA, JUSTIN                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.581 Priority creditor’s name and mailing address                                                        $             977.69   $           977.69
     ZENT, ZANE                                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.582 Priority creditor’s name and mailing address                                                        $        1,000.00      $         1,000.00
     ZEPEDA, JOSE MATTHEW                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.583 Priority creditor’s name and mailing address                                                        $        2,749.27      $         2,749.27
     ZHANG, STEPHEN                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.584 Priority creditor’s name and mailing address                                                        $              17.48   $            17.48
     ZHANG, XIYUE                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.585 Priority creditor’s name and mailing address                                                        $             267.48   $           267.48
     ZINS, JOHN WILLIAM                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.586 Priority creditor’s name and mailing address                                                        $        1,819.04      $         1,819.04
     ZUBIK, KITT ALAN                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.587 Priority creditor’s name and mailing address                                                        $        9,024.00      $         9,024.00
     ZUBIK, KITT ALAN                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Unpaid Severance
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.588 Priority creditor’s name and mailing address                                                        $             474.07   $           474.07
     ZWEIGE, MATTHEW                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Former Employee - Healthcare Reimbursement Account (HRA)
     Undetermined

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.589 Priority creditor’s name and mailing address                                                        $                      $
                                                          As of the petition filing date, the claim is:
                                                          Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim:


     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         ¨ No
     claim: 11 U.S.C. § 507(a) ()                         ¨ Yes
2.590 Priority creditor’s name and mailing address                                                        $                      $
                                                          As of the petition filing date, the claim is:
                                                          Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim:


     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         ¨ No
     claim: 11 U.S.C. § 507(a) ()                         ¨ Yes
2.591 Priority creditor’s name and mailing address                                                        $                      $
                                                          As of the petition filing date, the claim is:
                                                          Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim:


     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         ¨ No
     claim: 11 U.S.C. § 507(a) ()                         ¨ Yes


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 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims
 3. List in alphabetical order all of the creditorswith nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim
3.1   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      1800 M STREET REIT, LP                                            Check all that apply.                            $                         8,800.03
      1170 PEACHTREE STREET NE, SUITE 600                               ¨ Contingent
      ATLANTA, FULTON, GA 30309
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.2   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      4MEDIA GROUP, INC.                                                Check all that apply.                            $                        86,033.83
      702 SE 5TH STREET, SUITE 50                                       ¨ Contingent
      BENTONVILLE, BENTON COUNTY, AR 72712
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.3   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      A&W PRECISION MACHINING, INC                                      Check all that apply.                            $                        13,560.00
      16320 S. MAIN STREET                                              ¨ Contingent
      GARDENA, LOS ANGELES, CA 90248
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.4   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      A2B TAXIS (TRURO) LTD                                             Check all that apply.                            $                        41,943.45
      THE OLD SANCTUARY, POLISKEN FARM, TRISPEN                         ¨ Contingent
      TRURO, CORNWALL, TR4 9AU
      UNITED KINGDOM                                                    ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.5   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      AAE AEROSPACE                                                     Check all that apply.                            $                       121,764.00
      5382 ARGOSY AVE.                                                  ¨ Contingent
      HUNTINGTON BEACH, ORANGE, CA 92649
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.6   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      ABC SHEET METAL                                                   Check all that apply.                            $                        16,575.42
      2871 E. LA CRESTA AVE                                             ¨ Contingent
      ANAHEIM, ORANGE, CA 92806
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.7   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
      ABDELFATAH, SARA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



      Date or dates debt was incurred       Undetermined            Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.8   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 232,895.00
      ACA INTERNATIONAL LLC
      4228 WASHINGTON ST SUITE 101                                  ¨ Contingent
      ROSLINDALE, SUFFOLK COUNTY, MA 2131                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.9   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,562.57
      ACACIAS ADMINISTRACIONES Y ASESORES SA DE CV
      MIGUEL DE MENDOZA 64                                          ¨ Contingent
      MEXICO, 1600                                                  ¨ Unliquidated
      MEXICO                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.10 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
      ACCELERATED IMPROVEMENT LTD
      30 FENNYLAND LANE                                             ¨ Contingent
      KENILWORTH, CV8 2RS                                           ¨ Unliquidated
      UNITED KINGDOM                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.11 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  15,617.73
      ACCUTECH INSTRUMENTATION, INC
      2108 CROWN VIEW DRIVE                                         ¨ Contingent
      CHARLOTTE, PALM BEACH, NC 28227                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.12 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,233.87
    ACME CRYOGENICS INC.
    2801 MITCHELL AVE                                               ¨ Contingent
    ALLENTOWN, LEHIGH, PA 18103                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.13 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ACME CRYOGENICS INC.
    2801 MITCHELL AVE                                               þ Contingent
    ALLENTOWN, LEHIGH, PA 18103                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.14 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,455.00
    ACREE TECHNOLOGIES, INC.
    1037 SHARY CIRCLE, SUITE E                                      ¨ Contingent
    CONCORD, CONTRA COSTA, CA 94518-4700                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.15 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ADAMS, LINDSEY M.
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.16 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 36,861.36
    ADEPT FASTENERS
    28709 INDUSTRY DRIVE                                            ¨ Contingent
    VALENCIA, CA 91355                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.17 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,982.94
    ADVANCED CIRCUITS, INC
    21101 E. 32ND PARKWAY                                           ¨ Contingent
    AURORA, ARAPAHOE, CO 80011                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.18 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,457.60
    ADVANCED INDUSTRIAL SOLUTIONS
    48 MAXWELL                                                      ¨ Contingent
    IRVINE, ORANGE, CA 92618                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.19 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,650.00
    ADVANCED MATERIALS JOINING CORPORATION DBA ADVANCED
    TECHNOLOGY COMPANY                                              ¨ Contingent
    2858 E. WALNUT STREET                                           ¨ Unliquidated
    PASADENA, LOS ANGELES, CA 91107                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.20 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 24,836.61
    ADVANCED TEST EQUIPMENT CORPORATION
    10401 ROSELLE STREET                                            ¨ Contingent
    SAN DIEGO, SAN DIEGO, CA 92121                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.21 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 85,203.03
    AERO-MECHANICAL ENGINEERING, INC
    5945 ENGINEER DR                                                ¨ Contingent
    HUNTINGTON BEACH, ORANGE, CA 92649                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.22 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    AERO-MECHANICAL ENGINEERING, INC
    5945 ENGINEER DR                                                þ Contingent
    HUNTINGTON BEACH, ORANGE, CA 92649                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.23 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,122.77
    AEROSPACE INDUSTRIES ASSOCIATION
    1000 WILSON BOULEVARD                                           ¨ Contingent
    SUITE 1700                                                      ¨ Unliquidated
    ARLINGTON, ARLINGTON, VA 22209-3901                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.24 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  37,675.00
    AEROTECH PRECISION MACHINING, INC.
    42541 6TH ST EAST UNIT#17                                       ¨ Contingent
    LANCASTER, LOS ANGELES, CA 93535                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.25 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 145,000.00
    AERY AVIATION, LLC
    305 CHEROKEE DRIVE                                              ¨ Contingent
    NEWPORT NEWS, NEWPORT NEWS, VA 23602                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.26 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,400.00
    AFM INDUSTRIES INC
    1805 E. VIA BURTON                                              ¨ Contingent
    ANAHEIM, ORANGE COUNTY, CA 92831                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.27 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    AFM INDUSTRIES INC
    1805 E. VIA BURTON                                              þ Contingent
    ANAHEIM, ORANGE COUNTY, CA 92831                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.28 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,355.00
    AGGREKO, LLC
    4607 WEST ADMIRAL DOYLE DRIVE                                   ¨ Contingent
    NEW IBERIA, IBERIA, LA 70560                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.29 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    AGUILAR, EDUARDO A
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.30 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    AGUILAR, RUBEN ANTHONY
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.31 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    AHUMADA, ERNIE RUBEN
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.32 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    AHUMADA, RAMIRO
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.33 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 414,221.46
    AIR PRODUCTS AND CHEMICALS
    1940 AIR PRODUCTS BLVD.                                         ¨ Contingent
    ALLENTOWN, ALLENTOWN, PA 18106-5500                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.34 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,604.57
    AIRCRAFT & COMMERCIAL ENTERPRISES
    800 N. RIVER RD                                                 ¨ Contingent
    DERBY, SEDGWICK, KS 67037                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.35 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,108.00
    AIRCREW DIRECT.COM LTD.
    PURE OFFICE, BROOKS DRIVE                                       ¨ Contingent
    CHEADLE, SK8 3TD                                                ¨ Unliquidated
    UNITED KINGDOM                                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.36 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  45,768.70
    AIRGAS CA
    38012 6TH STREET EAST                                           ¨ Contingent
    PALMDALE, LOS ANGELES, CA 93550                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.37 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    AIRGAS CA
    38012 6TH STREET EAST                                           þ Contingent
    PALMDALE, LOS ANGELES, CA 93550                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.38 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    AIVALIOTIS, ALEXANDER M.
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.39 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    AKREY, KEVIN PATRICK
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.40 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ALAS, EVELYN PATRICIA
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.41 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ALEXANDER, DAYLE
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.42 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,339.88
    ALICAT SCIENTIFIC, INC.
    7641 N BUSINESS PARK DRIVE                                      ¨ Contingent
    TUCSON, PIMA, AZ 85743                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.43 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ALICAT SCIENTIFIC, INC.
    7641 N BUSINESS PARK DRIVE                                      þ Contingent
    TUCSON, PIMA, AZ 85743                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.44 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,062.50
    ALIGNED CAE LLC
    4801 EAGLE SPRINGS CT                                           ¨ Contingent
    CLARKSTON, OAKLAND, MI 48348                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.45 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ALIVANERA, BRIAN
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.46 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 64,634.00
    ALL 4 ELECTRIC
    4828 ADENMOOR AVE.                                              ¨ Contingent
    LAKEWOOD, LOS ANGELES, CA 90713                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.47 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 1,650,000.00
    ALL NIPPON AIRWAYS TRADING CO., LTD.
    SHIODOME CITY CENTER                                            þ Contingent
    1-5-2 HIGASHI-SHIMBASHI                                         þ Unliquidated
    MINATO-KU                                                       ¨ Disputed
    TOKYO, 105-7140
    JAPAN                                                           Basis for the claim: Customer Contract Milestone & Deposit Payments



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.48 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     10,858.93
    ALLAN AIRCRAFT SUPPLY CO., LLC
    11643 VANOWEN STREET                                            ¨ Contingent
    NORTH HOLLYWOOD, LOS ANGELES, CA 91605                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.49 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
    ALLAR, JEFFREY MICHAEL
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred        Undetermined             Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.50 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
    ALLEN, DARRYL
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred        Undetermined             Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.51 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      2,527.70
    ALLIANCE FUNDING GROUP
    3745 W. CHAPMAN AVE SUITE 200                                   ¨ Contingent
    ORANGE, ORANGE COUNTY, CA 92868                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.52 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,264.68
    ALLIED ELECTRONICS, INC.
    40 WEST COCHRAN STREET                                          ¨ Contingent
    SUITE 108                                                       ¨ Unliquidated
    SIMI VALLEY, VENTURA, CA 93065                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.53 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ALLIED ELECTRONICS, INC.
    40 WEST COCHRAN STREET                                          þ Contingent
    SUITE 108                                                       þ Unliquidated
    SIMI VALLEY, VENTURA, CA 93065                                  ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.54 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,118.00
    ALLIED HIGH TECH PRODUCTS, INC.
    2376 E. PACIFICA PLACE                                          ¨ Contingent
    RANCHO DOMINGUEZ, LOS ANGELES, CA 90220                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.55 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ALLIED HIGH TECH PRODUCTS, INC.
    2376 E. PACIFICA PLACE                                          þ Contingent
    RANCHO DOMINGUEZ, LOS ANGELES, CA 90220                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.56 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,353.90
    ALL-PAC PACKAGING SUPPLIES
    TREVILSON BUSINESS PARK                                         ¨ Contingent
    NEWQUAY, CORNWALL, TR8 5JF                                      ¨ Unliquidated
    UNITED KINGDOM                                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.57 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,615.73
    ALMEIDA ROTENBERG E BOSCOLI ADVOCACIA (DBA DEMAREST)
    AV. PEDROSO DE MORAIS                                           ¨ Contingent
    SAO PAULO, 05419-001                                            ¨ Unliquidated
    BRAZIL                                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.58 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ALVAREZ, RICHARD
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.59 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ALVAREZ, SANDRA
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.60 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,835.00
    AMA CONSULTING ENGINEERS, P.C.
    2101 E. EL SEGUNDO BLVD                                         ¨ Contingent
    SUITE 303                                                       ¨ Unliquidated
    EL SEGUNDO, LOS ANGELES, CA 90245                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.61 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 112,911.85
    AMAZON CAPITAL SERVICES, INC
    410 TERRY AVENUE NORTH                                          ¨ Contingent
    SEATTLE, KING, WA 98109                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.62 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    AMAZON CAPITAL SERVICES, INC
    410 TERRY AVENUE NORTH                                          þ Contingent
    SEATTLE, KING, WA 98109                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.63 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 21,083.57
    AMAZON WEB SERVICES INC
    PO BOX 84023                                                    ¨ Contingent
    SEATTLE, KINGS, WA 98124-8423                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.64 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    AMBROSE, SETH P
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.65 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,617.30
    AMERICAN BENEFITS GROUP
    PO BOX 1209                                                     ¨ Contingent
    NORTHAMPTON, HAMPSHIRE, MA 01061-1209                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.66 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    390.00
    AMERICAN DYNAMIC SERVICES, INC.
    2275 HUNTINGTON DRIVE #115                                      ¨ Contingent
    SAN MARINO, LOS ANGELES, CA 91108                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.67 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 193,314.00
    AMERICAN GALVANO, INC
    421 KANSAS STREET                                               ¨ Contingent
    REDLANDS, SAN BERNARDINO, CA 92373                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.68 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  65,560.00
    AMERICAN METAL ENTERPRISES INC.
    15855 CHEMICAL LN.                                              ¨ Contingent
    HUNTINGTON BEACH, ORANGE COUNTY, CA 92649                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.69 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    486.88
    AMERICAN SAFETY SERVICES, INC
    3209 LANDCO DRIVE                                               ¨ Contingent
    BAKERSFIELD, KERN, CA 93308                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.70 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,515.34
    AMERICAN STOCK TRANSFER & TRUST COMPANY, LLC
    PO BOX 12893                                                    ¨ Contingent
    PHILADELPHIA, PHILADELPHIA, CA 19176-0893                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.71 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,859.29
    AMETEK
    9250 BROWN DEER ROAD                                            ¨ Contingent
    SAN DIEGO, SAN DIEGO, CA 92121                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.72 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    AMEY, DARRELL DOMINIQUE
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.73 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,004.73
    AMPHENOL CANADA CORPORATION
    5950 14TH AVENUE                                                ¨ Contingent
    MARKHAM, ON L3S 4M4                                             ¨ Unliquidated
    CANADA                                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.74 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 20,760.00
    AMRO FABRICATING CORPORATION
    1430 AMRO WAY                                                   ¨ Contingent
    SOUTH EL MONTE, LOS ANGELES, CA 91733                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.75 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ANDERSON, CHRISTOPHER STEVEN
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.76 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ANDERSON, NEWTON E
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.77 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 202,090.00
    ANSYS, INC
    2600 ANSYS DRIVE                                                ¨ Contingent
    CANONSBURG, WASHINGTON, PA 15317                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.78 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    998.61
    ANTHONY'S GRILL
    16940 STATE HIGHWAY 14                                          ¨ Contingent
    STE B                                                           ¨ Unliquidated
    MOJAVE, KERN, CA 93501                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.79 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  16,400.00
    AON CONSULTING INC.
    2570 NORTH FIRST STREET                                         ¨ Contingent
    SAN JOSE, SANTA CLARA, CA 95131                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.80 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 162,583.85
    AON RISK INS. SERVICES WEST
    199 FREMONT STREET SUITE 1500                                   ¨ Contingent
    SAN FRANCISCO, SAN FRANCISCO, CA 94105                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.81 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  46,282.31
    API TECHNOLOGIES CORP.
    38166 OLD STAGE ROAD                                            ¨ Contingent
    DELMAR, SUSSEX, DE 19940                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.82 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    APONTE, DIANA
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.83 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    APPLIED AVIONICS INC
    3201 SANDY LANE                                                 þ Contingent
    FORTH WORTH, TARRANT, TX 76112                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.84 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,310.00
    APPLUS RTD USA, INC.
    3 SUGAR CREEK CENTER BLVD., SUITE 600                           ¨ Contingent
    SUGAR LAND, FORT BEND, TX 77478                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.85 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  19,082.50
    A-P-T RESEARCH, INC.
    4950 RESEARCH DRIVE                                             ¨ Contingent
    HUNTSVILLE, MADISON, AL 35805                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.86 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 173,422.49
    ARAMARK REFRESHMENTS SERVICES
    17044 MONTANERO AVENUE                                          ¨ Contingent
    CARSON, LOS ANGELES, CA 90746                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.87 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      4,044.61
    ARC DOCUMENT SOLUTIONS, LLC
    PO BOX 511580                                                   ¨ Contingent
    LOS ANGELES, LOS ANGELES, CA 90051-8135                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.88 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     43,932.02
    ARDE
    875 WASHINGTON AVENUE                                           ¨ Contingent
    CARLSTADT, BERGEN, NJ 7072                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.89 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
    ARELLANO, LEXIE MARIE
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.90 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
    ARQIT LTD.
    3 MORE LONDON RIVERSIDE                                         þ Contingent
    LONDON, SE1 2RE                                                 þ Unliquidated
    UNITED KINGDOM                                                  ¨ Disputed
                                                                    Basis for the claim: Contract Overpayment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.91 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 8,380,000.00
    ARQIT LTD.
    3 MORE LONDON RIVERSIDE                                         þ Contingent
    LONDON, SE1 2RE                                                 þ Unliquidated
    UNITED KINGDOM                                                  ¨ Disputed
                                                                    Basis for the claim: Customer Contract Milestone & Deposit Payments



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.92 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 1,600,000.00
    ARQIT, INC.
    1201 N GARFIELD ST, APT 217                                     þ Contingent
    ARLINGTON, ARLINGTON, VA 22201-6809                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.93 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      276.67
    ARROW ELECTRONICS, INC.
    7459 S. LIMA                                                    ¨ Contingent
    ENGLEWOOD, ARAPOHOE, CO 80112-3879                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.94 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  132,226.53
    ARTHUR J GALLAGHER RISK MANAGEMENT SERVICES, INC.
    2850 GOLF ROAD                                                  ¨ Contingent
    ROLLING MEADOWS, COOK, IL 60008                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.95 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    ASHDOWN, IAN
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.96 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   35,000.00
    ASTM INTERNATIONAL
    100 BARR HARBOR DRIVE                                           ¨ Contingent
    WEST CONSHOHOCKEN, MONTGOMERY, PA 19428                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.97 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 74,743.00
     ASTRO PAK
     12201 PANGBORN AVENUE                                          ¨ Contingent
     DOWNEY, LOS ANGELES, CA 90241                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.98 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 27,000.00
     ASTROTELOS, LLC
     218 FORKNER DRIVE, APT F                                       ¨ Contingent
     DECATUR, DEKALB, GA 30030                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.99 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ATMA, PETER NOAH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.100 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     AUBE, AUSTIN HUNTER
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.101 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,600.00
     AURORA CASTING AND ENGINEERING, INC.
     1790 LEMONWOOD DR.                                             ¨ Contingent
     SANTA PAULA, VENTURA, CA 93060                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.102 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     11.03
     AUTOMATIONDIRECT.COM
     3505 HUTCHINSON ROAD                                           ¨ Contingent
     CUMMING, FORSYTH, GA 30040                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.103 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     AVILA, CECILIA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.104 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     AVILA, JESSE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.105 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 82,083.44
     AVS UK LTD
     WESTCOTT INNOVATION CENTRE                                     ¨ Contingent
     AYLESBURY, BUCKINGHAMSHIRE, HP180XB                            ¨ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.106 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,819.55
     AXXIS CORPORATION
     1535 NANDINA AVE.                                              ¨ Contingent
     PERRIS, RIVERSIDE COUNTY, CA 92571                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.107 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     AZARTASH-NAMIN, SOLMOZ KATHLEEN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.108 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,690.00
     B&H PHOTO VIDEO
     PO BOX 8698                                                    ¨ Contingent
     NEW YORK, MANHATTAN, NY 10116                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.109 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BAE, JINWOO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.110 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BAEZA, OLEGARIO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.111 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BAHENA, CARLOS GERARDO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.112 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,829.57
     BAKERSFIELD PIPE AND SUPPLY, INC
     PO BOX 60006                                                   ¨ Contingent
     LOS ANGELES, LOS ANGELES, CA 90060-0006                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.113 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BAKERSFIELD PIPE AND SUPPLY, INC
     PO BOX 60006                                                   þ Contingent
     LOS ANGELES, LOS ANGELES, CA 90060-0006                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.114 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BALBAS, JERRY TOLENTINO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.115 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,562.50
     BALL SYSTEMS, INC. DBA BALL SYSTEMS TECHNOLOGIES
     16469 SOUTHPARK DRIVE                                          ¨ Contingent
     WESTFIELD, HAMILTON COUNTY, IN 46074                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.116 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 20,666.99
     BAMKO,LLC DBA TANGERINE PROMOTIONS
     11620 WILSHIRE BLVD.                                           ¨ Contingent
     STE. 360                                                       ¨ Unliquidated
     LOS ANGELES, LOS ANGELES, CA 90025                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.117 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,499.22
     BANK OF THE WEST (DBA NETAPP CAPITAL SOLUTIONS)
     180 MONTGOMERY STREET                                          ¨ Contingent
     SAN FRANCISCO, SAN FRANCISCO, CA 94105                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.118 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 438,805.01
     BAR AVIATION INC.
     1109 FATHER CAPODANNO BLVD.                                    ¨ Contingent
     STATEN ISLAND, STATEN ISLAND, NY 10306                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.119 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BARAJAS, RONALD D
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.120 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BARAJAS, RONALD D
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.121 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BARATTA, ALEXANDER R
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.122 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     1,107.50
     BARBEE VALVE & SUPPLY
     745 MAIN STREET                                                ¨ Contingent
     CHULA VISTA, SAN DIEGO, CA 91911                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.123 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BARBEE VALVE & SUPPLY
     745 MAIN STREET                                                þ Contingent
     CHULA VISTA, SAN DIEGO, CA 91911                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.124 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 1,552,581.25
     BARBER NICHOLS, INC
     6325 WEST 55TH AVENUE                                          ¨ Contingent
     ARVADA, JEFFERSON, CO 80002                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.125 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BARBER NICHOLS, INC
     6325 WEST 55TH AVENUE                                          þ Contingent
     ARVADA, JEFFERSON, CO 80002                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.126 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BARKEY, DYLAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.127 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 51,077.12
     BARNHARDT MANUFACTURING COMPANY DBA NCFI POLYURETHANES
     1515 CARTER STREET                                             ¨ Contingent
     MOUNT AIRY, SURRY, NC 27030                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.128 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BARRETO, MARTA AMELIA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.129 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BARRIENTOS, JEFFREY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.130 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 51,233.03
     BART MANUFACTURING, INC.
     3787 SPINNAKER COURT                                           ¨ Contingent
     FREMONT, ALAMEDA, CA 94538                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.131 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BATISTA, GEOFF
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.132 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,266.16
     BAY CITY FLYERS, LLC (DBA AERO CITY JETS)
     2901 E SPRING STREET, STE F                                    ¨ Contingent
     LONG BEACH,, LOS ANGELES COUNTY, CA 90806                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.133 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BEASLEY, ERIK
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.134 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BEAVERS, DONOVAN MICHAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.135 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BEAVERS, ELLIOTT
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.136 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,800.00
     BEECH SYSTEMS, INC
     2635 PROSPECT AVE                                              ¨ Contingent
     LA CRESCENTA, LOS ANGELES, CA 91214                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.137 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 126,200.00
     BELLOWS MFG & RESEARCH
     860 ARROYO ST                                                  ¨ Contingent
     SAN FERNANDO, LOS ANGELES, CA 91340                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.138 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,198.38
     BENCHDEPOT
     23949 TECATE MISSION ROAD                                      ¨ Contingent
     TECATE, SAN DIEGO, CA 91963                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.139 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BENCHDEPOT
     23949 TECATE MISSION ROAD                                      þ Contingent
     TECATE, SAN DIEGO, CA 91963                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.140 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BENITES, DANIEL ERIC
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.141 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BENITES, JUSTIN B
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.142 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,621.43
     BENMO LLC
     20630 LEAPWOOD AVE.                                            ¨ Contingent
     SUITE F                                                        ¨ Unliquidated
     CARSON, LOS ANGELES, CA 90746                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.143 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BENTON, RICHARD K
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.144 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BESS, MICHAEL P
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.145 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BETTENCOURT, KINSEY R
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.146 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,995.00
     BETTER EVERY DAY STUDIOS, LLC
     1821 S PATTON AVE.                                             ¨ Contingent
     SAN PEDRO, LOS ANGELES, CA 90732                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.147 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BIELE, FRANK
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.148 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     3,358.22
     BIFFA WASTE SERVICES LTD.
     CORONATION ROAD                                                ¨ Contingent
     HIGH WYCOMBE, BUCKINGHAM, HP12 3TZ                             ¨ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.149 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 1,500,000.00
     BIGBEAR.AI LLC
     6811 BENJAMIN FRANLIN DRIVE, STE 200                           þ Contingent
     COLUMBIA, HOWARD, MD 21046                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.150 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  229,363.06
     BISCO INDUSTRIES
     1500 N. LAKEVIEW AVE                                           ¨ Contingent
     ANAHEIM, ORANGE, CA 92807                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.151 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BISCO INDUSTRIES
     1500 N. LAKEVIEW AVE                                           þ Contingent
     ANAHEIM, ORANGE, CA 92807                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.152 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,282.67
     BJB ENTERPRISES, INC.
     14791 FRANKLIN                                                 ¨ Contingent
     TUSTIN, ORANGE, CA 92708                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.153 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BJB ENTERPRISES, INC.
     14791 FRANKLIN                                                 þ Contingent
     TUSTIN, ORANGE, CA 92708                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.154 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BLACKBURN, JUSTIN RAY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.155 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,225.30
     BLACKHAWK INDUSTRIAL DISTRIBUTION, INC.
     1501 SW EXPRESSWAY DRIVE                                       ¨ Contingent
     BROKEN ARROW, TULSA COUNTY, OK 74012                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.156 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BLACKHAWK INDUSTRIAL DISTRIBUTION, INC.
     1501 SW EXPRESSWAY DRIVE                                       þ Contingent
     BROKEN ARROW, TULSA COUNTY, OK 74012                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.157 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BLACKWELL, DAVID
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.158 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,250.00
     BLADONMORE INC (BLADONMORE LTD)
     1240 ROSECRANS AVENUE, SUITE 120                               ¨ Contingent
     MANHATTAN BEACH, CA 90266                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.159 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BLANCO, NELSON STEVE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.160 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BLAYLOCK, DARRYL R.
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.161 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BLISS, ROBERT W
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.162 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BLOUNT, DEJON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.163 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BLOUNT, DEJON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.164 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BLUA, JAMES M
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.165 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,865.00
     BLUELINE INDUSTRIAL
     18350 WARD STREET                                              ¨ Contingent
     FOUNTAIN VALLEY, ORANGE, CA 92708                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.166 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 235,280.60
     BOC LIMITED
     FORGE, 43 CHURCH STREET WEST                                   ¨ Contingent
     WOKING, SURREY, GU21 6HT                                       ¨ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.167 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BONGIORNO, MICHAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.168 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BONNER, TARIQ BILAL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.169 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BOONLUA, LODLIRS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.170 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 33,493.17
     BOOT WORLD, INC.
     7270 TRADE ST. SUITE 101                                       ¨ Contingent
     SAN DIEGO, SAN DIEGO, CA 92121                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.171 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BOUDREAU, LORI ANN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.172 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BOYKO, VLADIMIR
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.173 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BRADY, STUART CARL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.174 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BREEN, KEVIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.175 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,983.59
     BRENNAN INDUSTRIES INC
     20411 BARENTS SEA CIRCLE                                       ¨ Contingent
     LAKE FOREST, ORANGE, CA 92630                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.176 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BRENNAN INDUSTRIES INC
     20411 BARENTS SEA CIRCLE                                       þ Contingent
     LAKE FOREST, ORANGE, CA 92630                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.177 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 73,740.00
     BRIAN MURPHY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.178 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BROOK, BRYAN JAMES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.179 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BROOKE OWENS FELLOWSHIP
     8437 HOLLY LEAF DRIVE                                          þ Contingent
     MCLEAN, FAIRFAX, VA 22102                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uncashed Check



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.180 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    843.15
     BROWN AVIATION TOOL SUPPLY CO.
     2536 S.E. 15TH STREET                                          ¨ Contingent
     OKLAHOMA CITY, OKLAHOMA, OK 73129                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.181 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BROWN AVIATION TOOL SUPPLY CO.
     2536 S.E. 15TH STREET                                          þ Contingent
     OKLAHOMA CITY, OKLAHOMA, OK 73129                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.182 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BROWN, CHRISTOPHER DEREK
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.183 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BUCHBINDER, MICHAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.184 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    684.97
     BUEHLER, A DIVISION OF ILLINOIS TOOL WORKS
     41 WAUKEGAN RD                                                 ¨ Contingent
     LAKE BLUFF, LAKE, IL 60044                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.185 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BUEHLER, BRANDON KYLE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.186 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BUNNATH, POUMARA JIMMY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.187 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BUNTING, MARY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.188 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BUNTING, STEVEN THOMAS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.189 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BURGOS, NATALIE ANN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.190 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BURY, CHRISTOPHER EDWARD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.191 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BUSCH, RUTHANNE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.192 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BUSCH, TIMOTHY MICHAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.193 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,400.00
     BUSTER LIGHTING DESIGN
     1039 ANTELOPE PLACE                                            ¨ Contingent
     NEWBURY PARK, VENTURA, CA 91320                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.194 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BUTTERBREDT, KEITH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.195 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     BYRD, NATHAN MONTE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.196 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CABRERA, SOFIA MARIE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.197 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    661.50
     CAD/CAM CONSULTING SERVICES INC.
     1525 RANCHO CONJEO BLVD. SUITE 103                             ¨ Contingent
     NEWBURY PARK, VENTURA, CA 91320                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.198 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,763.23
     CADENCE DESIGN SYSTEMS, INC.
     2655 SEELY AVENUE                                              ¨ Contingent
     SAN JOSE, SANTA CLARA, CA 95134                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.199 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,214.58
     CADI COMPANY INC.
     60 RADO DR.                                                    ¨ Contingent
     NAUGATUCK, NEW HAVEN, CT 6770                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.200 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CADI COMPANY INC.
     60 RADO DR.                                                    þ Contingent
     NAUGATUCK, NEW HAVEN, CT 6770                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.201 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,457.20
     CAL STATE COMMUNICATIONS, INC.
     2236 ORPHEUS COURT                                             ¨ Contingent
     BAKERSFIELD,, KERN COUNTY, CA 93308                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.202 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CALDERON, EDDIE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.203 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     25.00
     CALIFORNIA DEPARTMENT OF MOTOR VEHICLES
     1110 W. AVENUE I                                               ¨ Contingent
     LANCASTER, KERN, CA 93534                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.204 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,430.00
     CALIFORNIA METAL & SUPPLY, INC.
     10230 FREEMAN AVE.                                             ¨ Contingent
     SANTE FE SPRINGS, LOS ANGELES, CA 90670                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.205 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 25,000.00
     CALIFORNIA SCIENCE CENTER FOUNDATION
     700 EXPOSITION PARK DRIVE                                      ¨ Contingent
     LOS ANGELES, LOS ANGELES, CA 90041                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.206 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,600.00
     CALIISM LLC
     3964 RIVERMARK PLAZA                                           ¨ Contingent
     SUITE 147                                                      ¨ Unliquidated
     SANTA CLARA, SANTA CLARA, CA 95054                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.207 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CALLAHAN, KEVIN GERARD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.208 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CALLEROS, OMAR
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.209 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,566.10
     CALLTOWER, INC
     10701 S. RIVER FRONT PARKWAY, 4TH FLOOR                        ¨ Contingent
     SOUTH JORDAN, SALK LAKE, UT 84095                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.210 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CAMPOS, LUIS D
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.211 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CANNON, MICHAEL KENNETH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.212 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    765.98
     CANON FINANCIAL SERVICES, INC.
     158 GAITHER DRIVE                                              ¨ Contingent
     STE 200                                                        ¨ Unliquidated
     MOUNT LAUREL, BURLINGTON, NJ 8054                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.213 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 17,688.00
     CANTEEN CORNWALL LTD
     NEWQUAY COMMUNITY ORCHARD, TREVENSON ROAD                      ¨ Contingent
     NEWQUAY, CORNWALL, TR73BW                                      ¨ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.214 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    960.00
     CAPE POINT TECHNOLOGIES, LLC
     3199 SW WILLAMETTE WAY                                         ¨ Contingent
     WILSONVILLE, CLACKAMAS, OR 97070                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.215 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,980.31
     CAPLUGS
     2150 ELMWOOD AVENUE                                            ¨ Contingent
     BUFFALO, ERIE, NY 14207                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.216 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CAPLUGS
     2150 ELMWOOD AVENUE                                            þ Contingent
     BUFFALO, ERIE, NY 14207                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.217 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CAPP, JOSEPH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.218 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     58.54
     CAPP, JOSEPH (JOE)
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.219 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 45,768.70
     CARBON-CARBON ADVANCED TECHNOLOGIES INC
     4704 EDEN ROAD                                                 ¨ Contingent
     ARLINGTON, TARRANT, TX 76001                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.220 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CARDENAS, ANDRES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.221 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CARLOMUSTO, MICHELLE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.222 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    539.25
     CARR LANE MANUFACTURING CO.
     4200 CARR LANE COURT                                           ¨ Contingent
     ST. LOUIS, ST. LOUIS, MO 63119                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.223 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CARRILLO, JOHAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.224 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 52,292.32
     CARTUS CORPORATION
     40 APPLE RIDGE ROAD                                            ¨ Contingent
     DANBURY, FAIRFIELD, CT 6810                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.225 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CASAS, RIGOBERTO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.226 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CASTANON, EVELIA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.227 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CASTANON, PRISCILA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.228 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CASTILLO, ISAAC
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.229 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CASTRO, JOSE ALFREDO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.230 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CASTRO, NATHAN GREGORY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.231 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CAYAX-MENDOZA, JONATHAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.232 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,277.51
     CCH EQUIPMENT CO
     14902 PRESTON RD # 404-323                                     ¨ Contingent
     DALLAS, DALLAS, TX 75254                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.233 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 40,790.24
     CDW DIRECT
     200 NORTH MILWAUKEE AVENUE                                     ¨ Contingent
     VERNON HILLS, LAKE, IL 60061                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.234 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    857.61
     CDW LIMITED
     1 NEW CHANGE                                                   ¨ Contingent
     LONDON, EC4M 9AF                                               ¨ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.235 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,240.31
     CED POWER
     6781 8TH STREET                                                ¨ Contingent
     BUENA PARK, ORANGE COUNTY, CA 90620                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.236 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,900.00
     CELERITIVE TECHNOLOGIES, INC.
     95 EAST HIGH STREET                                            ¨ Contingent
     MOORPARK, VENTURA, CA 93021                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.237 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,499.86
     CENTRAL CALIFORNIA FLUID SYSTEM TECH
     325 BALBOA CIRCLE                                              ¨ Contingent
     CAMARILLO, VENTURA, CA 93012                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.238 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CENTRAL CALIFORNIA FLUID SYSTEM TECH
     325 BALBOA CIRCLE                                              þ Contingent
     CAMARILLO, VENTURA, CA 93012                                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.239 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    325.00
     CERTIFIED STEEL TREATING CORP.
     2454 EAST 58TH STREET                                          ¨ Contingent
     LOS ANGELES, LOS ANGELES, CA 90058                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.240 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CERVANTES, REYNA NINA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.241 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CEVALLOS, LEO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.242 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    356.11
     CFM SAN DIEGO, INC
     2784 GATEWAY ROAD, STE. 103                                    ¨ Contingent
     CARLSBAD, SAN DIEGO, CA 92009                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.243 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHAN, AARON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.244 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHAN, ERIC
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.245 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHANG, ASHLEY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.246 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHAVARIN, CARLOS ALEJANDRO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.247 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHAVARRIA, HOPE GRACE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.248 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHAVEZ, ALFONSO IVAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.249 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHAVEZ, MARK ANTHONY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.250 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHEA, SAVON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.251 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,641.61
     CHECK ALL VALVE MFG CO
     1800 FULLER ROAD                                               ¨ Contingent
     WEST DES MOINES, POLK, IA 50265                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.252 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHECK ALL VALVE MFG CO
     1800 FULLER ROAD                                               þ Contingent
     WEST DES MOINES, POLK, IA 50265                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.253 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,224.00
     CHEM PRO LAB, INC.
     941 WEST 190TH ST                                              ¨ Contingent
     GARDENA, LOS ANGELES, CA 90248                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.254 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHEN, JUE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.255 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHENG, DA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.256 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHENG, JOSHUA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.257 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHIAPPARINE, STEVEN MATHEW
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.258 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHIAVETTA, ROBERT PETER
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.259 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHOI, KEVIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.260 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,845.60
     CHOURA VENUE SERVICES (DBA GRAND FOOD & BEVERAGE)
     4101 E WILLOW STREET                                           ¨ Contingent
     LONG BEACH, LOS ANGELES COUNTY, CA 90815                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.261 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHRISTINA, JOSEPH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.262 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHUNG, MING
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred         Undetermined           Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.263 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHURCHILL CORPORATION
     344 FRANKLIN ST                                                þ Contingent
     MELROSE, MIDDLESEX, MA 2176                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred         Undetermined           Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.264 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 494,670.18
     CICON ENGINEERING, INC
     20235 NORDHOFF STREET                                          ¨ Contingent
     CHATSWORTH, LOS ANGELES, CA 91311                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.265 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CICON ENGINEERING, INC
     20235 NORDHOFF STREET                                          þ Contingent
     CHATSWORTH, LOS ANGELES, CA 91311                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred         Undetermined           Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.266 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,176.39
     CIGNA HEALTHCARE
     P.O. BOX 644546                                                ¨ Contingent
     PITTSBURGH, PITTSBURGH, PA 15264-4546                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.267 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 15,731.47
     CINTAS CORPORATION
     5500 YOUNG STREET                                              ¨ Contingent
     BAKERSFIELD, KERN, CA 93311                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.268 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,325.00
     CIRCUIT TECHNOLOGY TRAINING INC
     5200 RATHKEALE CT.                                             ¨ Contingent
     HOLLY SPRINGS, WAKE, NC 27540                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.269 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    689.32
     CIRRIS INC.
     401 NORTH 5600 WEST                                            ¨ Contingent
     SALT LAKE CITY, SALT LAKE, UT 84116                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.270 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    412.71
     CIT BANK, N.A.
     10201 CENTURION PKWY N                                         ¨ Contingent
     STE 100                                                        ¨ Unliquidated
     JACKSONVILLE, FL 32256                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.271 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,384.47
     CITY OF LONG BEACH
     2400 E SPRING ST                                               ¨ Contingent
     ATTN: JANE HERMSEN                                             ¨ Unliquidated
     LONG BEACH, LA, CA 90806                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.272 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,336.77
     CITY OF LONG BEACH UTILITY
     PO BOX 630                                                     ¨ Contingent
     LONG BEACH, LOS ANGELES, CA 90842-0001                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.273 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 126,732.00
     CLARENDON SPECIALTY FASTENERS INC.
     2180 TEMPLE AVE.                                               ¨ Contingent
     LONG BEACH, LOS ANGELES, CA 90804                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.274 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  11,270.00
     CLARION CONSULTING GROUP, LLC
     21900 BURBANK BLVD., SUITE 300                                 ¨ Contingent
     WOODLAND HILLS, LOS ANGELES, CA 91367                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.275 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CLARK MASTS SYSTEMS LIMITED
     18-20 RINGWOOD ROAD                                            þ Contingent
     BINSTEAD, ISLE, PO333                                          þ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.276 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  59,564.44
     CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
     42 LONGWATER DRIVE/PO BOX 9149                                 ¨ Contingent
     NORWELL, PLYMOUTH, MA 02061-9149                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.277 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 26,676.02
     CLEANROOMS WEST, INC (DBA CONTROLLED ENVIRONMENTAL
     REGULATORY TESTING SERVICES C.E.R.T.S.)                        ¨ Contingent
     1392 INDUSTRIAL DRIVE                                          ¨ Unliquidated
     TUSTIN, ORANGE, CA 92780-6416                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.278 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 49,486.80
     CLEAR-COM, LLC
     1301 MARINA VILLAGE PKWY, STE. 105                             ¨ Contingent
     ALAMEDA, ALAMEDA, CA 92021                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.279 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 22,700.00
     CLUSTR, INC.
     1 TRESAUNCE WAY                                                ¨ Contingent
     FOOTHILL RANCH, ORANGE, CA 92610                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.280 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,110.72
     CMC INTERACTIVE LLC
     75 BROAD STREET, SUITE #2200                                   ¨ Contingent
     NEW YORK, NEW YORK, NY 10004                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.281 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    832.34
     COGENCY GLOBAL INC
     PO BOX 31618                                                   ¨ Contingent
     HICKSVILLE, NASSAU, NY 11802                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.282 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 20,100.00
     COGNOMATA, INC
     6520 PLATT AVE. #620                                           ¨ Contingent
     WEST HILLS, LOS ANGELES, CA 91307-3218                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.283 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COHEN, DENVER C
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.284 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 17,640.00
     COLD BOX, INC.
     850-92ND AVENUE, #5                                            ¨ Contingent
     OAKLAND, ALAMEDA, CA 94603                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.285 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COLE, CRAIG LAWRENCE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.286 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    765.92
     COLE-PARMER
     625 E BUNKER CT.                                               ¨ Contingent
     VERNON HILLS, LAKE, IL 60061                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.287 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COLLINS, ZACHARY A
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.288 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COLVIN, EUGENE D
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.289 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    406.05
     COMCAST HOLDINGS CORPORATION
     PO BOX 70219                                                   ¨ Contingent
     PHILADELPHIA, PHILADELPHIA, PA 19176                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.290 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COMCAST HOLDINGS CORPORATION
     PO BOX 70219                                                   þ Contingent
     PHILADELPHIA, PHILADELPHIA, PA 19176                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uncashed Check



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.291 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COMPARAN, EDGAR
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.292 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,099.89
     COMPLETE COPY SYSTEMS GROUP, INC.
     3300 BEVERLY BLVD.                                             ¨ Contingent
     LOS ANGELES, LOS ANGELES, CA 90004                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.293 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,000.00
     COMPOSITE TECHNOLOGY DEVELOPMENT, INC.
     2600 CAMPUS DRIVE, SUITE D                                     ¨ Contingent
     LAFAYETTE, BOULDER, CO 80026                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.294 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,082.50
     CONCRETE CORING COMPANY
     14005 ORANGE AVENUE                                            ¨ Contingent
     PARAMOUNT, LOS ANGELES, CA 90723                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.295 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,466.69
     CONCUR TECHNOLOGIES, INC.
     601 108TH AVENUE NE, SUITE 1000                                ¨ Contingent
     BELLEVUE, KING, WA 98004                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.296 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CONDRA, MICHAEL A
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.297 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 54,559.68
     CONTAINER ALLIANCE COMPANY
     510 CASTILLO STREET                                            ¨ Contingent
     SUITE 340                                                      ¨ Unliquidated
     SANTA BARBARA, SANTA BARBARA, CA 93101                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.298 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CONTRERAS, EDWARD MEDINA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.299 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,629.69
     CONTROLLED MOTION SOLUTIONS, INC.
     4000 E. BUNDAGE LANE                                           ¨ Contingent
     BAKERSFIELD, KERN, CA 93307                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.300 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COPELAND, JAMES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.301 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 36,582.68
     CORD MASTER ENGINEERING
     1544 CURRAN HIGHWAY                                            ¨ Contingent
     NORTH ADAMS, BERKSHIRE, MA 1247                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.302 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $             Undetermined
     CORNWALL COUNCIL PARKING SERVICES
     PO BOX 664                                                      þ Contingent
     TRURO, TR1 9DH                                                  þ Unliquidated
     UNITED KINGDOM                                                  þ Disputed
                                                                     Basis for the claim: Parking Citations



     Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes

3.303 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $             Undetermined
     CORONA, EDUARDO
     ADDRESS ON FILE                                                 þ Contingent
                                                                     þ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes

3.304 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $             Undetermined
     CORONADO, NICHOLAS
     ADDRESS ON FILE                                                 þ Contingent
                                                                     þ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes

3.305 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $                 27,852.75
     COROVAN MOVING & STORAGE CO.
     1000 E VALENCIA DRIVE                                           ¨ Contingent
     FULLERTON, ORANGE, CA 92831                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Trade Payable



     Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes

3.306 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $                    762.00
     CORPORATION SERVICES COMPANY
     PO BOX 13397                                                    ¨ Contingent
     PHILADELPHIA, PHILADELPHIA, PA 19101-3397                       ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Trade Payable



     Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.307 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CORRALES, KENNEDY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.308 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    688.68
     COTRONICS CORP
     131 47TH ST                                                    ¨ Contingent
     BROOKLYN, KINGS, NY 11232                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.309 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COTRONICS CORP
     131 47TH ST                                                    þ Contingent
     BROOKLYN, KINGS, NY 11232                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.310 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COTTRILL, KENNA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.311 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,928.30
     COURTYARD MARRIOTT LONG BEACH
     3841 LAKEWOOD BLVD.                                            ¨ Contingent
     LONG BEACH, LOS ANGELES, CA 90808                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.312 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 131,914.00
     COVERED6 LLC
     868 PATRIOT DR, SUITE C                                        ¨ Contingent
     MOORPARK, VENTURA, CA 93021                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.313 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COX, DELMUS JAMES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.314 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CREEL, DOUGLAS DWAIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.315 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CRENSHAW, ANTHONY WALTER
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.316 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 312,181.25
     CRM CONSTRUCTION, INC.
     5353 E. 2ND STREET #202                                        ¨ Contingent
     LONG BEACH, CA 90803                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.317 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 150,702.15
     CROWN BUILDING MAINTENANCE CO. (DBA ABLE SERVICES )
     868 FOLSOM STREET                                              ¨ Contingent
     SAN FRANCISCO, SAN FRANCISCO COUNTY, CA 94107                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.318 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  13,937.37
     CRP USA, LLC
     PO BOX 728                                                     ¨ Contingent
     MOORESVILLE, IREDELL, NC 28115                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.319 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CUELLAR, GINA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred         Undetermined           Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.320 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CULBERTSON, JOHN ROBERT
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred         Undetermined           Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.321 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  17,971.00
     CUMBERLAND ADDITIVE INC.
     3813 HELIOS WAY, SUITE B-200                                   ¨ Contingent
     PFLUGERVILLE, TRAVIS COUNTY, TX 78660                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.322 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,069.15
     CUSTOM INTERFACE, INC.
     410 S. LARCH STREET                                            ¨ Contingent
     BINGEN, KLICKITAT, WA 98605                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.323 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,230.00
     CUTTING EDGE COMMUNICATIONS LLC
     19744 BEACH BLVD. #310                                         ¨ Contingent
     HUNTINGTON BEACH, ORANGE COUNTY, CA 92649                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.324 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CYLKOWSKI, EARL V
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.325 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,401.30
     DAILY INDUSTRIAL TOOLS
     1340 LOGAN AVENUE, UNIT A                                      ¨ Contingent
     COSTA MESA, ORANGE, CA 92626                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.326 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DAM, GEOFFREY PHI
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.327 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,500.00
     DANA CONTAINER, INC
     210 EAST ESSEX AVENUE                                          ¨ Contingent
     AVENEL, NJ 07001                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.328 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DANG, BERNICE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.329 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,191.06
     DANIELS MANUFACTURING CORP.
     526 THORPE ROAD                                                ¨ Contingent
     ORLANDO, ORANGE, FL 32824-8133                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.330 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DARBY, KEITH A
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.331 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DARBY, KEITH A
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.332 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 36,005.34
     DATA CENTRIC ENTERPRISES, LLC
     419 MAIN ST #434                                               ¨ Contingent
     HUNTINGTON BEACH, CA 92648                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.333 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DATA CENTRIC ENTERPRISES, LLC
     419 MAIN ST #434                                               þ Contingent
     HUNTINGTON BEACH, CA 92648                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.334 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DATAQ INSTRUMENTS, INC.
     241 SPRINGSIDE DR                                              þ Contingent
     AKRON, SUMMIT, OH 44333                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.335 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 93,904.06
     DATASITE LLC
     733 S MARQUETTE AVE., SUITE 600                                ¨ Contingent
     MINNEAPOLIS, HENNEPIN, MN 55402                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.336 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 44,050.00
     DAVID M. LEWIS COMPANY, LLC DBA DLC
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.337 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DAVILA, DAYLAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.338 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DAVIS, CHRIS SHAWN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.339 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DE LA CRUZ, ALVARO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.340 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DE SOUZA, ALEXANDER
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.341 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DEAN, GREGORY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.342 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 386,099.85
     DEBAISE HOLDINGS LLC D/B/A PDS
     DEBAISE HOLDINGS LLC D/B/A PDS                                 ¨ Contingent
     6870 W 52ND AVE., SUITE 107                                    ¨ Unliquidated
     ARVADA, JEFFERSON, CO 80002                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.343 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  35,743.93
     DEL MAR AVIONICS, LLC
     11 MARCONI, SUITE B                                            ¨ Contingent
     IRVINE, ORANGE, CA 92618                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.344 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,352.27
     DELL MARKETING L.P.
     1 DELL WAY                                                     ¨ Contingent
     ROUND ROCK, TRAVIS, TX 78664                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.345 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DELL MARKETING L.P.
     1 DELL WAY                                                     þ Contingent
     ROUND ROCK, TRAVIS, TX 78664                                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.346 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 191,170.88
     DELOITTE & TOUCHE LLP
     4022 SELLS DRIVE                                               ¨ Contingent
     HERMITAGE, DAVIDSON, TN 37073                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.347 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DERUYTER, PAIGE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.348 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DEVON & CORNWAL POLICE - ROAD SAFETY TEAM
     PO BOX 206                                                     þ Contingent
     PLYMOUTH, PL6 5WY                                              þ Unliquidated
     UNITED KINGDOM                                                 þ Disputed
                                                                    Basis for the claim: Moving Citations



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.349 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DHING, SIDDHARTH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.350 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,678.14
     DIAMOND LINERS INC.
     9507 SANTA FE SPRINGS ROAD                                     ¨ Contingent
     SANTA FE SPRINGS, LOS ANGELES, CA 90670                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.351 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DIAMOND LINERS INC.
     9507 SANTA FE SPRINGS ROAD                                     þ Contingent
     SANTA FE SPRINGS, LOS ANGELES, CA 90670                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.352 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DIAZ, JOSEPH GABRIEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.353 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DIAZ, MICHELLE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.354 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DICKSTEIN, DYLAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.355 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 36,369.19
     DIGI-KEY CORPORATION
     701 BROOKS AVENUE SOUTH                                        ¨ Contingent
     THIEF RIVER FALLS, PENNINGTON, MN 56701                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.356 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DIGI-KEY CORPORATION
     701 BROOKS AVENUE SOUTH                                        þ Contingent
     THIEF RIVER FALLS, PENNINGTON, MN 56701                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.357 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,584.00
     DILIGENT CORPORATION
     1111 19TH STREET NW, 9TH FL.                                   ¨ Contingent
     WASHINGTON DC, DISTRICT OF COLUMBIA, DC 20036                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.358 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DINH, CHARLOTTE TRAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.359 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DINH, CHAU HUYEN TRAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.360 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DIRECTO, CARLOS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.361 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DISTRIBUTION INTERNATIONAL
     24100 BROAD STREET                                             þ Contingent
     CARSON, LOS ANGELES, CA 90745                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.362 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DIVINITY, SHEYLA TANAIRY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.363 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,606.81
     DMG MORI USA, INC.
     2400 HUNTINGTON BLVD                                           ¨ Contingent
     HOFFMAN ESTATES, COOK, IL 60192                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.364 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DONNELLY, JAMES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.365 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DOUGLAS, WILLIAM
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.366 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,458.01
     DOW-KEY MICROWAVE CORPORATION
     4822 MCGRATH ST                                                ¨ Contingent
     VENTURA, VENTURA, CA 93003                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.367 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,920.00
     DOWNEY, SMITH & FIER
     4010 WATSON PLAZA DRIVE                                        ¨ Contingent
     STE 190                                                        ¨ Unliquidated
     LAKEWOOD, LOS ANGELES, CA 90712                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.368 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DRAKE, JEWELL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.369 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,504.02
     DSG INTERNATIONAL
     105 EUCALYPTUS DRIVE                                           ¨ Contingent
     EL SEGUNDO, LOS ANGELES, CA 90245                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.370 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     D'SOUZA, NEIL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.371 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 236,737.00
     DT MACHINE, INC
     1891 E. MIRALOMA AVE                                           ¨ Contingent
     PLACENTIA, ORANGE, CA 92870                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.372 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    635.44
     DUCHARME MCMILLEN & ASSOCIATES, INC.
     828 S. HARRISON ST                                             ¨ Contingent
     SUITE 650                                                      ¨ Unliquidated
     FT WAYNE, IN, IN 46802                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.373 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DUCHON, DOUGLAS SAMUEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.374 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DUNCAN, BENJAMIN J
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.375 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DUNN, RICHARD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.376 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DURAN, RICHARD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.377 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  77,092.56
     DY4, INC
     20130 LAKEVIEW CNETER PLAZA, SUITE 200                         ¨ Contingent
     ASHBURN, LOUDOUN, VA 20147-7915                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.378 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,385.21
     DYNAMIS EPOXY, LLC.
     415 E VENICE AVE                                               ¨ Contingent
     VENICE, SARASOTA, FL 34285                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.379 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 249,529.00
     DYTRAN INSTRUMENTS
     21592 MARILLA ST.                                              ¨ Contingent
     CHATSWORTH, LOS ANGELES, CA 91311                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.380 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,742.90
     E&H LAMINATING & SLITTING CO., INC.
     138 GRAND ST                                                   ¨ Contingent
     PATERSON, PASSAIC, NJ 7501                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.381 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  92,116.90
     E.V. ROBERTS
     18027 BISHOP AVENUE                                            ¨ Contingent
     CARSON, LOS ANGELES, CA 90746-4019                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.382 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  29,000.00
     EANDJ CONSULTING INC
     91 SUNSET COVE                                                 ¨ Contingent
     IRVINE, ORANGE, CA 92602                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.383 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     EARLEY, ERIC A
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.384 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    148.16
     EASTERN KERN AIR POLLUTION CONTROL DISTRICT
     2700 M STREET STE 302                                          ¨ Contingent
     BAKERFIELD, KERN, CA 93301                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.385 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 237,733.22
     EASTRIDGE WORKFORCE SOLUTIONS
     2355 NORTHSIDE DRIVE, #200                                     ¨ Contingent
     SAN DIEGO, SAN DIEGO, CA 92108                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.386 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     EDGERTON, JACK ODELL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.387 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 22,759.38
     EDISON CARRIER SOLUTIONS
     2 INNOVATION WAY                                               ¨ Contingent
     1ST FLOOR                                                      ¨ Unliquidated
     POMONA, LOS ANGELES, CA 91768                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.388 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    689.06
     EDM PERFORMANCE ACCESSORIES
     1400 PIONEER STREET                                            ¨ Contingent
     BREA, ORANGE, CA 92821                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.389 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     EDM PERFORMANCE ACCESSORIES
     1400 PIONEER STREET                                            þ Contingent
     BREA, ORANGE, CA 92821                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.390 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     EDWARDS, ANDREW L
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.391 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    371.88
     EFAX CORPORATE
     6922 HOLLYWOOD BLVD SUITE 500                                  ¨ Contingent
     LOS ANGELES, LOS ANGELES, CA 90028                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.392 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,800.00
     EHS PROJECTS LTD.
     20 BROOMGROVE ROAD                                             ¨ Contingent
     SHEFFIELD, SOUTH YORKSHIRE, S10 2LR                            ¨ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.393 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 58,922.30
     ELASTICSEARCH FEDERAL INC.
     800 W EL CAMINO REAL, SUITE 350                                ¨ Contingent
     MOUNTAIN VIEW, SANTA CLARA, CA 94040                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.394 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,331.16
     ELECTRO RENT CORPORATION
     6060 SEPULVEDA BLVD                                            ¨ Contingent
     VAN NUYS, LOS ANGELES, CA 91411                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.395 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ELECTRO RENT CORPORATION
     6060 SEPULVEDA BLVD                                            þ Contingent
     VAN NUYS, LOS ANGELES, CA 91411                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.396 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,670.00
     ELECTRON BEAM WELDING, LLC
     6940 HERMOSA CIRCLE                                            ¨ Contingent
     BUENA PARK, ORANGE, CA 90620                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.397 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    880.00
     ELECTRONIC BALANCING COMPANY INC
     660 EAST D STREET                                              ¨ Contingent
     WILMINGTON, LOS ANGELES, CA 90744                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.398 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 340,900.00
     ELEMENT MACHINE, LLC
     3121 E. LA PALMA AVENUE, UNIT N                                ¨ Contingent
     ANAHEIM, ORANGE, CA 92806                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.399 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,039.95
     ELEMENT MATERIALS TECHNOLOGY DETROIT, LLC
     15062 BOLSA CHICA                                              ¨ Contingent
     HUNTINGTON BEACH, ORANGE, CA 92649                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.400 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ELEMENT MATERIALS TECHNOLOGY DETROIT, LLC
     15062 BOLSA CHICA                                              þ Contingent
     HUNTINGTON BEACH, ORANGE, CA 92649                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.401 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    240.00
     ELEVATION CORPORATE HEALTH
     11350 MCCORMICK ROAD                                           ¨ Contingent
     EP 4                                                           ¨ Unliquidated
     SUITE LL8                                                      ¨ Disputed
     HUNT VALLEY, BALTIMORE, MD 21031
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.402 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,829.31
     ELITE MANUFACTURING SOLUTIONS
     3011 ARLOTTE AVE.                                              ¨ Contingent
     LONG BEACH, LOS ANGELES, CA 90808                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.403 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ELITE MANUFACTURING SOLUTIONS
     3011 ARLOTTE AVE.                                              þ Contingent
     LONG BEACH, LOS ANGELES, CA 90808                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.404 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ELLIS, ASHLEY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.405 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,071.79
     ELLSWORTH ADHESIVES SPECIALTY CHEMICAL DISTRIBUTION, INC.
     W129 N10825 WASHINGTON DRIVE                                   ¨ Contingent
     GERMANTOWN, WASHINGTON, WI 53022                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.406 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,208.00
     ELROB INC. (DBA EL-COM SYSTEM SOLUTIONS)
     12691 MONARCH ST                                               ¨ Contingent
     GARDEN GROVE, ORANGE COUNTY, CA 92841                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.407 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 60,168.43
     EMCOR ENCLOSURES LLC
     2900 37TH ST NW, BUILDING 201                                  ¨ Contingent
     ROCHESTER, OLMSTEAD, MN 55901                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.408 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     EMCOR ENCLOSURES LLC
     2900 37TH ST NW, BUILDING 201                                  þ Contingent
     ROCHESTER, OLMSTEAD, MN 55901                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.409 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     EMRE, SAHIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.410 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,500.00
     ENCORE STEEL BUILDING CO
     8830 CENTRE STREET                                             ¨ Contingent
     SUITE 2                                                        ¨ Unliquidated
     SOUTHAVEN, DESOTO, MS 38671                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.411 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,294.67
     ENCORE WELDING AND INDUSTRIAL SUPPLY, LLC
     2675 TEMPLE AVE                                                ¨ Contingent
     SIGNAL HILL, LOS ANGELES, CA 90755                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.412 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ENCORE WELDING AND INDUSTRIAL SUPPLY, LLC
     2675 TEMPLE AVE                                                þ Contingent
     SIGNAL HILL, LOS ANGELES, CA 90755                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.413 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,365.00
     ENG USA
     55 W. MONROE STREET, SUITE 2575                                ¨ Contingent
     CHICAGO, COOK, IL 60603                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.414 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 54,600.00
     ENGINEERED MACHINING SOLUTIONS
     200 W. GROVE AVE.                                              ¨ Contingent
     ORANGE, ORANGE, CA 92865                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.415 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ENRIQUEZ, DAVID MANUEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.416 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ENRIQUEZ, JOSE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.417 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ENRIQUEZ, MATEO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.418 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 92,959.64
     ENTERPRISE RENT A CAR
     PO BOX 402383                                                  ¨ Contingent
     ATLANTA, ATLANTA, GA 30384-2383                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.419 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     ENTERPRISE RENT-A-CAR UK LIMITED
     THE BATTLESHIP BUILDING, 179 HARROW ROAD                       ¨ Contingent
     LONDON, LONDON,                                                ¨ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.420 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 19,407.60
     ENVOY, INC.
     410 TOWNSEND, SUITE 410                                        ¨ Contingent
     SAN FRANCISCO, COCONINO, CA 94107                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.421 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,097.00
     EQUISOLVE, INC.
     3500 SW CORPORATE PARKWAY                                      ¨ Contingent
     SUITE 206                                                      ¨ Unliquidated
     PALM CITY, MARTIN, FL 34990                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.422 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 37,619.31
     ERIC RYAN BIPPERT
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.423 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ESQUIVEL FLORES, MYNOR DANIEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.424 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     EUNG, SAINGYOU
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.425 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,895.00
     EUROFINS EAG MATERIAL SCIENCE, LLC
     250 N NASH STREET                                              ¨ Contingent
     EL SEGUNDO, LOS ANGELES, CA 90245                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.426 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,685.00
     EUROTAINER US, INC.
     5810 WILSON ROAD                                               ¨ Contingent
     SUITE 200                                                      ¨ Unliquidated
     HUMBLE, HARRIS, TX 77396                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.427 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $                  2,700.00
     EXOTHERMICS, INC.
     14 COLUMBIA DRIVE                                               ¨ Contingent
     AMHERST, HILLSBOROUGH, NH 3031                                  ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Trade Payable



     Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes

3.428 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $                 29,770.00
     EXPERIOR LABORATORIES
     1635 IVES AVE.                                                  ¨ Contingent
     OXNARD, VENTURA, CA 93010                                       ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Trade Payable



     Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes

3.429 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $                 60,433.47
     EXPERIS, US INC.
     100 MANPOWER PLACE                                              ¨ Contingent
     MILWAUKEE, MILWAUKEE, WI 53212                                  ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Trade Payable



     Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes

3.430 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $                    390.00
     EXTREME ENGINEERING SOLUTIONS, INC.
     9901 SILICON PRAIRIE PARKWAY                                    ¨ Contingent
     VERONA, DANE, WI 53593                                          ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Trade Payable



     Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes

3.431 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $                 32,975.78
     EZE TRUCKING, LLC (DBA RIG RUNNER)
     519 N. SAM HOUSTON PARKWAY, E., SUITE 600                       ¨ Contingent
     HOUSTON, HARRIS, TX 77060                                       ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Trade Payable



     Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes


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3.432 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 69,577.90
     FAB METAL SHOP
     2231 E CURRY STREET                                            ¨ Contingent
     LONG BEACH, LOS ANGELES, CA 90805                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.433 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FAHRNY, JAMES NICHOLAS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.434 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FAHRNY, JAMES NICHOLAS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.435 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,975.32
     FAIRFIELD INN
     422 W. TEHACHAPI BLVD.                                         ¨ Contingent
     TEHACHAPI, KERN, CA 93561                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.436 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FAIRFIELD INN
     422 W. TEHACHAPI BLVD.                                         þ Contingent
     TEHACHAPI, KERN, CA 93561                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uncashed Checks



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.437 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FALCON, CYNTHIA MARIE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.438 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FAROOQ, ATIF
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.439 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 29,978.46
     FASTENAL COMPANY
     1618 SABOVICH ST.                                              ¨ Contingent
     MOJAVE, MOJAVE, CA, CA 93501                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.440 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 17,421.83
     FEDERAL EXPRESS
     PO BOX 7221                                                    ¨ Contingent
     PASADENA, LOS ANGELES, CA 91109-7321                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.441 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    969.73
     FEDEX FREIGHT
     DEPT LA                                                        ¨ Contingent
     PO BOX 21415                                                   ¨ Unliquidated
     PASADENA, LOS ANGELES, CA 91185                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.442 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FEREGRINO VEGA, MANUEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.443 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,790.13
     FERGUSON ENTERPRISES
     1144 W. AVE L-12                                               ¨ Contingent
     LANCASTER, LOS ANGELAS, CA 93534                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.444 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FERRAN CRUZ, JUAN GUILLERMO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.445 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FIALA, RONALD MARTIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.446 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FINN, PATRICK
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.447 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 15,488.46
     FIRST ADVANTAGE BACKGROUND SERVICES CORP.
     ONE CONCOURSE PKWY SUITE 200                                   ¨ Contingent
     ATLANTA, FULTON, GA 30328                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.448 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    965.22
     FISHER SCIENTIFIC COMPANY, LLC.
     300 INDUSTRY DR.                                               ¨ Contingent
     PITTSBURGH, ALLEGHENY, PA 15275                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.449 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FISHER SCIENTIFIC COMPANY, LLC.
     300 INDUSTRY DR.                                               þ Contingent
     PITTSBURGH, ALLEGHENY, PA 15275                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.450 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FLANZER, MATTHEW
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.451 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 50,875.01
     FLEXLINE, INC
     11 COLUMBUS AVE                                                ¨ Contingent
     KENILWORTH, UNION COUNTY, NJ 7033                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.452 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FLEXLINE, INC
     11 COLUMBUS AVE                                                þ Contingent
     KENILWORTH, UNION COUNTY, NJ 7033                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.453 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,016.36
     FLEXTECH ENGINEERING, INC.
     715 N MOUNTAIN AVE                                             ¨ Contingent
     SUITE 201                                                      ¨ Unliquidated
     UPLAND, SAN BERNARDINO COUNTY, CA 91786                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.454 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FLORES, ANGELINA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.455 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FLORES, JORGE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.456 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 15,579.00
     FLUID MECHANICS VALVE COMPANY
     12803 FM 529 RD                                                ¨ Contingent
     HOUSTON, HARRIS, TX 77041                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.457 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,150.80
     FLUIDIC SYSTEMS
     2655 SOUTH ORANGE AVENUE                                       ¨ Contingent
     SANTA ANA, ORANGE, CA 92707                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.458 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FLW INC.
     5672 BOLSA AVE                                                 þ Contingent
     HUNTINGTON BEACH, ORANGE, CA 92649                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.459 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,054.28
     FMR LLC DBA FIDELITY INVESTMENTS INSTITUTIONAL OPERATIONS
     COMPANY LLC                                                    ¨ Contingent
     88 BLACK FALCON AVE., SUITE 167                                ¨ Unliquidated
     BOSTON, SUFFOLK, MA 2210                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.460 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FONG, THOMAS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.461 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FORSYTH, ROBERT THOMAS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.462 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FOSTER, NICHOLAS P
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.463 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,857.97
     FOWLER HIGH PRECISION
     780 DEDHAM STREET, SUITE 900                                   ¨ Contingent
     CANTON, NORFOLK, MA 2021                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.464 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FOWLER, TIFFANI
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.465 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FRANCIS, MARK PAUL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.466 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FRANCISCO, MARGRETTE ANGELA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.467 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     68.04
     FREEMAN MFG. & SUPPLY COMPANY
     3152 S.E. LOOP 820                                             ¨ Contingent
     FORT WORTH, TARRANT, TX 76140                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.468 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FRENCH, CHRISTOPHER KEITH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.469 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FRICKE, JENIFER
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.470 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FROCCHI, KAILEE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.471 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,663.79
     FRONT PANEL EXPRESS, LLC
     1015 CENTRAL AVE NORTH                                         ¨ Contingent
     KENT, KING, WA 98032                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.472 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 31,148.65
     FRONTIER COMMUNICATIONS
     401 MERRITT 7                                                  ¨ Contingent
     NORWALK, FAIRFIELD COUNTY, CT 6851                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.473 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 33,375.00
     FTR ENTERPRISES, LLC
     167 KACHINA DRIVE                                              ¨ Contingent
     HENDERSON, CLARK, NV 89052                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.474 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FURBISH, NICHOLAS FRANK
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.475 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FUSCO, DAVID
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.476 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 37,830.00
     FUSION LLC
     210 INTERSTATE N PKWY SUITE 300                                ¨ Contingent
     ATLANTA, FULTON, GA 30339                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.477 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GADD, JUAN PABLO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.478 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GAIKWAD, SANGRAM KRISHNA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.479 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,649.48
     GALCO INDUSTRIAL ELECTRONICS, INC.
     26010 PINEHURST DR                                             ¨ Contingent
     MADISON HEIGHTS, OAKLAND, MI 48071                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.480 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GALCO INDUSTRIAL ELECTRONICS, INC.
     26010 PINEHURST DR                                             þ Contingent
     MADISON HEIGHTS, OAKLAND, MI 48071                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.481 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GAMBLE, DAVID BALDWIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.482 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARCIA MORELOS, SAM
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.483 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARCIA, ANGELICA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.484 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARCIA, ANGELICA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.485 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARCIA, CHRISTIAN XAVIER
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.486 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARCIA, FRANCISCO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.487 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARCIA, FRANCISCO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.488 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARCIA, JONATHAN PAUL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.489 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARCIA, MARIO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.490 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARCILAZO, MISAEL AMILCAR
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.491 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARIBAY, JONATHAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.492 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARLAND, STEVEN RICHARD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.493 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARZA, MARIO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.494 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GEE, BAXTER
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.495 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 31,619.00
     GENERAL DYNAMICS-OTS, INC.
     11399 16TH COURT NORTH, SUITE 200                              ¨ Contingent
     ST. PETERSBURG, PINELLAS COUNTY, FL 33716                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.496 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     20.00
     GENERAL UNDERGROUND FIRE PROTECTION
     PO BOX 29830                                                   ¨ Contingent
     ANAHEIM, LOS ANGELES, CA 92809                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.497 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GERMAIN, TROY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.498 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GERMANI, MICHAEL JOSEPH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.499 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,873.05
     GET HOOKED CRANE SERVICE, INC
     43759 15TH ST WEST #505                                        ¨ Contingent
     LANCASTER, LOS ANGELES, CA 93534                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.500 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GIBBS, TEENA J
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.501 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GIL, OSCAR ANDRE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.502 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GILCHRIST, KEVIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.503 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GILMORE, TRENT CHARLES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.504 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GINGISS, ANTHONY JOHN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.505 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GIOFFREDI, CHARLES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.506 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 34,322.84
     GLENAIR, INC
     1211 AIR WAY                                                   ¨ Contingent
     GLENDALE, LOS ANGELES, CA 91201                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.507 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,231.16
     GLOBAL INDUSTRIAL
     29833 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, COOK, IL 60673                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.508 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GLOBAL INDUSTRIAL
     29833 NETWORK PLACE                                            þ Contingent
     CHICAGO, COOK, IL 60673                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.509 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    288.38
     GLOBAL O-RING AND SEAL, LLC
     4250 N SAM HOUSTON PKWY E STE 100                              ¨ Contingent
     HOUSTON, HARRIS, TX 77032                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.510 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GODOY, AMANDA JANE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.511 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,560.00
     GODWIN GLOBAL, INCORPORATED
     1151 BISCAYNE DRIVE                                            ¨ Contingent
     CONCORD, CABARRUS COUNTY, NC 28027                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.512 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GOLD, JEFFREY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.513 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GOLDSTEIN, JESSE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.514 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GOMEZ, ANDREW RAFAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.515 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GOMEZ, JOSE RAFAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.516 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GOMEZ, RUBEN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.517 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GOMMI, ZACHARY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.518 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GONZALEZ, DANIEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.519 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GONZALEZ, MAXIMILIANO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.520 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GONZALEZ, RANCE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.521 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GONZALEZ, REYANN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.522 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GORE, KYLE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.523 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 96,790.26
     GP:50 NEW YORK, LTD
     2770 LONG RD.                                                  ¨ Contingent
     GRAND ISLAND, ERIE, NY 14072                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.524 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,475.55
     GRAINGER INDUSTRIAL SUPPLY
     100 GRAINGER PARKWAY                                           ¨ Contingent
     LAKE FOREST, LAKE, IL 60045-5201                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.525 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GRAINGER INDUSTRIAL SUPPLY
     100 GRAINGER PARKWAY                                           þ Contingent
     LAKE FOREST, LAKE, IL 60045-5201                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.526 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,336.86
     GRAPHTEC AMERICA, INC.
     17462 ARMSTRONG AVE.                                           ¨ Contingent
     IRVINE, ORANGE COUNTY, CA 92614                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.527 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GRASSL, ROLAND REINHOLD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.528 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 88,932.99
     GRAYBAR ELECTRIC COMPANY
     34 N. MERAMEC AVENUE                                           ¨ Contingent
     ST. LOUIS, ST. LOUIS, MO 63105                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.529 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 20,002.98
     GRAYLOC PRODUCTS, INC
     11915 FM 529                                                   ¨ Contingent
     HOUSTON, HARRIS, TX 77041                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.530 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GRAYLOC PRODUCTS, INC
     11915 FM 529                                                   þ Contingent
     HOUSTON, HARRIS, TX 77041                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.531 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GREMBOWSKI, BRIANNA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.532 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GRIFFIN, LUCAS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.533 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GRINNELL, TYLER JAMES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.534 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GRIZZELL, KENNETH WILLIAM
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.535 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,098.31
     GROUND STATION MEXICO, SA DE CV
     PONIENTE 118 NO. 363, COL. MAXIMINO AVILA CAMACHO              ¨ Contingent
     CP 07380                                                       ¨ Unliquidated
     MEXICO                                                         ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.536 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,290.83
     GRUBHUB HOLDINGS, INC. DBA GRUBHUB FOR WORK
     23422 MILL CREEK DR                                            ¨ Contingent
     #210                                                           ¨ Unliquidated
     LAGUNA HILLS, ORANGE, CA 92653                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.537 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $             Undetermined
     GRUVER, MICHAEL
     ADDRESS ON FILE                                                 þ Contingent
                                                                     þ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes

3.538 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $                   8,041.70
     GTT COMMUNICATIONS, INC
     7900 TYSONS ONE PLACE, SUITE 1450                               ¨ Contingent
     MCLEAN, FAIRFAX, VA 22102                                       ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Trade Payable



     Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes

3.539 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $             Undetermined
     GUADAN, PETER BEAS
     ADDRESS ON FILE                                                 þ Contingent
                                                                     þ Unliquidated
                                                                     þ Disputed
                                                                     Basis for the claim: Potential Claim



     Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes

3.540 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $                 104,075.51
     GUARDIAN
     P.O. BOX 824404                                                 ¨ Contingent
     PHILADELPHIA, PHILADELPHIA, PA 19182-4404                       ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Trade Payable



     Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes

3.541 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $                  16,800.00
     GUARDIAN SAFE OPERATOR TRAINING LLC
     118 CLEARWOOD AVE.                                              ¨ Contingent
     RIVERSIDE, RIVERSIDE, CA 92506                                  ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Trade Payable



     Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     þ No
     Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.542 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GUERRERO, ADRIAN R
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.543 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GUEVARA, MARIO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.544 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GUNDERSON, DANIEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.545 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GURROLA, BRETT ANTHONY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.546 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GUTIERREZ, CHRISTOPHER
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.547 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HA, SON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.548 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,258.58
     HAAS FACTORY OUTLET, LLC
     580 MADRID AVE.                                                ¨ Contingent
     TORRANCE, LOS ANGELES, CA 90501                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.549 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,546.22
     HABONIM INDUSTRIAL VALVES & ACTUATORS- NORTH AMERICA, INC
     22 RIVERVIEW DRIVE, SUITE 130/201                              ¨ Contingent
     WAYNE, PASSAIC, NJ 7470                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.550 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,451.95
     HADCO METAL TRADING CO, LLC
     555 STATE ROAD                                                 ¨ Contingent
     BENSALEM, PHILADELPHIA, PA 19020                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.551 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HAGELMANN, JONATHAN E
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.552 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HAHN, JEEYEON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.553 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 82,815.10
     HAIGH-FARR, INC.
     43 HARVEY RD                                                   ¨ Contingent
     BEDFORD, HILLSBORO, NH 3110                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.554 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HAIGH-FARR, INC.
     43 HARVEY RD                                                   þ Contingent
     BEDFORD, HILLSBORO, NH 3110                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.555 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    471.93
     HAIMER USA LLC
     134 E HILL STREET                                              ¨ Contingent
     VILLA PARK, DUPAGE, IL 60181                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.556 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HALAMANDARIS, GEORGE PHILLIP
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.557 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HALLER, BRENDA TERESE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.558 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,110.88
     HAMILTON CASTER & MFG. CO.
     1637 DIXIE HIGHWAY                                             ¨ Contingent
     HAMILTON, BUTLER, OH 45011                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.559 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HAMILTON, JOSEPH ROBERT
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.560 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,189.18
     HAMPTON INN
     3771 LAKEWOOD BLVD                                             ¨ Contingent
     LONG BEACH, LOS ANGELES, CA 90808                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.561 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,754.92
     HARMONY BUSINESS SUPPLIES
     12721 WESTERN AVE                                              ¨ Contingent
     GARDEN GROVE, ORANGE, CA 92846-9998                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.562 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HARMONY BUSINESS SUPPLIES
     12721 WESTERN AVE                                              þ Contingent
     GARDEN GROVE, ORANGE, CA 92846-9998                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.563 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HATHAWAY, KEITH ALEX
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.564 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HAYES, PATRICK
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.565 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     HAZMAT SAFETY CONSULTING, LLC
     1765 DUKE STREET                                               ¨ Contingent
     ALEXANDRIA, ALEXANDRIA, VA 22314                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.566 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,869.00
     HELLMUTH, OBATA & KASSABAUM, INC.
     9530 JEFFERSON BLVD                                            ¨ Contingent
     CULVER CITY, LOS ANGELES, CA 90232                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.567 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HELLOFS, DARRELL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.568 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HENDRIKSE, MARC
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.569 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 313,865.98
     HERA TECHNOLOGIES, LLC
     1055 E. FRANCIS ST.                                            ¨ Contingent
     ONTARIO, SAN BERNARDINO, CA 91761                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.570 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HERA TECHNOLOGIES, LLC
     1055 E. FRANCIS ST.                                            þ Contingent
     ONTARIO, SAN BERNARDINO, CA 91761                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.571 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  96,696.22
     HERC RENTALS
     45710 NORTH 23RD ST. WEST                                      ¨ Contingent
     LANCASTER, LOS ANGELES, CA 93536                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.572 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HEREDIA BARRERA, HUGO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.573 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HERNANDEZ, ADRIAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.574 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HERNANDEZ, EDDIE NOE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.575 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HERNANDEZ, ELY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.576 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HERNANDEZ, PETE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.577 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HERNANDEZ, VILMA F
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.578 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HERRERA, ALFONSO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.579 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HERRERA, EDDIE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.580 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HERRERA, VICENTE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.581 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 120,229.44
     HEXAGON METROLOGY, INC
     250 CIRCUIT DRIVE                                              ¨ Contingent
     NO. KINGSTON, WASHINGTON, RI 2852                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.582 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HEXAGON METROLOGY, INC
     250 CIRCUIT DRIVE                                              þ Contingent
     NO. KINGSTON, WASHINGTON, RI 2852                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.583 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,523.84
     HEXCEL CORPORATION
     11711 DUBLIN BOULEVARD                                         ¨ Contingent
     DUBLIN, ALAMEDA, CA 94568-2832                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.584 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HIDALGO, JORGE R
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.585 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HIGGINS, RUSSELL GORDON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.586 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HIGH DESERT WILDLIFE CONTROL
     10418 HIGHLAND AVE #995                                        þ Contingent
     LUCERNE VALLEY, SAN BERNARDINO, CA 92356                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uncashed Check



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.587 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 42,802.50
     HIGH PRESSURE TECHNOLOGIES LLC
     24895 AVE ROCKEFELLER                                          ¨ Contingent
     VALENCIA, LOS ANGELES, CA 91355                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.588 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HIGHTOWER, SIGMUND
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.589 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HILL, JUSTIN MANNAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.590 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 42,785.49
     HI-TEMP INSULATION, INC.
     4700 CALLE ALTO STREET                                         ¨ Contingent
     CAMARILLO, VENTURA, CA 93012                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.591 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HITTU, EDWARD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.592 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HO, NGHIA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.593 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HO, TIMOTHY TIN-YIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.594 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,314.80
     HOFFER FLOW CONTROLS, INC
     107 KITTY HAWK LANE                                            ¨ Contingent
     ELIZABETH CITY, PASQUOTANK, NC 27909                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.595 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HOFFER FLOW CONTROLS, INC
     107 KITTY HAWK LANE                                            þ Contingent
     ELIZABETH CITY, PASQUOTANK, NC 27909                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.596 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HOLLANDER, MAXIMILIAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.597 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HOLLING, BLAZIE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.598 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HOME DEPOT
     DEPT 32 - 2541934869                                           þ Contingent
     PO BOX 78047                                                   þ Unliquidated
     PHOENIX, PHOENIX, AZ 85062-8047                                ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.599 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     HOME SATELLITE (DBA SAMUEL SANCHEZ)
     839 STANFORD AVE.                                              ¨ Contingent
     CHULA VISTA, SAN DIEGO COUNTY, CA 91913                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.600 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HOO, JUSON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.601 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HOOTON, CHAU WALLACE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.602 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HOSE, ZACHARY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.603 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 25,193.00
     HOWARD-POWER, INC.
     PO BOX 1229                                                    ¨ Contingent
     ROSAMOND, KERN, CA 93560                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.604 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HUERTA, MICHAEL S.
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.605 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HUNZIKER, JAMIE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.606 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     HURST, CHRISTOPHER
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.607 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 44,975.00
     HYPERBIT DESIGNS LLC
     7130 INDIGO WAY                                                ¨ Contingent
     BUENA PARK, ORANGE, CA 90621                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.608 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 28,542.50
     IBASET, INC.
     26812 VISTA TERRACE                                            ¨ Contingent
     LAKE FOREST, ORANGE, CA 92630                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.609 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 62,400.00
     ICR OPCO, LLC
     761 MAIN AVE                                                   ¨ Contingent
     NORWALK, FAIRFIELD, CT 6851                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.610 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,484.33
     ICREATE GRAPHIX INC
     1950 FREEMAN AVE                                               ¨ Contingent
     SIGNAL HILL, LOS ANGELES, CA 90755                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.611 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     IHS GLOBAL INC.
     15 INVERNESS WAY EAST                                          ¨ Contingent
     ENGLEWOOD, ARAPAHOE, CO 80112                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.612 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 16,485.00
     ILCO INDUSTRIES
     1308 W. MAHALO PLACE                                           ¨ Contingent
     RANCHO DOMINGUEZ, LOS ANGELES COUNTY, CA 90220                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.613 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,300.00
     INDEED INC.
     177 BROAD STREET 6TH FLOOR                                     ¨ Contingent
     STAMFORD, FAIRFIELD, CT 6901                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.614 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,142.03
     INDEPENDENT INK INCORPORATED
     13700 S. GRAMERCY PLACE                                        ¨ Contingent
     GARDENA, LOS ANGELES, CA 90249                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.615 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    191.15
     INDUSTRIAL AUTOMATION & ENCLOSURE INC
     224 N FEHR WAY                                                 ¨ Contingent
     BAY SHORE, SUFFOLK, NY 11706                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.616 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,517.81
     INDUSTRIAL ELECTRIC MACHINERY
     1331 BALTIMORE STREET                                          ¨ Contingent
     LONGVIEW, COWLITZ, WA 98632                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.617 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    744.00
     INDUSTRIAL TRAINING SERVICES UK LTD
     7 MARTIN RD, TREMORFA INDUSTRIAL ESTATE                        ¨ Contingent
     CARDIFF, CF24 5SD                                              ¨ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.618 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,962.68
     INERT CORPORATION
     ONE INDUSTRIAL WAY                                             ¨ Contingent
     AMESBURY, ESSEX, MA 1913                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.619 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     INGRAHAM, CHRISTOPHER WELLS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.620 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 112,096.37
     INSIGHT INVESTMENT HOLDINGS, LLC DBA RED8 LLC
     611 ANTON BLVD. SUITE 700                                      ¨ Contingent
     COSTA MESA, ORANGE COUNTY, CA 92628                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.621 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     INSIGHT INVESTMENT HOLDINGS, LLC DBA RED8 LLC
     611 ANTON BLVD. SUITE 700                                      þ Contingent
     COSTA MESA, ORANGE COUNTY, CA 92628                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.622 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 19,585.81
     INSTRON
     825 UNIVERSITY AVENUE                                          ¨ Contingent
     NORWOOD, NORFOLK, MA 2062                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.623 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    821.29
     INSULATION SUPPLY
     1901 HARPERS WAY                                               ¨ Contingent
     TORRANCE, LOS ANGELES, CA 90501                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.624 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    461.80
     INSUL-THERM INTERNATIONAL, INC
     6651 E. 26TH STREET                                            ¨ Contingent
     COMMERCE, LOS ANGELES, CA 90040                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.625 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    166.00
     IN-TEC, INC.
     75 MALAGA COVE PLAZA                                           ¨ Contingent
     SUITE 2                                                        ¨ Unliquidated
     PALOS VERDES ESTATES, LOS ANGELES, CA 90274                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.626 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     IN-TEC, INC.
     75 MALAGA COVE PLAZA                                           þ Contingent
     SUITE 2                                                        þ Unliquidated
     PALOS VERDES ESTATES, LOS ANGELES, CA 90274                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.627 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,120.00
     INTEGRATED BEHAVIORAL HEALTH, INC. DBA UPRISE HEALTH
     2 PARK PLAZA, SUITE 1200                                       ¨ Contingent
     IRVINE, ORANGE, CA 92614                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.628 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,245.03
     INTERCOMP COMPANY
     3839 COUNTY RD 116                                             ¨ Contingent
     MEDINA, HENNEPIN, MN 55340                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.629 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 170,326.32
     INTERFACE, INC
     INTERFACE, INC                                                 ¨ Contingent
     7401 E BUTHERUS DR.                                            ¨ Unliquidated
     SCOTTSDALE, MARICOPA, AZ 85260                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.630 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,569.56
     INTERSTATE PRODUCTS, INC.
     6561 PALMER PARK CIRCLE SUITE A                                ¨ Contingent
     SARASOTA, SARASOTA, FL 34238                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.631 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,060.00
     INTRADO DIGITAL MEDIA, LLC
     11650 MIRACLE HILLS DRIVE                                      ¨ Contingent
     OMAHA, DOUGLAS, NE 68154                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.632 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 5,477,020.00
     IQPS, INC.
     6F RENGO FUKUOKA TENJIN BUILDING                               þ Contingent
     1-15-35                                                        þ Unliquidated
     TENJIN                                                         ¨ Disputed
     CHUO-KU
     FUKUOKA CITY, 810-0001                                         Basis for the claim: Customer Contract Milestone & Deposit Payments
     JAPAN


     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.633 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     IRVING, LANCE G
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.634 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     ISAAC, ADRIAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.635 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     6,437.00
     ISIS - INNOVATIVE SOLUTIONS IN SPACE BV
     MOTORENWEG 23                                                  ¨ Contingent
     2623 CR, DELFT,                                                ¨ Unliquidated
     NETHERLANDS                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.636 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     ISIS - INNOVATIVE SOLUTIONS IN SPACE BV
     MOTORENWEG 23                                                  þ Contingent
     2623 CR, DELFT,                                                þ Unliquidated
     NETHERLANDS                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.637 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 264,971.58
     IT CONVERGENCE
     320 DECKER DR STE 100                                          ¨ Contingent
     IRVING, DALLAS, TX 75062-4129                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.638 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,190.78
     J. HARRIS INDUSTRIAL WATER TREATMENT, INC. (DBA PURETEC
     INDUSTRIAL WATER)                                              ¨ Contingent
     3151 STURGIS ROAD                                              ¨ Unliquidated
     OXNARD, VENTURA, CA 93030                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.639 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JACALONE, TRAVIS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.640 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JACKSON, JAMES E
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.641 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 146,666.65
     JACM HOLDINGS, INC.
     4022 E CONANT STREET                                           ¨ Contingent
     LONG BEACH, CA 90808                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.642 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JACOB, MANHAL NASSER
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.643 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JANJUA, FAIZAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.644 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 28,552.00
     JANSENS AIRCRAFT SYSTEMS CONTROLS
     2303 W. ALAMEDA DRIVE                                          ¨ Contingent
     TEMPE, MARICOPA, AZ 85282                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.645 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JARVIS, DANIEL PAUL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.646 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    106.64
     JASKIRAN'S LLC (DBA MOJAVE SUBWAY SANDWICHES)
     16048 SIERRA HWY                                               ¨ Contingent
     MOJAVE, SAN BERNARDINO, CA 93501                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.647 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 29,663.91
     JBW PRECISION, INC.
     2650 LAVERY COURT                                              ¨ Contingent
     NEWBURY PARK, VENTURA, CA 91320                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.648 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JENSEN, KAEHUKAI EDWARD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.649 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,639.00
     JET TEK
     12075 34TH ST., N.                                             ¨ Contingent
     ST. PETERSBURG, PINELLAS, FL 33716                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.650 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JIMENEZ, ANDREW STEVEN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.651 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JIMENEZ, ERNEST JASON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.652 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JIMENEZ, JOHNNY ROBERT
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.653 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 24,009.48
     JK ENGINEERING AEROSPACE & DEFENSE
     23231 LA PALMA AVENUE                                          ¨ Contingent
     YORBA LINDA, ORANGE, CA 92887                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.654 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,850.64
     JOHN ARNERICH (DBA CONTAINER OUTLET)
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.655 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JOHN ARNERICH (DBA CONTAINER OUTLET)
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.656 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 38,424.80
     JOHN P. STOPHER, LLC
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.657 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 25,740.00
     JOHN TO GO
     4 CAROL AVE.                                                   ¨ Contingent
     WEST HAVERSTRAW, ROCKLAND COUNTY, NY 10993                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.658 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JOHNSON, GARY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.659 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JOHNSON, MARLON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.660 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JOHNSON, TREVOR
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.661 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JOHNSTON, KEVIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.662 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JONES, CHARLES A
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.663 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JONES, KEVIN PAYNE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.664 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JONES, KEVON ONEAL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.665 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JONES, KEVON ONEAL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.666 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JONES, RYAN SCOTT
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.667 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JONES-SICKLER, ERIN KELLY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.668 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JPMORGAN CHASE BANK NA
     PO BOX 15918                                                   þ Contingent
     MAIL SUITE DE1-1404                                            þ Unliquidated
     WILMINGTON, DE 19850                                           ¨ Disputed
                                                                    Basis for the claim: Credit Card Balance



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.669 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 123,524.83
     JRI, INC
     31280 LA BAYA DRIVE                                            ¨ Contingent
     WESTLAKE VILLAGE, VENTURA, CA 91362                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.670 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JUAREZ, CESAR A
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.671 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  58,141.69
     JUDGE TECHNICAL SERVICES, INC.
     151 S WARNER ROAD                                              ¨ Contingent
     WAYNE, CHESTER, PA 19087                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.672 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  43,109.07
     KADAN CONSULTANTS INC.
     1600 EAST 33RD STREET, UNIT A                                  ¨ Contingent
     LONG BEACH, LOS ANGELES, CA 90807                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.673 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 154,557.04
     KAISER FOUNDATION HEALTH PLAN INC.
     ONE KAISER PLAZA 15L                                           ¨ Contingent
     OAKLAND, ALAMEDA, CA 94612                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.674 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KANG, RONALD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.675 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    310.86
     KARLS HARDWARE
     2300 STATE HIGHWAY 58                                          ¨ Contingent
     MOJAVE, KERN, CA 93501                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.676 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    676.22
     KASTLE SYSTEMS LLC
     6402 ARLINGTON BLVD                                            ¨ Contingent
     FALLS CHURCH, FAIRFAX, VA 22042                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.677 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KAVENEY, MICHAEL EDWARD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.678 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KAWASAKI, RUSSELL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.679 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KENMORE LABEL AND TAG
     30625 SOLON ROAD                                               þ Contingent
     SOLON, CUYAHOYA, OH 44139                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.680 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KEO, SOCHANNARA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.681 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KERNYTSKYY, OLEH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.682 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KHONG, BRANDON KHIEM TRONG
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.683 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KHORSHIDI, PEDRAM
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.684 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,762.56
     KINETEK
     24050 MADISON STREET, STE 207                                  ¨ Contingent
     TORRANCE, LOS ANGELES, CA 90505                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.685 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KINETEK
     24050 MADISON STREET, STE 207                                  þ Contingent
     TORRANCE, LOS ANGELES, CA 90505                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.686 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KINSLOW, THOMAS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.687 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KIRK, JOHN HENRY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.688 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KITAJIMA, GEORGE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.689 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,547.00
     KITTYHAWK INC. DBA KITTYHAWK PRODUCTS
     11651 MONARCH STREET                                           ¨ Contingent
     GARDEN GROVE, LOS ANGELES, CA 92841                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.690 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KNIGHT, MATHEW
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.691 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,477.20
     KNIGHT'S PUMPING & PORTABLE SERVICES, INC.
     1550 JAMES ROAD                                                ¨ Contingent
     BAKERSFIELD, KERN COUNTY, CA 93308                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.692 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 49,042.79
     KOMBU KITCHEN SF, LLC (DBA NYBLL)
     6851 THE TURN                                                  ¨ Contingent
     OAKLAND, ALAMEDA, CA 94611                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.693 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KONG, VANNARA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.694 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KOZLOWSKI, LEON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.695 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,864.00
     KPFF CONSULTING ENGINEERS
     700 SOUTH FLOWER STREET, SUITE 2100                            ¨ Contingent
     LOS ANGELES, LOS ANGELES, CA 90017                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.696 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 35,300.13
     KRAYDEN, INC.
     1491 WEST 124TH AVE                                            ¨ Contingent
     WESTMINSTER, ADAMS, CO 80234                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.697 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KRISTIANSEN, ERIK
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.698 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,622.68
     KROYTECH WORKBENCHES
     2301 WEST SAMPLE RD STE 5-4C                                   ¨ Contingent
     POMPANO BEACH, BROWARD, FL 33070-3059                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.699 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KROYTECH WORKBENCHES
     2301 WEST SAMPLE RD STE 5-4C                                   þ Contingent
     POMPANO BEACH, BROWARD, FL 33070-3059                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.700 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KURT, RYANE L
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.701 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KUTZBACH, DUANE MARTIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.702 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KUVERJI, RAJEN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.703 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 417,158.92
     L-3 COMMUNICATIONS INTEGRATED SYSTEMS PID
     7500 MAEHR ROAD                                                ¨ Contingent
     WACO, MCLENNAN, TX 76705                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.704 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     L3 HARRIS TECHNOLOGIES INTEGRATED SYSTEMS, L.P.
     7500 MAEHR RD                                                  þ Contingent
     WACO, TX 76705                                                 þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Contract Purchase Commitment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.705 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LACSON, ALLEN NEIL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.706 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LACSON, ARIEL M
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.707 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LAD, BHAVINI MISTRY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.708 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,421.20
     LANDAUER,INC.
     2 SCIENCE ROAD                                                 ¨ Contingent
     GLENWOOD, COOK, IL 60425                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.709 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,358.32
     LANDSTAR LIGON, INC.
     13410 SUTTON PARK DRIVE SOUTH                                  ¨ Contingent
     JACKSONVILLE, DUVAL, FL 32224                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.710 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LAPORTE, CONNIE MARIE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.711 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LARKEY, ANDREW
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.712 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LAROSCHE, DANIEL R
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.713 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 28,000.00
     LATIMER PARTNERS, LLC
     443 MESA RD                                                    ¨ Contingent
     SANTA MONICA, CA, LOS ANGELES, CA 90402                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.714 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,175.00
     LAV CONSULTING AND ENGINEERING, INC.
     12418 ROSEDALE HWY.                                            ¨ Contingent
     SUITE A                                                        ¨ Unliquidated
     BAKERSFIELD, KERN, CA 93312                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.715 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LAWAL, SAUDIQ
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred        Undetermined            Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.716 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 19,585.00
     LBISAT LLC
     10288 S JORDAN GATEWAY STE K                                   ¨ Contingent
     SOUTH JORDAN, SALT LAKE CITY, UT 84095                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.717 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,162.78
     L-COM GLOBAL CONNECTIVITY
     45 BEECHWOOD DR                                                ¨ Contingent
     NORTH ANDOVER, ESSEX, MA 1845                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.718 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 15,000.00
     LD PRODUCTS, INC.
     3700 COVER ST.                                                 ¨ Contingent
     LONG BEACH, LOS ANGELAS COUNTY, CA 90808                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.719 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LE, LAN VAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.720 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 58,587.50
     LEAF SPACE S.R.L.
     VIA CAVOUR, 2                                                  ¨ Contingent
     LOMAZZO, 22074                                                 ¨ Unliquidated
     ITALY                                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.721 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 110,195.20
     LEAN MANUFACTURING GROUP, LLC
     29170 AVENUE PENN                                              ¨ Contingent
     VALENCIA, LOS ANGELES, CA 91355                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.722 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LECOUR, MITCH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.723 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LEDESMA, DAVID MICHAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.724 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,923.08
     LEE GOEBEL ENTERPRISES
     1816 NORTH CASE STREET                                         ¨ Contingent
     ORANGE, ORANGE, CA 92865                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.725 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LEE GOEBEL ENTERPRISES
     1816 NORTH CASE STREET                                         þ Contingent
     ORANGE, ORANGE, CA 92865                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.726 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,088.50
     LEE SPRING COMPANY LLC
     140 58TH SUITE 3C                                              ¨ Contingent
     BROOKLYN, KINGS, NY 11220                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.727 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LEE, JASON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.728 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LEE, JOSEPH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.729 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LEE, PATRICK
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.730 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LEE, TIM
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.731 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LEGUIZAMO, LEONARD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.732 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LEMOS, GILBERT JOE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.733 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LEMUS, LUIS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.734 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,271.27
     LENSCRAFTERS INC
     4000 LUXOTTICA PLACE                                           ¨ Contingent
     MASON, WARREN, OH 45040                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.735 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,394.47
     LES INDUSTRIES FLEXPIPE INC
     33 RACINE STREET                                               ¨ Contingent
     FARNHAM, QC J2N 3A3                                            ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.736 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LES INDUSTRIES FLEXPIPE INC
     33 RACINE STREET                                               þ Contingent
     FARNHAM, QC J2N 3A3                                            þ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.737 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LEVENE, DANIEL HARRY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.738 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 25,121.00
     LEXISNEXIS, A DIVISION OF RELX INC.
     28544 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, COOK, IL 60673-1285                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.739 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LEYVA, OMAR SANTOS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.740 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LI, NUAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.741 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LIANG, JASON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.742 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LIBMAN, ROSS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.743 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LIEBGOTT, JACOB ANDREW
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.744 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LING, BOYA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.745 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LLAMAS, JOSE ANTONIO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.746 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 45,898.14
     LOGIS CFO, LLC
     17875 VON KARMAN AVE. SUITE 150                                ¨ Contingent
     IRVINE, ORANGE, CA 92614                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.747 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    510.73
     LONG BEACH WATER DEPARTMENT
     1800 E WARDLOW RD                                              ¨ Contingent
     LONG BEACH, LOS ANGELES, CA 90807                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.748 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LOPEZ, ALFREDO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.749 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LOPEZ, FRANCISCO JOAQUIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.750 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LOPEZ, JUAN DIEGO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.751 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LOPEZ, SYLVIA RUIZ
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.752 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     LOPEZ, VINICIO A
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.753 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      1,693.80
     LOS ANGELES COUNTY TAX COLLECTOR
     P.O. BOX 54027                                                 ¨ Contingent
     LOS ANGELES, LOS ANGELES, CA 90054-0027                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.754 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     LUGO, REYNALDO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.755 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     LUKAVSKYI, ROMAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.756 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     33,300.00
     LUNASONDE, INC
     PO BOX 1202                                                    þ Contingent
     CORTARO, AZ 85652                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Contract Milestone & Deposit Payments



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.757 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,911.04
     LUXFER GAS CYLINDERS
     336 ENTERPRISE PLACE                                           ¨ Contingent
     POMONA, LOS ANGELES, CA 91768                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.758 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    354.21
     LYNDEX-NIKKEN
     1468 ARMOUR BLVD                                               ¨ Contingent
     MUNDELEIN, LAKE COUNTY, IL 60060                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.759 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,619.88
     M & L PRECISION MACHINING, INC
     18665 MADRONE PARKWAY                                          ¨ Contingent
     MORGAN HILL, SANTA CLARA, CA 95037                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.760 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MACELLVEN, GEOFFREY DAVID
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.761 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MACIAS, GUSTAVO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.762 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MADRID, ROBERT RAMON
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.763 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 42,413.04
     MAGELLAN INDUSTRIAL TRADING CO.
     227 WILSON AVENUE                                              ¨ Contingent
     SOUTH NORWALK, FAIRFIELD, CT 6854                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.764 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MAGELLAN INDUSTRIAL TRADING CO.
     227 WILSON AVENUE                                              þ Contingent
     SOUTH NORWALK, FAIRFIELD, CT 6854                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.765 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MAHARAJ, ARUNA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.766 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,980.75
     MAINFREIGHT
     1400 GLENN CURTISS STREET                                      ¨ Contingent
     CARSON, LOS ANGELES, CA 90504                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.767 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MALDONADO, NICHOLAS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.768 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MANALIGOD, JANSSEN C
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.769 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MANRIQUEZ, ANDREW PHILLIP
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.770 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,799.29
     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
     2251 CORPORATE PARK DRIVE                                      ¨ Contingent
     HERNDON, FAIRFAX, VA 20171                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.771 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,852.30
     MANUTAN UK LIMITED
     EBBLAKE INDUSTRIAL ESTATE                                      ¨ Contingent
     VERWOOD, DORSET, BH31 6AT                                      ¨ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.772 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MARATAS, BRANDON MICHAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.773 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,954.00
     MARINE MANAGEMENT ORGANISATION
     SORTATION REF 601 PHEONIX HOUSE                                ¨ Contingent
     NEWPORT, NP10 8FZ                                              ¨ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.774 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,074.48
     MARMON DISTRIBUTION SERVICES, INC. DBA FUTURE METALS, LLC
     10401 STATE STREET                                             ¨ Contingent
     TAMARAC, BROWARD, FL 33321                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.775 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 769,416.78
     MAROTTA CONTROLS, INC
     78 BOONTON AVE PO BOX 427                                      ¨ Contingent
     MONTVILLE, MORRIS, NJ 7045                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.776 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  24,917.12
     MARPLES GEARS INC.
     808 W. SANTA ANITA ST.                                         ¨ Contingent
     SAN GABRIEL, LOS ANGELES, CA 91776                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.777 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MARTIN, RODOLFO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred         Undetermined           Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.778 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 63,853.00
     MARTINEZ AND TUREK, INC.
     300 SOUTH CEDAR AVENUE                                         ¨ Contingent
     RIALTO, SAN BERNARDINO, CA 92376-9102                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.779 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MARTINEZ, ARTURO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred         Undetermined           Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.780 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MARUYAMA, WARREN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred         Undetermined           Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.781 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MASOLOGITES, JAMES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred         Undetermined           Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.782 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,354.00
     MATERIALS RESEARCH&DESIGN INC.
     300 EAST SWEDSFORD ROAD                                        ¨ Contingent
     WAYNE, CHESTER, PA 19087                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.783 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,500.00
     MATTHEW ISAKOWITZ FELLOWSHIP PROGRAM
     2008 JOHN STREET                                               ¨ Contingent
     MANHATTAN BEACH, CA 90266                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.784 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,000.00
     MATTHEW LA PAN (DBA LA PAN RESEARCH LLC)
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.785 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,650.55
     MATTHEW STANNARD
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.786 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MAUER, ALEX
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.787 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MAY, OUDDOM
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.788 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MAYA, MIGUEL ANGEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.789 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCCANN, STEVEN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.790 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCCOMBS, MICHAEL VINCENT
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.791 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCCORKLE, ERIC MICHAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.792 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCCOY, JACOB ANDREW
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.793 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCDONALD, LOREAL M.
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.794 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCDONNELL, KYLE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.795 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCDONOUGH, STEVEN MICHAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.796 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCFARLAN, JOSEPH MICHAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.797 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCFARLIN, RUSSELL SCOTT
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.798 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCGIFFEN, KAYLA C
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.799 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 27,525.35
     MCGRATH RENTCORP (DBA MOBILE MODULAR MANAGEMENT
     CORPORATION, DBA MOBILE MODULAR PORTABLE STORAGE)              ¨ Contingent
     5700 LAS POSITAS                                               ¨ Unliquidated
     LIVEMORE, ALAMEDA, CA 94551                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.800 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,102.50
     MCGRATH RENTCORP (DBA TRS RENTELCO)
     1830 W. AIRFIELD DRIVE, PO BOX 619260                          ¨ Contingent
     DFW AIRPORT, DALLAS COUNTY, TX 75261                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.801 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCHANEY & ASSOCIATES
     8924 E RED OAK DR.                                             þ Contingent
     SPOKANE, SPOKANE, WA 99217                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uncashed Check



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.802 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCKAY, STACEY MARIE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.803 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     28.75
     MCKAY, STACEY MARIE (STACEY)
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.804 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,956.63
     MCLAREN AUTOMATION & MACHINE TOOL, LLC DBA WELLS-INDEX
     701 W CLAY AVE.                                                ¨ Contingent
     MUSKEGON, MUSKEGON, MI 49440-1064                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.805 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCLAREN AUTOMATION & MACHINE TOOL, LLC DBA WELLS-INDEX
     701 W CLAY AVE.                                                þ Contingent
     MUSKEGON, MUSKEGON, MI 49440-1064                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.806 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 30,213.27
     MCMASTER-CARR SUPPLY COMPANY
     9630 NORWALK BLVD                                              ¨ Contingent
     SANTA FE SPRINGS, LOS ANGELES, CA 90670-2932                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.807 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCMASTER-CARR SUPPLY COMPANY
     9630 NORWALK BLVD                                              þ Contingent
     SANTA FE SPRINGS, LOS ANGELES, CA 90670-2932                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.808 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 162,209.84
     MD ENGINEERING INC
     1550 CONSUMER CIRCLE                                           ¨ Contingent
     CORONA, RIVERSIDE, CA 92880                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.809 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MEDINA, ANGEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.810 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MEDINA, IVAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.811 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MEDINA, MARVIN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.812 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MEDINA, RAUL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.813 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MEDRANO, ALEX
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.814 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 39,000.00
     MEEKS BUTERA AND ISRAEL PLLC
     1310 G STREET NW SUITE 720                                     ¨ Contingent
     WASHINGTON, DISTRICT OF COLUMBIA, DC, DC 20005                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.815 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,765.00
     MEI RIGGING & CRATING, LLC - DBA DUNKEL BROS. MACHINERY
     MOVING                                                         ¨ Contingent
     14555 ALONDRA BLVD.                                            ¨ Unliquidated
     LA MIRADA, LOS ANGELES, CA 90638                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.816 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,183.85
     MEINBERG USA INC
     100 STONY POINT ROAD #110                                      ¨ Contingent
     SANTA ROSA, SONOMA, CA 95401                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.817 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MEJIA, ISAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.818 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MEJIA, PAUL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.819 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MENCHACA, MARCOS J
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.820 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MENDEZ, GARRY ROY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.821 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MENDEZ, MIGUEL G.
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.822 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MENDOZA, ALIPIO ALEX
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.823 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MENDOZA, KEANNA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.824 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MENDOZA, RICHARD PAUL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.825 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MENDOZA, RYAN MICHAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.826 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MENDOZA, ZAIDA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.827 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     MERCADO, MICHAEL A.
     C/O CAPSTONE LAW APC                                           þ Contingent
     1875 CENTURY PARK EAST, SUITE 100                              þ Unliquidated
     LOS ANGELES, CA 90067                                          þ Disputed
                                                                    Basis for the claim: General Employment and Labor Grievance Class Action



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.828 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,212.00
     MERCER
     1166 AVENUE OF THE AMERICAS                                    ¨ Contingent
     NEW YORK, NEW YORK, NY 10036                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.829 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     MESGARHA, ELMIRA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.830 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,619.66
     MET OFFICE
     FITZROY ROAD                                                   ¨ Contingent
     EXETER, DEVON, EX1 3PB                                         ¨ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.831 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 267,616.90
     METALCRAFTERS TRANSPARENCIES AND COMPOSITES, INC.
     11161 SLATER AVE.                                              ¨ Contingent
     FOUNTAIN VALLEY, ORANGE, CA 92708                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.832 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     METALCRAFTERS TRANSPARENCIES AND COMPOSITES, INC.
     11161 SLATER AVE.                                              þ Contingent
     FOUNTAIN VALLEY, ORANGE, CA 92708                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.833 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,334.67
     METROSYS, INC.
     113 W. G STREET #656                                           ¨ Contingent
     SAN DIEGO, SAN DIEGO, CA 92101                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.834 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     METZ, ASHLEY CORIE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.835 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MEURER, JOSEPH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.836 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,150.00
     MEYCO MACHINE AND TOOL, INC
     11579 MARTENS RIVER CIRCLE                                     ¨ Contingent
     FOUNTAIN VALLEY, ORANGE, CA 92708                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.837 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MEYCO MACHINE AND TOOL, INC
     11579 MARTENS RIVER CIRCLE                                     þ Contingent
     FOUNTAIN VALLEY, ORANGE, CA 92708                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.838 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 92,920.35
     MICRO PRECISION CALIBRATION
     22835 INDUSTRIAL PLACE                                         ¨ Contingent
     GRASS VALLEY, NEVADA, CA 95949                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.839 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,014.25
     MICROSOFT CORPORATION
     1950 N. STEMMONS FWY.                                          ¨ Contingent
     STE. 5010                                                      ¨ Unliquidated
     DALLAS, DALLAS, TX 75207                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.840 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,781.94
     MIDWEST MOTOR SUPPLY CO. INC. (DBA KIMBALL MIDWEST )
     4800 ROBERTS ROAD                                              ¨ Contingent
     COLUMBUS, FRANKLIN, OH 43228                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.841 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MIDWEST MOTOR SUPPLY CO. INC. (DBA KIMBALL MIDWEST )
     4800 ROBERTS ROAD                                              þ Contingent
     COLUMBUS, FRANKLIN, OH 43228                                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.842 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MILITARY FASTENERS
     822 N A1A HWY SUITE 319                                        þ Contingent
     PONTE VEDRA, ST. JOHNS COUNTY, FL 32082                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.843 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 137,861.03
     MILLER CASTINGS, INC.
     2503 PACIFIC PARK DR.                                          ¨ Contingent
     WHITTIER, LOS ANGELES, CA 90601                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.844 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MINDLIN-DAVIDSON, JULIEN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.845 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    240.90
     MINI-CIRCUITS
     1034 W. MAIN STREET                                            ¨ Contingent
     BRANSON, STONE, MO 65616                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.846 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  13,956.75
     MOCON, INC
     7500 MENDELSSOHN AVE N                                         ¨ Contingent
     MINNEAPOLIS, HENNEPIN, MN 55428                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.847 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 28,533.78
     MOJAVE AIR AND SPACEPORT
     1434 FLIGHTLINE                                                ¨ Contingent
     MOJAVE, KERN, CA 93501                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.848 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MONDRAGON, YESENIA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.849 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MONICA GANGWAR
     ATTN: DONALD R. WILLIAMS, JR.                                  þ Contingent
     C/O REED WILLIAMS                                              þ Unliquidated
     9343 TECH CENTER DRIVE, SUITE 165                              þ Disputed
     SACRAMENTO, CA 95826
                                                                    Basis for the claim: Former Employee Complaint for Damages



     Date or dates debt was incurred      03/15/2023                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.850 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 32,400.00
     MONSOON SOLUTIONS, INC
     2405 140TH AVE NE, STE. A115                                   ¨ Contingent
     BELLEVUE, KING, WA 98005                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.851 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MONTANA, ETHAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.852 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MONTGOMERIE, WILLIAM K
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.853 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 219,051.56
     MOOG INC
     16080 TABLE MOUNTAIN PKWY, UNIT 500                            ¨ Contingent
     GOLDEN, JEFFERSON, CO 80403                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.854 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MORALES, LUIS ANTONIO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.855 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MORALES, OSCAR E
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.856 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MORALES, PATRICK RAY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.857 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MORALES, WENDY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.858 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MORAN, ERIK
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.859 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MORAN, JESSE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.860 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,270.00
     MORE4APPS, INC
     4695 MACARTHUR CT.                                             ¨ Contingent
     11 FLOOR                                                       ¨ Unliquidated
     NEWPORT BEACH, ORANGE, CA 92660                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.861 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 104,573.35
     MORF3D INC.
     821 N. NASH ST.                                                ¨ Contingent
     EL SEGUNDO, LOS ANGELES, CA 90245                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.862 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MORRISON, ALYSSA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.863 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MORRISS, JACOB CHARLES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.864 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  17,541.32
     MOSAIC CONSULTING GROUP, LLC
     2503 EUGENIA AVENUE                                            ¨ Contingent
     NASHVILLE, DAVIDSON, TN 37211                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.865 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 194,252.95
     MOTIVE WORKFORCE SOLUTIONS
     5122 BOLSA AVENUE - SUITE 110                                  ¨ Contingent
     HUNTINGTON BEACH, ORANGE, CA 92649                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.866 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  23,558.05
     MOUSER ELECTRONICS, INC
     1000 NORTH MAIN                                                ¨ Contingent
     MANSFIELD, TARRAN, TX 76063                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.867 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MOUSER ELECTRONICS, INC
     1000 NORTH MAIN                                                þ Contingent
     MANSFIELD, TARRAN, TX 76063                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.868 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    448.69
     MPM PRODUCTS INC
     1718 E GREVILLEA COURT                                         ¨ Contingent
     ONTARIO, SAN BERNARDINO, CA 91761                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.869 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MPM PRODUCTS INC
     1718 E GREVILLEA COURT                                         þ Contingent
     ONTARIO, SAN BERNARDINO, CA 91761                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.870 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 45,794.02
     MSC INDUSTRIAL SUPPLY
     75 MAXESS ROAD                                                 ¨ Contingent
     MELVILLE, SUFFOLK, NY 11747-3151                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.871 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MSC INDUSTRIAL SUPPLY
     75 MAXESS ROAD                                                 þ Contingent
     MELVILLE, SUFFOLK, NY 11747-3151                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.872 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MTI CORPORATION
     860 S19TH STREET                                               þ Contingent
     RICHMOND, ALAMEDA, CA 94804                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.873 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MULLEN, CHARLES DANIEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.874 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,348.00
     MULTIAX AMERICA, INC
     3000 REMICO ST SW                                              ¨ Contingent
     GRANDVILLE, KENT, MI 49418                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.875 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MUNOZ, ANEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.876 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MURPHY, KEITH EDWARD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.877 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MURPHY, KEITH EDWARD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.878 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MUT, VIBOL JAMES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.879 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,964.79
     NALCO COMPANY LLC (DBA NALCO WATER PRETREATMENT
     SOLUTIONS)                                                     ¨ Contingent
     320 WEST 194TH STREET                                          ¨ Unliquidated
     GLENWOOD, COOK COUNTY, IL 60425                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.880 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NANKOVA, DANIELA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.881 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    573.07
     NAPA AUTO PARTS
     501 W INYOKERN RD                                              ¨ Contingent
     RIDGECREST, KERN, CA 93555                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.882 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 57,844.00
     NASA
     ARMSTRONG FLIGHT RESEARCH CENTER                               ¨ Contingent
     BUILDING 1111, JERRY HLASS ROAD                                ¨ Unliquidated
     STENNIS SPACE CENTER, STENNIS SPACE CENTER, MS 39529           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.883 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 39,206.85
     NASDAQ, INC.
     151 W. 42ND ST                                                 ¨ Contingent
     NEW YORK, NEW YORK, NY 10036                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.884 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NATERA, OTHONIEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.885 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    466.47
     NATES INDUSTRIAL TOOLS INC.
     22904 S. WESTERN AVE                                           ¨ Contingent
     TORRANCE, LOS ANGELES, CA 90501                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.886 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,659.68
     NATIONAL DIAMOND LABORATORY OF CALIFORNIA, INC
     4650 ALGER STREET                                              ¨ Contingent
     LOS ANGELES, LOS ANGELES, CA 90039                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.887 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 170,431.81
     NATIONAL INSTRUMENTS CORPORATION
     11500 N. MOPAC EXPRESSWAY                                      ¨ Contingent
     AUSTIN, TRAVIS, TX 78759-3504                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.888 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NATIONAL INSTRUMENTS CORPORATION
     11500 N. MOPAC EXPRESSWAY                                      þ Contingent
     AUSTIN, TRAVIS, TX 78759-3504                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.889 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  19,226.43
     NATIONAL JET COMPANY, INC.
     10 CUPLER DRIVE                                                ¨ Contingent
     LAVALE, ALLEGANY, MD 21502                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.890 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 127,755.00
     NATIONAL TECHNICAL SYSTEMS
     1536 E. VALENCIA DR.                                           ¨ Contingent
     FULLERTON, ORANGE, CA 92831                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.891 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NAVARRETE, VICTOR ALFREDO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.892 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NAVARRETE, VICTOR ALFREDO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.893 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NAVARRO, RAFAEL D
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.894 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,070.00
     NDT METRICS, INC.
     3912 CERRITOS AVENUE                                           ¨ Contingent
     LOS ALAMITOS, ORANGE, CA 90720                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.895 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,445.00
     NDT STREAMLINED STRATEGIES CORP.
     72 MEADOW VALLEY                                               ¨ Contingent
     IRVINE, ORANGE, CA 92602                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.896 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NEGRON, JORGE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.897 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NEU, MELODY ROSE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.898 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NEUBAUER, COREY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.899 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 54,335.00
     NEVELEX CORPORATION
     2950 METRO DRIVE #104                                          ¨ Contingent
     BLOOMINGTON, HENNEPIN COUNTY, MN 55425                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.900 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    546.87
     NEW PIG CORPORATION
     1 PORK AVE                                                     ¨ Contingent
     PO BOX 304                                                     ¨ Unliquidated
     TIPTON, BLAIR, PA 16684                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.901 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,779.24
     NEWARK/ELEMENT 14
     33190 COLLECTION CENTER DRIVE                                  ¨ Contingent
     CHICAGO, COOK, IL 60093-0331                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.902 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NEWARK/ELEMENT 14
     33190 COLLECTION CENTER DRIVE                                  þ Contingent
     CHICAGO, COOK, IL 60093-0331                                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.903 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NEWGENT, BRADLEY THOMAS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.904 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 94,240.00
     NEXINFO SOLUTIONS INC.
     8502 E CHAPMAN AVE #364                                        ¨ Contingent
     ORANGE, CA 92869                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.905 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,280.00
     NEXTNEXTNEXT, LLC.
     13228 CENTRAL AVE                                              ¨ Contingent
     UNIT 104                                                       ¨ Unliquidated
     HAWTHORNE, LOS ANGELES, CA 90250                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.906 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NG, PHILLIP
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.907 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NGUYEN, DE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.908 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NGUYEN, JAMES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.909 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NGUYEN, KEVIN TAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.910 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NGUYEN, PHILLIP TRAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.911 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NGUYEN, VU V.
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.912 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NINH, BRYAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.913 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    401.50
     NINJIO LLC
     880 HAMPSHIRE RD. SUITE B                                      ¨ Contingent
     WESTLAKE VILLAGE, VENTURA, CA 91361                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.914 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NOGALES, AMY LYNN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.915 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NOLTA, MICHAEL LLOYD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.916 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,348.51
     NOR-CAL CONTROLS, INC.
     1952 CONCOURSE DRIVE                                           ¨ Contingent
     SAN JOSE, SANTA CLARA, CA 95131                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.917 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 131,059.27
     NORMAN FILTER COMPANY LLC
     9850 SOUTH INDUSTRIAL DRIVE                                    ¨ Contingent
     BRIDGEVIEW, COOK, IL 60455                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.918 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NORMAN FILTER COMPANY LLC
     9850 SOUTH INDUSTRIAL DRIVE                                    þ Contingent
     BRIDGEVIEW, COOK, IL 60455                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.919 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     NORRIS, MICHAEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.920 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 157,448.50
     NORTH AMERICAN CRANE COMPANY
     2041 LOCUST COURT                                              ¨ Contingent
     ONTARIO, SAN BERNADINO, CA 91761                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.921 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  96,343.69
     NORTH SOUTH MACHINERY
     1400 PIONEER ST                                                ¨ Contingent
     BREA, ORANGE COUNTY, CA 92821                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.922 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 53,407.83
     NORTH STAR IMAGING INC
     19875 S. DIAMOND LAKE ROAD                                     ¨ Contingent
     ROGERS, HENNEPIN, MN 55374                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.923 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,426.78
     NORTHERN REFRIGERATED TRANSPORTATION, INC.
     2700 WEST MAIN STREET                                          ¨ Contingent
     TURLOCK, STANISLAUS, CA 95380                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.924 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,176.00
     NORTHSTAR
     8605 SANTA MONICA BLVD                                         ¨ Contingent
     PMB 65044                                                      ¨ Unliquidated
     WEST HOLLYWOOD, LOS ANGELES, CA 90069-4109                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.925 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     50.00
     NYS CORPORATION TAX
     PROCESSING UNIT                                                ¨ Contingent
     P.O. BOX 22038                                                 ¨ Unliquidated
     ALBANY, NY 12201-2038                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.926 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 15,315.70
     OASIS INTEGRATION
     410 E AVE K12 STE 105                                          ¨ Contingent
     LANCASTER, LOS ANGELES, CA 93535                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.927 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     OCHI, KELLEN KAZUAKI
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.928 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     OCHOA-COTA, DIEGO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.929 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     OCONNOR, CHARLES
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.930 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ODUNTAN, OLUFEMI
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.931 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    250.00
     OFFICE OF TAX AND REVENUE
     P.O. BOX 96019                                                 ¨ Contingent
     WASHINGTON, D.C., WASHINGTON, WA 20090-6019                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.932 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,335.72
     OLYMPUS SCIENTIFIC SOLUTIONS AMERICAS CORP (DBA EVIDENT
     SCIENTIFIC)                                                    ¨ Contingent
     48 WOERD AVE, SUITE 105                                        ¨ Unliquidated
     WALTHAM, MIDDLESEX, MA 2453                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.933 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     OMAR, DALYA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.934 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,586.42
     OMEGA ENGINEERING, INC
     26904 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, CHICAGO, IL 60673-1269                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.935 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     OMEGA ENGINEERING, INC
     26904 NETWORK PLACE                                            þ Contingent
     CHICAGO, CHICAGO, IL 60673-1269                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.936 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,242.98
     OMNETICS CONNECTOR CORPORATION
     8840 EVERGREEN BLVD.                                           ¨ Contingent
     MINNEAPOLIS, ANOKA, MN 55433                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.937 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,809.37
     OMNI LOGISITCS, LLC
     3100 OLYMPUS BLVD. SUITE 420                                   ¨ Contingent
     DALLAS, DALLAS COUNTY, TX 75019                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.938 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ONCHIRI, LORRETTA KWAMBOKA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.939 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ONGKOWIDJOJO, MICHELLE CHERIE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.940 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 61,820.97
     ORACLE AMERICA, INC.
     500 ORACLE PARKWAY                                             ¨ Contingent
     REDWOOD SHORES, SAN MATEO, CA 94065                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.941 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 38,492.98
     ORANGE COURIER INC
     15300 DESMAN RD                                                ¨ Contingent
     LA MIRADA, ORANGE, CA 90638                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.942 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    718.92
     ORANGE TREE EMPLOYMENT SCREENING LLC
     7275 OHMS LANE                                                 ¨ Contingent
     EDINA, HENNEPIN COUNTY, MN 55439                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.943 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ORDONEZ, LESTHER STUARDO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.944 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,741.66
     ORKIN SERVICES OF CALIFORNIA, INC
     12710 MAGNOLIA AVENUE                                          ¨ Contingent
     RIVERSIDE, RIVERSIDE, CA 92503                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.945 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     OROZCO, ALBERT
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.946 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     OROZCO, LUIS ALBERTO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.947 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ORTEGA, HECTOR
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.948 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ORTEGA, PAUL S.
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.949 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ORTIZ, ORIFIEL SANTIAGO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.950 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     O'SHANNESSY, PHILLIP ANDERS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.951 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     OYEDELE, KUNLE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.952 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 53,349.75
     PACIFIC AEROSPACE CORPORATION
     8141 MONROE AVE                                                ¨ Contingent
     STANTON, ORANGE COUNTY, CA 90680                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.953 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 90,412.63
     PACIFIC COAST COMPOSITES
     418 VALLEY AVE NW                                              ¨ Contingent
     BLDG B, SUITE 115                                              ¨ Unliquidated
     PUYALLUP, PIERCE, WA 98371                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.954 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 89,489.00
     PACIFIC SCIENTIFIC ENERGETIC MATERIALS CO., LLC
     3601 UNION ROAD                                                ¨ Contingent
     HOLLISTER, SAN BENITO, CA 95023                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.955 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PADILLA, ALEJANDRO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.956 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PARK, JOHN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.957 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PARK, STEVEN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.958 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,021.32
     PARKER HANNIFIN CHOMERICS DIVISION
     77 DRAGON CT                                                   ¨ Contingent
     WOBURN, MIDDLESEX, MA 1801                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.959 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PASACHE, SAMUEL
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.960 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PATEL, CHIRAG
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.961 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,000.00
     PATTI GRACE SMITH FELLOWSHIP
     1424 K STREET NW, SUITE 200                                    ¨ Contingent
     WASHINGTON, DISTRICT OF COLUMBA, DC 20005                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.962 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  16,327.63
     PATTON SALES CORPORATION
     630 ST. ANDREWS WAY                                            ¨ Contingent
     PALMDALE, LOS ANGELES, CA 9355                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.963 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PATTON SALES CORPORATION
     630 ST. ANDREWS WAY                                            þ Contingent
     PALMDALE, LOS ANGELES, CA 9355                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.964 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 172,710.06
     PATZ MATERIALS AND TECHNOLOGIES
     4968 INDUSTRIAL WAY                                            ¨ Contingent
     BENICIA, SOLANO, CA 94510                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.965 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 133,473.92
     PCC SCHLOSSER
     345 NE HEMLOCK AVE                                             ¨ Contingent
     REDMOND, DESCHUTES, OR 97756                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.966 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,085.76
     PDS TECH, INC
     1925 W. JOHN CARPENTER FWY, SUITE 550                          ¨ Contingent
     IRVING, DALLAS, TX 75063                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.967 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PEER, SCOTT GEORGE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.968 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    463.09
     PEI GENESIS
     1932 E DEERE AVE STE 230                                       ¨ Contingent
     SANTA ANA, ORANGE, CA 92705                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.969 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PEI GENESIS
     1932 E DEERE AVE STE 230                                       þ Contingent
     SANTA ANA, ORANGE, CA 92705                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.970 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PEIRIS, LAKSHAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.971 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,832.35
     PENN TOOL COMPANY
     1776 SPRINGFIELD AVE.                                          ¨ Contingent
     MAPLEWOOD, ESSEX, NJ 7040                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.972 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PEREZ, HUGO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.973 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PEREZ, MARGARITA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.974 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PEREZ, OMAR G
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.975 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PEREZ, VICTOR EDUARDO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.976 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PERRY, BRET VRANA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.977 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PHAM, TRUNG
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.978 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PHAM, VAN LOAN
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.979 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,600.00
     PHILIP AUSTIN DAVID (DBA FLYING P RANCH LLC)
     3507 CHUPAROSA DR.                                             ¨ Contingent
     SANTA BARBARA, SANTA BARBARA, CA 93105                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.980 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PHON, RATHANA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.981 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    591.48
     PIC WIRE AND CABLE INC.
     W220 N1051 SPRINGDALE ROAD                                     ¨ Contingent
     WAUKESHA, WAUKESHA, WI 53186                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.982 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PICKARD, KYLE ROBERT
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.983 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PICKARD, XANDER RAYMOND
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.984 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 32,683.00
     PICKERING INTERFACES, INC.
     221 CHELMSFORD STREET, SUITE 6                                 ¨ Contingent
     CHELMSFORD, MIDDLESEX COUNTY, MA 1824                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.985 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PICKETT, DANA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.986 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PIERSON, FORREST
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.987 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 52,399.74
     PIPING TECHNOLOGY & PRODUCTS, INC.
     3701 HOLMES ROAD                                               ¨ Contingent
     HOUSTON, HOUSTON, TX 77051                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.988 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PIRNIAKAN, NESHAD ROD
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.989 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PITT, ROBERT
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.990 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 98,500.00
     PLANETARY SYSTEMS CORPORATION
     2303 KANAS AVENUE                                              ¨ Contingent
     SILVER SPRING, MONTGOMERY, MD 20910                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.991 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PLASCENCIA, ARNOLDO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.992 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 53,296.25
     PLASMA PROCESSES, LLC
     4914 MOORES MILL RD                                            ¨ Contingent
     HUNTSVILLE, MADISON, AL 35811                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.993 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PLASMA PROCESSES, LLC
     4914 MOORES MILL RD                                            þ Contingent
     HUNTSVILLE, MADISON, AL 35811                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.994 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PM INDUSTRIAL SUPPLY COMPANY
     9613 CANOGA AVE                                                þ Contingent
     CHATSWORTH, LOS ANGELES, CA 91311                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.995 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,675.29
     PMC ENGINEERING LLC
     11 OLD SUGAR HOLLOW ROAD                                       ¨ Contingent
     DANBURY, FAIRFIELD, CT 6810                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.996 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     POLEY, KAYLIN MONIQUE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.997 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,761.95
     POLYMER CONCEPTS TECHNOLOGIES, INC
     13522 MANHASSET ROAD                                           ¨ Contingent
     APPLE VALLEY, SAN BERNARDINO, CA 92308                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.998 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     PONCE DAVILA, SAM
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.999 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     POONSIRI, JOE
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 46,619.00
                                                                    Check all that apply.
      PORTER CONCRETE CONSTRUCTION COMPANY INC
      PO BOX 689                                                    ¨ Contingent
      MOJAVE, KERN, CA 93502                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PORTILLO DERAS, JUAN E.
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 10,322.11
                                                                    Check all that apply.
      POWELL ELECTRONICS, INC
      200 COMMODORE DRIVE                                           ¨ Contingent
      SWEDESBORO, LOGAN TOWNSHIP, NJ 8085                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      POWELL ELECTRONICS, INC
      200 COMMODORE DRIVE                                           þ Contingent
      SWEDESBORO, LOGAN TOWNSHIP, NJ 8085                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      POWERS, KELLY SUZANNE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      POZOS, EFRAIN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 95,343.24
                                                                    Check all that apply.
      PPG AEROSPACE
      24811 AVE ROCKEFELLER                                         ¨ Contingent
      VALENCIA, LOS ANGELES, CA 91355                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PRADJANATA, MATTHEW
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 173,769.00
                                                                    Check all that apply.
      PRAECIPIO CONSULTING, LLC.
      15511 HWY 71 W. SUITE 110-111                                 ¨ Contingent
      AUSTIN, TRAVIS, TX 78738                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  80,217.00
                                                                    Check all that apply.
      PRECISION FLUID CONTROLS, INC
      1751 AVIATION BLVD. SUITE 100                                 ¨ Contingent
      LINCOLN, PLACER, CA 95648                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  19,100.00
                                                                    Check all that apply.
      PRECISION HONEYCOMB LLC
      3030 ENTERPRISE CT. SUITE D                                   ¨ Contingent
      VISTA, SAN DIEGO COUNTY, CA 92081                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                   5,611.14
                                                                    Check all that apply.
      PRECISION TUBE BENDING
      13626 TALC STREET                                             ¨ Contingent
      SANTA FE SPRINGS, LOS ANGELES, CA 90670                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 45,818.64
                                                                    Check all that apply.
      PRECISION WATERJET
      4900 E. HUNTER AVE.                                           ¨ Contingent
      ANAHEIM, ORANGE, CA 92807                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PRESENTATION MEDIA, INC
      1916 144TH ST                                                 þ Contingent
      GARDENA, LOS ANGELES, CA 90249                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 49,211.00
                                                                    Check all that apply.
      PRINT METAL LLC
      24426 S. MAIN ST, SUITE 704                                   ¨ Contingent
      CARSON, LOS ANGELES, CA 90745                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    338.72
                                                                    Check all that apply.
      PRINTIFY, INC
      2093A PHILADELPHIA PIKE, SUITE 149                            ¨ Contingent
      CLAYMONT, NEW CASTLE, DE 19703                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PROFENIUS, LUCIENNE MARIE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 12,607.00
                                                                    Check all that apply.
      PROGRESSIVE BENEFIT SOLUTIONS LLC
      14 BUSINESS PARK                                              ¨ Contingent
      UNIT 8                                                        ¨ Unliquidated
      BRANFORD, NORTH HAVEN, CT 6405                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 55,288.17
                                                                    Check all that apply.
      PROTO LABS, INC.
      22 CHARRON AVE.                                               ¨ Contingent
      NASHUA, HILLSBOROUGH, NH 3063                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PROTO LABS, INC.
      22 CHARRON AVE.                                               þ Contingent
      NASHUA, HILLSBOROUGH, NH 3063                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  9,702.07
                                                                    Check all that apply.
      PROTOCASE INC.
      46 WABANA CT.                                                 ¨ Contingent
      SYDNEY, CAPE BRETON, NS B1P 0B9                               ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,775.66
                                                                    Check all that apply.
      PRUDENTIAL OVERALL SUPPLY (DBA PRUDENTIAL CLEANROOM
      SERVICES)                                                     ¨ Contingent
      1661 ALTON PARKWAY                                            ¨ Unliquidated
      IRVINE, ORANGE COUNTY, CA 92606                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    301.50
                                                                    Check all that apply.
      PUBLIC COMPANY ACCOUNTING OVERSIGHT BOARD
      PO BOX 418631                                                 ¨ Contingent
      BOSTON, SUFFOLK, MA 02241-8631                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,557.50
                                                                    Check all that apply.
      PURPLE COMMUNICATIONS
      13620 N FM 620 BUILDING C, SUITE 100                          ¨ Contingent
      AUSTIN, WILLIAMSON, TX 78717                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 11,195.14
                                                                    Check all that apply.
      QAP METAL FINISHING
      342 W 130TH STREET                                            ¨ Contingent
      LOS ANGELES, LOS ANGELES, CA 90061                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      QAP METAL FINISHING
      342 W 130TH STREET                                            þ Contingent
      LOS ANGELES, LOS ANGELES, CA 90061                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 43,031.24
                                                                    Check all that apply.
      QCM INC. (DBA VERIS MANUFACTURING)
      285 GEMINI AVENUE                                             ¨ Contingent
      BREA, ORANGE, CA 92821                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      QCM INC. (DBA VERIS MANUFACTURING)
      285 GEMINI AVENUE                                             þ Contingent
      BREA, ORANGE, CA 92821                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 16,698.06
                                                                    Check all that apply.
      QINETIQ LIMITED
      MOD BOSCOMBE DOWN, STOCKPORT ROAD                             ¨ Contingent
      SALISBURY, WILTSHIRE,                                         ¨ Unliquidated
      UNITED KINGDOM                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 28,148.76
                                                                    Check all that apply.
      QUALITY FABRICATION, INC.
      9631 IRONDALE AVENUE                                          ¨ Contingent
      CHATSWORTH, LOS ANGELES, CA 91311-5009                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 35,785.00
                                                                    Check all that apply.
      QUALITY PRECISION CLEANING
      4060 S. GRANT ST., BLDG. 18, UNIT 100                         ¨ Contingent
      WASHOUGAL, CLARK, WA 98671                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      QUALITY PRECISION CLEANING
      4060 S. GRANT ST., BLDG. 18, UNIT 100                         þ Contingent
      WASHOUGAL, CLARK, WA 98671                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,805.00
                                                                    Check all that apply.
      QUALITY PRECISION CLEANING
      4060 S. GRANT ST., BLDG. 18, UNIT 100                         ¨ Contingent
      WASHOUGAL, CLARK, WA 98671                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uncashed Check



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      QUILISADIO, JUSTIN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      QUILTY ANALYTICS LLC
      33 6TH ST. S, SUITE 204                                       ¨ Contingent
      SAINT PETERSBURG, PINELLAS COUNTY, FL 33701                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 74,471.50
                                                                    Check all that apply.
      QUINCY COMPRESSOR, LLC
      1000 SOUTH GRAND AVENUE                                       ¨ Contingent
      SANTA ANA, ORANGE, CA 92705                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      QUINCY COMPRESSOR, LLC
      1000 SOUTH GRAND AVENUE                                       þ Contingent
      SANTA ANA, ORANGE, CA 92705                                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  8,743.50
                                                                    Check all that apply.
      QUINN EMANUEL URQUHART & SULLIVAN LLP
      865 SOUTH FIGUEROA STREET                                     ¨ Contingent
      10TH FLOOR                                                    ¨ Unliquidated
      LOS ANGELES, LOS ANGELES, CA 90017                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      QUINTANILLA, EUNICE M
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      QUINTANILLA, EUNICE M
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 26,795.71
                                                                    Check all that apply.
      RACE COMMUNICATION CO.
      1325 HOWARD AVE. #604                                         ¨ Contingent
      BURLINGAME, BURLINGAME, CA 94010                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RADER, CHRISTINA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     87.30
                                                                    Check all that apply.
      RADWELL INTERNATIONAL, LLC.
      1 MILLENNIUM DRIVE                                            ¨ Contingent
      WILLINGBORO, BURLINGTON, NJ 8046                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RAFTOGIANIS, MARK THOMAS
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,298.00
                                                                    Check all that apply.
      RAIMONDO PETTIT GROUP
      21515 HAWTHORNE BLVD., SUITE 1250                             ¨ Contingent
      TORRANCE, LOS ANGELES, CA 90503                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 37,768.47
                                                                    Check all that apply.
      RAIN FOR RENT
      3404 STATE ROAD                                               ¨ Contingent
      BAKERSFIELD, KERN, CA 93308                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 20,500.00
                                                                    Check all that apply.
      RAMKABIR ANALYTICS LLC
      4843 CORSICA DRIVE                                            ¨ Contingent
      CYPRESS, ORANGE, CA 90630                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RAMOS, JOELL STEVEN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RAMOS, LUIS JEFFERSON
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,663.30
                                                                    Check all that apply.
      RAMOS/STRONG INC (DBA RSI PETROLEUM)
      2481 DEAVER LANE                                              ¨ Contingent
      P.O. BOX 938                                                  ¨ Unliquidated
      MOJAVE, KERN, CA 93502                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 178,111.75
                                                                    Check all that apply.
      RAPID AXIS, LLC
      1482 ODDSTAD RD                                               ¨ Contingent
      REDWOOD CITY, SAN MATEO, CA 94063                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 14,575.00
                                                                    Check all that apply.
      RAPID7 LLC
      100 SUMMER ST. 13TH FLOOR                                     ¨ Contingent
      BOSTON, SUFFOLK COUNTY, MA 2110                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RASKE, RICHARD JAMES
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RAWLINGS, RANDY
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  8,700.91
                                                                    Check all that apply.
      R-CON NONDESTRUCTIVE TEST CONSULTANTS, INC.
      5605 FREITAG DR.                                              ¨ Contingent
      MENOMONIE, DUNN, WI 54751                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 13,248.09
                                                                    Check all that apply.
      REAL COMPONENTS LLC
      65 ENTERPRISE                                                 ¨ Contingent
      SUITE 300                                                     ¨ Unliquidated
      ALISO VIEJO, ORANGE, CA 92656                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      REAL COMPONENTS LLC
      65 ENTERPRISE                                                 þ Contingent
      SUITE 300                                                     þ Unliquidated
      ALISO VIEJO, ORANGE, CA 92656                                 ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   20,665.00
                                                                    Check all that apply.
      REAL-TIME INNOVATIONS
      232 E. JAVA DRIVE                                             ¨ Contingent
      SUNNYVALE, SANTA CLARA, CA 94089                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 1,242,558.00
                                                                    Check all that apply.
      REDWIRE SPACE, INC.
      8226 PHILLIPS HWY, SUITE 101                                  þ Contingent
      JACKSONVILLE, DUVAL, FL 32256                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                   15,840.00
                                                                    Check all that apply.
      REFINITIV US LLC
      P.O. BOX 415983                                               ¨ Contingent
      BOSTON, SUFFOLK, MA 02241-5983                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  132,804.00
                                                                    Check all that apply.
      REGO CONSULTING CORPORATION
      2115 NORTH MAIN STREET                                        ¨ Contingent
      CENTERVILLE, DAVIS, UT 84014-1017                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      REILLY, SEAN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RENDON, ERIC LOUIS
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  5,694.00
                                                                    Check all that apply.
      RESCALE, INC.
      33 NEW MONTGOMERY STREET                                      ¨ Contingent
      STE 950                                                       ¨ Unliquidated
      SAN FRANCISCO, SAN FRANCISCO, CA 94105                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,272.00
                                                                    Check all that apply.
      RESIDENCE INN MARRIOTT
      RESIDENCE INN LONG BEACH - LAXBH                              ¨ Contingent
      P.O. BOX 741574                                               ¨ Unliquidated
      ATLANTA, FULTON, GA 30374-1574                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      REYES, EDWIN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      REYNOSO, EDUARDO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      REZGUI, AMINE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RICHTER, SHANE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    418.87
                                                                    Check all that apply.
      RIG-TECH, LLC
      10555 WEST LITTLE YORK                                        ¨ Contingent
      HOUSTON, HARRIS, TX 77041                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ROBERTS, SAMUEL JOSEPH
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ROBLES, EDGAR DANIEL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ROCKOFF, NICHOLAS MAXWELL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RODRIGUEZ MARTINEZ, LUIS
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RODRIGUEZ, ANDREW PHILLIP
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    423.16
                                                                    Check all that apply.
      RODRIGUEZ, EDSON GABRIEL
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RODRIGUEZ, EDSON GABRIEL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RODRIGUEZ, SABRINA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ROGERS, TRAFTON K
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ROGERS, XAVIER
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ROMERO, ALEXANDRIA K
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ROMSKEE, SONI SOUKE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ROSE, CATHERINE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ROSENTHAL, DEVON SHARP
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    743.66
                                                                    Check all that apply.
      RPM TECHNOLOGY, LLC.
      2990 SUTRO STREET                                             ¨ Contingent
      RENO, WASHOE, NV 89512                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     32.01
                                                                    Check all that apply.
      RS HUGHES COMPANY, INC
      1219 S. ALLEC STREET                                          ¨ Contingent
      ANAHEIM, ORANGE, CA 92805                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RUAN, RICHARD ALEX
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RUBIO, CEASAR ANTHONY
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RUIZ, STEVE RALPH
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RUVALCABA, BRADLEY
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RUVALCABA, HECTOR ADRIAN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SABIN-CASAMALHUAPA, MAILEAHSA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SAGIS, KEVIN D
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SAHAGUN, AURORA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 12,513.90
                                                                    Check all that apply.
      SAINT-GOBAIN PERFORMANCE PLASTICS
      1 LIBERTY ST                                                  ¨ Contingent
      HOOSICK FALLS, RENSSELAER COUNTY, NY 12090                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SALATA, ERIK
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SALAZAR, CHRISTINE V.
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 152,134.25
                                                                    Check all that apply.
      SALESFORCE
      SAN FRANCISCO                                                 ¨ Contingent
      SAN FRANCISCO, SAN FRANCISCO, CA 94105                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SALINAS, MICHAEL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SAMBLOTTE, MARIO ANDRES
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SANCHEZ, CONCEPCION
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SANCHEZ, JOSEPH
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SANCHEZ, MARIO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SANCHEZ, MARIO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SANCHEZ, MARIO A.
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SANDOVAL, FELIPE ROGELIO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SANTOS, RAUL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SANTOYO, ELIZABETH
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SANTOYO, JOSE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SARGENT, BRETT ALAN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SARGENT, BRETT ALAN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,600.00
                                                                    Check all that apply.
      SAS INSTITUTE INC.
      SAS CAMPUS DRIVE                                              ¨ Contingent
      CARY, WAKE, NC 27513                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SASMAL, ARITRA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 19,442.00
                                                                    Check all that apply.
      SATCO, INC.
      1601 E. EL SEGUNDO BLVD.                                      ¨ Contingent
      EL SEGUNDO, CA 90245                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    453.60
                                                                    Check all that apply.
      SAY TECHNOLOGIES LLC
      85 WILLOW ROAD                                                ¨ Contingent
      MENLO PARK, SAN MATEO, CA 94025                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  7,500.00
                                                                    Check all that apply.
      SCALAR CA, LLC
      PO BOX 1031                                                   ¨ Contingent
      DRAPER, SALT LAKE COUNTY, UT 84020                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SCHELETER, VALERIO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SCHMID, BRIAN GLENN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 46,936.00
                                                                    Check all that apply.
      SCHWAB INDUSTRIES, INC
      50850 RIZZO DRIVE                                             ¨ Contingent
      SHELBY TOWNSHIP, MACOMB COUNTY, MI 48315                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 35,403.92
                                                                    Check all that apply.
      SCICON TECHNOLOGIES CORPORATION
      27525 NEWHALL RANCH ROAD, UNIT #2                             ¨ Contingent
      VALENCIA, LOS ANGELES, CA 91355                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SCOTT, RONALD
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,537.25
                                                                    Check all that apply.
      SELECT EQUIPMENT SALES, INC.
      6911 8TH STREET                                               ¨ Contingent
      BUENA PARK, ORANGE, CA 90620                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SENNOTT, AUSTIN MICHAEL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 348,200.00
                                                                    Check all that apply.
      SENTEK DYNAMICS, INC.
      2090 DUANE AVE.                                               ¨ Contingent
      SANTA CLARA, SANTA CLARA, CA 95054                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SENTEK DYNAMICS, INC.
      2090 DUANE AVE.                                               þ Contingent
      SANTA CLARA, SANTA CLARA, CA 95054                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SEPAHRAM, SIAMAK
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SERMENO, PABEL ALEXANDER
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SERPA, MICAEEL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SEWELL, REBECCA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SHAH, MICHAEL BHARAT
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SHAPERY, LEANNE D
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SHATKIN, STEVEN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SHEARER, REBECCA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SHER-FAB UNLIMITED, INC
      1740 E MONTICELLO CT                                          þ Contingent
      ONTARIO, SAN BERNARDINO, CA 91761                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SHERLOCK, JACOB
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SHERMAN, JAMES R
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SHOOK, SCOTT
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SHORT, DANIEL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 40,490.08
                                                                    Check all that apply.
      SHRED-IT USA, LLC.
      28161 N. KEITH DRIVE                                          ¨ Contingent
      LAKE FOREST, LAKE, IL 60045                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SIDA, AHLAM
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SIDA, JESUS ANTONIO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  4,190.81
                                                                    Check all that apply.
      SIERRA AUTOMATED VALVE SERVICES
      39433 COLLEEN WAY                                             ¨ Contingent
      TEMECULA, RIVERSIDE, CA 92592                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,561.46
                                                                    Check all that apply.
      SIERRA CIRCUITS (DBA SIERRA PROTOEXPRESS)
      1108 WEST EVELYN AVENUE                                       ¨ Contingent
      SUNNYVALE, SANTA CLARA, CA 94086                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SIERRA, SAMANTHA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  8,196.83
                                                                    Check all that apply.
      SIGMA-ALDRICH
      PO BOX 535182                                                 ¨ Contingent
      ATLANTA, ATLANTA, GA 30353-5182                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 13,679.21
                                                                    Check all that apply.
      SILICONE SOLUTIONS INC
      338 REMINGTON ROAD                                            ¨ Contingent
      CUYAHOGA FALLS, SUMMIT, OH 44224                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  6,151.51
                                                                    Check all that apply.
      SIL-MID LIMITED
      UNIT 1&2, ROMAN PARK, ROMAN WAY, CALESHILL                    ¨ Contingent
      BIRMINGHAM, WARWICKSHIRE, B461HG                              ¨ Unliquidated
      UNITED KINGDOM                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $              Undetermined
                                                                    Check all that apply.
      SIMPSON, JEFFREY S
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     68,239.25
                                                                    Check all that apply.
      SINTAVIA, LLC.
      2500 SW 39TH STREET                                           ¨ Contingent
      HOLLYWOOD, BROWARD, FL 33312                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 828,000.00
                                                                    Check all that apply.
      SITAEL S.P.A
      VIA SAN SABINO                                                þ Contingent
      21 ZONA INDUSTRIALE                                           þ Unliquidated
      MOLA DI BARI BA, 70042                                        ¨ Disputed
      ITALY
                                                                    Basis for the claim: Customer Contract Milestone & Deposit Payments



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                      4,584.57
                                                                    Check all that apply.
      SKYGEEK.COM DBA STYLES LOGISTICS
      30 AIRWAY DRIVE                                               ¨ Contingent
      SUITE 2                                                       ¨ Unliquidated
      LANRANGEVILLE, DUTCHESS, NY 12540                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                      8,444.15
                                                                    Check all that apply.
      SL&C PALMDALE, LLC
      39325 TRADE CENTER DRIVE                                      ¨ Contingent
      PALMDALE, LOS ANGELES, CA 93551                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SLANE, JOHN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SLATER, JASON MATTHEW
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,782.60
                                                                    Check all that apply.
      SMALLEY STEEL RING COMPANY
      555 OAKWOOD RD                                                ¨ Contingent
      LAKE ZURICH, LAKE, IL 60047                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SMITH, ALEXANDER MATTHEW
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SMITH, HARRY R
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 10,599.85
                                                                    Check all that apply.
      SNAP-ON INDUSTRIAL
      21755 NETWORK PLACE                                           ¨ Contingent
      CHICAGO, COOK, IL 60673-1217                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SNAP-ON INDUSTRIAL
      21755 NETWORK PLACE                                           þ Contingent
      CHICAGO, COOK, IL 60673-1217                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,879.75
                                                                    Check all that apply.
      SOLAR ATMOSPHERES OF CA
      8606 LIVE OAK AVE                                             ¨ Contingent
      FONTANA, SAN BERNARDINO, CA 92335                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SOLAR ATMOSPHERES OF CA
      8606 LIVE OAK AVE                                             þ Contingent
      FONTANA, SAN BERNARDINO, CA 92335                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SOLDEVILLA, CLARENCE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,035.39
                                                                    Check all that apply.
      SO-LOW ENVIRONMENTAL EQUIPMENT CO., INC
      10310 SPARTAN DRIVE                                           ¨ Contingent
      CINCINNATI, HAMILTON, OH 45215                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SORIA MURGUIA, JOSE DANIEL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SOTH, BRYAN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 19,687.15
                                                                    Check all that apply.
      SOURCEABILITY NORTH AMERICA LLC
      2007 NW 84TH AVE                                              ¨ Contingent
      DORAL, MIAM-DADE, FL 33122                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    700.00
                                                                    Check all that apply.
      SOUTH BAY FIRE INC.
      1068 AVIATION BLVD                                            ¨ Contingent
      HERMOSA BEACH, LOS ANGELES, CA 90254                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   2,640.00
                                                                    Check all that apply.
      SOUTH BAY HEATING & AIR CONDITIONING, INC.
      3300 EAST 59TH STREET                                         ¨ Contingent
      LONG BEACH, LOS ANGELES, CA 90805                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 108,155.39
                                                                    Check all that apply.
      SOUTHERN CALIFORNIA EDISON
      2 INNOVATION WAY                                              ¨ Contingent
      1ST FLOOR                                                     ¨ Unliquidated
      POMONA, USA, CA 91768                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    135.00
                                                                    Check all that apply.
      SOUTHERN CALIFORNIA IMMEDIATE MEDICAL CENTER
      7300 ALONDRA BLVD. SUITE 101                                  ¨ Contingent
      PARAMOUNT, LOS ANGELES, CA 90723                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                   3,941.98
                                                                    Check all that apply.
      SOUTHERN COUNTIES LUBRICANTS LLC
      1825 W. COLLINS AVE                                           ¨ Contingent
      ORANGE, ORANGE, CA 92867                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                   5,376.47
                                                                    Check all that apply.
      SOUTHERN COUNTIES OIL CO., A CA LIMITED PARTNERSHIP
      1800 W KATELLA AVE SUITE 400                                  ¨ Contingent
      ORANGE, ORANGE COUNTY, CA 92867                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     49,104.00
                                                                    Check all that apply.
      SOUTHWEST RESEARCH INSTITUTE
      6220 CULBERA RD                                               ¨ Contingent
      SAN ANTONIO, BEXAR, TX 78238-5166                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $              Undetermined
                                                                    Check all that apply.
      SOWERS, DON
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 482,860.00
                                                                    Check all that apply.
      SPACE VECTOR CORPORATION
      20520 NORDHOFF STREET                                         ¨ Contingent
      CHATSWORTH, LOS ANGELES, CA 91311                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 800,000.00
                                                                    Check all that apply.
      SPACEFLIGHT, INC.
      1505 WESTLAKE AVE N                                           þ Contingent
      SEATTLE, WA 98109                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Contract Milestone & Deposit Payments



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $              Undetermined
                                                                    Check all that apply.
      SPANOS, ALEX J
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                      383.10
                                                                    Check all that apply.
      SPECIALTY DOORS AND AUTOMATION INC.
      4700 LONG BEACH BLVD.                                         ¨ Contingent
      LONG BEACH, LOS ANGELES, CA 90805                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     6,588.00
                                                                    Check all that apply.
      SPHERA SOLUTIONS, INC.
      180 E RANDOLPH STREET                                         ¨ Contingent
      STE. 2900                                                     ¨ Unliquidated
      CHICAGO, COOK, IL 60601                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     2,343.20
                                                                    Check all that apply.
      SPIN IMAGING
      1379 OBISPO AVENUE                                            ¨ Contingent
      LONG BEACH, LOS ANGELES, CA 90804                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     2,450.80
                                                                    Check all that apply.
      SPIRA MANUFACTURING CORPORATION
      650 JESSIE STREET                                             ¨ Contingent
      SAN FERNANDO, LOS ANGELES, CA 91340                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 1,125,000.00
                                                                    Check all that apply.
      SPIRE GLOBAL SUBSIDIARY INC.
      8000 TOWERS CRESCENT DRIVE                                    þ Contingent
      SUITE 1100                                                    þ Unliquidated
      VIENNA, VA 22182                                              ¨ Disputed
                                                                    Basis for the claim: Customer Contract Milestone & Deposit Payments



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  9,040.42
                                                                    Check all that apply.
      SPRINGHILL SUITES LANCASTER
      1811 WEST AVE J-12                                            ¨ Contingent
      LANCASTER, LOS ANGELES, CA 93534                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STALEY, WILLIAM K
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 10,102.06
                                                                    Check all that apply.
      STAPLES
      PO BOX 660409 - DEPT LA                                       ¨ Contingent
      DALLAS, DALLAS, TX 75266-0409                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STAPLES
      PO BOX 660409 - DEPT LA                                       þ Contingent
      DALLAS, DALLAS, TX 75266-0409                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STARKS, NATASHA MARIA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STARZYK, JANICE MARIE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STAVROSITU, ANDRE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STEINERT, JACOB ALEXANDER
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 20,206.57
                                                                    Check all that apply.
      STELLAR INDUSTRIAL SUPPLY, INC
      711 E 11TH STREET                                             ¨ Contingent
      TACOMA, KING, WA 98421-2403                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STELLAR INDUSTRIAL SUPPLY, INC
      711 E 11TH STREET                                             þ Contingent
      TACOMA, KING, WA 98421-2403                                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 60,050.00
                                                                    Check all that apply.
      STELLAR TECHNOLOGY
      237 COMMERCE DRIVE                                            ¨ Contingent
      AMHERST, ERIE, NY 14228                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STELLAR TECHNOLOGY
      237 COMMERCE DRIVE                                            þ Contingent
      AMHERST, ERIE, NY 14228                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STERLEN, FRANKLIN CHARVEY
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 50,158.67
                                                                    Check all that apply.
      STEVEN A BOULEY CONSULTING, LLC
      5307 MOONSHADOW STREET                                        ¨ Contingent
      SIMI VALLEY, VENTURA COUNTY, CA 93063                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STEVENS, MICHAEL JOSEPH
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    978.60
                                                                    Check all that apply.
      STEWART & CO CHARTERED ACCOUNTS
      KNOLL HOUSE                                                   ¨ Contingent
      CAMBERLEY                                                     ¨ Unliquidated
      SURREY, GU15 3SY                                              ¨ Disputed
      UNITED KINGDOM
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    447.26
                                                                    Check all that apply.
      STEWARTS USA, LLC
      6786 TIPPERANY                                                ¨ Contingent
      HOUSTON, MONTGOMERY, TX 77061                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STOCKWELL, TOBIE CHRISTINE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    894.36
                                                                    Check all that apply.
      STONE ENVIRONMENTAL SERVICES
      6151 LAKE OSPREY DRIVE                                        ¨ Contingent
      SARASOTA, FL 34240                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    881.33
                                                                    Check all that apply.
      STRATASYS DIRECT, INC
      28309 AVENUE CROCKER                                          ¨ Contingent
      VALENCIA, LOS ANGELES, CA 91355                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STREHLE, MAXIM G.
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STRUDER, CLINT
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,775.53
                                                                    Check all that apply.
      STRUERS INCORPORATED
      24766 DETROIT ROAD                                            ¨ Contingent
      WESTLAKE, CUYAHOGA, CA 44145                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,175.00
                                                                    Check all that apply.
      STUDIO 637 LLC
      637 CYPRESS AVENUE                                            ¨ Contingent
      HERMOSA BEACH, LOS ANGELES, CA 90254                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 28,150.00
                                                                    Check all that apply.
      STUMP FENCE CO.
      400 W. FOOTHILL BLVD                                          ¨ Contingent
      GLENDORA, LOS ANGELES, CA 91741                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SUGANO, GREGORY SCOTT
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SULLIVAN, RYAN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SULLIVAN, RYAN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SUMMER, ALAN E
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    806.48
                                                                    Check all that apply.
      SUMMIT FLUID TECHNOLOGIES LLC
      P.O. BOX 4337                                                 ¨ Contingent
      WHITTIER, LOS ANGELES, CA 90607                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 241,939.99
                                                                    Check all that apply.
      SUNBELT RENTALS LIMITED
      100 CHEAPSIDE                                                 ¨ Contingent
      LONDON, EC2V 6DT                                              ¨ Unliquidated
      UNITED KINGDOM                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SURBAUGH, HALLE MARLO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    651.40
                                                                    Check all that apply.
      SUSAN J HELMS
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SWEENEY, RYAN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                   6,392.73
                                                                    Check all that apply.
      SWISS WIRE EDM
      3505 CADILLAC AVENUE, UNIT J-1                                ¨ Contingent
      COSTA MESA, ORANGE, CA 92626                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 81,976.21
                                                                    Check all that apply.
      SWITCH, LTD
      PO BOX 674592                                                 ¨ Contingent
      DALLAS, DALLAS, TX 75267-4592                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  9,000.00
                                                                    Check all that apply.
      SYNOPSYS, INC
      690 EAST MIDDLEFIELD ROAD                                     ¨ Contingent
      MOUNTAIN VIEW, SANTA CLARA, CA 94043                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 19,269.00
                                                                    Check all that apply.
      SYSTEM INTEGRITY ENGINEERING
      9525 VASSAR AVENUE                                            ¨ Contingent
      CHATSWORTH, LOS ANGELES, CA 91311                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SZENDRO, KYLE N
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 34,878.80
                                                                    Check all that apply.
      T&F SHEET METAL FABRICATION & MACHINING, INC
      15607 NEW CENTURY DRIVE                                       ¨ Contingent
      GARDENA, LOS ANGELES, CA 90248                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,832.36
                                                                    Check all that apply.
      TABLESIDE
      65 PINE AVE                                                   ¨ Contingent
      STE.188                                                       ¨ Unliquidated
      LONG BEACH, LOS ANGELES, CA 90802                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TABONG, ADDISS BAUTISTA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 16,974.74
                                                                    Check all that apply.
      TACTICAL FIBER SYSTEMS INC.
      1525 NW 3RD ST STE 12                                         ¨ Contingent
      DEERFIELD BEACH, BROWARD COUNTY, FL 33442                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TACZA, VICTOR
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TAFOLLA, MELISSA ANN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TALAMANCHI, SWETHA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TAN, BENITO MANCHA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TAN, JESSE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TANZINI, MICHAEL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TASCI, PAULINE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TAYLOR, RICHARD J
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TAYLOR, RICHARD J
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 580,693.37
                                                                    Check all that apply.
      TE CONNECTIVITY CORPORATION
      1000 LUCAS WAY                                                ¨ Contingent
      HAMPTON, HAMPTON, VA 23666                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    860.00
                                                                    Check all that apply.
      TECH MET, INC.
      15 ALLEGHENY SQUARE                                           ¨ Contingent
      GLASSPORT, ALLEGHENY, PA 15045                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                   6,801.97
                                                                    Check all that apply.
      TECHNIFAB PRODUCTS INC.
      10339 N. INDUSTRIAL PARK DR.                                  ¨ Contingent
      BRAZIL, CLAY, IN 47834                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 11,900.00
                                                                    Check all that apply.
      TECPLOT INC
      3535 FACTORIA BLVD SE, SUITE 530                              ¨ Contingent
      BELLEVUE, KING, WA 98006                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  8,838.47
                                                                    Check all that apply.
      TELL STEEL INC
      2345 WEST 17TH STREET                                         ¨ Contingent
      LONG BEACH, LOS ANGELES, CA 90813                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TELLES, MADISON YVONNE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TELLO, CESAR JAVIER
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TENARI, TENARI
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TERRA UNIVERSAL, INC.
      800 S. RAYMOND AVENUE                                         þ Contingent
      FULLERTON, ORANGE, CA 92831-5234                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  9,157.78
                                                                    Check all that apply.
      TESCOM
      12616 INDUSTRIAL BLVD                                         ¨ Contingent
      ELK RIVER, SHERBURNE, MN 55330                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,659.55
                                                                    Check all that apply.
      TEST EQUIPMENT DISTRIBUTORS LLC
      1370 PIEDMONT                                                 ¨ Contingent
      TROY, OAKLAND, MI 48083                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 73,701.63
                                                                    Check all that apply.
      TESTEQUITY LLC
      6100 CONDOR DRIVE                                             ¨ Contingent
      MOORPARK, VENTURA, CA 93021                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TESTERMAN, CHRISTOPHER M
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    265.55
                                                                    Check all that apply.
      TEXAS ALMET, LP
      2800 E. RANDOLL MILL RD                                       ¨ Contingent
      ARLINGTON, TARRANT, TX 76011                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 333,414.15
                                                                    Check all that apply.
      THE AEROSPACE CORPORATION
      2310 EAST EL SEGUNDO BLVD                                     ¨ Contingent
      LOS ANGELES, LOS ANGELES, CA 90245                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                   6,405.45
                                                                    Check all that apply.
      THE CHESLEY GROUP, LLC
      1226 S CHURCH ST.                                             ¨ Contingent
      GEORGETOWN, WILLIAMSON, TX 78626                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                      41.41
                                                                    Check all that apply.
      THE COMPOSITES STORE
      P.O. BOX 622                                                  ¨ Contingent
      TEHACHAPI, KERN, CA 93581-0622                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                   4,740.75
                                                                    Check all that apply.
      THE EMC SHOP LLC
      7401 GALILEE RD #160                                          ¨ Contingent
      ROSEVILLE, PLACER COUNTY, CA 95678                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THE ESAB GROUP INC. DBA ESAB WELDING & CUTTING PRODUCTS
      2800 AIRPORT ROAD                                             þ Contingent
      DENTON, DENTON COUNTY, TX 76207                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 39,187.40
                                                                    Check all that apply.
      THE FITTING SOURCE, INC
      19631 PRAIRIE STREET                                          ¨ Contingent
      NORTHRIDGE, LOS ANGELES, CA 91324                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THE FITTING SOURCE, INC
      19631 PRAIRIE STREET                                          þ Contingent
      NORTHRIDGE, LOS ANGELES, CA 91324                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  4,046.72
                                                                    Check all that apply.
      THE FLAME BROILER THE RICE BOWL KING
      3349 BROU LN                                                  ¨ Contingent
      RIVERSIDE, RIVERSIDE, CA 92503                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    160.47
                                                                    Check all that apply.
      THE FLIGHT SHOP, INC.
      1780 N 2000 W STE 21                                          ¨ Contingent
      BRIGHAM CITY, BOX ELDER, UT 84302                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 18,557.50
                                                                    Check all that apply.
      THE LEE COMPANY
      2 PETTIPAUG ROAD                                              ¨ Contingent
      WESTBROOK, MIDDLESEX, CT 6488                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 77,875.00
                                                                    Check all that apply.
      THE M&P LAB, INC. (DBA LUCIDEON M+P)
      2190 TECHNOLOGY DRIVE                                         ¨ Contingent
      SCHENECTADY, SCHENECTADY, NY 12308                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  8,666.12
                                                                    Check all that apply.
      THE THAI RESTAURANT
      44759 SIERRA HWY                                              ¨ Contingent
      LANCASTER, LOS ANGELES COUNTY, CA 93534                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    137.25
                                                                    Check all that apply.
      THE ULTIMATE SOFTWARE GROUP, INC.
      1485 NORTH PARK DRIVE                                         ¨ Contingent
      WESTON, FL 33326                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  9,610.00
                                                                    Check all that apply.
      THE WEATHER REPORTER, LLC
      1715 REEF CT.                                                 ¨ Contingent
      MERRITT ISLAND, BREVARD, FL 32952-5923                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THEBEAULT, JOSEPH HENRY
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                   2,777.88
                                                                    Check all that apply.
      THERMAL-VAC TECHNOLOGY, INC (DBA CITY STEEL HEAT TREATING)
      1221 W. STRUCK AVENUE                                         ¨ Contingent
      ORANGE, ORANGE COUNTY, CA 92867                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 130,548.94
                                                                    Check all that apply.
      THERMOMETRICS CORPORATION
      18714 PARTHENIA STREET                                        ¨ Contingent
      NORTHRIDGE, LOS ANGELES, CA 91324-3813                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THERMOMETRICS CORPORATION
      18714 PARTHENIA STREET                                        þ Contingent
      NORTHRIDGE, LOS ANGELES, CA 91324-3813                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                   3,515.31
                                                                    Check all that apply.
      THERMOTRON INDUSTRIES
      PO BOX 689590                                                 ¨ Contingent
      CHICAGO, KINGS, IL 60695-9590                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,465.00
                                                                    Check all that apply.
      THOMSON REUTERS - WEST
      P.O. BOX 6292                                                 ¨ Contingent
      CAROL STREAM, DUPAGE, IL 60197-6292                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,470.75
                                                                    Check all that apply.
      TIMES MICROWAVE SYSTEMS, INC.
      358 HALL AVE.                                                 ¨ Contingent
      WALLINGFORD, NEW HEAVEN, CT 6492                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TISCHNER, CHRISTOPHER ERIC
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 14,816.16
                                                                    Check all that apply.
      TLD AMERICA CORPORATION
      812 BLOOMFIELD AVE                                            ¨ Contingent
      WINDSOR, HARTFORD, CT 6095                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TOLENTINO, RONALD
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TOLOSA, ALLYN MIRANDA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  20,060.00
                                                                    Check all that apply.
      TOM DONAHUE PLUMBING
      6726 EAST PARAPET STREET                                      ¨ Contingent
      LONG BEACH, LOS ANGELES, CA 90808                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 528,905.10
                                                                    Check all that apply.
      TORAY ADVANCED COMPOSITES
      18410 BUTTERFIELD BLVD.                                       ¨ Contingent
      MORGAN HILL, SANTA CLARA COUNTY, CA 95037                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TORRES, DAVID C. T.
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TORRES, DAVID C. T.
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TORRES, MARIO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TORRES, ROBERT
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TORRES, ROBERT
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 11,700.00
                                                                    Check all that apply.
      TOTAL ENVIRONMENTAL MANAGEMENT, INC.
      1415 N BURTON PLACE                                           ¨ Contingent
      ANAHEIM, ORANGE COUNTY, CA 92806                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 10,983.92
                                                                    Check all that apply.
      TOWNE PLACE SUITES BY MARRIOTT - TEHACHAPI
      1052 MAGELLAN DR.                                             ¨ Contingent
      TEHACHAPI, KERN, CA 93561                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                   4,937.82
                                                                    Check all that apply.
      TOWNEPLACE SUITES MARRIOT
      2024 WEST AVE J-8                                             ¨ Contingent
      LANCASTER, LOS ANGELES, CA 93536                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 150,296.72
                                                                    Check all that apply.
      TRACE3
      7565 IRVINE CENTER DRIVE #200                                 ¨ Contingent
      IRVINE, ORANGE COUNTY, CA 92618                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TRACE3
      7565 IRVINE CENTER DRIVE #200                                 þ Contingent
      IRVINE, ORANGE COUNTY, CA 92618                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TRAN, JOSHUA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TRAN, QUAN DINH
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    300.30
                                                                    Check all that apply.
      TRI TOOL INC
      3041 SUNRISE BLVD                                             ¨ Contingent
      RANCHO CORDOVA, SACRAMENTO, CA 95742                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  6,044.32
                                                                    Check all that apply.
      TRINITY CONSULTANTS, INC.
      20 CORPORATE PARK SUITE 200                                   ¨ Contingent
      IRVINE, ORANGE COUNTY, CA 92606                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 60,480.00
                                                                    Check all that apply.
      TRIPLE CROWN CONSULTING, LLC
      10814 JOLLYVILLE RD, SUITE 100                                ¨ Contingent
      AUSTIN, TRAVIS, TX 78759                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 30,089.94
                                                                    Check all that apply.
      TRL SYSTEMS, INC.
      9531 MILLIKEN AVE.                                            ¨ Contingent
      RANCHO CUCAMONGA, SAN BERNARDINO, CA 91730                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    396.00
                                                                    Check all that apply.
      TSO VENTURES (SW) LTD.
      3 COINAGE OPE                                                 ¨ Contingent
      HELSTON, TR13 9HL                                             ¨ Unliquidated
      UNITED KINGDOM                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    157.36
                                                                    Check all that apply.
      TTI, INC
      2441 NORTHEAST PARKWAY                                        ¨ Contingent
      FORT WORTH, TARRANT, TX 76106                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TTI, INC
      2441 NORTHEAST PARKWAY                                        þ Contingent
      FORT WORTH, TARRANT, TX 76106                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,596.00
                                                                    Check all that apply.
      TUBE SERVICE CO.
      P.O. BOX 748542                                               ¨ Contingent
      LOS ANGELES, LOS ANGELES, CA 90074-8542                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TUCK, ROCKY ROBERT
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TUCKER, ROMALLIS D
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.129
      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
  7                                                                                                                   $             Undetermined
                                                                      Check all that apply.
      TURMAN, JEFFERY THOMAS
      ADDRESS ON FILE                                                 þ Contingent
                                                                      þ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred       Undetermined               Is the claim subject to offset?
                                                                      þ No
     Last 4 digits of account number                                  ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
  8                                                                                                                   $             Undetermined
                                                                      Check all that apply.
      TURNER, CASEY
      ADDRESS ON FILE                                                 þ Contingent
                                                                      þ Unliquidated
                                                                      þ Disputed
                                                                      Basis for the claim: Potential Claim



     Date or dates debt was incurred       Undetermined               Is the claim subject to offset?
                                                                      þ No
     Last 4 digits of account number                                  ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
  9                                                                                                                   $                  2,222.10
                                                                      Check all that apply.
      TW METALS
      2211 TUBEWAY AVE.                                               ¨ Contingent
      COMMERCE, LOS ANGELES, CA 90040                                 ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim: Trade Payable



     Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                      þ No
     Last 4 digits of account number                                  ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
  0                                                                                                                   $                 53,893.90
                                                                      Check all that apply.
      U.S. BANK EQUIPMENT FINANCE, A DIVISION OF U.S. BANK NATIONAL
      ASSOCIATION                                                     ¨ Contingent
      1310 MADRID ST                                                  ¨ Unliquidated
      MARSHALL, MN 56258                                              ¨ Disputed
                                                                      Basis for the claim: Equipment Lease



     Date or dates debt was incurred       Undetermined               Is the claim subject to offset?
                                                                      þ No
     Last 4 digits of account number                                  ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
  1                                                                                                                   $                  2,026.34
                                                                      Check all that apply.
      U.S. PLASTIC CORP
      1390 NEUBRECHT ROAD                                             ¨ Contingent
      LIMA, ALLEN, OH 45801                                           ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim: Trade Payable



     Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                      þ No
     Last 4 digits of account number                                  ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 523,930.12
                                                                    Check all that apply.
      U.S. TOOL GRINDING, INC. (DBA US TOOL GROUP)
      2000 PROGRESS DRIVE                                           ¨ Contingent
      FARMINGTON, ST. FRANCOIS, MO 63640                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      U.S. TOOL GRINDING, INC. (DBA US TOOL GROUP)
      2000 PROGRESS DRIVE                                           þ Contingent
      FARMINGTON, ST. FRANCOIS, MO 63640                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      UCEDA, JUAN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                   4,674.00
                                                                    Check all that apply.
      UKSPACE TRADE ASSOCIATION LTD
      60 BARBADOS ROAD, BORDON                                      ¨ Contingent
      HAMPSHIRE, GU35 0FX                                           ¨ Unliquidated
      UNITED KINGDOM                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  53,624.05
                                                                    Check all that apply.
      ULINE
      12575 ULINE DRIVE                                             ¨ Contingent
      PLEASANT PRAIRIE, KENOSHA, WI 53158                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ULINE
      12575 ULINE DRIVE                                             þ Contingent
      PLEASANT PRAIRIE, KENOSHA, WI 53158                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,203.52
                                                                    Check all that apply.
      UMPCO INC
      7100 LAMPSON AVE                                              ¨ Contingent
      GARDEN GROVE, ORANGE, CA 92841                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,300.00
                                                                    Check all that apply.
      UNHOLTZ-DICKIE CORPORATION
      6 BROOKSIDE DRIVE                                             ¨ Contingent
      WALLINGFORD, NEW HAVEN, CT 6492                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      UNHOLTZ-DICKIE CORPORATION
      6 BROOKSIDE DRIVE                                             þ Contingent
      WALLINGFORD, NEW HAVEN, CT 6492                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 23,880.57
                                                                    Check all that apply.
      UNISAN PRODUCTS, LLC.
      5450 W. 83RD STREET                                           ¨ Contingent
      LOS ANGELES, LOS ANGELES, CA 90045                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  8,226.26
                                                                    Check all that apply.
      UNITED PACIFIC INDUSTRIES
      3788 E. CONANT ST.                                            ¨ Contingent
      LONG BEACH, LOS ANGELES, CA 90808                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  5,912.17
                                                                    Check all that apply.
      UNITED RENTALS
      1241 WEST INYOKERN ROAD                                       ¨ Contingent
      RIDGECREST, KERN, CA 93555                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,002.14
                                                                    Check all that apply.
      UNIVAR USA INC.
      PO BOX 740896                                                 ¨ Contingent
      LOS ANGELES, LOS ANGELES, CA 90074-0896                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 14,376.66
                                                                    Check all that apply.
      UNIVERSAL SHIELDING CORP.
      20 WEST JEFRYN BLVD.                                          ¨ Contingent
      DEAR PARK, SUFFOLK, NY 11729                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 12,911.53
                                                                    Check all that apply.
      UPS
      PO BOX 894820                                                 ¨ Contingent
      LOS ANGELES, LOS ANGELES, CA 90189-4820                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     72.07
                                                                    Check all that apply.
      UPS SUPPLY CHAIN SOLUTIONS, INC
      28013 NETWORK PLACE                                           ¨ Contingent
      CHICAGO, CHICAGO, IL 60673-1280                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      URIARTE, OSCAR ARMANDO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      URIBE FAUSTO, ROBERTO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      USTINOVA, ANYA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VALENCIA, JOSE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,133.74
                                                                    Check all that apply.
      VALLEY SEAL COMPANY
      6430 VARIEL AVENUE SUITE 106                                  ¨ Contingent
      WOODLAND HILLS, LOS ANGELES, CA 91367                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VALLEY, GLEN DALE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VARELA, OTTO M.
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VARGAS, CHRISTOPHER
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VASQUEZ, JOSE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VASQUEZ, MARCO E.
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VASQUEZ, ROBERTO JOSE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VEGA, JESUS
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VEGA, KEVIN ALEXANDER
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VELASQUEZ, RAUL ARMANDO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VELAZQUEZ, ARTURO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,224.50
                                                                    Check all that apply.
      VENABLE LLP
      750 E. PRATT STREET SUITE 900                                 ¨ Contingent
      BALTIMORE, BALTIMORE COUNTY, MD 21202                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VENEGAS, HUGO MOISES
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VENTURA, DAVID
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,373.15
                                                                    Check all that apply.
      VERIZON BUSINESS
      PO BOX 15043                                                  ¨ Contingent
      ALBANY, ALBANY, NY 122125043                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 28,527.07
                                                                    Check all that apply.
      VERIZON WIRELESS
      PO BOX 4003                                                   ¨ Contingent
      ACWORTH, ACWORTH, GA 30101                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 35,017.50
                                                                    Check all that apply.
      VI SHOTS LLC
      2121 IROULA WAY                                               ¨ Contingent
      TRACY, SAN JOAQUIN, CA 95377                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             14,634,457.46
                                                                    Check all that apply.
      VIECO USA, INC.
      4022 E CONANT STREET                                          ¨ Contingent
      LONG BEACH, CA 90808                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VILLA, MARIO ALBERTO
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VILLA, MIGUEL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VILLALOBOS, NICHOLAS
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VILLEGAS ROBLEDO, LAURA VANESSA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     3,268.05
                                                                    Check all that apply.
      VIOLANTE BROTHERS INC. (DBA JERSEY MIKES SUBS )
      39916 MARBRISSA AVENUE                                        ¨ Contingent
      PALMDALE, LOS ANGELES COUNTY, CA 93551                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 1,500,000.00
                                                                    Check all that apply.
      VIRGIN ENTERPRISES LIMITED
      THE BATTELSHIP BUILDING                                       ¨ Contingent
      179 HARROW ROAD                                               ¨ Unliquidated
      LONDON, W2 6NB                                                ¨ Disputed
      UNITED KINGDOM
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $            132,119,482.24
                                                                    Check all that apply.
      VIRGIN ORBIT HOLDINGS, INC.
      4022 E CONANT STREET                                          ¨ Contingent
      LONG BEACH, CA 90808                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   1,717.86
                                                                    Check all that apply.
      VIRGIN ORBIT LLC POLITICAL ACTION COMMITTEE
      1800 M ST NW                                                  ¨ Contingent
      SUITE 525S                                                    ¨ Unliquidated
      WASHINGTON, DC, WASHINGTON, DC 20036                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                   5,732.80
                                                                    Check all that apply.
      VIRGIN ORBIT NATIONAL SYSTEMS, LLC
      1960 GRAND AVENUE                                             ¨ Contingent
      EL SEGUNDO, CA 90245                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 646,882.44
                                                                    Check all that apply.
      VIRGIN ORBIT UK LTD.
      66 PORCHESTER ROAD                                            ¨ Contingent
      LONDON, W2 6ET                                                ¨ Unliquidated
      UNITED KINGDOM                                                ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 278,659.25
                                                                    Check all that apply.
      VIRTEK VISION INTERNATIONAL, INC
      785 BRIDGE STREET                                             ¨ Contingent
      WATERLOO, ON N2V 2K1                                          ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VIRTEK VISION INTERNATIONAL, INC
      785 BRIDGE STREET                                             þ Contingent
      WATERLOO, ON N2V 2K1                                          þ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  12,422.64
                                                                    Check all that apply.
      VISHAY MEASUREMENTS GROUP, INC
      PO BOX 27777                                                  ¨ Contingent
      RALEIGH, WAKE, NC 27611                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $              Undetermined
                                                                    Check all that apply.
      VISHAY MEASUREMENTS GROUP, INC
      PO BOX 27777                                                  þ Contingent
      RALEIGH, WAKE, NC 27611                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $              Undetermined
                                                                    Check all that apply.
      VISHWANATH, RAHUL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                   6,121.82
                                                                    Check all that apply.
      VISUAL INSTRUMENTATION CORP
      1110 WEST AVENUE L-12, UNIT #2                                ¨ Contingent
      LANCASTER, LOS ANGELES, CA 93534                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $              Undetermined
                                                                    Check all that apply.
      VLADIMIR BOYKO, ON BEHALF OF HIMSELF AND ALL OTHERS
      SIMILARLY SITUATED                                            þ Contingent
      C/O LOIZIDES, P.A.                                            þ Unliquidated
      ATTN: CHRISTOPHER D. LOIZIDES                                 þ Disputed
      1225 KING STREET, SUITE 800
      WILMINGTON, DE 19801                                          Basis for the claim: Class Action Adversary Proceeding



     Date or dates debt was incurred      04/04/2023                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                  $             Undetermined
                                                                    Check all that apply.
      VO, DAVID TUAN-HOANG
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                  $             Undetermined
                                                                    Check all that apply.
      VOGEL ENGINEERS, INC.
      300 PASEO TESORO                                              þ Contingent
      WALNUT, CA 91789                                              þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Breach of Lease Agreement



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                  $                 11,021.37
                                                                    Check all that apply.
      VOSSLER CO.
      4917 LANKERSHIM BL.                                           ¨ Contingent
      NORTH HOLLYWOOD, LOS ANGELES COUNTY, CA 91601                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                  $             Undetermined
                                                                    Check all that apply.
      VOSSLER CO.
      4917 LANKERSHIM BL.                                           þ Contingent
      NORTH HOLLYWOOD, LOS ANGELES COUNTY, CA 91601                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                  $             Undetermined
                                                                    Check all that apply.
      VU, KENNY H
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 50,605.93
                                                                    Check all that apply.
      WALKER BROTHER MACHINERY MOVERS
      3839 E. CORONADO STREET                                       ¨ Contingent
      ANAHEIM, ORANGE COUNTY, CA 92807                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WALL, KATHRYN ELIZABETH
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 39,393.01
                                                                    Check all that apply.
      WALTERS WHOLESALE ELECTRIC CO
      200 N BERRY ST                                                ¨ Contingent
      BREA, LOS ANGELES, CA 92821                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WALTON, BRANDT DESMOND
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    890.73
                                                                    Check all that apply.
      WANSHIP ENTERPRISES LLC
      455 W 1100 N                                                  ¨ Contingent
      NORTH SALT LAKE, SALT LAKE, UT 84054                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WARNER, CAREY ANDREW
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WARREN, ROBERT SCOTT
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 15,480.08
                                                                    Check all that apply.
      WASTE MANAGEMENT
      PO BOX 541065                                                 ¨ Contingent
      LOS ANGELES, LOS ANGELES, CA 90054-1065                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 42,000.00
                                                                    Check all that apply.
      WATER TOWER RESEARCH LLC
      200 2ND AVE SOUTH, SUITE 718                                  ¨ Contingent
      ST. PETERSBURG, PINELLAS, FL 33701                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WATERS, JACOB COY
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    780.36
                                                                    Check all that apply.
      WATLOW MANUFACTURING INCORPORATED
      12001 LACKLAND RD                                             ¨ Contingent
      ST. LOUIS, ST. LOUIS, MO 63146                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WATSON, CHRISTOPHER
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WATSON, PERRY
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WATTS, PAUL DAVIS
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WAX, ALAN BRADLEY
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WEAVER, ROBERT LEE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 399,809.99
                                                                    Check all that apply.
      WEB INDUSTRIES INC
      377 SIMARANO DRIVE                                            ¨ Contingent
      MARLBORO, MIDDLESEX, MA 1752                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WEDDLE, MATTHEW
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WEISS, HERLANN ROY
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  38,847.17
                                                                    Check all that apply.
      WELDALOY PRODUCTS COMPANY
      24011 HOOVER ROAD                                             ¨ Contingent
      WARREN, MACOMB, MI 48089                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WENZLER, NICOLE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WEST, EBER EUGENE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Potential Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 38,827.89
                                                                    Check all that apply.
      WESTAIR GASES AND EQUIPMENT
      2506 MARKET STREET                                            ¨ Contingent
      SANDIEGO, SAN DIEGO, CA 92102                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WESTAIR GASES AND EQUIPMENT
      2506 MARKET STREET                                            þ Contingent
      SANDIEGO, SAN DIEGO, CA 92102                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WESTERFER, NICHOLAS
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WESTERN FIRST AID & SAFETY, LLC
      115 NORTH FIRST ST.                                           þ Contingent
      BURBANK, SANTA CLARA, CA 91502                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    849.22
                                                                    Check all that apply.
      WHITMOR WIRENETICS LLC
      27737 AVENUE HOPKINS                                          ¨ Contingent
      VALENCIA, LOS ANGELES, CA 91355                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WHITNEY, RICHARD DESMOND
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WILCOX, DAVID GRANT
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 87,764.94
                                                                    Check all that apply.
      WILLIAMS SCOTSMAN, INC.
      SUITE 600, 901 SOUTH BOND STREET                              ¨ Contingent
      BALTIMORE, BALTIMORE, MD 21231-3357                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WILLIAMS, WARRENT
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,725.00
                                                                    Check all that apply.
      WILLICK ENGINEERING COMPANY, INC.
      12516 LAKELAND RD                                             ¨ Contingent
      SANTA FE SPRINGS, LA, CA 90670                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WILLIS, ALEXIS
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 32,700.00
                                                                    Check all that apply.
      WINDHORSE ADVISORS LLC
      64 INDIGO WAY                                                 ¨ Contingent
      CASTLE ROCK, DOUGLAS COUNTY, CO 80108                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 32,698.67
                                                                    Check all that apply.
      WIREMASTERS, INC
      1788 NORTHPOINTE ROAD                                         ¨ Contingent
      COLUMBIA, MAURY, TN 38401                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WIREMASTERS, INC
      1788 NORTHPOINTE ROAD                                         þ Contingent
      COLUMBIA, MAURY, TN 38401                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    849.32
                                                                    Check all that apply.
      WITHIEL COMMERCIALS LTD.
      WITHIEL TURN, ROCHE                                           ¨ Contingent
      ST.AUSTELL, PL268LH                                           ¨ Unliquidated
      UNITED KINGDOM                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WOLPE, ALEXANDER M
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WONG, ALFRED
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 79,372.80
                                                                    Check all that apply.
      WORKIVA INC.
      2900 UNIVERSITY BLVD.                                         ¨ Contingent
      AMES, STORY, IA 50010                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 49,589.21
                                                                    Check all that apply.
      WORLD FUEL SERVICES CORP
      9800 NW 41ST STREET, SUITE 400                                ¨ Contingent
      MIAMI, MIAMI-DADE, FL 33178                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    575.00
                                                                    Check all that apply.
      WOWZA MEDIA SYSTEMS, LLC.
      523 PARK POINT DRIVE                                          ¨ Contingent
      STE 300                                                       ¨ Unliquidated
      GOLDEN, JEFFERSON, CO 80401                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WRIGHT, AARON
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      WYOMING TEST FIXTURES, INC
      2960 E. MILLCREEK ROAD                                        ¨ Contingent
      SALT LAKE, SALT LAKE, UT 84109                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WYROZYNSKI, PAUL
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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                                                                                     Case number    471 of 23-10408
                                                                                                           626
            Name


  Part 2:   Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  5,241.40
                                                                    Check all that apply.
      XOMETRY, INC
      7951 CESSNA AVENUE                                            ¨ Contingent
      GAITHERSBURG, MONTGOMERY, MD 20879                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      XOMETRY, INC
      7951 CESSNA AVENUE                                            þ Contingent
      GAITHERSBURG, MONTGOMERY, MD 20879                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YAMAGATA, DAVID FUMIAKI
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YAMASHITA, RYAN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YANEZ, JOSE LUIS
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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                                                                                                           626
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  Part 2:   Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  6,175.00
                                                                    Check all that apply.
      YOKOGAWA FLUID IMAGING TECHNOLOGIES, INC.
      200 ENTERPRISE DRIVE                                          ¨ Contingent
      SCARBOROUGH, CUMBERLAND, ME 4074                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YOKOGAWA FLUID IMAGING TECHNOLOGIES, INC.
      200 ENTERPRISE DRIVE                                          þ Contingent
      SCARBOROUGH, CUMBERLAND, ME 4074                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YOKOO, TYLER
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YOON, JASON
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,574.00
                                                                    Check all that apply.
      YORKE ENGINEERING, LLC
      31726 RANCHO VIEJO ROAD                                       ¨ Contingent
      SUITE 218                                                     ¨ Unliquidated
      SAN JUAN CAPISTRANO, ORANGE, CA 92675                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  Part 2:   Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YOUNG, KANDACE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YU CHEN, ANICIA
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ZAREMBA, JUSTIN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 19,859.48
                                                                    Check all that apply.
      ZEMARC
      6431 FLOTILLA STREET                                          ¨ Contingent
      LOS ANGELES, LOS ANGELES, CA 90040                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ZEMARC
      6431 FLOTILLA STREET                                          þ Contingent
      LOS ANGELES, LOS ANGELES, CA 90040                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  Part 2:   Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ZENT, ZANE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ZEPEDA, JOSE MATTHEW
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ZHANG, STEPHEN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ZHANG, XIYUE
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ZINS, JOHN WILLIAM
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  Part 2:   Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,721.91
                                                                    Check all that apply.
      ZORO TOOLS, INC
      P.O. BOX 481193                                               ¨ Contingent
      NILES, COOK, IL 60714-6193                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ZORO TOOLS, INC
      P.O. BOX 481193                                               þ Contingent
      NILES, COOK, IL 60714-6193                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Uninvoiced Receipts



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 23,332.06
                                                                    Check all that apply.
      Z'S FIT KITCHEN
      28238 TANGERINE LN                                            ¨ Contingent
      SANTA CLARITA, LOS ANGELES, CA 91350                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ZUBIK, KITT ALAN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ZWEIGE, MATTHEW
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Claim Related to Employment



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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   Debtor     Virgin Orbit, LLC                                                                           Case number (If known):    23-10408
              Name



Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


                                                                                                                                                           Last 4 digits of
         Name and mailing address                                                                            On which line in Part 1 or Part 2 is the
                                                                                                                                                           account number, if
                                                                                                             related creditor (if any) listed?
                                                                                                                                                           any

 4.1   VLADIMIR BOYKO, ON BEHALF OF HIMSELF AND ALL OTHERS SIMILARLY SITUATED                                Line
       C/O RAISNER ROUPINIAN LLP
       ATTN: RENÉ S. ROUPINIAN
       270 MADISON AVENUE, SUITE 1801
                                                                                                             ¨ Not listed. Explain
       NEW YORK, NY 10016



 4.2   VLADIMIR BOYKO, ON BEHALF OF HIMSELF AND ALL OTHERS SIMILARLY SITUATED                                Line
       C/O RAISNER ROUPINIAN LLP
       ATTN: JACK A. RAISNER
       270 MADISON AVENUE, SUITE 1801
                                                                                                             ¨ Not listed. Explain
       NEW YORK, NY 10016



 4.3                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.4                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.5                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.6                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.7                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.8                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.9                                                                                                         Line

                                                                                                             ¨ Not listed. Explain




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                                                                                            number (If known) 23-10408
               Name


     Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts



5a.     Total claims from Part 1                                                              5a.         $                      539,831.88




5b.     Total claims from Part 2                                                              5b.    +    $                 198,153,339.40
                                                                                                                         + Undetermined Amounts




5c.     Total of Parts 1 and 2                                                                5c.         $                 198,693,171.28
        Lines 5a + 5b = 5c.                                                                                              + Undetermined Amounts




      Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                          Page 436 of 436
                                   Case 23-10408-KBO                  Doc 4      Filed 04/24/23           Page 478 of 626
  Fill in this information to identify the case:

  Debtor name      Virgin Orbit, LLC

  United States Bankruptcy Court for the:   District of Delaware
                                                                                                                                        ¨ Check if this is an
  Case number (If known):      23-10408                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
     ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
     þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).
 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease
                                                CONTRACT #: 2018-180-MAS-02782
         State what the contract or             RENTAL & LEASE AGREEMENT /             1800 M STREET OWNER, LP
 2.1     lease is for and the nature            FACILITY/ REAL ESTATE                  PO BOX 21525
         of the debtor’s interest               EFFECTIVE: 12/13/2018                  NEW YORK, NY 10087-1526

         State the term remaining
         List the contract number of
         any government contract

                                                CONTRACT #:
         State what the contract or             2021-36PACAF-MAS-01713                 36TH WING ANDERSEN AFB PACIFIC AIR FORCES
 2.2     lease is for and the nature            SERVICES                               UNIT 14043
         of the debtor’s interest               EFFECTIVE: 02/22/2021                  YIGO, GU 96929

         State the term remaining
         List the contract number of
         any government contract

                                                CONTRACT #: 2021-4ME-SOW-02224
         State what the contract or             SERVICES /                             4 MEDIA GROUP, INC.
 2.3     lease is for and the nature            CONSULTING-INDEPENDENT                 702 SE 5TH ST. SUITE 50
         of the debtor’s interest               CONTRACTOR-COMPANY                     BENTONVILLE, AR 72712
                                                EFFECTIVE: 06/21/2021
         State the term remaining
         List the contract number of
         any government contract

                                                CONTRACT #: 2020-4ME-MAS-01480
         State what the contract or             SERVICES /                             4 MEDIA GROUP, INC.
 2.4     lease is for and the nature            CONSULTING-INDEPENDENT                 702 SE 5TH ST. SUITE 50
         of the debtor’s interest               CONTRACTOR-COMPANY                     BENTONVILLE, AR 72712
                                                EFFECTIVE: 12/01/2020
         State the term remaining
         List the contract number of
         any government contract

                                                CONTRACT #: 2020-4ME-SOW-01520
         State what the contract or             SERVICES /                             4 MEDIA GROUP, INC.
 2.5     lease is for and the nature            CONSULTING-INDEPENDENT                 702 SE 5TH ST. SUITE 50
         of the debtor’s interest               CONTRACTOR-COMPANY                     BENTONVILLE, AR 72712
                                                EFFECTIVE: 12/01/2020
         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                   Page 1 of 146
  Debtor      Virgin Orbit, LLC
                                  Case 23-10408-KBO           Doc 4      Filed 04/24/23     Page 479 of 626
                                                                                      Case number (If known): 23-10408
              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-45T-MAS-00938
           State what the contract or    SERVICES                             45TH SPACE WING
 2.6       lease is for and the nature   EFFECTIVE: 07/02/2018                1201 EDWARD H. WHITE II STREET
           of the debtor’s interest                                           PATRICK AFB, FL 32925-3299

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-45T-SOW-01003
           State what the contract or    SERVICES /                           45TH SPACE WING
 2.7       lease is for and the nature   CONSULTING-INDEPENDENT               1201 EDWARD H. WHITE II STREET
           of the debtor’s interest      CONTRACTOR-COMPANY                   PATRICK AFB, FL 32925-3299
                                         EFFECTIVE: 08/21/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-6KI-T&C-03033
           State what the contract or    LICENSE AGREEMENT / SOFTWARE 6KITES, INC.
 2.8       lease is for and the nature   EFFECTIVE: 08/06/2019          2525 E. ARAPAHOE AVENUE
           of the debtor’s interest                                     E4-408
                                                                        BOULDER, CO 80302
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-6KI-MAS-00834
           State what the contract or    SERVICES /                           6KITES, INC.
 2.9       lease is for and the nature   CONSULTING-INDEPENDENT               2525 E. ARAPAHOE AVENUE
           of the debtor’s interest      CONTRACTOR-COMPANY                   E4-408
                                         EFFECTIVE: 07/20/2020                BOULDER, CO 80302
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-APM-MAS-03932
           State what the contract or    SERVICES                       A.P. MØLLER-MAERSK A/S
 2.10      lease is for and the nature   EFFECTIVE: 11/21/2022          ESPLANADEN 50, 1263 COPENHAGEN K
           of the debtor’s interest                                     COPENHAGEN, WY NA
                                                                        DENMARK
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-A2B-MAS-03834
           State what the contract or    SERVICE AGREEMENT                    A2B TRANSPORT SERVICES CORNWALL LTD.
 2.11      lease is for and the nature   EFFECTIVE: 10/11/2022                THE OLD SANCTUARY, POLISKEN FARM
           of the debtor’s interest                                           TRSIPEN, TRURO, CORNWALL, TR4 9AU
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ABE-IND-00734
           State what the contract or    LICENSE AGREEMENT                    ABEL RODRIGUEZ
 2.12      lease is for and the nature   EFFECTIVE: 07/17/2020                ADDRESS ON FILE
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-ACA-IND-03912
           State what the contract or    SERVICES                             ACA INTERNATIONAL, LLC
 2.13      lease is for and the nature   EFFECTIVE: 11/15/2022                129 NEWBURY ST 2ND FLOOR
           of the debtor’s interest                                           BOSTON, MA 02116

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ACA-IND-03933
           State what the contract or    SERVICES                             ACA INTERNATIONAL, LLC
 2.14      lease is for and the nature   EFFECTIVE: 11/23/2022                129 NEWBURY ST 2ND FLOOR
           of the debtor’s interest                                           BOSTON, MA 02116

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2023-ACA-MAS-04021
           State what the contract or    SERVICES /                           ACA INTERNATIONAL, LLC
 2.15      lease is for and the nature   CONSULTING-INDEPENDENT               129 NEWBURY ST 2ND FLOOR
           of the debtor’s interest      CONTRACTOR-COMPANY                   BOSTON, MA 02116
                                         EFFECTIVE: 01/23/2023
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
           State what the contract or    2022-ACA-MAS-120120-1013             ACA INTERNATIONAL, LLC
 2.16      lease is for and the nature   SERVICES /                           129 NEWBURY ST 2ND FLOOR
           of the debtor’s interest      CONSULTING-INDEPENDENT               BOSTON, MA 02116
                                         CONTRACTOR-COMPANY
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ACA-IND-03927
           State what the contract or    SERVICES                             ACA INTERNATIONAL, LLC
 2.17      lease is for and the nature   EFFECTIVE: 11/21/2022                129 NEWBURY ST 2ND FLOOR
           of the debtor’s interest                                           BOSTON, MA 02116

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ACA-IND-03901
           State what the contract or    SERVICES                             ACA INTERNATIONAL, LLC
 2.18      lease is for and the nature   EFFECTIVE: 11/07/2022                129 NEWBURY ST 2ND FLOOR
           of the debtor’s interest                                           BOSTON, MA 02116

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ACA-MAS-00509
           State what the contract or    SERVICES /                           ACALIN CREATIVE DBA PAULINE ACALIN
 2.19      lease is for and the nature   CONSULTING-INDEPENDENT               2613 SOUTH PACIFIC AVENUE
           of the debtor’s interest      CONTRACTOR-COMPANY                   SANTA ANA, CA 92704
                                         EFFECTIVE: 05/18/2020
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-ACE-MAS-00375
           State what the contract or    SERVICES /                           ACE CRANE SERVICE, INC.
 2.20      lease is for and the nature   CONSULTING-INDEPENDENT               8221 WILCOX AVE
           of the debtor’s interest      CONTRACTOR-COMPANY                   CUDAHY, CA 90201
                                         EFFECTIVE: 02/12/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-ACV-MAS-00084
           State what the contract or    SERVICES /                           ACV LOGISTICS LLC
 2.21      lease is for and the nature   CONSULTING-INDEPENDENT               2215 PASEO DE LAS AMERICAS, SUITE 25
           of the debtor’s interest      CONTRACTOR-COMPANY                   SAN DIEGO, CA 92154
                                         EFFECTIVE: 03/23/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-ADO-IND-00367
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ADOBE SYSTEMS INC.
 2.22      lease is for and the nature   EFFECTIVE: 06/18/2018          345 PARK AVENUE
           of the debtor’s interest                                     SAN JOSE, CA 95110-2704

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-AEC-MAS-00413
           State what the contract or    SERVICES /                           AECOM TECHNICAL SERVICES, INC.
 2.23      lease is for and the nature   CONSULTING-INDEPENDENT               3995 VIA ORO AVENUE
           of the debtor’s interest      CONTRACTOR-COMPANY                   LONG BEACH, CA 90810
                                         EFFECTIVE: 04/02/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-AER-MAS-00472
           State what the contract or    SERVICES /                           AEROTEC INC
 2.24      lease is for and the nature   CONSULTING-INDEPENDENT               6100 4TH AVE. S.
           of the debtor’s interest      CONTRACTOR-COMPANY                   SUITE 300
                                         EFFECTIVE: 06/25/2018                SEATTLE, WA 98108
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-AER-MAS-02502
           State what the contract or    SERVICES /                           AERY AVIATION LLC
 2.25      lease is for and the nature   CONSULTING-INDEPENDENT               305 CHEROKEE DRIVE
           of the debtor’s interest      CONTRACTOR-COMPANY                   NEWPORT NEWS, VA 23602
                                         EFFECTIVE: 11/23/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-AIR-AMD-02631
           State what the contract or    PURCHASING AGREEMENT /               AIR PRODUCTS AND CHEMICALS, INC.
 2.26      lease is for and the nature   SUPPLIER AGREEMENT                   7201 HAMILTON BLVD.
           of the debtor’s interest      EFFECTIVE: 09/27/2021                ALLENTOWN, PA 18195-1501

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-AIR-AMD-02787
           State what the contract or    PURCHASING AGREEMENT /               AIR PRODUCTS AND CHEMICALS, INC.
 2.27      lease is for and the nature   SUPPLIER AGREEMENT                   7201 HAMILTON BLVD.
           of the debtor’s interest      EFFECTIVE: 12/06/2021                ALLENTOWN, PA 18195-1501

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-AIR-MAS-02170
           State what the contract or    PURCHASING AGREEMENT / LTSA          AIR PRODUCTS AND CHEMICALS, INC.
 2.28      lease is for and the nature   EFFECTIVE: 06/12/2021                7201 HAMILTON BLVD.
           of the debtor’s interest                                           ALLENTOWN, PA 18195-1501

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-AIR-MAS-00418
           State what the contract or    SERVICES /                           AIR PRODUCTS AND CHEMICALS, INC.
 2.29      lease is for and the nature   CONSULTING-INDEPENDENT               7201 HAMILTON BLVD.
           of the debtor’s interest      CONTRACTOR-COMPANY                   ALLENTOWN, PA 18195-1501
                                         EFFECTIVE: 03/22/2012
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-AIR-AMD-02760
           State what the contract or    PURCHASING AGREEMENT                 AIR PRODUCTS AND CHEMICALS, INC.
 2.30      lease is for and the nature   EFFECTIVE: 10/28/2021                7201 HAMILTON BLVD.
           of the debtor’s interest                                           ALLENTOWN, PA 18195-1501

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-AIR-MAS-02215
           State what the contract or    SERVICES                             AIRGAS USA, LLC
 2.31      lease is for and the nature   EFFECTIVE: 06/16/2021                1122 W ROSECRANS AVE
           of the debtor’s interest                                           GARDENA, CA 90247

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ALE-MAS-02553
           State what the contract or    SERVICES /                           ALEXANDER DUNGO
 2.32      lease is for and the nature   CONSULTING-INDEPENDENT               ADDRESS ON FILE
           of the debtor’s interest      CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 06/10/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-ALI-AMD-00601
           State what the contract or    SERVICES /                           ALIGNED CAE LLC
 2.33      lease is for and the nature   CONSULTING-INDEPENDENT               4801 EAGLE SPRINGS CT
           of the debtor’s interest      CONTRACTOR-COMPANY                   CLARKSTON, MI 48348
                                         EFFECTIVE: 12/13/2018
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-ALI-AMD-00602
           State what the contract or    SERVICES /                           ALIGNED CAE LLC
 2.34      lease is for and the nature   CONSULTING-INDEPENDENT               4801 EAGLE SPRINGS CT
           of the debtor’s interest      CONTRACTOR-COMPANY                   CLARKSTON, MI 48348
                                         EFFECTIVE: 11/15/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-ALI-MAS-00471
           State what the contract or    SERVICES /                           ALIGNED CAE LLC
 2.35      lease is for and the nature   CONSULTING-INDEPENDENT               4801 EAGLE SPRINGS CT
           of the debtor’s interest      CONTRACTOR-COMPANY                   CLARKSTON, MI 48348
                                         EFFECTIVE: 11/27/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ALL-MAS-00441
           State what the contract or    SERVICES /                           ALL 4 ELECTRIC
 2.36      lease is for and the nature   CONSULTING-INDEPENDENT               4828 ADENMOOR AVE.
           of the debtor’s interest      CONTRACTOR-COMPANY                   LAKEWOOD, CA 90713
                                         EFFECTIVE: 02/10/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ALL-IND-00492
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ALLIANCE FUNDING GROUP
 2.37      lease is for and the nature   EFFECTIVE: 04/05/2019          3745 W. CHAPMAN AVE
           of the debtor’s interest                                     SUITE 200
                                                                        ORANGE, CA 92868
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ALL-MAS-02722
           State what the contract or    SERVICES /                           ALLIED NATIONWIDE SECURITY, INC.
 2.38      lease is for and the nature   CONSULTING-INDEPENDENT               7247 HAYVENHURST AVE. SUITE A-7
           of the debtor’s interest      CONTRACTOR-COMPANY                   ALLIED NATIONWIDE SECURITY, INC., CA 91406
                                         EFFECTIVE: 10/25/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ALL-MAS-03096
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ALLSPICE, INC.
 2.39      lease is for and the nature   EFFECTIVE: 03/15/2022          444 SOMERVILLE AVE
           of the debtor’s interest                                     SOMMERVILLE, MA 02143

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ALO-MAS-00978
           State what the contract or    SERVICES /                           ALOFT MEDIA, LLC
 2.40      lease is for and the nature   CONSULTING-INDEPENDENT               PO BOX 721085
           of the debtor’s interest      CONTRACTOR-COMPANY                   SAN JOSE, CA 95172
                                         EFFECTIVE: 05/18/2020
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-ALT-MAS-01334
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ALTAIR ENGINEERING, INC.
 2.41      lease is for and the nature   EFFECTIVE: 07/02/2019          1820 E. BIG BEAVER ROAD
           of the debtor’s interest                                     TROY, MI 48083

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ALT-EULA-00767
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ALTIUM, INC.
 2.42      lease is for and the nature   EFFECTIVE: 08/16/2020           4225 EXECUTIVE SQUARE, SUITE 800
           of the debtor’s interest                                      LA JOLLA, CA 92037

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-AMA-MAS-00409
           State what the contract or    SERVICES /                           AMA CONSULTING ENGINEERS, P.C.
 2.43      lease is for and the nature   CONSULTING-INDEPENDENT               2101 E. EL SEGUNDO BLVD
           of the debtor’s interest      CONTRACTOR-COMPANY                   SUITE 303
                                         EFFECTIVE: 11/24/2019                EL SEGUNDO, CA 90245
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-AMA-IND-00487
           State what the contract or    LICENSE AGREEMENT / SOFTWARE AMAZON.COM, INC
 2.44      lease is for and the nature   EFFECTIVE: 03/01/2020          PO BOX 84023
           of the debtor’s interest                                     SEATTLE, WA 98124-8423

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-AMA-MAS-01359
           State what the contract or    LICENSE AGREEMENT / SOFTWARE AMAZON.COM, INC
 2.45      lease is for and the nature   EFFECTIVE: 03/15/2019          PO BOX 84023
           of the debtor’s interest                                     SEATTLE, WA 98124-8423

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-AME-IND-00377
           State what the contract or    LICENSE AGREEMENT / SOFTWARE AMERICAN DYNAMIC SERVICES, INC.
 2.46      lease is for and the nature   EFFECTIVE: 10/29/2019          2275 HUNTINGTON DRIVE
           of the debtor’s interest                                     SUITE 115
                                                                        SAN MARINO, CA 91108
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-AME-T&C-01870
           State what the contract or    PURCHASING AGREEMENT                 AMERICAN MAGNETICS, INC.
 2.47      lease is for and the nature                                        112 FLINT ROAD
           of the debtor’s interest                                           OAK RIDGE, TN 37830

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-AME-MAS-00433
           State what the contract or    SERVICES /                     AMERICAN SPECIALTY INSULATION INC
 2.48      lease is for and the nature   CONSULTING-INDEPENDENT         2130 EAST BRUNDAGE LANE
           of the debtor’s interest      CONTRACTOR-COMPANY             BAKERSFIELD, CA 93307
                                         EFFECTIVE: 12/31/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-AST-MAS-02870
           State what the contract or    SERVICES /                           AMERICAN STOCK TRANSFER & TRUST COMPANY, LLC
 2.49      lease is for and the nature   CONSULTING-INDEPENDENT               6201 15TH AVENUE
           of the debtor’s interest      CONTRACTOR-COMPANY                   NEW YORK, NY 10005
                                         EFFECTIVE: 01/04/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-AMS-IND-00392
           State what the contract or    LICENSE AGREEMENT / SOFTWARE AMS COLLECTIVE INC
 2.50      lease is for and the nature   EFFECTIVE: 03/08/2020          821 PITKIN ST U#8
           of the debtor’s interest                                     FRISCO, CO 80443

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ANA-MAS-04002
           State what the contract or    BIZ DEV                              ANA HOLDINGS INC.
 2.51      lease is for and the nature   EFFECTIVE: 12/23/2022                SHIODOME CITY CENTER
           of the debtor’s interest                                           1-5-2 HIGASHI-SHIMBASHI, MINATO-KU
                                                                              TOKYO,
           State the term remaining                                           JAPAN

           List the contract number of
           any government contract

                                         CONTRACT #: 2018-ANA-MAS-01363
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ANALYTICAL GRAPHICS, INC.
 2.52      lease is for and the nature   EFFECTIVE: 02/09/2018          220 VALLEY CREEK BLVD
           of the debtor’s interest                                     EXTON, PA 19341

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ANA-IND-00101
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ANALYTICAL GRAPHICS, INC.
 2.53      lease is for and the nature   EFFECTIVE: 03/01/2020          220 VALLEY CREEK BLVD
           of the debtor’s interest                                     EXTON, PA 19341

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ANG-MAS-02027
           State what the contract or    SERVICES /                     ANGEL CITY FLYERS, LLC
 2.54      lease is for and the nature   CONSULTING-INDEPENDENT         2901-F E. SPRING ST
           of the debtor’s interest      CONTRACTOR-COMPANY             LONG BEACH, CA 90806
                                         EFFECTIVE: 05/07/2021
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-ANG-MAS-00399
           State what the contract or    SERVICES /                     ANGSTROM TECHNOLOGY
 2.55      lease is for and the nature   CONSULTING-INDEPENDENT         3509 3 MILE ROAD NW SUITE 3
           of the debtor’s interest      CONTRACTOR-COMPANY             GRAND RAPIDS, MI 49534
                                         EFFECTIVE: 07/24/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ANG-MAS-00385
           State what the contract or    SERVICES /                           ANGUS SYSTEMS GROUP INC
 2.56      lease is for and the nature   CONSULTING-INDEPENDENT               1100 PEACHTREE ST.
           of the debtor’s interest      CONTRACTOR-COMPANY                   SUITE 200
                                         EFFECTIVE: 04/22/2019                ATLANTA, GA 30309
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ANS-MAS-01343
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ANSYS, INC
 2.57      lease is for and the nature   EFFECTIVE: 01/09/2020          2600 ANSYS DRIVE
           of the debtor’s interest                                     CANONSBURG, PA 15317

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ANS-MAS-01045
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ANSYS, INC
 2.58      lease is for and the nature   EFFECTIVE: 08/06/2019          2600 ANSYS DRIVE
           of the debtor’s interest                                     CANONSBURG, PA 15317

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ANS-MAS-01838
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ANSYS, INC
 2.59      lease is for and the nature   EFFECTIVE: 03/24/2021          2600 ANSYS DRIVE
           of the debtor’s interest                                     CANONSBURG, PA 15317

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ANS-MAS-01517
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ANSYS, INC
 2.60      lease is for and the nature   EFFECTIVE: 12/14/2020          2600 ANSYS DRIVE
           of the debtor’s interest                                     CANONSBURG, PA 15317

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ANS-MAS-02880
           State what the contract or    PURCHASING AGREEMENT / IT            ANSYS, INC
 2.61      lease is for and the nature   EQUIPMENT                            2600 ANSYS DRIVE
           of the debtor’s interest      EFFECTIVE: 12/08/2021                CANONSBURG, PA 15317

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-API-T&C-01231
           State what the contract or    PURCHASING AGREEMENT                 API TECHNOLOGIES CORPORATION
 2.62      lease is for and the nature   EFFECTIVE: 02/26/2021                400 NICKERSON ROAD
           of the debtor’s interest                                           MALBOROUGH, MA 01752

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-APP-MAS-02700
           State what the contract or    LICENSE AGREEMENT / SOFTWARE APPEXTREMES, LLC DBA CONGA
 2.63      lease is for and the nature   EFFECTIVE: 09/01/2019          PO BOX 7839
           of the debtor’s interest                                     BROOMFIELD, CO 80021

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-APP-IND-02703
           State what the contract or    LICENSE AGREEMENT / SOFTWARE APPEXTREMES, LLC DBA CONGA
 2.64      lease is for and the nature   EFFECTIVE: 11/01/2021          PO BOX 7839
           of the debtor’s interest                                     BROOMFIELD, CO 80021

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-APP-MAS-03662
           State what the contract or    LICENSE AGREEMENT / SOFTWARE APPEXTREMES, LLC DBA CONGA
 2.65      lease is for and the nature   EFFECTIVE: 09/01/2022          PO BOX 7839
           of the debtor’s interest                                     BROOMFIELD, CO 80021

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2023-APP-T&C-04040
           State what the contract or    PURCHASING AGREEMENT                 APPLIED AVIONICS, INC.
 2.66      lease is for and the nature   EFFECTIVE: 02/02/2023                3201 SANDY LANE
           of the debtor’s interest                                           FORTH WORTH, TX 76112

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-APP-IND-03320
           State what the contract or    SERVICES                             APPLUS RTD USA, INC.
 2.67      lease is for and the nature   EFFECTIVE: 04/01/2022                3 SUGAR CREEK CENTER BLVD
           of the debtor’s interest                                           SUITE 600
                                                                              SUGAR LAND, TX 77478
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-APT-T&C-02584
           State what the contract or    SERVICE AGREEMENT                    APT RESEARCH, INC.
 2.68      lease is for and the nature   EFFECTIVE: 09/29/2021                4950 RESEARCH DRIVE
           of the debtor’s interest                                           HUNTSVILLE, AL 35805

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-ARA-AMD-01951
           State what the contract or    SERVICES                             ARAMARK REFRESHMENTS SERVICES
 2.69      lease is for and the nature   EFFECTIVE: 04/19/2021                17044 MONTANERO AVENUE
           of the debtor’s interest                                           CARSON, CA 90746

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-ARA-AMD-00547
           State what the contract or    SERVICES /                           ARAMARK REFRESHMENTS SERVICES
 2.70      lease is for and the nature   CONSULTING-INDEPENDENT               17044 MONTANERO AVENUE
           of the debtor’s interest      CONTRACTOR-COMPANY                   CARSON, CA 90746
                                         EFFECTIVE: 05/30/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ARA-AMD-00550
           State what the contract or    SERVICES /                           ARAMARK REFRESHMENTS SERVICES
 2.71      lease is for and the nature   CONSULTING-INDEPENDENT               17044 MONTANERO AVENUE
           of the debtor’s interest      CONTRACTOR-COMPANY                   CARSON, CA 90746
                                         EFFECTIVE: 10/08/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ARA-AMD-00549
           State what the contract or    SERVICES /                           ARAMARK REFRESHMENTS SERVICES
 2.72      lease is for and the nature   CONSULTING-INDEPENDENT               17044 MONTANERO AVENUE
           of the debtor’s interest      CONTRACTOR-COMPANY                   CARSON, CA 90746
                                         EFFECTIVE: 08/09/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ARA-AMD5-01568
           State what the contract or    SERVICES /                      ARAMARK REFRESHMENTS SERVICES
 2.73      lease is for and the nature   CONSULTING-INDEPENDENT          17044 MONTANERO AVENUE
           of the debtor’s interest      CONTRACTOR-COMPANY              CARSON, CA 90746
                                         EFFECTIVE: 01/05/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ARA-AMD7-02492
           State what the contract or    SERVICES /                      ARAMARK REFRESHMENTS SERVICES
 2.74      lease is for and the nature   CONSULTING-INDEPENDENT          17044 MONTANERO AVENUE
           of the debtor’s interest      CONTRACTOR-COMPANY              CARSON, CA 90746
                                         EFFECTIVE: 08/26/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ARA-MAS-00460
           State what the contract or    SERVICES /                           ARAMARK REFRESHMENTS SERVICES
 2.75      lease is for and the nature   CONSULTING-INDEPENDENT               17044 MONTANERO AVENUE
           of the debtor’s interest      CONTRACTOR-COMPANY                   CARSON, CA 90746
                                         EFFECTIVE: 10/30/2017
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-ARA-AMD-00548
           State what the contract or    SERVICES /                           ARAMARK REFRESHMENTS SERVICES
 2.76      lease is for and the nature   CONSULTING-INDEPENDENT               17044 MONTANERO AVENUE
           of the debtor’s interest      CONTRACTOR-COMPANY                   CARSON, CA 90746
                                         EFFECTIVE: 11/12/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -ARC-EULA-01452
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ARCTION LTD.
 2.77      lease is for and the nature   EFFECTIVE: 11/17/2020        TEHDASKATU 24 B
           of the debtor’s interest                                   KUOPIO, 70620
                                                                      FINLAND
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ARD-MAS-00871
           State what the contract or    SERVICES / DEVELOPMENT               ARDE, INC.
 2.78      lease is for and the nature   AGREEMENT                            875 WASHINGTON AVE
           of the debtor’s interest      EFFECTIVE: 08/25/2020                CARLSTADT, NJ 07072

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ARD-MAS-01550
           State what the contract or    SERVICES / DEVELOPMENT               ARDE, INC.
 2.79      lease is for and the nature   AGREEMENT                            875 WASHINGTON AVE
           of the debtor’s interest      EFFECTIVE: 01/02/2021                CARLSTADT, NJ 07072

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ARD-T&C-03352
           State what the contract or    PURCHASING AGREEMENT                 ARDE, INC.
 2.80      lease is for and the nature   EFFECTIVE: 07/20/2022                875 WASHINGTON AVE
           of the debtor’s interest                                           CARLSTADT, NJ 07072

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ARE-MAS-02776
           State what the contract or    SERVICES /                           ARES CORPORATION
 2.81      lease is for and the nature   CONSULTING-INDEPENDENT               1290 HOWARD AVENUE
           of the debtor’s interest      CONTRACTOR-COMPANY                   SUITE 319
                                         EFFECTIVE: 11/02/2021                BURLINGAME, CA 94010
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ARQ-MAS-03362
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ARQIT INC.
 2.82      lease is for and the nature   EFFECTIVE: 03/21/2022          1201 N GARFIELD ST
           of the debtor’s interest                                     APT 217
                                                                        ARLINGTON, VA 22201
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-ARQ-AMD-04004
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ARQIT LTD.
 2.83      lease is for and the nature   EFFECTIVE: 09/27/2022          3 MORE LONDON RIVERSIDE
           of the debtor’s interest                                     LONDON, SE1 2RE
                                                                        UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ARQ-LSA-02596
           State what the contract or    BIZ DEV / LSA                        ARQIT LTD.
 2.84      lease is for and the nature   EFFECTIVE: 12/22/2021                3 MORE LONDON RIVERSIDE
           of the debtor’s interest                                           LONDON, SE1 2RE
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ARQ-MAS-02868
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ARQIT LTD.
 2.85      lease is for and the nature   EFFECTIVE: 11/30/2021          3 MORE LONDON RIVERSIDE
           of the debtor’s interest                                     LONDON, SE1 2RE
                                                                        UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ARQ-LS1-03015
           State what the contract or    BIZ DEV / LSA                        ARQIT LTD.
 2.86      lease is for and the nature   EFFECTIVE: 12/21/2021                3 MORE LONDON RIVERSIDE
           of the debtor’s interest                                           LONDON, SE1 2RE
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
           State what the contract or    2021-ARQ-GFA_SUB-02565               ARQIT LTD.
 2.87      lease is for and the nature   BIZ DEV / OTHER                      3 MORE LONDON RIVERSIDE
           of the debtor’s interest      REVENUE/FEASIBILITY STUDY            LONDON, SE1 2RE
                                         EFFECTIVE: 12/13/2021                UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ARQ-IND-03898
           State what the contract or    INVESTOR AGREEMENT /                 ARQIT QUANTUM INC.
 2.88      lease is for and the nature   INVESTMENT IN 3PO                    3 MORE LONDON RIVERSIDE
           of the debtor’s interest      EFFECTIVE: 11/09/2022                LONDON, SE1 2RE
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
           State what the contract or    2021-ARQ-SUBSCRIPTION                ARQIT QUANTUM INC.
 2.89      lease is for and the nature   AGREEMENT-02032                      3 MORE LONDON RIVERSIDE
           of the debtor’s interest      INVESTOR AGREEMENT /                 LONDON, SE1 2RE
                                         INVESTMENT IN 3PO                    UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-ART-MAS-03296
           State what the contract or    LETTER AGREEMENT                     ART CENTER COLLEGE OF DESIGN
 2.90      lease is for and the nature   EFFECTIVE: 04/04/2022                1700 LIDA STREET,
           of the debtor’s interest                                           PASADENA, CA 91103

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ART-IND-00733
           State what the contract or    LICENSE AGREEMENT                    ARTURO LUNA
 2.91      lease is for and the nature   EFFECTIVE: 07/20/2020                ADDRESS ON FILE
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ASC-IND-00430
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ASC PROCESS SYSTEMS
 2.92      lease is for and the nature   EFFECTIVE: 03/18/2019          28402 LIVINGSTON AVE
           of the debtor’s interest                                     VALENCIA, CA 91355

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-AST-MAS-00503
           State what the contract or    SERVICES /                           ASTM INTERNATIONAL
 2.93      lease is for and the nature   CONSULTING-INDEPENDENT               100 BARR HARBOR DRIVE
           of the debtor’s interest      CONTRACTOR-COMPANY                   WEST CONSHOHOCKEN, PA 19428
                                         EFFECTIVE: 12/18/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-AST-T&C-03713
           State what the contract or    PURCHASING AGREEMENT                 ASTRONICS TEST SYSTEMS, INC.
 2.94      lease is for and the nature   EFFECTIVE: 08/25/2022                4 GOODYEAR
           of the debtor’s interest                                           IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-AST-MOU-02397
           State what the contract or    BIZ DEV / MOUS/MOAS -                ASTROSCALE HOLDINGS INC.
 2.95      lease is for and the nature   NON-BINDING                          1-16-4 KINSHI SUMIDA-KU
           of the debtor’s interest      EFFECTIVE: 08/24/2021                TOKYO, 130-0013
                                                                              JAPAN
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-AST-MAS-00238
           State what the contract or    SERVICES /                           ASTROTELOS, LLC
 2.96      lease is for and the nature   CONSULTING-INDEPENDENT               218 FORKNER DRIVE, APT F
           of the debtor’s interest      CONTRACTOR-INDIVIDUAL                DECATUR, GA 30030
                                         EFFECTIVE: 12/22/2017
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-ATA-MAS-01364
           State what the contract or    LICENSE AGREEMENT / SOFTWARE ATA ENGINEERING, INC.
 2.97      lease is for and the nature   EFFECTIVE: 05/10/2018          13290 EVENING CREEK DRIVE S
           of the debtor’s interest                                     SAN DIEGO, CA 92128

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ATL-MAS-03464
           State what the contract or    SERVICES /                           ATLAS SPACE OPERATIONS, INC
 2.98      lease is for and the nature   CONSULTING-INDEPENDENT               10850 E. TRAVERSE HWY.
           of the debtor’s interest      CONTRACTOR-COMPANY                   SUITE 2225
                                         EFFECTIVE: 05/17/2022                TRAVERSE CITY, MI 49684
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ATL-SOW-03821
           State what the contract or    SERVICES / STATEMENT OF WORK         ATLAS SPACE OPERATIONS, INC
 2.99      lease is for and the nature   EFFECTIVE: 10/19/2022                10850 E. TRAVERSE HWY.
           of the debtor’s interest                                           SUITE 2225
                                                                              TRAVERSE CITY, MI 49684
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ATL-SOW-03605
      State what the contract or         SERVICES /                           ATLAS SPACE OPERATIONS, INC
2.100 lease is for and the nature        CONSULTING-INDEPENDENT               10850 E. TRAVERSE HWY.
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 2225
                                         EFFECTIVE: 06/23/2022                TRAVERSE CITY, MI 49684
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ATL-T&C-03037
      State what the contract or         PURCHASING AGREEMENT                 ATLASSIAN PTY, LTD.
2.101 lease is for and the nature        EFFECTIVE: 08/06/2019                1098 HARRISON ST
      of the debtor’s interest                                                SAN FRANCISCO, CA 94103

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ATL-IND-00374
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ATLASSIAN PTY, LTD.
2.102 lease is for and the nature        EFFECTIVE: 05/06/2019          1098 HARRISON ST
      of the debtor’s interest                                          SAN FRANCISCO, CA 94103

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-AWA-MAS-03946
      State what the contract or         LICENSE AGREEMENT / SOFTWARE AWARDCO
2.103 lease is for and the nature        EFFECTIVE: 12/01/2022          2080 W 400 N
      of the debtor’s interest                                          SUITE 200
                                                                        LINDON, UT 84042
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-BSK-MAS-00378
      State what the contract or         SERVICES /                           B. SKELTON CONSTRUCTION INC.
2.104 lease is for and the nature        CONSULTING-INDEPENDENT               5234 W. AVE. M-2
      of the debtor’s interest           CONTRACTOR-COMPANY                   QUARTZ HILL, CA 93536
                                         EFFECTIVE: 04/11/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-BSK-AMD-00538
      State what the contract or         SERVICES /                           B. SKELTON CONSTRUCTION INC.
2.105 lease is for and the nature        CONSULTING-INDEPENDENT               5234 W. AVE. M-2
      of the debtor’s interest           CONTRACTOR-COMPANY                   QUARTZ HILL, CA 93536
                                         EFFECTIVE: 08/23/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-B2S-MAS-02993
      State what the contract or         SERVICES /                           B2SPACE LTD
2.106 lease is for and the nature        CONSULTING-INDEPENDENT               MERLIN HOUSE 1 LANGSTONE BUSINESS PARK, PRIORY DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   NEWPORT, WALES, NP18 2HJ
                                         EFFECTIVE: 01/14/2022                UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-BAG-MAS-00379
      State what the contract or         SERVICES /                           BAGHOUSE & INDUSTRIAL SHEET METAL SERVICES, INC
2.107 lease is for and the nature        CONSULTING-INDEPENDENT               1731 POMONA ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   CORONA, CA 92880
                                         EFFECTIVE: 05/20/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-BAH-MAS-03075
      State what the contract or         BIZ DEV / MOUS/MOAS -                BAHRAIN NATIONAL SPACE SCIENCE AGENCY
2.108 lease is for and the nature        NON-BINDING                          2ND FLOOR, BLDG 702
      of the debtor’s interest           EFFECTIVE: 04/01/2022                RD. 1510, BLK.115 HIDD, P.O. BOX 5115
                                                                              AL HIDD,
           State the term remaining                                           BAHRAIN

           List the contract number of
           any government contract

                                         CONTRACT #: 2020-BAL-T&C-00624
      State what the contract or         PURCHASING AGREEMENT                 BALL SYSTEMS, INC.
2.109 lease is for and the nature        EFFECTIVE: 06/30/2020                16469 SOUTHPARK DRIVE
      of the debtor’s interest                                                WESTFIELD, IN 46074

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2015-BAR-MAS-00064
      State what the contract or         SERVICES                             BAR AVIATION INC.
2.110 lease is for and the nature        EFFECTIVE: 07/06/2015                1109 FATHER CAPODANNO BLVD.
      of the debtor’s interest                                                STATEN ISLAND, NY 10306

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-BAR-AMD-00531
      State what the contract or         SERVICES / DEVELOPMENT               BARBER NICHOLS, INC
2.111 lease is for and the nature        AGREEMENT                            6325 WEST 55TH AVENUE
      of the debtor’s interest           EFFECTIVE: 06/05/2018                ARVADA, CO 80002

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-BAR-IND-00751
      State what the contract or         LICENSE AGREEMENT                    BARBER NICHOLS, INC
2.112 lease is for and the nature        EFFECTIVE: 02/04/2020                6325 WEST 55TH AVENUE
      of the debtor’s interest                                                ARVADA, CO 80002

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-BAR-MAS-00459
      State what the contract or         SERVICES / DEVELOPMENT               BARBER NICHOLS, INC
2.113 lease is for and the nature        AGREEMENT                            6325 WEST 55TH AVENUE
      of the debtor’s interest           EFFECTIVE: 01/18/2018                ARVADA, CO 80002

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-BAY-MAS-01641
      State what the contract or         SERVICES /                           BAY CITY FLYERS, LLC DBA AERO CITY JETS
2.114 lease is for and the nature        CONSULTING-INDEPENDENT               2901-F E. SPRING ST
      of the debtor’s interest           CONTRACTOR-COMPANY                   LONG BEACH, CA 90806
                                         EFFECTIVE: 02/03/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-BEA-MAS-01919
      State what the contract or         SERVICES /                           BEACON GLOBAL STRATEGIES LLC
2.115 lease is for and the nature        CONSULTING-INDEPENDENT               2101 L ST NW STE 800
      of the debtor’s interest           CONTRACTOR-COMPANY                   WASHINGTON, DC 20037
                                         EFFECTIVE: 04/12/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-BEA-SOW-01987
      State what the contract or         SERVICES /                     BEACON GLOBAL STRATEGIES LLC
2.116 lease is for and the nature        CONSULTING-INDEPENDENT         2101 L ST NW STE 800
      of the debtor’s interest           CONTRACTOR-COMPANY             WASHINGTON, DC 20037
                                         EFFECTIVE: 04/12/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-BEE-SOW-03786
      State what the contract or         SERVICES /                     BEECH SYSTEMS, INC.
2.117 lease is for and the nature        CONSULTING-INDEPENDENT         2635 PROSPECT AVE
      of the debtor’s interest           CONTRACTOR-COMPANY             LA CRESCENTA, CA 91214
                                         EFFECTIVE: 09/13/2022
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-BEE-MAS-03773
      State what the contract or         SERVICES /                           BEECH SYSTEMS, INC.
2.118 lease is for and the nature        CONSULTING-INDEPENDENT               2635 PROSPECT AVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   LA CRESCENTA, CA 91214
                                         EFFECTIVE: 09/15/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-BER-MAS-00099
      State what the contract or         SERVICES /                           BERGMANS MECHATRONICS, LLC
2.119 lease is for and the nature        CONSULTING-INDEPENDENT               8311 WHITESBURG WAY UNIT 510
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                HUNTSVILLE, AL 35802
                                         EFFECTIVE: 11/18/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-BER-MAS-00259
      State what the contract or         SERVICES /                           BERGMANS MECHATRONICS, LLC
2.120 lease is for and the nature        CONSULTING-INDEPENDENT               8311 WHITESBURG WAY UNIT 510
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                HUNTSVILLE, AL 35802
                                         EFFECTIVE: 12/03/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-BEY-IND-00933
      State what the contract or         LICENSE AGREEMENT / SOFTWARE BEYONDTRUST CORPORATION
2.121 lease is for and the nature        EFFECTIVE: 01/29/2019          11695 JOHNS CREEK PKWY
      of the debtor’s interest                                          SUITE 200
                                                                        JOHNS CREEK, GA 30097
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-BIF-MAS-03726
      State what the contract or         SERVICES /                           BIFFA WASTE SERVICES LTD
2.122 lease is for and the nature        CONSULTING-INDEPENDENT               CORONATION ROAD, CRESSEX,
      of the debtor’s interest           CONTRACTOR-COMPANY                   HIGH WYCOMBE, HP12 3TZ
                                         EFFECTIVE: 08/22/2022                UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-BIG-MAS-02680
      State what the contract or         PURCHASING AGREEMENT /               BIG BEAR AI LLC
2.123 lease is for and the nature        SUPPLIER AGREEMENT                   6811 BENJAMIN FRANLIN DRIVE, STE 200
      of the debtor’s interest           EFFECTIVE: 12/21/2021                COLUMBIA, MD 21046

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-BIG-IND-00753
      State what the contract or         LICENSE AGREEMENT                    BIGGER BANG COMMUNICATIONS LIMITED
2.124 lease is for and the nature        EFFECTIVE: 01/29/2019                1 SPRINGVALE TERRACE, GREATER, HAMMERSMITH
      of the debtor’s interest                                                LONDON, ENGLAND, W14 0AE
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-BLA-MAS-03986
      State what the contract or         LICENSE AGREEMENT / SOFTWARE BLACKLINE, INC.
2.125 lease is for and the nature        EFFECTIVE: 02/10/2022          21300 VICTORY BLVD
      of the debtor’s interest                                          WOODLAND HILLS, CA 91367

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-BLA-ACK-00644
      State what the contract or         SERVICES /                           BLADONMORE, INC.
2.126 lease is for and the nature        CONSULTING-INDEPENDENT               1240 ROSECRANS AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   MANHATTAN BEACH, CA 90266
                                         EFFECTIVE: 12/11/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-BLA-MAS-00640
      State what the contract or         SERVICES /                           BLADONMORE, INC.
2.127 lease is for and the nature        CONSULTING-INDEPENDENT               1240 ROSECRANS AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   MANHATTAN BEACH, CA 90266
                                         EFFECTIVE: 12/11/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-BLA-AMD-00645
      State what the contract or         SERVICES /                           BLADONMORE, INC.
2.128 lease is for and the nature        CONSULTING-INDEPENDENT               1240 ROSECRANS AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   MANHATTAN BEACH, CA 90266
                                         EFFECTIVE: 05/26/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         200702-BLA-AMD-00647                 BLADONMORE, INC.
2.129 lease is for and the nature        SERVICES /                           1240 ROSECRANS AVENUE
      of the debtor’s interest           CONSULTING-INDEPENDENT               MANHATTAN BEACH, CA 90266
                                         CONTRACTOR-COMPANY
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         200702-BLA-SOW-00648                 BLADONMORE, INC.
2.130 lease is for and the nature        SERVICES /                           1240 ROSECRANS AVENUE
      of the debtor’s interest           CONSULTING-INDEPENDENT               MANHATTAN BEACH, CA 90266
                                         CONTRACTOR-COMPANY
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-BLA-SOW-02555
      State what the contract or         SERVICES / STATEMENT OF WORK         BLADONMORE, INC.
2.131 lease is for and the nature        EFFECTIVE: 09/20/2021                1240 ROSECRANS AVENUE
      of the debtor’s interest                                                MANHATTAN BEACH, CA 90266

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-BLA-SOW-00646
      State what the contract or         SERVICES /                           BLADONMORE, INC.
2.132 lease is for and the nature        CONSULTING-INDEPENDENT               1240 ROSECRANS AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   MANHATTAN BEACH, CA 90266
                                         EFFECTIVE: 05/12/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-BLA-SOW-00641
      State what the contract or         SERVICES /                           BLADONMORE, INC.
2.133 lease is for and the nature        CONSULTING-INDEPENDENT               1240 ROSECRANS AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   MANHATTAN BEACH, CA 90266
                                         EFFECTIVE: 12/11/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-BOC-MAS-03039
      State what the contract or         PURCHASING AGREEMENT           BOC UK
2.134 lease is for and the nature        EFFECTIVE: 09/17/2022          43 CHURCH STREET WEST
      of the debtor’s interest                                          FORGE
                                                                        WOKING SURREY, GU21 6HT
           State the term remaining                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                         CONTRACT #: 2022-BOC-IND-03770
      State what the contract or         PURCHASING AGREEMENT                 BOC UK
2.135 lease is for and the nature        EFFECTIVE: 09/14/2022                43 CHURCH STREET WEST
      of the debtor’s interest                                                FORGE
                                                                              WOKING SURREY, GU21 6HT
           State the term remaining                                           UNITED KINGDOM

           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2022-BOX-SOW01-03311                 BOXX COMMUNICATIONS LLC
2.136 lease is for and the nature        SERVICES /                           3685 MOTOR AVE, SUITE 120
      of the debtor’s interest           CONSULTING-INDEPENDENT               LOS ANGELES, CA 90034
                                         CONTRACTOR-COMPANY
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-BRA-MAS-00369
      State what the contract or         SERVICES /                           BRAGG CRANE & RIGGING
2.137 lease is for and the nature        CONSULTING-INDEPENDENT               6242 PARAMOUNT BLVD
      of the debtor’s interest           CONTRACTOR-COMPANY                   LONG BEACH, CA 90805
                                         EFFECTIVE: 04/17/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-BRA-AMD-00591
      State what the contract or         SERVICES /                           BRAGG CRANE & RIGGING
2.138 lease is for and the nature        CONSULTING-INDEPENDENT               6242 PARAMOUNT BLVD
      of the debtor’s interest           CONTRACTOR-COMPANY                   LONG BEACH, CA 90805
                                         EFFECTIVE: 04/20/2018
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-BRA-AMD-00593
      State what the contract or         SERVICES /                           BRAGG CRANE & RIGGING
2.139 lease is for and the nature        CONSULTING-INDEPENDENT               6242 PARAMOUNT BLVD
      of the debtor’s interest           CONTRACTOR-COMPANY                   LONG BEACH, CA 90805
                                         EFFECTIVE: 08/27/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-FAB-MAS-03759
      State what the contract or         SERVICES                             BRAZILIAN AREA FORCES
2.140 lease is for and the nature        EFFECTIVE: 10/01/2022                RIO DE JANEIRO
      of the debtor’s interest                                                SANTOS DUMONT IAP, RJ.

           State the term remaining                                           BRAZIL

           List the contract number of
           any government contract

                                         CONTRACT #: 2019-BRI-MAS-00273
      State what the contract or         SERVICES /                           BRIAN WILLIAM FUCELLA-CORBIN
2.141 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 11/18/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-BRO-MAS-03110
      State what the contract or         SERVICES                             BROADRIDGE INVESTOR COMMUNICATION SOLUTIONS, INC.
2.142 lease is for and the nature        EFFECTIVE: 01/26/2022                51 MERCEDES WAY
      of the debtor’s interest                                                EDGEWOOD, NY 11717

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-BRO-MAS-00394
      State what the contract or         SERVICES /                     BROADWAY GLASS & MIRROR, INC.
2.143 lease is for and the nature        CONSULTING-INDEPENDENT         2523 EAST BROADWAY
      of the debtor’s interest           CONTRACTOR-COMPANY             LONG BEACH, CA 90803
                                         EFFECTIVE: 11/18/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-BRY-IND-00465
      State what the contract or         LETTER AGREEMENT / LEGAL             BRYAN CAVE LEIGHTON PAISNER LLP
2.144 lease is for and the nature        EFFECTIVE: 12/22/2019                211 N BROADWAY
      of the debtor’s interest                                                SUITE 3600
                                                                              ST LOUIS, MO 53102
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-POI-MAS-01351
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CADENCE DESIGN SYSTEMS, INC.
2.145 lease is for and the nature        EFFECTIVE: 03/14/2019          2655 SEELY AVENUE
      of the debtor’s interest                                          BUILDING 5
                                                                        SAN JOSE, TX 95134
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-CAD-MAS-02991
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CADENCE DESIGN SYSTEMS, INC.
2.146 lease is for and the nature        EFFECTIVE: 03/01/2022          2655 SEELY AVENUE
      of the debtor’s interest                                          BUILDING 5
                                                                        SAN JOSE, TX 95134
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-CAL-IND-03708
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CALLTOWER, INC.
2.147 lease is for and the nature        EFFECTIVE: 08/11/2022          10701 RIVER FRONT PARKWAY
      of the debtor’s interest                                          SOUTH JORDAN, UT 84095

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-CAL-MAS-03091
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CALLTOWER, INC.
2.148 lease is for and the nature        EFFECTIVE: 02/15/2022          10701 RIVER FRONT PARKWAY
      of the debtor’s interest                                          SOUTH JORDAN, UT 84095

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-CAL-MAS-03195
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CALLTOWER, INC.
2.149 lease is for and the nature        EFFECTIVE: 03/03/2022          10701 RIVER FRONT PARKWAY
      of the debtor’s interest                                          SOUTH JORDAN, UT 84095

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-CAL-T&C-02475
      State what the contract or         SERVICE AGREEMENT                    CALSPAN CORPORATION
2.150 lease is for and the nature        EFFECTIVE: 08/24/2021                4455 GENESSE STREET
      of the debtor’s interest                                                BUFFALO, NY 14225

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CAL-T&C-01554
      State what the contract or         PURCHASING AGREEMENT                 CALTROL, INC.
2.151 lease is for and the nature        EFFECTIVE: 12/22/2020                1385 PAMA LANE SUITE 111
      of the debtor’s interest                                                LAS VEGAS, NV 89119

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-CAN-AMD-03954
      State what the contract or         RENTAL & LEASE AGREEMENT /           CANON FINANCIAL SERVICES, INC.
2.152 lease is for and the nature        REAL PROPERTY LEASE                  158 GAITHER DRIVE
      of the debtor’s interest           EFFECTIVE: 12/06/2022                MT LAUREL TOWNSHIP, NJ 08054

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: -CAN-MAS-03962
      State what the contract or         SERVICES /                           CANON FINANCIAL SERVICES, INC.
2.153 lease is for and the nature        CONSULTING-INDEPENDENT               158 GAITHER DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   MT LAUREL TOWNSHIP, NJ 08054
                                         EFFECTIVE: 08/14/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CAN-MAS-00937
      State what the contract or         RENTAL & LEASE AGREEMENT /           CANON FINANCIAL SERVICES, INC.
2.154 lease is for and the nature        REAL PROPERTY LEASE                  158 GAITHER DRIVE
      of the debtor’s interest           EFFECTIVE: 09/19/2019                MT LAUREL TOWNSHIP, NJ 08054

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2016-CAP-MAS-00065
      State what the contract or         SERVICES                             CAPE POINT TECHNOLOGIES, LLC
2.155 lease is for and the nature        EFFECTIVE: 09/28/2016                3199 SW WILLAMETTE WAY
      of the debtor’s interest                                                WILSONVILLE, OR 97070

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-CAP-MAS-00240
      State what the contract or         SERVICES /                           CAPE POINT TECHNOLOGIES, LLC
2.156 lease is for and the nature        CONSULTING-INDEPENDENT               3199 SW WILLAMETTE WAY
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                WILSONVILLE, OR 97070
                                         EFFECTIVE: 12/23/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CAR-MAS-00254
      State what the contract or         SERVICES /                           CARANCHO TECHNOLOGIES LLC
2.157 lease is for and the nature        CONSULTING-INDEPENDENT               1538 BARRYWOOD AVENUE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                SAN PEDRO, CA 90731
                                         EFFECTIVE: 01/13/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CAR-MAS-00055
      State what the contract or         SERVICES                             CARANCHO TECHNOLOGIES LLC
2.158 lease is for and the nature        EFFECTIVE: 01/10/2020                1538 BARRYWOOD AVENUE
      of the debtor’s interest                                                SAN PEDRO, CA 90731

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-CAR-MAS-00468
      State what the contract or         SERVICES / DEVELOPMENT               CARBON-CARBON ADVANCED TECHNOLOGIES INC
2.159 lease is for and the nature        AGREEMENT                            4704 EDEN ROAD
      of the debtor’s interest           EFFECTIVE: 07/06/2017                KENNEDALE, TX 76060

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: -CCH-MAS-01597
      State what the contract or         RENTAL & LEASE AGREEMENT /           CCH EQUIPMENT CO
2.160 lease is for and the nature        EQUIPMENT                            14902 PRESTON ROAD
      of the debtor’s interest           EFFECTIVE: 05/01/2018                #404-323
                                                                              WAXAHACHIE, TX 75160
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -CCH-IND-01598
      State what the contract or         RENTAL & LEASE AGREEMENT /           CCH EQUIPMENT CO
2.161 lease is for and the nature        EQUIPMENT                            14902 PRESTON ROAD
      of the debtor’s interest           EFFECTIVE: 10/01/2020                #404-323
                                                                              WAXAHACHIE, TX 75160
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -CDW-T&C-03789
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CDW DIRECT
2.162 lease is for and the nature        EFFECTIVE: 09/26/2022        200 NORTH MILWAUKEE AVENUE
      of the debtor’s interest                                        VERNON HILLS, IL 60061

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CDW-IND-00366
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CDW DIRECT
2.163 lease is for and the nature        EFFECTIVE: 11/09/2019          200 NORTH MILWAUKEE AVENUE
      of the debtor’s interest                                          VERNON HILLS, IL 60061

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CEC-MAS-00125
      State what the contract or         SERVICES /                           CE CONSULTING, INC.
2.164 lease is for and the nature        CONSULTING-INDEPENDENT               15751 ANNICO DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   STE 5W
                                         EFFECTIVE: 02/21/2020                HOMER GLEN, IL 60491
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CEL-MAS-01383
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CELERITIVE TECHNOLOGIES, INC.
2.165 lease is for and the nature        EFFECTIVE: 07/02/2019          95 E HIGH ST
      of the debtor’s interest                                          MOORPARK, CA 93021

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -VERIZON-MAS-01522
      State what the contract or         SERVICES                       CELLCO PARTNERSHIP DBA VERIZON WIRELESS
2.166 lease is for and the nature        EFFECTIVE: 12/18/2020          ONE VERIZON WAY
      of the debtor’s interest                                          BASKING RIDGE, NJ 07920

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-CEN-MAS-00401
      State what the contract or         SERVICES /                           CENTER WALLCOVERING & PAINTING, INC.
2.167 lease is for and the nature        CONSULTING-INDEPENDENT               640 NORTH ECKHOFF STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   ORANGE, CA 92868
                                         EFFECTIVE: 12/11/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-CEN-NDA-03290
      State what the contract or         PURCHASING AGREEMENT                 CENTRAL CALIFORNIA FLUID SYSTEMS TECHNOLOGIES, INC.
2.168 lease is for and the nature        EFFECTIVE: 03/29/2022                DBA SWAGELOK
      of the debtor’s interest                                                325 BALBOA CIR.
                                                                              CAMARILLO, CA 93012
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CES-MAS-01355
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CESIUM GS, INC.
2.169 lease is for and the nature        EFFECTIVE: 11/12/2019          22 S 11TH STREET
      of the debtor’s interest                                          PHILADELPHIA, PA 19108

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CHE-MAS-00495
      State what the contract or         SERVICE AGREEMENT                    CHEM PRO LAB, INC.
2.170 lease is for and the nature        EFFECTIVE: 03/01/2020                941 WEST 190TH ST
      of the debtor’s interest                                                GARDENA, CA 90248

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CHI-MAS-00419
      State what the contract or         SERVICES / STAFFING SERVICES         CHIPTON ROSS INC
2.171 lease is for and the nature        EFFECTIVE: 01/20/2020                343 MAIN STREET
      of the debtor’s interest                                                EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-CHR-MAS-00241
      State what the contract or         SERVICES /                           CHRIS HASENZAHL
2.172 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 06/06/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CHR-IND-00376
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CHRONICLE GRAPHICS, INC.
2.173 lease is for and the nature        EFFECTIVE: 08/21/2019          8210 S. KEARNEY ST
      of the debtor’s interest                                          CENTENNIAL, CO 80112

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-CIN-SOW-03093
      State what the contract or         RENTAL & LEASE AGREEMENT /           CINTAS CORPORATION
2.174 lease is for and the nature        EQUIPMENT                            6800 CINTAS BOULEVARD
      of the debtor’s interest           EFFECTIVE: 03/09/2022                CINCINNATI, OH 45262-5737

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-CIN-IND-00930
      State what the contract or         RENTAL & LEASE AGREEMENT /           CINTAS CORPORATION
2.175 lease is for and the nature        REAL PROPERTY LEASE                  6800 CINTAS BOULEVARD
      of the debtor’s interest           EFFECTIVE: 06/09/2017                CINCINNATI, OH 45262-5737

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CIS-IND-00488
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CISCO SYSTEMS, INC.
2.176 lease is for and the nature        EFFECTIVE: 02/12/2020          170 WEST TASMAN DRIVE
      of the debtor’s interest                                          SAN JOSE, CA 95134

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CIT-MAS-1632739
      State what the contract or         RENTAL & LEASE AGREEMENT / IT    CIT BANK, N.A.
2.177 lease is for and the nature        EQUIPMENT                        10201 CENTURION PKWY N
      of the debtor’s interest           EFFECTIVE: 08/27/2019            SUITE 100
                                                                          JACKSONVILLE, FL 32256
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-CIT-MAS-00428
      State what the contract or         RENTAL & LEASE AGREEMENT /           CITY OF LONG BEACH
2.178 lease is for and the nature        FACILITY/ REAL ESTATE                333 W. OCEAN BLVD.
      of the debtor’s interest           EFFECTIVE: 08/01/2017                LONG BEACH, CA 90802-4604

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CJS-MAS-00393
      State what the contract or         SERVICES /                           CJ SUPPRESSION, INC.
2.179 lease is for and the nature        CONSULTING-INDEPENDENT               205 LEWIS COURT
      of the debtor’s interest           CONTRACTOR-COMPANY                   CORONA, CA 92882
                                         EFFECTIVE: 09/30/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-CLA-IND-03967
      State what the contract or         LETTER AGREEMENT / AUDITOR           CLARION CONSULTING GROUP, LLC
2.180 lease is for and the nature        EFFECTIVE: 12/14/2022                21900 BURBANK BLVD.
      of the debtor’s interest                                                3RD FLOOR
                                                                              WOODLAND HILLS, CA 91367
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-CLA-IND-03807
      State what the contract or         LETTER AGREEMENT / AUDITOR           CLARION CONSULTING GROUP, LLC
2.181 lease is for and the nature        EFFECTIVE: 09/27/2022                21900 BURBANK BLVD.
      of the debtor’s interest                                                3RD FLOOR
                                                                              WOODLAND HILLS, CA 91367
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLE-SOW-00352
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.182 lease is for and the nature        EFFECTIVE: 05/19/2020          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLE-SOW-00557
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.183 lease is for and the nature                                       42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CLE-SOW-00319
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.184 lease is for and the nature        EFFECTIVE: 12/06/2019          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLE-SOW-00320
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.185 lease is for and the nature        EFFECTIVE: 01/23/2020          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLE-SOW-00323
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.186 lease is for and the nature        EFFECTIVE: 02/27/2020          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLE-SOW-00321
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.187 lease is for and the nature        EFFECTIVE: 02/14/2020          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-CLE-SOW-00327
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.188 lease is for and the nature        EFFECTIVE: 05/01/2020          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CLE-MAS-00095
      State what the contract or         SERVICES                             CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.189 lease is for and the nature        EFFECTIVE: 11/07/2019                42 LONGWATER DRIVE
      of the debtor’s interest                                                PO BOX 9149
                                                                              NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CLE-SOW-00318
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.190 lease is for and the nature        EFFECTIVE: 11/27/2019          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLE-SOW-00322
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.191 lease is for and the nature        EFFECTIVE: 02/20/2020          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLE-SOW-00558
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.192 lease is for and the nature                                       42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CLE-SOW-00316
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.193 lease is for and the nature        EFFECTIVE: 11/22/2019          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CLE-SOW-00317
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.194 lease is for and the nature        EFFECTIVE: 11/22/2019          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-CLE-SOW-00314
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.195 lease is for and the nature        EFFECTIVE: 11/12/2019          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLE-CO-00233
      State what the contract or         SERVICES                             CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.196 lease is for and the nature        EFFECTIVE: 02/21/2020                42 LONGWATER DRIVE
      of the debtor’s interest                                                PO BOX 9149
                                                                              NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLE-AMD-00326
      State what the contract or         SERVICES                             CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.197 lease is for and the nature        EFFECTIVE: 04/27/2020                42 LONGWATER DRIVE
      of the debtor’s interest                                                PO BOX 9149
                                                                              NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLE-SOW-00559
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.198 lease is for and the nature                                       42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CLE-SOW-00313
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.199 lease is for and the nature        EFFECTIVE: 10/16/2019          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLE-SOW-00324
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.200 lease is for and the nature        EFFECTIVE: 03/04/2020          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CLE-AMD-00325
      State what the contract or         SERVICES                             CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.201 lease is for and the nature        EFFECTIVE: 11/12/2019                42 LONGWATER DRIVE
      of the debtor’s interest                                                PO BOX 9149
                                                                              NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-CLE-SOW-00315
      State what the contract or         SERVICES                       CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.
2.202 lease is for and the nature        EFFECTIVE: 11/12/2019          42 LONGWATER DRIVE
      of the debtor’s interest                                          PO BOX 9149
                                                                        NORWELL, MA 02061
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-CLE-MAS-00384
      State what the contract or         SERVICES /                           CLEAN ROOMS WEST, INC
2.203 lease is for and the nature        CONSULTING-INDEPENDENT               1392 INDUSTRIAL DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   TUSTIN, CA 92780-6416
                                         EFFECTIVE: 11/01/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLE-MAS-00449
      State what the contract or         SERVICES /                           CLEAR-COM, LLC
2.204 lease is for and the nature        CONSULTING-INDEPENDENT               1301 MARINA VILLAGE PKWY, STE. 105
      of the debtor’s interest           CONTRACTOR-COMPANY                   ALAMEDA, CA 92021
                                         EFFECTIVE: 03/04/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -CLOSER-ICA-01262
      State what the contract or         SERVICES /                           CLOSER & CLOSER, LLC.
2.205 lease is for and the nature        CONSULTING-INDEPENDENT               3815 CARTWRIGHT STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   PASADENA, CA 91107

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CLO-MAS-01360
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CLOUDSMART CONSULTING LTD
2.206 lease is for and the nature        EFFECTIVE: 12/04/2019          INTERNATIONAL HOUS 20 HOLBORN VIADUCT
      of the debtor’s interest                                          LONDON, EC1A 2BN
                                                                        UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLO-SOW-00062
      State what the contract or         SERVICES /                           CLOUDSMART CONSULTING LTD
2.207 lease is for and the nature        CONSULTING-INDEPENDENT               INTERNATIONAL HOUS 20 HOLBORN VIADUCT
      of the debtor’s interest           CONTRACTOR-COMPANY                   LONDON, EC1A 2BN
                                         EFFECTIVE: 01/20/2020                UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CLO-IND-00060
      State what the contract or         SERVICES /                           CLOUDSMART CONSULTING LTD
2.208 lease is for and the nature        CONSULTING-INDEPENDENT               INTERNATIONAL HOUS 20 HOLBORN VIADUCT
      of the debtor’s interest           CONTRACTOR-COMPANY                   LONDON, EC1A 2BN
                                         EFFECTIVE: 01/20/2020                UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-CLU-MAS-00262
      State what the contract or         SERVICES /                           CLUSTR, INC.
2.209 lease is for and the nature        CONSULTING-INDEPENDENT               1 TRESAUNCE WAY
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                FOOTHILL RANCH, CA 92610
                                         EFFECTIVE: 11/26/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CNC-MAS-01378
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CNC SOFTWARE, INC.
2.210 lease is for and the nature        EFFECTIVE: 04/08/2019          671 OLD POST ROAD
      of the debtor’s interest                                          TOLLAND, CT 06084

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-COD-IND-00370
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CODE 3 IT AND SYSTEM INTEGRATION
2.211 lease is for and the nature        EFFECTIVE: 01/22/2019          1801 SABOVICH ST.
      of the debtor’s interest                                          #85C
                                                                        MOJAVE, CA 93501
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-COD-MAS-01391
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CODE42 SOFTWARE INC.
2.212 lease is for and the nature        EFFECTIVE: 02/24/2020          100 WASHINGTON AVENUE SOUTH SUITE 2000
      of the debtor’s interest                                          MINNEAPOLIS, MN 55401

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-COG-MAS-03585
      State what the contract or         SERVICES /                     COGNOMATA, INC.
2.213 lease is for and the nature        CONSULTING-INDEPENDENT         6520 PLATT AVE. #620
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL          WEST HILLS, CA 91307-3218
                                         EFFECTIVE: 06/20/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-COG-MAS-03557
      State what the contract or         SERVICES / PEOPLE EVENT &      COGS & MARVEL
2.214 lease is for and the nature        SERVICES                       2350 3RD STREET
      of the debtor’s interest           EFFECTIVE: 06/17/2022          SAN FRANCISCO, CA 94107

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-COH-MAS-01462
      State what the contract or         SERVICES / RECRUITING & DIRECT COHEN PARTNERS STRATEGIC MILITARY PLACEMENT, INC.
2.215 lease is for and the nature        PLACEMENT                      2460 MARRON RD, SUITE 103-265
      of the debtor’s interest           EFFECTIVE: 11/20/2020          OCEANSIDE, CA 92056

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-COM-MAS-00929
      State what the contract or         LICENSE AGREEMENT / SOFTWARE COMCAST CABLE COMMUNICATIONS, LLC
2.216 lease is for and the nature        EFFECTIVE: 01/02/2019          1701 JOHN F. KENNEDY BLVD.
      of the debtor’s interest                                          PHILADELPHIA, PA 19103

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-COM-MAS-00984
      State what the contract or         SERVICES /                     COMPLETE COPY SYSTEMS GROUP, INC.
2.217 lease is for and the nature        CONSULTING-INDEPENDENT         3300 BEVERLY BLVD.
      of the debtor’s interest           CONTRACTOR-COMPANY             LOS ANGELES, CA 90004
                                         EFFECTIVE: 08/16/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-COM-IND-00482
      State what the contract or         LICENSE AGREEMENT / SOFTWARE COMPLIANCE WAVE LLC
2.218 lease is for and the nature        EFFECTIVE: 04/23/2019          241 MAPLE AVENUE
      of the debtor’s interest                                          SUITE 201
                                                                        RED BANK, NJ 07701
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-COM-MAS-00466
      State what the contract or         SERVICES /                     COMPOSITE TECHNOLOGY DEVELOPMENT, INC.
2.219 lease is for and the nature        CONSULTING-INDEPENDENT         2600 CAMPUS DRIVE, SUITE D
      of the debtor’s interest           CONTRACTOR-COMPANY             LAFAYETTE, CO 80026
                                         EFFECTIVE: 07/25/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-COM-MAS-01386
      State what the contract or         LICENSE AGREEMENT / SOFTWARE COMPUTACENTER FUSIONSTORM INC.
2.220 lease is for and the nature        EFFECTIVE: 07/18/2019          1 UNIVERSITY AVE STE 102
      of the debtor’s interest                                          WESTWOOD, MA 02090-2179

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CON-MAS-01333
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CONCEPTS NREC LLC
2.221 lease is for and the nature        EFFECTIVE: 07/02/2019          217 BILLINGS FARM ROAD
      of the debtor’s interest                                          WHITE RIVER JUNCTION, VT 05001

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CON-IND-00464
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CONCUR TECHNOLOGIES, INC.
2.222 lease is for and the nature        EFFECTIVE: 03/22/2019          601 108TH AVENUE NE, SUITE 1000
      of the debtor’s interest                                          BELLEVUE, WA 98004

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-CON-MAS-01389
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CONTINENTAL COMPUTERS
2.223 lease is for and the nature        EFFECTIVE: 10/11/2019          920 N NASH ST. BLDG B
      of the debtor’s interest                                          EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CON-MAS-00398
      State what the contract or         SERVICES /                     CONTROL AIR ENTERPRISES, LLC
2.224 lease is for and the nature        CONSULTING-INDEPENDENT         5200 E LA PALMA AVE
      of the debtor’s interest           CONTRACTOR-COMPANY             ANAHEIM, CA 92807
                                         EFFECTIVE: 03/31/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-COR-MAS-02644
      State what the contract or         LICENSE AGREEMENT / SOFTWARE COREFORM LLC
2.225 lease is for and the nature        EFFECTIVE: 10/06/2021          1427 SOUTH 550 EAST
      of the debtor’s interest                                          OREM, UT 84097

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-COR-IND-00345
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CORNERSTONE ONDEMAND, INC.
2.226 lease is for and the nature        EFFECTIVE: 03/30/2020          1601 CLOVERFIELD BLVD.
      of the debtor’s interest                                          #600S
                                                                        SANTA MONICA, CA 90404
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-COR-SOW-03520
      State what the contract or         SERVICES / STATEMENT OF WORK CORNERSTONE ONDEMAND, INC.
2.227 lease is for and the nature        EFFECTIVE: 05/09/2022          1601 CLOVERFIELD BLVD.
      of the debtor’s interest                                          #600S
                                                                        SANTA MONICA, CA 90404
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-COR-IND-02696
      State what the contract or         SERVICES                             CORNERSTONE ONDEMAND, INC.
2.228 lease is for and the nature        EFFECTIVE: 11/01/2021                1601 CLOVERFIELD BLVD.
      of the debtor’s interest                                                #600S
                                                                              SANTA MONICA, CA 90404
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-COR-IND-03294
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CORNERSTONE ONDEMAND, INC.
2.229 lease is for and the nature        EFFECTIVE: 04/01/2022          1601 CLOVERFIELD BLVD.
      of the debtor’s interest                                          #600S
                                                                        SANTA MONICA, CA 90404
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-COR-MAS-03652
      State what the contract or         SERVICES                       CORNICK PRODUCTIONS
2.230 lease is for and the nature        EFFECTIVE: 07/26/2022          84 CRYSTAL PALACE ROAD
      of the debtor’s interest                                          EAST DULWICH
                                                                        LONDON, SE22 9EY
           State the term remaining                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                         CONTRACT #: 2018-COR-MAS-00410
      State what the contract or         SERVICES /                     COROVAN MOVING & STORAGE CO.
2.231 lease is for and the nature        CONSULTING-INDEPENDENT         12302 KERRAN ST
      of the debtor’s interest           CONTRACTOR-COMPANY             POWAY, CA 92064
                                         EFFECTIVE: 07/10/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-CSC-MAS-02699
      State what the contract or         SERVICES                             CORPORATION SERVICE COMPANY
2.232 lease is for and the nature        EFFECTIVE: 01/03/2022                251 LITTLE FALLS DRIVE
      of the debtor’s interest                                                WILMINGTON, DE 19808-1674

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-COR-MAS-03030
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CORPORATION SERVICE COMPANY
2.233 lease is for and the nature        EFFECTIVE: 01/28/2022          251 LITTLE FALLS DRIVE
      of the debtor’s interest                                          WILMINGTON, DE 19808-1674

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2023-COU-MAS-04095
      State what the contract or         PURCHASING AGREEMENT /         COURTYARD BY MARRIOTT
2.234 lease is for and the nature        SUPPLIER AGREEMENT             500 EAST FIRST STREET
      of the debtor’s interest           EFFECTIVE: 01/05/2023          LONG BEACH, CA 90802

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-COV-AMD-00579
      State what the contract or         SERVICES /                     COVERED6 LLC
2.235 lease is for and the nature        CONSULTING-INDEPENDENT         780 CHAMBERS LANE
      of the debtor’s interest           CONTRACTOR-COMPANY             SIMI VALLEY, CA 93065
                                         EFFECTIVE: 08/16/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-COV-MAS-00446
      State what the contract or         SERVICES /                     COVERED6 LLC
2.236 lease is for and the nature        CONSULTING-INDEPENDENT         780 CHAMBERS LANE
      of the debtor’s interest           CONTRACTOR-COMPANY             SIMI VALLEY, CA 93065
                                         EFFECTIVE: 05/16/2017
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-COV-AMD-02932
      State what the contract or         SERVICES /                     COVERED6 LLC
2.237 lease is for and the nature        CONSULTING-INDEPENDENT         780 CHAMBERS LANE
      of the debtor’s interest           CONTRACTOR-COMPANY             SIMI VALLEY, CA 93065
                                         EFFECTIVE: 12/13/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-COX-IND-00928
      State what the contract or         LICENSE AGREEMENT / SOFTWARE COX COMMUNICATIONS, LLC
2.238 lease is for and the nature        EFFECTIVE: 05/13/2020          103 N CHERRY STREET
      of the debtor’s interest                                          BOX 51
                                                                        WHITE HEATH, IL 61884
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CPR-MAS-01366
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CPRIME, INC.
2.239 lease is for and the nature        EFFECTIVE: 04/15/2019          107 S. B STREET, SUITE 200
      of the debtor’s interest                                          SAN MATEO, CA 94401

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CRI-IND-00389
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CRITICAL TOOLS, INC.
2.240 lease is for and the nature        EFFECTIVE: 04/14/2019          7308 W. RIM DRIVE
      of the debtor’s interest                                          AUSTIN, TX 78731

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-CRM-MAS-03323
      State what the contract or         SERVICE AGREEMENT              CRM CONSTRUCTION, INC.
2.241 lease is for and the nature        EFFECTIVE: 04/08/2022          5353 E. 2ND ST. #202
      of the debtor’s interest                                          LONG BEACH, CA 90803

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-CRM-SOW-03344
      State what the contract or         SERVICES                       CRM CONSTRUCTION, INC.
2.242 lease is for and the nature        EFFECTIVE: 04/18/2022          5353 E. 2ND ST. #202
      of the debtor’s interest                                          LONG BEACH, CA 90803

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-CRY-IND-00566
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CRYSTAL INSTRUMENTS CORPORATION
2.243 lease is for and the nature        EFFECTIVE: 06/30/2020          2370 OWEN STREET
      of the debtor’s interest                                          SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-CRY-IND-00564
      State what the contract or         RENTAL & LEASE AGREEMENT /           CRYSTAL INSTRUMENTS CORPORATION
2.244 lease is for and the nature        EQUIPMENT                            2370 OWEN STREET
      of the debtor’s interest           EFFECTIVE: 06/30/2020                SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-CUL-MAS-01367
      State what the contract or         LICENSE AGREEMENT / SOFTWARE CULLIMORE AND RING TECHNOLOGIES INC
2.245 lease is for and the nature        EFFECTIVE: 04/29/2019          2501 BRIARWOOD DRIVE
      of the debtor’s interest                                          BOULDER, CO 80305

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-CUS-T&C-02017
      State what the contract or         PURCHASING AGREEMENT                 CUSTOM METALCRAFT, INC.
2.246 lease is for and the nature        EFFECTIVE: 05/05/2021                2332 E DIVISION ST
      of the debtor’s interest                                                SPRINGFIELD, MO 65808

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -CUT-MAS-01868
      State what the contract or         SERVICES /                           CUTTING EDGE COMMUNICATIONS, LLC
2.247 lease is for and the nature        CONSULTING-INDEPENDENT               19744 BEACH BLVD., #310
      of the debtor’s interest           CONTRACTOR-COMPANY                   HUNTINGTON BEACH, CA 92648
                                         EFFECTIVE: 04/05/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-DAN-AMD-02449
      State what the contract or         AMENDMENT TO EMPLOYMENT              DAN HART
2.248 lease is for and the nature        AGREEMENT                            ADDRESS ON FILE
      of the debtor’s interest           EFFECTIVE: 06/01/2021

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-DAN-MAS-02448
      State what the contract or         EMPLOYMENT AGREEMENT                 DAN HART
2.249 lease is for and the nature        EFFECTIVE: 02/13/2017                ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-DAN-IND-03187
      State what the contract or         RENTAL & LEASE AGREEMENT /           DANA CONTAINER, INC
2.250 lease is for and the nature        EQUIPMENT                            210 EAST ESSEX AVENUE
      of the debtor’s interest           EFFECTIVE: 03/08/2022                AVENEL, NJ 07001

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-DAN-MAS-00371
      State what the contract or         SERVICES /                           DANA CONTAINER, INC
2.251 lease is for and the nature        CONSULTING-INDEPENDENT               210 EAST ESSEX AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   AVENEL, NJ 07001
                                         EFFECTIVE: 12/31/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-DAN-MAS-00442
      State what the contract or         SERVICES /                           DANIEL BLODGETT PLUMBING
2.252 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 02/19/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-DAS-MAS-01382
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DASSAULT SYSTEMES AMERICAS CORP
2.253 lease is for and the nature        EFFECTIVE: 06/21/2019          175 WYMAN ST.
      of the debtor’s interest                                          WALTHAM, MA 02451

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-DAS-MAS-01381
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DASSAULT SYSTEMES AMERICAS CORP
2.254 lease is for and the nature        EFFECTIVE: 06/17/2019          175 WYMAN ST.
      of the debtor’s interest                                          WALTHAM, MA 02451

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-DAT-MAS-00391
      State what the contract or         SERVICES /                           DATA CENTRIC ENTERPRISES, LLC
2.255 lease is for and the nature        CONSULTING-INDEPENDENT               419 MAIN ST #434
      of the debtor’s interest           CONTRACTOR-COMPANY                   HUNTINGTON BEACH, CA 92648
                                         EFFECTIVE: 05/04/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-DAT-SOW-02552
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DATA CENTRIC ENTERPRISES, LLC
2.256 lease is for and the nature        EFFECTIVE: 09/15/2021          419 MAIN ST #434
      of the debtor’s interest                                          HUNTINGTON BEACH, CA 92648

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-DAT-MAS-01434
      State what the contract or         PURCHASING AGREEMENT / IT            DATA CENTRIC ENTERPRISES, LLC
2.257 lease is for and the nature        EQUIPMENT                            419 MAIN ST #434
      of the debtor’s interest           EFFECTIVE: 11/11/2020                HUNTINGTON BEACH, CA 92648

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-DAT-IND-00437
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DATA CENTRIC ENTERPRISES, LLC
2.258 lease is for and the nature        EFFECTIVE: 02/24/2020          419 MAIN ST #434
      of the debtor’s interest                                          HUNTINGTON BEACH, CA 92648

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-MER-IND-00403
      State what the contract or         SERVICES / STATEMENT OF WORK         DATASITE LLC
2.259 lease is for and the nature        EFFECTIVE: 10/02/2018                733 S. MARQUETTE AVE
      of the debtor’s interest                                                MINNEAPOLIS, MN 55402

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-DAT-MAS-01710
      State what the contract or         SERVICE AGREEMENT                    DATASITE LLC
2.260 lease is for and the nature        EFFECTIVE: 01/02/2020                733 S. MARQUETTE AVE
      of the debtor’s interest                                                MINNEAPOLIS, MN 55402

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MER-SOW-01712
      State what the contract or         SERVICES / STATEMENT OF WORK DATASITE LLC
2.261 lease is for and the nature        EFFECTIVE: 03/01/2021          733 S. MARQUETTE AVE
      of the debtor’s interest                                          MINNEAPOLIS, MN 55402

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-DAV-MAS-03528
      State what the contract or         SERVICES / STAFFING SERVICES         DAVID M. LEWIS COMPANY DBA DLC
2.262 lease is for and the nature        EFFECTIVE: 06/06/2022                ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-DBE-MAS-03382
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DBEAVER
2.263 lease is for and the nature        EFFECTIVE: 04/27/2022          165 BROADWAY
      of the debtor’s interest                                          23RD FLOOR
                                                                        NEW YORK, NY 10006
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-DEF-T&C-02494
      State what the contract or         SERVICE AGREEMENT                    DEFY SECURITY, LLC
2.264 lease is for and the nature        EFFECTIVE: 08/26/2021                375 SOUTHPOINTE BLVD.
      of the debtor’s interest                                                SUITE 210
                                                                              CANONSBURG, PA 15317
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-DEL-MAS-02312
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DELL MARKETING L.P.
2.265 lease is for and the nature        EFFECTIVE: 07/29/2021          ONE DELL WAY
      of the debtor’s interest                                          ROUND ROCK, TX 78682

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-DEL-SOW-02368
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DELL MARKETING L.P.
2.266 lease is for and the nature        EFFECTIVE: 07/29/2021          ONE DELL WAY
      of the debtor’s interest                                          ROUND ROCK, TX 78682

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-DEL-SOW-03943
      State what the contract or         LETTER AGREEMENT / TAX         DELOITTE TAX LLP
2.267 lease is for and the nature        EFFECTIVE: 11/14/2022          695 TOWN CENTER DRIVE
      of the debtor’s interest                                          SUITE 1000
                                                                        COSTA MESA, CA 92626
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-DEL-MAS-01365
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DELTA X TECHNOLOGIES SP. Z O.O.
2.268 lease is for and the nature        EFFECTIVE: 11/02/2018          FIOŁKOWA 4/154, 31-457
      of the debtor’s interest                                          KRAKOW,
                                                                        POLAND
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-DEM-IND-01049
      State what the contract or         LETTER AGREEMENT                     DEMAREST ADVOGADOS
2.269 lease is for and the nature        EFFECTIVE: 08/26/2020                AV. PEDROSO DE MORAIS, 1201
      of the debtor’s interest                                                SAO PAULO, 05419-001
                                                                              BRAZIL
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-DEU-MAS-01935
      State what the contract or         PURCHASING AGREEMENT                 DEUTSCHES ZENTRUM FUR LUFT- UND RAUMFAHRT E.V.
2.270 lease is for and the nature        EFFECTIVE: 04/15/2021                ("DLR")
      of the debtor’s interest                                                LINDER HOHE 51147
                                                                              KOHN,
           State the term remaining                                           GERMANY

           List the contract number of
           any government contract

                                         CONTRACT #: 2021-DIG-IND-01850
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DIGIKEY ELECTRONICS
2.271 lease is for and the nature        EFFECTIVE: 03/25/2021          701 BROOKS AVENUE SOUTH
      of the debtor’s interest                                          THIEF RIVER FALLS, MN 56701

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: -DIG-MAS-01698
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DIGIKEY ELECTRONICS
2.272 lease is for and the nature        EFFECTIVE: 02/19/2021        701 BROOKS AVENUE SOUTH
      of the debtor’s interest                                        THIEF RIVER FALLS, MN 56701

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-DIG-T&C-02351
      State what the contract or         SERVICE AGREEMENT                    DIGIKEY ELECTRONICS
2.273 lease is for and the nature        EFFECTIVE: 07/26/2018                701 BROOKS AVENUE SOUTH
      of the debtor’s interest                                                THIEF RIVER FALLS, MN 56701

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-DIG-MAS-01387
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DIGITAL RIVER, INC.
2.274 lease is for and the nature        EFFECTIVE: 07/18/2019          10380 BREN ROAD WEST
      of the debtor’s interest                                          MINNETONKA, MN 55343

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-DIL-MAS-00351
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DILIGENT CORPORATION
2.275 lease is for and the nature        EFFECTIVE: 09/01/2021          1111 19TH STREET NW
      of the debtor’s interest                                          9TH FLOOR
                                                                        WASHINGTON, DC 20036
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-DMG-MAS-00346
      State what the contract or         PURCHASING AGREEMENT           DMG/MORI SEIKI USA
2.276 lease is for and the nature        EFFECTIVE: 07/10/2018          2400 HUNTINGTON BLVD
      of the debtor’s interest                                          HOFFMAN ESTATES, IL 60192

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-DNB-T&C-01764
      State what the contract or         PURCHASING AGREEMENT                 DNB ENGINEERING, INC.
2.277 lease is for and the nature        EFFECTIVE: 03/04/2021                1750 RAYMER AVENUE
      of the debtor’s interest                                                FULLERTON, CA 92833

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-DOW-SOW-03024
      State what the contract or         LETTER AGREEMENT / TAX         DOWNEY, SMITH & FIER
2.278 lease is for and the nature        EFFECTIVE: 01/03/2022          3760 KILROY AIRPORT WAY, SUITE 620
      of the debtor’s interest                                          LONG BEACH, CA 90806

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: -DRA-MAS-01718
      State what the contract or         SERVICES /                           DR. ANTHONY J TETHER
2.279 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 02/24/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -DRA-SOW1-01719
      State what the contract or         SERVICES /                           DR. ANTHONY J TETHER
2.280 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-DRE-IND-00669
      State what the contract or         LICENSE AGREEMENT / SOFTWARE DREMIO CORPORATION
2.281 lease is for and the nature        EFFECTIVE: 07/30/2018          3970 FREEDOM CIRCLE #110
      of the debtor’s interest                                          SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-DSG-MAS-00463
      State what the contract or         SERVICES /                     DSG INTERNATIONAL, LLC
2.282 lease is for and the nature        CONSULTING-INDEPENDENT         105 EUCALYPTUS DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY             EL SEGUNDO, CA 90245
                                         EFFECTIVE: 12/17/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-DSG-AMD-01632
      State what the contract or         SERVICES /                     DSG INTERNATIONAL, LLC
2.283 lease is for and the nature        CONSULTING-INDEPENDENT         105 EUCALYPTUS DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY             EL SEGUNDO, CA 90245
                                         EFFECTIVE: 01/29/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-EAN-MAS-03715
      State what the contract or         RENTAL & LEASE AGREEMENT             EAN SERVICES, LLC
2.284 lease is for and the nature        EFFECTIVE: 08/04/2022                600 CORPORATE PARK DRIVE
      of the debtor’s interest                                                ST. LOUIS, MO 63105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-EAS-MAS-02830
      State what the contract or         SERVICES / STAFFING SERVICES         EASTRIDGE WORKFORCE SOLUTIONS
2.285 lease is for and the nature        EFFECTIVE: 12/07/2021                2355 NORTHSIDE DRIVE, #200
      of the debtor’s interest                                                SAN DIEGO, CA 92108

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-EAS-MAS-00250
      State what the contract or         SERVICES / STAFFING SERVICES         EASTRIDGE WORKFORCE SOLUTIONS
2.286 lease is for and the nature        EFFECTIVE: 07/10/2018                2355 NORTHSIDE DRIVE, #200
      of the debtor’s interest                                                SAN DIEGO, CA 92108

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ECL-T&C-01965
      State what the contract or         PURCHASING AGREEMENT                 ECLIPSE ENGINEERING, INC.
2.287 lease is for and the nature        EFFECTIVE: 04/22/2021                2540 S. MAIN ST
      of the debtor’s interest                                                ERIE, CO 80516

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-EHS-MAS-03286
      State what the contract or         SERVICES /                           EHS PROJECTS LTD.
2.288 lease is for and the nature        CONSULTING-INDEPENDENT               20 BROOMGROVE ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   BROOMHALL, SHEFFIELD, S10 2LR
                                         EFFECTIVE: 03/28/2022                UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -ELCO--01904
      State what the contract or         LETTER AGREEMENT                     EL CAMINO COLLEGE
2.289 lease is for and the nature        EFFECTIVE: 04/09/2021                16007 CRENSHAW BLVD
      of the debtor’s interest                                                TORRANCE, CA 90506

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ELA-MAS-03970
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ELASTIC NV
2.290 lease is for and the nature        EFFECTIVE: 01/27/2023          800 WEST EL CAMINO REAL
      of the debtor’s interest                                          MOUNTAIN VIEW, CA 94040

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ELE-T&C-01185
      State what the contract or         PURCHASING AGREEMENT                 ELECTRO RENT CORPORATION
2.291 lease is for and the nature        EFFECTIVE: 10/02/2020                6060 SEPULVEDA BLVD
      of the debtor’s interest                                                VAN NUYS, CA 91411

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-ELE-MAS-00935
      State what the contract or         SERVICES                             ELEVATION CORPORATE HEALTH, LLC
2.292 lease is for and the nature        EFFECTIVE: 10/01/2018                11350 MCCORMICK ROAD, EXECUTIVE PLAZA IV
      of the debtor’s interest                                                SUITE LL7
                                                                              HUNT VALLEY MARYLAND, 21204
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-ELE-AMD-02425
      State what the contract or         SERVICES                             ELEVATION CORPORATE HEALTH, LLC
2.293 lease is for and the nature        EFFECTIVE: 08/11/2021                11350 MCCORMICK ROAD, EXECUTIVE PLAZA IV
      of the debtor’s interest                                                SUITE LL7
                                                                              HUNT VALLEY MARYLAND, 21204
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ELK-MAS-02638
      State what the contract or         RENTAL & LEASE AGREEMENT /           ELKAY SALES, INC.
2.294 lease is for and the nature        EQUIPMENT                            1333 BUTTERFIELD ROAD
      of the debtor’s interest           EFFECTIVE: 10/05/2021                SUITE 200
                                                                              DOWNERS GROVE, IL 60515
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-EMP-MAS-00074
      State what the contract or         SERVICES /                     EMPIRE DYNAMICS MACHINERY LLC
2.295 lease is for and the nature        CONSULTING-INDEPENDENT         215 EUCLID AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY             ALBANY, NY 12208
                                         EFFECTIVE: 01/28/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ENB-MAS-03718
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ENBOARDER LLC
2.296 lease is for and the nature        EFFECTIVE: 08/16/2022          728 NORTHWESTERN AVE
      of the debtor’s interest                                          BUILDING B
                                                                        AUSTIN, TX 78702
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ENC-T&C-02871
      State what the contract or         PURCHASING AGREEMENT                 ENCORE STEEL BUILDING
2.297 lease is for and the nature        EFFECTIVE: 12/07/2021                8830 CENTRE STREET
      of the debtor’s interest                                                SUITE 2
                                                                              SOUTHAVEN, MS 38671
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-ENG-T&C-00670
      State what the contract or         PURCHASING AGREEMENT                 E-N-G MOBILE SYSTEMS, LLC
2.298 lease is for and the nature        EFFECTIVE: 03/21/2018                2245 VIA DE MERCADOS
      of the debtor’s interest                                                CONCORD, CA 94520

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-ENG-MAS-01375
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ENGINEERING USA, INC.
2.299 lease is for and the nature        EFFECTIVE: 10/30/2018          55 W MONROE ST #2575
      of the debtor’s interest                                          CHICAGO, IL 60603

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-ENT-MAS-03806
      State what the contract or         RENTAL & LEASE AGREEMENT /           ENTERPRISE RENT‐A‐CAR UK LIMITED
2.300 lease is for and the nature        VEHICLE                              KNIGHTS WAY BATTLEFIELD ENTERPRISE PARK
      of the debtor’s interest           EFFECTIVE: 09/29/2022                SHREWSBURY, SHROPSHIRE, SY1 3AB
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ENT-MAS-00485
      State what the contract or         SERVICES /                           ENTHALPY ANALYTICAL, LLC
2.301 lease is for and the nature        CONSULTING-INDEPENDENT               1 PARK PLAZA, SUITE 1000
      of the debtor’s interest           CONTRACTOR-COMPANY                   IRVINE, CA 92614
                                         EFFECTIVE: 01/17/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ENV-MAS-00417
      State what the contract or         SERVICES /                           ENVIROSERVICES CO., INC. (DBA ESCI ENVIROSERVICES CO.,
2.302 lease is for and the nature        CONSULTING-INDEPENDENT               INC.)
      of the debtor’s interest           CONTRACTOR-COMPANY                   4401 ATLANTIC AVE.
                                         EFFECTIVE: 10/02/2019                SUITE 200
           State the term remaining                                           LONG BEACH, CA 90807

           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ENV-IND-03755
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ENVOY, INC.
2.303 lease is for and the nature        EFFECTIVE: 09/06/2022          488 BRYANT STREET
      of the debtor’s interest                                          SAN FRANCISCO, CA 94109

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ENV-IND-00168
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ENVOY, INC.
2.304 lease is for and the nature        EFFECTIVE: 02/17/2020          488 BRYANT STREET
      of the debtor’s interest                                          SAN FRANCISCO, CA 94109

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -ENV-IND-01637
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ENVOY, INC.
2.305 lease is for and the nature        EFFECTIVE: 02/03/2021        488 BRYANT STREET
      of the debtor’s interest                                        SAN FRANCISCO, CA 94109

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ENV-IND-03099
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ENVOY, INC.
2.306 lease is for and the nature        EFFECTIVE: 02/17/2022          488 BRYANT STREET
      of the debtor’s interest                                          SAN FRANCISCO, CA 94109

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-ENV-MAS-01361
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ENVOY, INC.
2.307 lease is for and the nature        EFFECTIVE: 12/27/2019          488 BRYANT STREET
      of the debtor’s interest                                          SAN FRANCISCO, CA 94109

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ENV-IND-00167
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ENVOY, INC.
2.308 lease is for and the nature        EFFECTIVE: 02/17/2019          488 BRYANT STREET
      of the debtor’s interest                                          SAN FRANCISCO, CA 94109

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-EPI--01474
      State what the contract or         LICENSE AGREEMENT / SOFTWARE EPIQ EDISCOVERY SOLUTIONS, INC.
2.309 lease is for and the nature        EFFECTIVE: 06/17/2019        777 THIRD AVE
      of the debtor’s interest                                        12TH FLOOR
                                                                      NEW YORK, NY 10017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-EPI-IND-00493
      State what the contract or         LICENSE AGREEMENT / SOFTWARE EPIQ EDISCOVERY SOLUTIONS, INC.
2.310 lease is for and the nature        EFFECTIVE: 06/17/2019          777 THIRD AVE
      of the debtor’s interest                                          12TH FLOOR
                                                                        NEW YORK, NY 10017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-EQU-T&C-02841
      State what the contract or         SERVICE AGREEMENT                    EQUISOLVE, INC.
2.311 lease is for and the nature        EFFECTIVE: 11/23/2021                3500 SW CORPORATE PARKWAY
      of the debtor’s interest                                                SUITE 206
                                                                              PALM CITY, FL 34990
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ERI-MAS-03502
      State what the contract or         SERVICES /                           ERIC BIPPERT
2.312 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 05/16/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ESP-MAS-01898
      State what the contract or         SERVICES /                           E-SPACE CONSULTING LLC
2.313 lease is for and the nature        CONSULTING-INDEPENDENT               12107 STONEY CREEK RD
      of the debtor’s interest           CONTRACTOR-COMPANY                   POTOMAC, MD 20854
                                         EFFECTIVE: 04/07/2021
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-EUR-T&C-02255
      State what the contract or         SERVICE AGREEMENT                    EUROFINS EAG MATERIAL SCIENCE, LLC
2.314 lease is for and the nature        EFFECTIVE: 06/29/2021                2672 METRO BOULEVARD
      of the debtor’s interest                                                MARYLAND HEIGHTS, MO 63043

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-EUR-MAS-00411
      State what the contract or         SERVICES /                           EUROFINS EAG MATERIAL SCIENCE, LLC
2.315 lease is for and the nature        CONSULTING-INDEPENDENT               2672 METRO BOULEVARD
      of the debtor’s interest           CONTRACTOR-COMPANY                   MARYLAND HEIGHTS, MO 63043
                                         EFFECTIVE: 08/29/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -EUR-MAS-01571
      State what the contract or         RENTAL & LEASE AGREEMENT /           EUROTAINER US, INC.
2.316 lease is for and the nature        EQUIPMENT                            5810 WILSON ROAD
      of the debtor’s interest                                                SUITE 200
                                                                              HUMBLE, TX 77396
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-EUR-MAS-02523
      State what the contract or         RENTAL & LEASE AGREEMENT /           EUROTAINER US, INC.
2.317 lease is for and the nature        EQUIPMENT                            5810 WILSON ROAD
      of the debtor’s interest           EFFECTIVE: 09/02/2021                SUITE 200
                                                                              HUMBLE, TX 77396
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-EVE-MAS-02672
      State what the contract or         LICENSE AGREEMENT / SOFTWARE EVERBRIDGE, INC.
2.318 lease is for and the nature        EFFECTIVE: 10/12/2021          25 CORPORATE DRIVE
      of the debtor’s interest                                          BURLINGTON, MA 01803

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-EXC-IND-03499
      State what the contract or         LICENSE AGREEMENT / SOFTWARE EXCEL4APPS INC (DBA INSIGHTSOFTWARE)
2.319 lease is for and the nature        EFFECTIVE: 05/27/2022          2501 SMALLMAN STREET, SUITE 250
      of the debtor’s interest                                          PITTSBURGH, PA 15222

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-EXC-MAS-01352
      State what the contract or         LICENSE AGREEMENT / SOFTWARE EXCEL4APPS INC (DBA INSIGHTSOFTWARE)
2.320 lease is for and the nature        EFFECTIVE: 04/01/2019          2501 SMALLMAN STREET, SUITE 250
      of the debtor’s interest                                          PITTSBURGH, PA 15222

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-EXC-IND-00501
      State what the contract or         LICENSE AGREEMENT / SOFTWARE EXCEL4APPS INC (DBA INSIGHTSOFTWARE)
2.321 lease is for and the nature        EFFECTIVE: 04/28/2018          2501 SMALLMAN STREET, SUITE 250
      of the debtor’s interest                                          PITTSBURGH, PA 15222

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-EXO-RFP-03917
      State what the contract or         BIZ DEV / MOUS/MOAS -                EXOTERRA RESOURCE, LLC
2.322 lease is for and the nature        NON-BINDING                          10579 BRADFORD RD
      of the debtor’s interest           EFFECTIVE: 11/23/2022                SUITE 103
                                                                              LITTLETON, CO 80127
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-EXO-MAS-02779
      State what the contract or         SERVICES /                           EXOTERRA RESOURCE, LLC
2.323 lease is for and the nature        CONSULTING-INDEPENDENT               10579 BRADFORD RD
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 103
                                         EFFECTIVE: 01/15/2022                LITTLETON, CO 80127
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-EXP-SOW-01805
      State what the contract or         SERVICES /                     EXPERIS, US INC. DBA MANPOWER ENGINEERING
2.324 lease is for and the nature        CONSULTING-INDEPENDENT         100 MANPOWER PLACE
      of the debtor’s interest           CONTRACTOR-COMPANY             MILWAUKEE, WI 53212
                                         EFFECTIVE: 03/12/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-EXP-MAS-00424
      State what the contract or         SERVICES / STAFFING SERVICES         EXPERIS, US INC. DBA MANPOWER ENGINEERING
2.325 lease is for and the nature        EFFECTIVE: 07/09/2019                100 MANPOWER PLACE
      of the debtor’s interest                                                MILWAUKEE, WI 53212

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-EXP-MAS-01655
      State what the contract or         SERVICES /                           EXPLOSIVES TEST CENTER, LLC
2.326 lease is for and the nature        CONSULTING-INDEPENDENT               5698 BRENNAN AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   COLORADO SPRINGS, CO 80923
                                         EFFECTIVE: 08/13/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-EXP-SOW-00183
      State what the contract or         SERVICES /                     EXPRESS ENVIRONMENTAL CORP.
2.327 lease is for and the nature        CONSULTING-INDEPENDENT         21601 PARTHENIA STREET
      of the debtor’s interest           CONTRACTOR-COMPANY             CANOGA PARK, CA 913014
                                         EFFECTIVE: 03/11/2020
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-EXP-MAS-00169
      State what the contract or         SERVICES /                           EXPRESS ENVIRONMENTAL CORP.
2.328 lease is for and the nature        CONSULTING-INDEPENDENT               21601 PARTHENIA STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   CANOGA PARK, CA 913014
                                         EFFECTIVE: 03/11/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-FID-MAS-03005
      State what the contract or         SERVICES /                           FIDELITY STOCK PLAN SERVICES, LLC
2.329 lease is for and the nature        CONSULTING-INDEPENDENT               100 CROSBY PARKWAY KC2Q
      of the debtor’s interest           CONTRACTOR-COMPANY                   COVINGTON, KY 41015
                                         EFFECTIVE: 05/06/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-FIR-MAS-00425
      State what the contract or         SERVICES /                           FIRST ADVANTAGE BACKGROUND SERVICES CORP.
2.330 lease is for and the nature        CONSULTING-INDEPENDENT               ONE CONCOURSE PKWY
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 200
                                         EFFECTIVE: 05/15/2019                ATLANTA, GA 30328
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-FLI-MAS-01831
      State what the contract or         SERVICES /                           FLIGHT RESEARCH, INC.
2.331 lease is for and the nature        CONSULTING-INDEPENDENT               1062 FLIGHT LINE
      of the debtor’s interest           CONTRACTOR-COMPANY                   MOJAVE, CA 93501
                                         EFFECTIVE: 05/05/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-FLI-AMD-00999
      State what the contract or         RENTAL & LEASE AGREEMENT /           FLIGHT RESEARCH, INC.
2.332 lease is for and the nature        AIRCRAFT RENTAL                      1062 FLIGHT LINE
      of the debtor’s interest           EFFECTIVE: 12/12/2019                MOJAVE, CA 93501

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2023-FLI-MAS-03985
      State what the contract or         MERGERS-ACQUISITIONS                 FLIGHT RESEARCH, INC.
2.333 lease is for and the nature        EFFECTIVE: 01/03/2023                1062 FLIGHT LINE
      of the debtor’s interest                                                MOJAVE, CA 93501

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-FLI-AMD3-01561
      State what the contract or         RENTAL & LEASE AGREEMENT /           FLIGHT RESEARCH, INC.
2.334 lease is for and the nature        AIRCRAFT RENTAL                      1062 FLIGHT LINE
      of the debtor’s interest           EFFECTIVE: 12/31/2021                MOJAVE, CA 93501

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-FLI-AMD-03115
      State what the contract or         SERVICES                             FLIGHT RESEARCH, INC.
2.335 lease is for and the nature        EFFECTIVE: 02/18/2022                1062 FLIGHT LINE
      of the debtor’s interest                                                MOJAVE, CA 93501

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-FLO-MAS-03403
      State what the contract or         LICENSE AGREEMENT / SOFTWARE FLOWNEX
2.336 lease is for and the nature        EFFECTIVE: 05/06/2022          24 TOTIUS STREET
      of the debtor’s interest                                          POTCHEFSTROOM, NORTH-WEST
                                                                        NOORDBRUG, 2522
           State the term remaining                                     SOUTH AFRICA

           List the contract number of
           any government contract

                                         CONTRACT #: 2021-FOL-MAS-02463
      State what the contract or         SERVICES /                           FOLIO ART LIMITED
2.337 lease is for and the nature        CONSULTING-INDEPENDENT               10 GATE STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   LONDON, ENGLAND, WC2A 3HP
                                         EFFECTIVE: 08/20/2021                UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-FOX-T&C-01796
      State what the contract or         PURCHASING AGREEMENT                 FOX THERMAL
2.338 lease is for and the nature        EFFECTIVE: 03/12/2021                399 RESERVATION RD
      of the debtor’s interest                                                MARINA, CA 93933

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-FRE-MAS-03492
      State what the contract or         SERVICES /                           FRED ETTEFAGH
2.339 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 05/09/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-FRE-SOW-03493
      State what the contract or         SERVICES /                     FRED ETTEFAGH
2.340 lease is for and the nature        CONSULTING-INDEPENDENT         ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 05/09/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2022-FRE-SOW02-03223                 FRESH AIRE SYSTEMS INC. (DBA FRESH AIRE DUCT CLEANING)
2.341 lease is for and the nature        SERVICES /                           2930 HONOLULU AVE.
      of the debtor’s interest           CONSULTING-INDEPENDENT               LA CRESCENTA, CA 91214
                                         CONTRACTOR-COMPANY
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-FRE-MAS-00436
      State what the contract or         SERVICES /                           FRESH AIRE SYSTEMS INC. (DBA FRESH AIRE DUCT CLEANING)
2.342 lease is for and the nature        CONSULTING-INDEPENDENT               2930 HONOLULU AVE.
      of the debtor’s interest           CONTRACTOR-COMPANY                   LA CRESCENTA, CA 91214
                                         EFFECTIVE: 01/04/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -FRE-SOW1-03226
      State what the contract or         SERVICES /                           FRESH INTERACTIVE, LLC
2.343 lease is for and the nature        CONSULTING-INDEPENDENT               11685 NATIONAL BLVD.
      of the debtor’s interest           CONTRACTOR-COMPANY                   LOS ANGELES, CA 90064
                                         EFFECTIVE: 03/03/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-FRE-MAS-03225
      State what the contract or         SERVICES /                           FRESH INTERACTIVE, LLC
2.344 lease is for and the nature        CONSULTING-INDEPENDENT               11685 NATIONAL BLVD.
      of the debtor’s interest           CONTRACTOR-COMPANY                   LOS ANGELES, CA 90064
                                         EFFECTIVE: 03/18/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-FRO-MAS-00232
      State what the contract or         SERVICES /                           FRONTIER COMMUNICATIONS OF AMERICA, INC.
2.345 lease is for and the nature        CONSULTING-INDEPENDENT               800 W. 16TH ST
      of the debtor’s interest           CONTRACTOR-COMPANY                   LONG BEACH, CA 90813
                                         EFFECTIVE: 04/13/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-FRO-IND-03143
      State what the contract or         LICENSE AGREEMENT / SOFTWARE FRONTIER COMMUNICATIONS OF AMERICA, INC.
2.346 lease is for and the nature        EFFECTIVE: 02/23/2022          800 W. 16TH ST
      of the debtor’s interest                                          LONG BEACH, CA 90813

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-FRO-IND-01258
      State what the contract or         PURCHASING AGREEMENT / IT            FRONTIER COMMUNICATIONS OF AMERICA, INC.
2.347 lease is for and the nature        EQUIPMENT                            800 W. 16TH ST
      of the debtor’s interest           EFFECTIVE: 10/19/2020                LONG BEACH, CA 90813

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-FRO-IND-03815
      State what the contract or         LICENSE AGREEMENT / SOFTWARE FRONTIER COMMUNICATIONS OF AMERICA, INC.
2.348 lease is for and the nature        EFFECTIVE: 10/03/2022          800 W. 16TH ST
      of the debtor’s interest                                          LONG BEACH, CA 90813

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-FRO-IND-01332
      State what the contract or         PURCHASING AGREEMENT / IT            FRONTIER COMMUNICATIONS OF AMERICA, INC.
2.349 lease is for and the nature        EQUIPMENT                            800 W. 16TH ST
      of the debtor’s interest           EFFECTIVE: 11/02/2020                LONG BEACH, CA 90813

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-FSS-MAS-00252
      State what the contract or         SERVICES / STAFFING SERVICES         FS STUDIO IS THE DBA FOR FLAKASOFT INC.
2.350 lease is for and the nature        EFFECTIVE: 02/12/2018                3300 POWELL STREET
      of the debtor’s interest                                                SUITE 201
                                                                              EMERYVILLE, CA 94608
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-FSS-MAS-00066
      State what the contract or         SERVICES                             FS STUDIO IS THE DBA FOR FLAKASOFT INC.
2.351 lease is for and the nature        EFFECTIVE: 02/05/2017                3300 POWELL STREET
      of the debtor’s interest                                                SUITE 201
                                                                              EMERYVILLE, CA 94608
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-FSS-AMD-00306
      State what the contract or         SERVICES / STAFFING SERVICES         FS STUDIO IS THE DBA FOR FLAKASOFT INC.
2.352 lease is for and the nature        EFFECTIVE: 08/01/2018                3300 POWELL STREET
      of the debtor’s interest                                                SUITE 201
                                                                              EMERYVILLE, CA 94608
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-FTR-MAS-01409
      State what the contract or         SERVICES /                           FTR ENTERPRISES, LLC
2.353 lease is for and the nature        CONSULTING-INDEPENDENT               380 VIA SONADOR
      of the debtor’s interest           CONTRACTOR-COMPANY                   HENDERSON, NV 89012
                                         EFFECTIVE: 10/06/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-FUS-MAS-01376
      State what the contract or         LICENSE AGREEMENT / SOFTWARE FUSION CONNECT, LLC
2.354 lease is for and the nature        EFFECTIVE: 01/01/2019          210 INTERSTATE NORTH PARKWAY SUITE 300
      of the debtor’s interest                                          ATLANTA, GA 30339

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-FUS-MAS-00344
      State what the contract or         SERVICES /                           FUSION LLC
2.355 lease is for and the nature        CONSULTING-INDEPENDENT               DEPT CH 17826
      of the debtor’s interest           CONTRACTOR-COMPANY                   PALATINE, IL 60055-7826
                                         EFFECTIVE: 05/14/2020
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-FUS-SOW-02343
      State what the contract or         SERVICES / STATEMENT OF WORK FUSION LLC
2.356 lease is for and the nature        EFFECTIVE: 07/23/2021          DEPT CH 17826
      of the debtor’s interest                                          PALATINE, IL 60055-7826

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-FUS-IND-01998
      State what the contract or         SERVICES                             FUSION LLC
2.357 lease is for and the nature        EFFECTIVE: 04/29/2021                DEPT CH 17826
      of the debtor’s interest                                                PALATINE, IL 60055-7826

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-VIR-MAS-01586
      State what the contract or         SERVICES / RECRUITING & DIRECT       GALACTIC ENTERPRISES, LLC
2.358 lease is for and the nature        PLACEMENT                            166 ROADRUNNER PARKWAY
      of the debtor’s interest           EFFECTIVE: 01/01/2021                SUITE 1C
                                                                              LAS CRUCES, NM 88011
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-GAL-IND-02695
      State what the contract or         SERVICES / PEOPLE EVENT &            GALLUP, INC.
2.359 lease is for and the nature        SERVICES                             18300 VON KARMAN AVE.
      of the debtor’s interest           EFFECTIVE: 10/23/2021                SUITE 100
                                                                              IRVINE, CA 92612
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-GAR-SOW-00700
      State what the contract or         SERVICES /                     GARY GARCIA
2.360 lease is for and the nature        CONSULTING-INDEPENDENT         ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 05/18/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-GAR-MAS-00698
      State what the contract or         SERVICES /                     GARY GARCIA
2.361 lease is for and the nature        CONSULTING-INDEPENDENT         ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 05/18/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-GCM-MAS-02465
      State what the contract or         LICENSE AGREEMENT / SOFTWARE GC MICRO CORPORATION
2.362 lease is for and the nature        EFFECTIVE: 08/20/2021          3910 CYPRESS DRIVE
      of the debtor’s interest                                          PETALUMA, CA 94954

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2023-GEN-T&C-04037
      State what the contract or         SERVICE AGREEMENT                    GENERAL DYNAMICS ORDNANCE AND TACTICAL SYSTEMS, INC.
2.363 lease is for and the nature                                             11399 16TH COURT NORTH, SUITE 200
      of the debtor’s interest                                                ST. PETERSBURG, FL 33716

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2019-GEN-T&C-GOODS-03941             GENERAL DYNAMICS ORDNANCE AND TACTICAL SYSTEMS, INC.
2.364 lease is for and the nature        SERVICE AGREEMENT                    11399 16TH COURT NORTH, SUITE 200
      of the debtor’s interest           EFFECTIVE: 10/17/2019                ST. PETERSBURG, FL 33716

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-GEO-MAS-02517
      State what the contract or         INVESTOR AGREEMENT / STOCK     GEORGE WHITESIDES
2.365 lease is for and the nature        OPTION AGREEMENT               ADDRESS ON FILE
      of the debtor’s interest           EFFECTIVE: 09/02/2021

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -GIN-MAS-01659
      State what the contract or         SERVICES /                           GINA HECHT
2.366 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 12/18/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-GIN-IND-00049
      State what the contract or         SERVICES /                           GINA HWANG
2.367 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-COMPANY
                                         EFFECTIVE: 12/18/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-GLA-T&C-00793
      State what the contract or         LICENSE AGREEMENT / SOFTWARE GLASSDOOR, INC.
2.368 lease is for and the nature        EFFECTIVE: 08/01/2017          100 SHORELINE HIGHWAY
      of the debtor’s interest                                          MILL VALLEY, CA 94941

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-GOD-AMD-00598
      State what the contract or         SERVICES /                           GODWIN GLOBAL, INCORPORATED
2.369 lease is for and the nature        CONSULTING-INDEPENDENT               10612D PROVIDENCE RD
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                SUITE 525
                                         EFFECTIVE: 12/21/2018                CHARLOTTE, NC 28277
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-GOD-AMD-00599
      State what the contract or         SERVICES /                           GODWIN GLOBAL, INCORPORATED
2.370 lease is for and the nature        CONSULTING-INDEPENDENT               10612D PROVIDENCE RD
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                SUITE 525
                                         EFFECTIVE: 05/01/2019                CHARLOTTE, NC 28277
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-GOD-MAS-00423
      State what the contract or         SERVICES /                           GODWIN GLOBAL, INCORPORATED
2.371 lease is for and the nature        CONSULTING-INDEPENDENT               10612D PROVIDENCE RD
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                SUITE 525
                                         EFFECTIVE: 12/24/2019                CHARLOTTE, NC 28277
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-GOD-AMD-00597
      State what the contract or         SERVICES /                           GODWIN GLOBAL, INCORPORATED
2.372 lease is for and the nature        CONSULTING-INDEPENDENT               10612D PROVIDENCE RD
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                SUITE 525
                                         EFFECTIVE: 08/07/2018                CHARLOTTE, NC 28277
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2016-GON-MAS-00239
      State what the contract or         SERVICES /                     GONI, INC.
2.373 lease is for and the nature        CONSULTING-INDEPENDENT         1522 WEST HEMLOCK WAY
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL          SANTA ANA, CA 92704
                                         EFFECTIVE: 07/11/2016
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-GOT-MAS-02930
      State what the contract or         SERVICES                       GOTHAM IMMERSIVE LABORATORIES, LLC
2.374 lease is for and the nature        EFFECTIVE: 12/21/2021          338 JEFFERSON AVE
      of the debtor’s interest                                          BROOKLYN, NY 11216

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-GRA-SOW-01556
      State what the contract or         SERVICES /                           GRACE MIN DESIGN
2.375 lease is for and the nature        CONSULTING-INDEPENDENT               11626 GORHAM AVENUE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                #6
                                         EFFECTIVE: 12/18/2020                LOS ANGELES, CA 90049
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-GRA-MAS-01555
      State what the contract or         SERVICES /                           GRACE MIN DESIGN
2.376 lease is for and the nature        CONSULTING-INDEPENDENT               11626 GORHAM AVENUE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                #6
                                         EFFECTIVE: 12/22/2020                LOS ANGELES, CA 90049
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-GRA-T&C-01851
      State what the contract or         PURCHASING AGREEMENT                 GRAYBAR ELECTRIC COMPANY, INC.
2.377 lease is for and the nature        EFFECTIVE: 03/26/2021                34 N. MERAMEC AVENUE
      of the debtor’s interest                                                CLAYTON, MO 63105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-GRA-T&C-01742
      State what the contract or         PURCHASING AGREEMENT                 GRAYLOC PRODUCTS LLC
2.378 lease is for and the nature        EFFECTIVE: 03/01/2021                9342 TELGE RD
      of the debtor’s interest                                                HOUSTON, TX 77095

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-GRE-MAS-03496
      State what the contract or         LETTER AGREEMENT               GREENBERG TRAURIG
2.379 lease is for and the nature        EFFECTIVE: 05/27/2022          ONE VANDERBILT AVENUE
      of the debtor’s interest                                          NEW YORK, NY 10017

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-GRE-MAS-00404
      State what the contract or         SERVICES /                     GREENBOARD ENTERPRISE
2.380 lease is for and the nature        CONSULTING-INDEPENDENT         1771 WAVECREST STREET
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL          MERRITT ISLAND, FL 32952
                                         EFFECTIVE: 12/19/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-GRO-MAS-01420
      State what the contract or         INTERORGANIZATIONAL            GROUND STATION MEXICO, SOCIEDAD ANÓNIMA DE CAPITAL
2.381 lease is for and the nature        AGREEMENTS (VOX, VOUK, GSM)    VARIABLE
      of the debtor’s interest           EFFECTIVE: 11/05/2020          PONIENTE 118 NO. 363, COL. MAXIMINO AVILA CAMACHO
                                                                        CP, 07380
           State the term remaining                                     MEXICO

           List the contract number of
           any government contract

                                         CONTRACT #: 2020-GRO-IND-00752
      State what the contract or         LICENSE AGREEMENT                    GROUP NINE MEDIA, INC., DBA SEEKER
2.382 lease is for and the nature        EFFECTIVE: 05/07/2020                3523 EASTHAM DRIVE
      of the debtor’s interest                                                CULVER CITY, CA 90232

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-GRO-MAS-00445
      State what the contract or         SERVICES /                     GROWING ROOTS
2.383 lease is for and the nature        CONSULTING-INDEPENDENT         3940 E 4TH STREET
      of the debtor’s interest           CONTRACTOR-COMPANY             LONG BEACH, CA 90814
                                         EFFECTIVE: 10/03/2017
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-GTT-MAS-03534
      State what the contract or         LICENSE AGREEMENT / SOFTWARE GTT AMERICAS LLC
2.384 lease is for and the nature        EFFECTIVE: 06/10/2022          7900 TYSONS ONE PLACE
      of the debtor’s interest                                          SUITE 1450
                                                                        MCLEAN, VA 22102
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-GW7-MAS-00263
      State what the contract or         SERVICES /                     GW 707 FLIGHT TEST
2.385 lease is for and the nature        CONSULTING-INDEPENDENT         PO BOX 125
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL          TWISP, WA 98856
                                         EFFECTIVE: 06/21/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-HAD-T&C-02103
      State what the contract or         PURCHASING AGREEMENT                 HADCO METAL TRADING CO, LLC
2.386 lease is for and the nature        EFFECTIVE: 05/17/2021                14088 BORATE ST.
      of the debtor’s interest                                                SANTA FE SPRINGS, CA 90760

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-HAR-MAS-00500
      State what the contract or         SERVICES /                           HARMONY SOUND
2.387 lease is for and the nature        CONSULTING-INDEPENDENT               3852 HELLMAN AVENUE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                LOS ANGELES, CA 90032
                                         EFFECTIVE: 02/02/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-HBA-MAS-00397
      State what the contract or         SERVICES /                           HBA INCORPORATED
2.388 lease is for and the nature        CONSULTING-INDEPENDENT               512 E. VERMONT AVE.
      of the debtor’s interest           CONTRACTOR-COMPANY                   ANAHEIM, CA 92805
                                         EFFECTIVE: 05/07/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-HEL-MAS-00387
      State what the contract or         SERVICES /                           HELLMUTH, OBATA & KASSABAUM, INC.
2.389 lease is for and the nature        CONSULTING-INDEPENDENT               9530 JEFFERSON BLVD
      of the debtor’s interest           CONTRACTOR-COMPANY                   CULVER CITY, CA 90232
                                         EFFECTIVE: 05/22/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-HEL-MAS-01371
      State what the contract or         LICENSE AGREEMENT / SOFTWARE HELP/SYSTEMS, LLC
2.390 lease is for and the nature        EFFECTIVE: 03/11/2020          6455 CITY W PKWY
      of the debtor’s interest                                          EDEN PRAIRIE, MN 55344

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-HEL-MAS-01390
      State what the contract or         LICENSE AGREEMENT / SOFTWARE HELP/SYSTEMS, LLC
2.391 lease is for and the nature        EFFECTIVE: 12/28/2019          6455 CITY W PKWY
      of the debtor’s interest                                          EDEN PRAIRIE, MN 55344

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-HEX-MAS-01345
      State what the contract or         LICENSE AGREEMENT / SOFTWARE HEXAGON METROLOGY, INC
2.392 lease is for and the nature        EFFECTIVE: 04/18/2019          9004 RESEARCH DR.
      of the debtor’s interest                                          IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-HEX-T&C-03602
      State what the contract or         PURCHASING AGREEMENT                 HEXAGON METROLOGY, INC
2.393 lease is for and the nature        EFFECTIVE: 04/21/2022                9004 RESEARCH DR.
      of the debtor’s interest                                                IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-HEX-IND-01584
      State what the contract or         LICENSE AGREEMENT / SOFTWARE HEXAGON METROLOGY, INC
2.394 lease is for and the nature        EFFECTIVE: 01/01/2021          9004 RESEARCH DR.
      of the debtor’s interest                                          IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-HEX-IND-00434
      State what the contract or         LICENSE AGREEMENT / SOFTWARE HEXAGON METROLOGY, INC
2.395 lease is for and the nature        EFFECTIVE: 03/10/2020          9004 RESEARCH DR.
      of the debtor’s interest                                          IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-HEX-IND-00478
      State what the contract or         LICENSE AGREEMENT / SOFTWARE HEXAGON METROLOGY, INC
2.396 lease is for and the nature        EFFECTIVE: 01/01/2020          9004 RESEARCH DR.
      of the debtor’s interest                                          IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-HEX-IND-02967
      State what the contract or         LETTER AGREEMENT                     HEXAGON METROLOGY, INC
2.397 lease is for and the nature        EFFECTIVE: 12/22/2021                9004 RESEARCH DR.
      of the debtor’s interest                                                IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-HFH-MAS-01497
      State what the contract or         SERVICES                             HF HOLDINGS INC.
2.398 lease is for and the nature        EFFECTIVE: 12/14/2020                1707 ORLANDO CENTRAL PARKWAY
      of the debtor’s interest                                                SUITE 440
                                                                              ORLANDO, FL 32809
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-HIG-MAS-03862
      State what the contract or         LICENSE AGREEMENT / SOFTWARE HIGH QA, INC.
2.399 lease is for and the nature        EFFECTIVE: 11/25/2022          1 BETHANY ROAD
      of the debtor’s interest                                          SUITE 26
                                                                        HAZLET, NJ 07730
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-HIT-AMD-00589
      State what the contract or         SERVICES /                           HITCO CARBON COMPOSITES, INC.
2.400 lease is for and the nature        CONSULTING-INDEPENDENT               1551 W. 139TH STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   GARDENA, CA 90249
                                         EFFECTIVE: 11/07/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-HIT-MAS-00476
      State what the contract or         SERVICES /                           HITCO CARBON COMPOSITES, INC.
2.401 lease is for and the nature        CONSULTING-INDEPENDENT               1551 W. 139TH STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   GARDENA, CA 90249
                                         EFFECTIVE: 08/01/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-HOL-MAS-03454
      State what the contract or         SERVICES /                           HOLLIS O. DAVIS
2.402 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 05/16/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-HOL-SOW-03456
      State what the contract or         SERVICES /                     HOLLIS O. DAVIS
2.403 lease is for and the nature        CONSULTING-INDEPENDENT         ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 05/16/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-HOM-MAS-01021
      State what the contract or         SERVICES /                     HOME SATELLITE ALSO SAMUEL SANCHEZ
2.404 lease is for and the nature        CONSULTING-INDEPENDENT         839 STANFORD AVENUE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL          CHULA VISTA, CA 91913
                                         EFFECTIVE: 08/19/2020
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-HOM-SOW-01026
      State what the contract or         SERVICES /                     HOME SATELLITE ALSO SAMUEL SANCHEZ
2.405 lease is for and the nature        CONSULTING-INDEPENDENT         839 STANFORD AVENUE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL          CHULA VISTA, CA 91913
                                         EFFECTIVE: 08/19/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-HOR-MAS-02887
      State what the contract or         INVESTOR AGREEMENT /           HORIZON TECHNOLOGIES, CONSULTANTS, LTD.
2.406 lease is for and the nature        INVESTMENT IN 3PO              400 THAMES VALLEY PARK DRIVE
      of the debtor’s interest           EFFECTIVE: 12/10/2021          SUITE 102
                                                                        READING, RG6 1PT
           State the term remaining                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                         CONTRACT #: 2021-HOT-T&C-02925
      State what the contract or         PURCHASING AGREEMENT                 HOTTINGER BRUEL & KJAER, INC.
2.407 lease is for and the nature        EFFECTIVE: 12/16/2021                19 BARTLETT ST.
      of the debtor’s interest                                                MARLBOROUGH, MA 01752

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-HOW-MAS-00383
      State what the contract or         SERVICES /                     HOWARD CDM
2.408 lease is for and the nature        CONSULTING-INDEPENDENT         3750 LONG BEACH BLVD.
      of the debtor’s interest           CONTRACTOR-COMPANY             SUITE 200
                                         EFFECTIVE: 11/11/2018          LONG BEACH, CA 90807
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-HOW-MAS-00237
      State what the contract or         SERVICES /                     HOWARD-POWER, INC.
2.409 lease is for and the nature        CONSULTING-INDEPENDENT         PO BOX 1229
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL          ROSAMOND, CA 93560
                                         EFFECTIVE: 10/12/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-HUM-MAS-03092
      State what the contract or         SERVICES /                           HUMMINGBIRD AERO LLC
2.410 lease is for and the nature        CONSULTING-INDEPENDENT               19800 MACARTHUR BLVD
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 300
                                         EFFECTIVE: 02/15/2022                IRVINE, CA 92612
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2022-HYP-SOW01-03232                 HYPERBIT DESIGNS, LLC
2.411 lease is for and the nature        SERVICES /                           7130 INDIGO WAY
      of the debtor’s interest           CONSULTING-INDEPENDENT               BUENA PARK, CA 90261
                                         CONTRACTOR-COMPANY
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-HYP-MAS-03131
      State what the contract or         SERVICES /                           HYPERBIT DESIGNS, LLC
2.412 lease is for and the nature        CONSULTING-INDEPENDENT               7130 INDIGO WAY
      of the debtor’s interest           CONTRACTOR-COMPANY                   BUENA PARK, CA 90261
                                         EFFECTIVE: 02/23/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-HYP-AMD-03594
      State what the contract or         BIZ DEV / MOUS/MOAS -                HYPERSAT SYSTEMS LLC
2.413 lease is for and the nature        NON-BINDING                          511 SENECA ROAD
      of the debtor’s interest           EFFECTIVE: 12/31/2021                GREAT FALLS, VA 22066

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-IBA-CO-03413
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IBASET, INC.
2.414 lease is for and the nature        EFFECTIVE: 05/05/2022         27422 PORTOLA PARKWAY
      of the debtor’s interest                                         SUITE 300
                                                                       FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-IBA-MAS-02934
      State what the contract or         SERVICES                             IBASET, INC.
2.415 lease is for and the nature        EFFECTIVE: 01/03/2021                27422 PORTOLA PARKWAY
      of the debtor’s interest                                                SUITE 300
                                                                              FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-IBA-CO-02377
      State what the contract or         PURCHASING AGREEMENT                 IBASET, INC.
2.416 lease is for and the nature        EFFECTIVE: 07/28/2021                27422 PORTOLA PARKWAY
      of the debtor’s interest                                                SUITE 300
                                                                              FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-IBA-MAS-01957
      State what the contract or         SERVICES                             IBASET, INC.
2.417 lease is for and the nature        EFFECTIVE: 04/19/2021                27422 PORTOLA PARKWAY
      of the debtor’s interest                                                SUITE 300
                                                                              FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-IBA-MAS-02363
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IBASET, INC.
2.418 lease is for and the nature        EFFECTIVE: 07/28/2021          27422 PORTOLA PARKWAY
      of the debtor’s interest                                          SUITE 300
                                                                        FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-IBA-CO-03341
      State what the contract or         (CHANGE ORDER) NO. 1                 IBASET, INC.
2.419 lease is for and the nature        SERVICES                             27422 PORTOLA PARKWAY
      of the debtor’s interest           EFFECTIVE: 04/13/2022                SUITE 300
                                                                              FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-IBA-CO-02534
      State what the contract or         PURCHASING AGREEMENT                 IBASET, INC.
2.420 lease is for and the nature        EFFECTIVE: 07/28/2021                27422 PORTOLA PARKWAY
      of the debtor’s interest                                                SUITE 300
                                                                              FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-IBA-CO-03590
      State what the contract or         SERVICES                             IBASET, INC.
2.421 lease is for and the nature        EFFECTIVE: 06/15/2022                27422 PORTOLA PARKWAY
      of the debtor’s interest                                                SUITE 300
                                                                              FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-IBA-CO-02458
      State what the contract or         PURCHASING AGREEMENT                 IBASET, INC.
2.422 lease is for and the nature        EFFECTIVE: 07/28/2021                27422 PORTOLA PARKWAY
      of the debtor’s interest                                                SUITE 300
                                                                              FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2016-IBA-MAS-01734
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IBASET, INC.
2.423 lease is for and the nature        EFFECTIVE: 01/01/2016          27422 PORTOLA PARKWAY
      of the debtor’s interest                                          SUITE 300
                                                                        FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-IBA-CO-02459
      State what the contract or         PURCHASING AGREEMENT                 IBASET, INC.
2.424 lease is for and the nature        EFFECTIVE: 07/28/2021                27422 PORTOLA PARKWAY
      of the debtor’s interest                                                SUITE 300
                                                                              FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-IBA-SOW-01735
      State what the contract or         SERVICES /                           IBASET, INC.
2.425 lease is for and the nature        CONSULTING-INDEPENDENT               27422 PORTOLA PARKWAY
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 300
                                         EFFECTIVE: 02/26/2021                FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-IBA-MAS-01342
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IBASET, INC.
2.426 lease is for and the nature        EFFECTIVE: 12/11/2018          27422 PORTOLA PARKWAY
      of the debtor’s interest                                          SUITE 300
                                                                        FOOTHILL RANCH, CA 92610
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ICI-MAS-02262
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ICIMS, INC
2.427 lease is for and the nature        EFFECTIVE: 07/03/2021          90 MATAWAN ROAD
      of the debtor’s interest                                          PARKWAY 120, FIFTH FLOOR
                                                                        MATAWAN, NJ 07747
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ICI-AMD-02890
      State what the contract or         SERVICES                             ICIMS, INC
2.428 lease is for and the nature        EFFECTIVE: 12/09/2021                90 MATAWAN ROAD
      of the debtor’s interest                                                PARKWAY 120, FIFTH FLOOR
                                                                              MATAWAN, NJ 07747
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ICR-MAS-02527
      State what the contract or         SERVICES /                           ICR, LLC
2.429 lease is for and the nature        CONSULTING-INDEPENDENT               761 MAIN AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   NORWALK, CT 06851
                                         EFFECTIVE: 08/01/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-IHS-IND-02863
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IHS GLOBAL INC.
2.430 lease is for and the nature        EFFECTIVE: 12/13/2021          15 INVERNESS WAY EAST
      of the debtor’s interest                                          ENGLEWOOD, CO 80112

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-IHS-IND-00498
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IHS GLOBAL INC.
2.431 lease is for and the nature        EFFECTIVE: 12/18/2018          15 INVERNESS WAY EAST
      of the debtor’s interest                                          ENGLEWOOD, CO 80112

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-IHS-MAS-01622
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IHS GLOBAL INC.
2.432 lease is for and the nature        EFFECTIVE: 12/13/2020          15 INVERNESS WAY EAST
      of the debtor’s interest                                          ENGLEWOOD, CO 80112

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: -IHS--01717
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IHS GLOBAL INC.
2.433 lease is for and the nature        EFFECTIVE: 02/26/2021        15 INVERNESS WAY EAST
      of the debtor’s interest                                        ENGLEWOOD, CO 80112

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-IHS-IND-03877
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IHS GLOBAL INC.
2.434 lease is for and the nature        EFFECTIVE: 12/13/2022          15 INVERNESS WAY EAST
      of the debtor’s interest                                          ENGLEWOOD, CO 80112

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-IHS-IND-03876
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IHS GLOBAL INC.
2.435 lease is for and the nature        EFFECTIVE: 12/13/2022          15 INVERNESS WAY EAST
      of the debtor’s interest                                          ENGLEWOOD, CO 80112

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -IHS-IND-01751
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IHS GLOBAL INC.
2.436 lease is for and the nature        EFFECTIVE: 12/13/2020        15 INVERNESS WAY EAST
      of the debtor’s interest                                        ENGLEWOOD, CO 80112

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-DIL-MAS-00190
      State what the contract or         LICENSE AGREEMENT / SOFTWARE INACTIVE - 00063
2.437 lease is for and the nature                                       1111 19TH STREET NW
      of the debtor’s interest                                          9TH FLOOR
                                                                        WASHINGTON, DC 20036
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-INM-IND-00046
      State what the contract or         SERVICES /                           INMARSAT GOVERNMENT, INC.
2.438 lease is for and the nature        CONSULTING-INDEPENDENT               11600 SUNRISE VALLEY DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 200
                                         EFFECTIVE: 12/18/2019                RESTON, VA 20191
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-INN-MAS-01150
      State what the contract or         SERVICES /                           INNOVATIVE ENGINEERING SYSTEMS, INC
2.439 lease is for and the nature        CONSULTING-INDEPENDENT               8800 CRIPPEN ST
      of the debtor’s interest           CONTRACTOR-COMPANY                   BAKERSFIELD, CA 93311
                                         EFFECTIVE: 09/08/2020
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-INN-SOW-01151
      State what the contract or         SERVICES /                           INNOVATIVE ENGINEERING SYSTEMS, INC
2.440 lease is for and the nature        CONSULTING-INDEPENDENT               8800 CRIPPEN ST
      of the debtor’s interest           CONTRACTOR-COMPANY                   BAKERSFIELD, CA 93311
                                         EFFECTIVE: 09/08/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-INS-SOW-00179
      State what the contract or         SERVICES /                           INSIDE-OUT LEARNING
2.441 lease is for and the nature        CONSULTING-INDEPENDENT               38400 N. SCHOOL HOUSE ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   #7854
                                         EFFECTIVE: 01/07/2020                CAVE CREEK, CA 85331
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-INS-MAS-00177
      State what the contract or         SERVICES /                           INSIDE-OUT LEARNING
2.442 lease is for and the nature        CONSULTING-INDEPENDENT               38400 N. SCHOOL HOUSE ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   #7854
                                         EFFECTIVE: 10/10/2019                CAVE CREEK, CA 85331
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-INS-SOW-00180
      State what the contract or         SERVICES /                           INSIDE-OUT LEARNING
2.443 lease is for and the nature        CONSULTING-INDEPENDENT               38400 N. SCHOOL HOUSE ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   #7854
                                         EFFECTIVE: 09/27/2019                CAVE CREEK, CA 85331
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -INS-SOW-01585
      State what the contract or         SERVICES /                           INSIDE-OUT LEARNING
2.444 lease is for and the nature        CONSULTING-INDEPENDENT               38400 N. SCHOOL HOUSE ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   #7854
                                                                              CAVE CREEK, CA 85331
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2020-INSIGHT-LEASE-9549              INSIGHTINVESTMENTS, LLC
2.445 lease is for and the nature        RENTAL & LEASE AGREEMENT / IT        611 ANTON BLVD # 700
      of the debtor’s interest           EQUIPMENT                            COSTA MESA, CA 92626
                                         EFFECTIVE: 11/13/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-INST-MAS-01495
      State what the contract or         BIZ DEV / LSA                   INSTAJET CLUB LTD
2.446 lease is for and the nature        EFFECTIVE: 12/18/2020           71-75 SHELTON STREET
      of the debtor’s interest                                           LONDON, WC2H 9JQ
                                                                         UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-INT-MAS-01346
      State what the contract or         LICENSE AGREEMENT / SOFTWARE INTEL CORPORATION
2.447 lease is for and the nature        EFFECTIVE: 08/27/2019          2200 MISSION COLLEGE BLVD
      of the debtor’s interest                                          SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-INT-IND-03981
      State what the contract or         LICENSE AGREEMENT / SOFTWARE INTELLIGIZE, INC.
2.448 lease is for and the nature        EFFECTIVE: 01/01/2023          230 PARK AVE
      of the debtor’s interest                                          7TH FLOOR
                                                                        NEW YORK, NY 10169
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-INT-MAS-02861
      State what the contract or         LICENSE AGREEMENT / SOFTWARE INTELLIGIZE, INC.
2.449 lease is for and the nature        EFFECTIVE: 01/01/2022          230 PARK AVE
      of the debtor’s interest                                          7TH FLOOR
                                                                        NEW YORK, NY 10169
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -INT-AMD-03094
      State what the contract or         LICENSE AGREEMENT / SOFTWARE INTELLIGIZE, INC.
2.450 lease is for and the nature                                     230 PARK AVE
      of the debtor’s interest                                        7TH FLOOR
                                                                      NEW YORK, NY 10169
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-INT-MAS-00258
      State what the contract or         SERVICES /                           INTERSTELLAR TECHNOLOGIES LLC
2.451 lease is for and the nature        CONSULTING-INDEPENDENT               709 TANNAHILL DR SE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                HUNTSVILLE, AL 35802
                                         EFFECTIVE: 04/01/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-INT-T&C-02205
      State what the contract or         PURCHASING AGREEMENT                 INTERTEST, LLC
2.452 lease is for and the nature        EFFECTIVE: 06/14/2021                303 ROUTE 94
      of the debtor’s interest                                                COLUMBIA, NJ 07832

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-INT-MAS-03625
      State what the contract or         SERVICES /                           INTRADO DIGITAL MEDIA, LLC (DBA NOTIFIED)
2.453 lease is for and the nature        CONSULTING-INDEPENDENT               11808 MIRACLE HILLS DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   OMAHA, NE 68154
                                         EFFECTIVE: 08/30/2022
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-INT-MAS-02176
      State what the contract or         SERVICE AGREEMENT                    INTRALINKS, INC.
2.454 lease is for and the nature        EFFECTIVE: 06/07/2021                685 3RD AVENUE
      of the debtor’s interest                                                9TH FLOOR
                                                                              NEW YORK, NY 10017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-IOF-MAS-02542
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IOFFICE, INC.
2.455 lease is for and the nature        EFFECTIVE: 08/31/2021          5300 MEMORIAL
      of the debtor’s interest                                          STE 300
                                                                        HOUSTON, TX 77007
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ISO-MAS-01163
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ISOGRAPH INC
2.456 lease is for and the nature        EFFECTIVE: 09/14/2020          375 SOUTH MAIN STREET
      of the debtor’s interest                                          SUITE 4
                                                                        ALPINE, UT 84004
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-ISS-AMD-01002
      State what the contract or         SERVICES /                           ISS FACILITY SERVICES, INC.
2.457 lease is for and the nature        CONSULTING-INDEPENDENT               1932 E. DEERE AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   SANTA ANA, CA 92705
                                         EFFECTIVE: 09/01/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ITC-AMD-00666
      State what the contract or         SERVICES /                           IT CONVERGENCE
2.458 lease is for and the nature        CONSULTING-INDEPENDENT               805 VETERANS BLVD SUITE 216
      of the debtor’s interest           CONTRACTOR-COMPANY                   REDWOOD CITY, CA 94063
                                         EFFECTIVE: 02/01/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-ITC-MAS-00654
      State what the contract or         SERVICES /                           IT CONVERGENCE
2.459 lease is for and the nature        CONSULTING-INDEPENDENT               805 VETERANS BLVD SUITE 216
      of the debtor’s interest           CONTRACTOR-COMPANY                   REDWOOD CITY, CA 94063
                                         EFFECTIVE: 07/01/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-ITC-MAS-00451
      State what the contract or         SERVICES /                           IT CONVERGENCE
2.460 lease is for and the nature        CONSULTING-INDEPENDENT               805 VETERANS BLVD SUITE 216
      of the debtor’s interest           CONTRACTOR-COMPANY                   REDWOOD CITY, CA 94063
                                         EFFECTIVE: 06/26/2017
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-ITC-IND-03072
      State what the contract or         PURCHASING AGREEMENT / IT            IT CONVERGENCE
2.461 lease is for and the nature        EQUIPMENT                            805 VETERANS BLVD SUITE 216
      of the debtor’s interest           EFFECTIVE: 02/09/2022                REDWOOD CITY, CA 94063

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-ITC-AMD-00660
      State what the contract or         SERVICES /                           IT CONVERGENCE
2.462 lease is for and the nature        CONSULTING-INDEPENDENT               805 VETERANS BLVD SUITE 216
      of the debtor’s interest           CONTRACTOR-COMPANY                   REDWOOD CITY, CA 94063
                                         EFFECTIVE: 06/01/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-ITC-AMD21086-01907              IT CONVERGENCE
2.463 lease is for and the nature        SERVICES                             805 VETERANS BLVD SUITE 216
      of the debtor’s interest           EFFECTIVE: 04/07/2021                REDWOOD CITY, CA 94063

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ITC-AMD-21-046
      State what the contract or         SERVICES /                           IT CONVERGENCE
2.464 lease is for and the nature        CONSULTING-INDEPENDENT               805 VETERANS BLVD SUITE 216
      of the debtor’s interest           CONTRACTOR-COMPANY                   REDWOOD CITY, CA 94063
                                         EFFECTIVE: 02/10/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ITC-AMD-01515
      State what the contract or         SERVICES /                           IT CONVERGENCE
2.465 lease is for and the nature        CONSULTING-INDEPENDENT               805 VETERANS BLVD SUITE 216
      of the debtor’s interest           CONTRACTOR-COMPANY                   REDWOOD CITY, CA 94063
                                         EFFECTIVE: 10/28/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ITC-IND-03568
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IT CONVERGENCE
2.466 lease is for and the nature        EFFECTIVE: 07/01/2022          805 VETERANS BLVD SUITE 216
      of the debtor’s interest                                          REDWOOD CITY, CA 94063

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ITC-AMD-02842
      State what the contract or         LICENSE AGREEMENT / SOFTWARE IT CONVERGENCE
2.467 lease is for and the nature        EFFECTIVE: 12/01/2021          805 VETERANS BLVD SUITE 216
      of the debtor’s interest                                          REDWOOD CITY, CA 94063

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-JAC-MAS-00508
      State what the contract or         SERVICES /                           JACK BEYER
2.468 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 05/08/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-JAM-MAS-01374
      State what the contract or         LICENSE AGREEMENT / SOFTWARE JAMA SOFTWARE, INC.
2.469 lease is for and the nature        EFFECTIVE: 01/31/2018          135 SW TAYLOR ST #200
      of the debtor’s interest                                          PORTLAND, OR 97204

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-JAM-MAS-00264
      State what the contract or         SERVICES /                           JAMES HWANG
2.470 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 10/01/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-JAM-MAS-03266
      State what the contract or         LICENSE AGREEMENT / SOFTWARE JAMES KRING, INC.
2.471 lease is for and the nature        EFFECTIVE: 03/24/2022          ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2015-JAM-MAS-01340
      State what the contract or         LICENSE AGREEMENT / SOFTWARE JAMF SOFTWARE, LLC
2.472 lease is for and the nature        EFFECTIVE: 03/16/2015          100 WASHINGTON AVE. S SUITE 1100
      of the debtor’s interest                                          MINNEAPOLIS, MN 55401

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-JEN-MAS-00380
      State what the contract or         SERVICES /                           JENSEN HUGHES, INC
2.473 lease is for and the nature        CONSULTING-INDEPENDENT               1000 WILSHIRE BLVD
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 260
                                         EFFECTIVE: 10/09/2018                LOS ANGELES, CA 90017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-JET-MAS-01370
      State what the contract or         LICENSE AGREEMENT / SOFTWARE JETBRAINS S.R.O.
2.474 lease is for and the nature        EFFECTIVE: 10/29/2019          NA HREBENECH II 1718/10
      of the debtor’s interest                                          PRAGUE, 1400
                                                                        CZECH REPUBLIC
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2023-JIR-MAS-04033
      State what the contract or         LETTER AGREEMENT                     JIRA
2.475 lease is for and the nature        EFFECTIVE: 01/01/2023                LEVEL 6, 341 GEORGE STREET
      of the debtor’s interest                                                SYDNEY, NSW 2000
                                                                              AUSTRALIA
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-JIT-IND-03511
      State what the contract or         SERVICES /                           JITTERBIT, INC.
2.476 lease is for and the nature        CONSULTING-INDEPENDENT               1301 MARINA VILLAGE PARKWAY
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 201
                                         EFFECTIVE: 06/15/2022                ALAMEDA, CA 94501
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-JIT-MAS-01341
      State what the contract or         LICENSE AGREEMENT / SOFTWARE JITTERBIT, INC.
2.477 lease is for and the nature        EFFECTIVE: 03/02/2017          1301 MARINA VILLAGE PARKWAY
      of the debtor’s interest                                          SUITE 201
                                                                        ALAMEDA, CA 94501
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-JIT-IND-01758
      State what the contract or         LICENSE AGREEMENT / SOFTWARE JITTERBIT, INC.
2.478 lease is for and the nature        EFFECTIVE: 03/02/2021          1301 MARINA VILLAGE PARKWAY
      of the debtor’s interest                                          SUITE 201
                                                                        ALAMEDA, CA 94501
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-JIT-CO-03229
      State what the contract or         LICENSE AGREEMENT / SOFTWARE JITTERBIT, INC.
2.479 lease is for and the nature        EFFECTIVE: 03/21/2022         1301 MARINA VILLAGE PARKWAY
      of the debtor’s interest                                         SUITE 201
                                                                       ALAMEDA, CA 94501
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -JOHN-MAS-01588
      State what the contract or         SERVICES /                           JOHN P. STOPHER, LLC
2.480 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 01/19/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -JOHN-SOW1-01589
      State what the contract or         SERVICES /                           JOHN P. STOPHER, LLC
2.481 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 01/19/2021
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-JOS-MAS-03174
      State what the contract or         SERVICES /                           JOSEPH SEIF VISUALS, LLC
2.482 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-COMPANY
                                         EFFECTIVE: 03/04/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-JSP-MAS-03567
      State what the contract or         BIZ DEV / MOUS/MOAS -                J-SPACE CO., LTD
2.483 lease is for and the nature        NON-BINDING                          1ST FLOOR 258, MAENGDONGSANDANJIWON-RO
      of the debtor’s interest           EFFECTIVE: 06/23/2022                GEUMWANG-EUP, EUMSEONG-GUN
                                                                              CHUNGCHEONBUK-DO,
           State the term remaining                                           KOREA, REPUBLIC OF

           List the contract number of
           any government contract

                                         CONTRACT #: 2022-JUD-MAS-03700
      State what the contract or         SERVICES / STAFFING SERVICES         JUDGE TECHNICAL SERVICES, INC.
2.484 lease is for and the nature        EFFECTIVE: 08/10/2022                12700 PARK CENTRAL DRIVE
      of the debtor’s interest                                                SUITE 1070
                                                                              DALLAS, TX 75251
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-JUD-SOW-03717
      State what the contract or         SERVICES / STAFFING SERVICES   JUDGE TECHNICAL SERVICES, INC.
2.485 lease is for and the nature        EFFECTIVE: 09/01/2022          12700 PARK CENTRAL DRIVE
      of the debtor’s interest                                          SUITE 1070
                                                                        DALLAS, TX 75251
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-JWM-MAS-02437
      State what the contract or         SERVICES / RECRUITING & DIRECT JWM TALENT LLC, DBA MONDAY TALENT
2.486 lease is for and the nature        PLACEMENT                      228 PARK AVE S
      of the debtor’s interest           EFFECTIVE: 08/12/2021          STE 37828
                                                                        NEW YORK, NY 10003
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-KAS-MAS-00447
      State what the contract or         SERVICES /                           KASTLE SYSTEMS LLC
2.487 lease is for and the nature        CONSULTING-INDEPENDENT               6402 ARLINGTON BLVD
      of the debtor’s interest           CONTRACTOR-COMPANY                   FALLS CHURCH, VA 22042
                                         EFFECTIVE: 05/01/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-KEI-MAS-00265
      State what the contract or         SERVICES /                           KEITH DAYTON
2.488 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 11/20/2019
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-KEN-SOW-02684
      State what the contract or         SERVICES / RECRUITING & DIRECT KEN REVIS & ASSOCIATES
2.489 lease is for and the nature        PLACEMENT                      3434 S NEW HOPE RD
      of the debtor’s interest           EFFECTIVE: 10/11/2021          GASTONIA, NC 28056

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-KEN-MAS-02667
      State what the contract or         SERVICES / RECRUITING & DIRECT       KEN REVIS & ASSOCIATES
2.490 lease is for and the nature        PLACEMENT                            3434 S NEW HOPE RD
      of the debtor’s interest           EFFECTIVE: 10/11/2021                GASTONIA, NC 28056

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-KHA-MAS-00176
      State what the contract or         SERVICES /                           KHARA CLOUTIER
2.491 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 03/12/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-KID-MAS-01373
      State what the contract or         LICENSE AGREEMENT / SOFTWARE KIDASA SOFTWARE, INC.
2.492 lease is for and the nature        EFFECTIVE: 02/04/2019          1114 LOST CREEK BLVD # 300
      of the debtor’s interest                                          AUSTIN, TX 78746

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-KID-MAS-01372
      State what the contract or         LICENSE AGREEMENT / SOFTWARE KIDASA SOFTWARE, INC.
2.493 lease is for and the nature        EFFECTIVE: 06/17/2019          1114 LOST CREEK BLVD # 300
      of the debtor’s interest                                          AUSTIN, TX 78746

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-KIT-MAS-00499
      State what the contract or         SERVICES /                           KITCHEN12000
2.494 lease is for and the nature        CONSULTING-INDEPENDENT               1013 1/2 CENTRAL AVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   GLENDALE, CA 91204
                                         EFFECTIVE: 02/02/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-KON-IND-02028
      State what the contract or         SERVICES                             KONGSBERG SATELLITE SERVICES AS, DOING BUSINESS AS
2.495 lease is for and the nature        EFFECTIVE: 01/01/2021                KSAT
      of the debtor’s interest                                                PRESTVANNVEIEN 38
                                                                              PO BOX 6180
           State the term remaining                                           TROMSO, 9104
                                                                              NORWAY
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-KON-SOW-02020
      State what the contract or         SERVICES /                           KONGSBERG SATELLITE SERVICES AS, DOING BUSINESS AS
2.496 lease is for and the nature        CONSULTING-INDEPENDENT               KSAT
      of the debtor’s interest           CONTRACTOR-COMPANY                   PRESTVANNVEIEN 38
                                         EFFECTIVE: 05/05/2021                PO BOX 6180
           State the term remaining                                           TROMSO, 9104
                                                                              NORWAY
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-KON-AMD-00544
      State what the contract or         SERVICES /                           KONGSBERG SATELLITE SERVICES AS, DOING BUSINESS AS
2.497 lease is for and the nature        CONSULTING-INDEPENDENT               KSAT
      of the debtor’s interest           CONTRACTOR-COMPANY                   PRESTVANNVEIEN 38
                                         EFFECTIVE: 04/01/2020                PO BOX 6180
           State the term remaining                                           TROMSO, 9104
                                                                              NORWAY
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-KON-AMD-00543
      State what the contract or         SERVICES /                           KONGSBERG SATELLITE SERVICES AS, DOING BUSINESS AS
2.498 lease is for and the nature        CONSULTING-INDEPENDENT               KSAT
      of the debtor’s interest           CONTRACTOR-COMPANY                   PRESTVANNVEIEN 38
                                         EFFECTIVE: 09/08/2017                PO BOX 6180
           State the term remaining                                           TROMSO, 9104
                                                                              NORWAY
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-KON-MAS-00479
      State what the contract or         SERVICES /                           KONGSBERG SATELLITE SERVICES AS, DOING BUSINESS AS
2.499 lease is for and the nature        CONSULTING-INDEPENDENT               KSAT
      of the debtor’s interest           CONTRACTOR-COMPANY                   PRESTVANNVEIEN 38
                                         EFFECTIVE: 12/05/2016                PO BOX 6180
           State the term remaining                                           TROMSO, 9104
                                                                              NORWAY
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-KON-AMD-00541
      State what the contract or         SERVICES /                           KONGSBERG SATELLITE SERVICES AS, DOING BUSINESS AS
2.500 lease is for and the nature        CONSULTING-INDEPENDENT               KSAT
      of the debtor’s interest           CONTRACTOR-COMPANY                   PRESTVANNVEIEN 38
                                         EFFECTIVE: 04/06/2017                PO BOX 6180
           State the term remaining                                           TROMSO, 9104
                                                                              NORWAY
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-KON-SOW-03026
      State what the contract or         SERVICES / STATEMENT OF WORK KONGSBERG SATELLITE SERVICES AS, DOING BUSINESS AS
2.501 lease is for and the nature        EFFECTIVE: 01/28/2022          KSAT
      of the debtor’s interest                                          PRESTVANNVEIEN 38
                                                                        PO BOX 6180
           State the term remaining                                     TROMSO, 9104
                                                                        NORWAY
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-KON-AMD-00706
      State what the contract or         SERVICES /                           KONGSBERG SATELLITE SERVICES AS, DOING BUSINESS AS
2.502 lease is for and the nature        CONSULTING-INDEPENDENT               KSAT
      of the debtor’s interest           CONTRACTOR-COMPANY                   PRESTVANNVEIEN 38
                                         EFFECTIVE: 08/01/2020                PO BOX 6180
           State the term remaining                                           TROMSO, 9104
                                                                              NORWAY
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-KPF-MAS-00382
      State what the contract or         SERVICES /                           KPFF CONSULTING ENGINEERS
2.503 lease is for and the nature        CONSULTING-INDEPENDENT               6080 CENTER DRIVE SUITE 300
      of the debtor’s interest           CONTRACTOR-COMPANY                   LOS ANGELES, CA 90045
                                         EFFECTIVE: 10/14/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-KON-AMD-00707
      State what the contract or         SERVICES /                     KSAT GLOBAL AS ("KSAT-G") (DISH ON CONANT)
2.504 lease is for and the nature        CONSULTING-INDEPENDENT         PRESTVANNVEGAN 38
      of the debtor’s interest           CONTRACTOR-COMPANY             9011 TROMSO
                                         EFFECTIVE: 01/01/2021
           State the term remaining                                     NORWAY

           List the contract number of
           any government contract

                                         CONTRACT #: 2017-KSA-AMD-00993
      State what the contract or         SERVICES /                           KSAT GLOBAL AS ("KSAT-G") (DISH ON CONANT)
2.505 lease is for and the nature        CONSULTING-INDEPENDENT               PRESTVANNVEGAN 38
      of the debtor’s interest           CONTRACTOR-COMPANY                   9011 TROMSO
                                         EFFECTIVE: 03/02/2017
           State the term remaining                                           NORWAY

           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-L3C-AMD19-01858                 L-3 COMMUNICATIONS INTEGRATED SYSTEMS PID
2.506 lease is for and the nature        SERVICES / STATEMENT OF WORK         7500 MAEHR ROAD
      of the debtor’s interest           EFFECTIVE: 03/19/2021                WACO, TX 76705

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-L3C-AMD-02271
      State what the contract or         SERVICES /                           L-3 COMMUNICATIONS INTEGRATED SYSTEMS PID
2.507 lease is for and the nature        CONSULTING-INDEPENDENT               7500 MAEHR ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   WACO, TX 76705
                                         EFFECTIVE: 05/21/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-L3C-MAS-00467
      State what the contract or         SERVICES / DEVELOPMENT               L-3 COMMUNICATIONS INTEGRATED SYSTEMS PID
2.508 lease is for and the nature        AGREEMENT                            7500 MAEHR ROAD
      of the debtor’s interest           EFFECTIVE: 07/13/2017                WACO, TX 76705

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-LAD-MAS-02975
      State what the contract or         SERVICES / RECRUITING & DIRECT       LADIES OF HOPE MINISTRIES
2.509 lease is for and the nature        PLACEMENT                            8 W. 126TH STREET
      of the debtor’s interest           EFFECTIVE: 01/12/2022                NEW YORK, NY 10027

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-LAS-MAS-03121
      State what the contract or         SERVICES /                           LASERS, INC.
2.510 lease is for and the nature        CONSULTING-INDEPENDENT               PO BOX 893
      of the debtor’s interest           CONTRACTOR-COMPANY                   GLENDORA, CA 91740
                                         EFFECTIVE: 02/21/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-LAT-MAS-03518
      State what the contract or         SERVICES /                           LATIMER PARTNERS LLC
2.511 lease is for and the nature        CONSULTING-INDEPENDENT               443 MESA ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   SANTA MONICA, CA 90402
                                         EFFECTIVE: 06/01/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-LAU-MAS-00257
      State what the contract or         SERVICES /                           LAUNCH GSE LLC
2.512 lease is for and the nature        CONSULTING-INDEPENDENT               214 MAIN STREET
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                SUITE 144
                                         EFFECTIVE: 09/10/2019                EL SEGUNDO, CA 90245
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -LAV-MAS-01505
      State what the contract or         SERVICES /                           LAV CONSULTING AND ENGINEERING, INC.
2.513 lease is for and the nature        CONSULTING-INDEPENDENT               12418 ROSEDALE HWY.
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE A
                                         EFFECTIVE: 12/11/2020                BAKERSFIELD, CA 93312
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -LAV-SOW1-01511
      State what the contract or         SERVICES /                           LAV CONSULTING AND ENGINEERING, INC.
2.514 lease is for and the nature        CONSULTING-INDEPENDENT               12418 ROSEDALE HWY.
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE A
                                         EFFECTIVE: 12/11/2020                BAKERSFIELD, CA 93312
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-LBI-IND-00439
      State what the contract or         LICENSE AGREEMENT / SOFTWARE LBISAT LLC
2.515 lease is for and the nature        EFFECTIVE: 03/26/2018          10288 S JORDAN GATEWAY STE K
      of the debtor’s interest                                          SOUTH JORDAN, UT 84095

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-LDP-MAS-03656
      State what the contract or         RENTAL & LEASE AGREEMENT /           LD PRODUCTS, INC.
2.516 lease is for and the nature        FACILITY/ REAL ESTATE                3700 COVER ST.
      of the debtor’s interest           EFFECTIVE: 08/01/2022                LONG BEACH, CA 90808

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-LEA-MAS-00396
      State what the contract or         SERVICES /                           LEADING EDGE AERO PERFORMANCE SERVICES, LLC
2.517 lease is for and the nature        CONSULTING-INDEPENDENT               P.O. BOX 1807
      of the debtor’s interest           CONTRACTOR-COMPANY                   MILTON, WA 98354
                                         EFFECTIVE: 04/03/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-LEA-MAS-01552
      State what the contract or         SERVICES /                           LEAF SPACE S.R.L.
2.518 lease is for and the nature        CONSULTING-INDEPENDENT               VIA CAVOUR, 2
      of the debtor’s interest           CONTRACTOR-COMPANY                   LOMAZZO, 22074
                                         EFFECTIVE: 01/01/2021                ITALY
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-LEG-MAS-00502
      State what the contract or         SERVICES /                           LEGACY CPR
2.519 lease is for and the nature        CONSULTING-INDEPENDENT               37475 LOS ALAMOS ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   MURRIETA, CA 92563
                                         EFFECTIVE: 06/22/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-LEO-MAS-02862
      State what the contract or         SERVICES /                           LEONARDO SANTAMARIA
2.520 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 12/02/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-LER-IND-00454
      State what the contract or         LETTER AGREEMENT / LEGAL             LERMAN POINTER & SPITZ LLP
2.521 lease is for and the nature        EFFECTIVE: 06/26/2018                12100 WILSHIRE BLVD., SUITE 600
      of the debtor’s interest                                                LOS ANGELES, CA 90025

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-LIF-MAS-01791
      State what the contract or         SERVICES /                           LIFESIGNS, INC.
2.522 lease is for and the nature        CONSULTING-INDEPENDENT               2222 LAVERNA AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   LOS ANGELES, CA 90041
                                         EFFECTIVE: 03/11/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-LIF-MAS-00083
      State what the contract or         SERVICES /                           LIFT‐IT MANUFACTURING COMPANY, INC. 1603
2.523 lease is for and the nature        CONSULTING-INDEPENDENT               1603 WEST 2ND STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   POMONA, CA 91766
                                         EFFECTIVE: 02/03/2020
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-LIN-MAS-03613
      State what the contract or         SERVICES                             LINKEDIN CORPORATION
2.524 lease is for and the nature        EFFECTIVE: 06/16/2022                3003 TASMAN DRIVE
      of the debtor’s interest                                                SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-LIN-IND-02815
      State what the contract or         SERVICES                             LINKEDIN CORPORATION
2.525 lease is for and the nature        EFFECTIVE: 07/21/2022                3003 TASMAN DRIVE
      of the debtor’s interest                                                SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-LIN-MAS-03582
      State what the contract or         LICENSE AGREEMENT / SOFTWARE LINKEDIN CORPORATION
2.526 lease is for and the nature        EFFECTIVE: 07/08/2022          3003 TASMAN DRIVE
      of the debtor’s interest                                          SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-LIN-IND-00616
      State what the contract or         SERVICES                             LINKEDIN CORPORATION
2.527 lease is for and the nature        EFFECTIVE: 02/01/2019                3003 TASMAN DRIVE
      of the debtor’s interest                                                SANTA CLARA, CA 95054

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-LIN-MAS-01580
      State what the contract or         SERVICES /                           LINKEDIN CORPORATION
2.528 lease is for and the nature        CONSULTING-INDEPENDENT               3003 TASMAN DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   SANTA CLARA, CA 95054
                                         EFFECTIVE: 02/01/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-LIN-MAS-00426
      State what the contract or         SERVICES /                           LINKEDIN CORPORATION
2.529 lease is for and the nature        CONSULTING-INDEPENDENT               3003 TASMAN DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   SANTA CLARA, CA 95054
                                         EFFECTIVE: 01/01/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-LIS-MAS-01251
      State what the contract or         SERVICES /                           LISA KOGAWA
2.530 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 10/01/2020
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-LIS-SOW-01253
      State what the contract or         SERVICES /                           LISA KOGAWA
2.531 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 10/01/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-LMA-MAS-00388
      State what the contract or         SERVICES /                           LMA, INC.
2.532 lease is for and the nature        CONSULTING-INDEPENDENT               353 S. BROADWAY BLVD., SUITE 201
      of the debtor’s interest           CONTRACTOR-COMPANY                   LOS ANGELES, CA 90013
                                         EFFECTIVE: 09/01/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-LOG-MAS-03952
      State what the contract or         SERVICES / RECRUITING & DIRECT       LOGIS
2.533 lease is for and the nature        PLACEMENT                            17875 VON KARMAN
      of the debtor’s interest           EFFECTIVE: 12/05/2022                SUITE 150
                                                                              IRVINE, CA 92614
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-LOG-MAS-01379
      State what the contract or         LICENSE AGREEMENT / SOFTWARE LOGMEIN
2.534 lease is for and the nature        EFFECTIVE: 04/13/2019          500 UNICORN PARK DRIVE
      of the debtor’s interest                                          WOBURN, MA 01801

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-LUC-IND-00360
      State what the contract or         LICENSE AGREEMENT / SOFTWARE LUCID SOFTWARE INC.
2.535 lease is for and the nature        EFFECTIVE: 06/01/2020          10355 SOUTH JORDAN GATEWY, SUITE 300
      of the debtor’s interest                                          SOUTH JORDAN, UT 84095

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-LUN-LSA-02402
      State what the contract or         BIZ DEV / LSA                        LUNASONDE, INC
2.536 lease is for and the nature        EFFECTIVE: 11/01/2021                PO BOX 1202
      of the debtor’s interest                                                CORTARO, AZ 85652

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-LUX-LOI-03468
      State what the contract or         BIZ DEV / LOI - NON-BINDING          LUXEMBOURG DIRECTORATE OF DEFENCE
2.537 lease is for and the nature        EFFECTIVE: 10/17/2022                LE GOUVERNEMENT DU GRAND-DUCHE DE LUXEMBOURG,
      of the debtor’s interest                                                MINISTERE DES AFFIARES ETRANGERES ET EUROPEENNES
                                                                              6, RUE DE L'ANCIEN ATHENEE
           State the term remaining                                           LUXEMBOURG, L-1144
                                                                              LUXEMBOURG
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-LUX-MAS-03832
      State what the contract or         BIZ DEV / OTHER                      LUXEMBOURG DIRECTORATE OF DEFENCE
2.538 lease is for and the nature        REVENUE/FEASIBILITY STUDY            LE GOUVERNEMENT DU GRAND-DUCHE DE LUXEMBOURG,
      of the debtor’s interest           EFFECTIVE: 10/26/2022                MINISTERE DES AFFIARES ETRANGERES ET EUROPEENNES
                                                                              6, RUE DE L'ANCIEN ATHENEE
           State the term remaining                                           LUXEMBOURG, L-1144
                                                                              LUXEMBOURG
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-MAG-T&C-00829
      State what the contract or         PURCHASING AGREEMENT                 MAGTECH
2.539 lease is for and the nature        EFFECTIVE: 08/03/2020                3902 MAGNOLIA RD.
      of the debtor’s interest                                                PEARLAND, TX 77584

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MAJ-MAS-02998
      State what the contract or         LETTER AGREEMENT / LEGAL             MAJOR, LINDSEY & AFRICA - IN HOUSE, LLC
2.540 lease is for and the nature        EFFECTIVE: 03/14/2022                700 SOUTH FLOWER ST
      of the debtor’s interest                                                SUITE 750
                                                                              LOS ANGELES, CA 90017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-MAN-MAS-00921
      State what the contract or         SERVICES /                     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
2.541 lease is for and the nature        CONSULTING-INDEPENDENT         2250 CORPORATE PARK DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY             HERNDON, VA 20171
                                         EFFECTIVE: 12/23/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-MAN-AMD-00986
      State what the contract or         SERVICES /                     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
2.542 lease is for and the nature        CONSULTING-INDEPENDENT         2250 CORPORATE PARK DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY             HERNDON, VA 20171
                                         EFFECTIVE: 08/19/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-MAN-SOW-00922
      State what the contract or         SERVICES /                     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
2.543 lease is for and the nature        CONSULTING-INDEPENDENT         2250 CORPORATE PARK DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY             HERNDON, VA 20171
                                         EFFECTIVE: 12/23/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-MAN-AMD-00923
      State what the contract or         SERVICES /                     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
2.544 lease is for and the nature        CONSULTING-INDEPENDENT         2250 CORPORATE PARK DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY             HERNDON, VA 20171
                                         EFFECTIVE: 05/26/2020
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-MAN-AMD-01797
      State what the contract or         SERVICES /                     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
2.545 lease is for and the nature        CONSULTING-INDEPENDENT         2250 CORPORATE PARK DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY             HERNDON, VA 20171
                                         EFFECTIVE: 03/12/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-MAN-SOW-01508
      State what the contract or         SERVICES /                     MANUEL MIRANDA PRACTICE LLC
2.546 lease is for and the nature        CONSULTING-INDEPENDENT         ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-COMPANY
                                         EFFECTIVE: 12/02/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-MAN-MAS-01507
      State what the contract or         SERVICES /                     MANUEL MIRANDA PRACTICE LLC
2.547 lease is for and the nature        CONSULTING-INDEPENDENT         ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-COMPANY
                                         EFFECTIVE: 12/01/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MAR-T&C-02112
      State what the contract or         PURCHASING AGREEMENT                 MARIANAS GAS CORP DBA ISLAND EQUIPMENT COMPANY
2.548 lease is for and the nature        EFFECTIVE: 05/19/2021                272 E HARMON INDUSTRIAL PARK RD
      of the debtor’s interest                                                SUITE 101
                                                                              TAMUNING, GU 96913
           State the term remaining                                           GUAM

           List the contract number of
           any government contract

                                         CONTRACT #: 2018-MAT-AMD-00596
      State what the contract or         SERVICES /                           MATECH
2.549 lease is for and the nature        CONSULTING-INDEPENDENT               31304 VIA COLINAS
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 102
                                         EFFECTIVE: 07/18/2018                WESTLAKE VILLAGE, CA 91362
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-MAT-AMD-00595
      State what the contract or         SERVICES /                           MATECH
2.550 lease is for and the nature        CONSULTING-INDEPENDENT               31304 VIA COLINAS
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 102
                                         EFFECTIVE: 07/18/2018                WESTLAKE VILLAGE, CA 91362
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-MAT-MAS-00497
      State what the contract or         SERVICES /                           MATECH
2.551 lease is for and the nature        CONSULTING-INDEPENDENT               31304 VIA COLINAS
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 102
                                         EFFECTIVE: 07/24/2018                WESTLAKE VILLAGE, CA 91362
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2017-MAT-AMD-00594
      State what the contract or         SERVICES /                           MATECH
2.552 lease is for and the nature        CONSULTING-INDEPENDENT               31304 VIA COLINAS
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 102
                                         EFFECTIVE: 12/19/2017                WESTLAKE VILLAGE, CA 91362
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MAT-MAS-02391
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MATERIALISE USA LLC
2.553 lease is for and the nature        EFFECTIVE: 07/27/2021          44650 HELM CT
      of the debtor’s interest                                          PLYMOUTH, MI 48170

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-MAT-MAS-01380
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MATERIALISE USA LLC
2.554 lease is for and the nature        EFFECTIVE: 05/15/2019          44650 HELM CT
      of the debtor’s interest                                          PLYMOUTH, MI 48170

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-MAT-AMD-00575
      State what the contract or         SERVICES /                           MATERIALS RESEARCH&DESIGN INC.
2.555 lease is for and the nature        CONSULTING-INDEPENDENT               300 EAST SWEDSFORD ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   WAYNE, PA 19087
                                         EFFECTIVE: 12/13/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-MAT-AMD-00578
      State what the contract or         SERVICES /                           MATERIALS RESEARCH&DESIGN INC.
2.556 lease is for and the nature        CONSULTING-INDEPENDENT               300 EAST SWEDSFORD ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   WAYNE, PA 19087
                                         EFFECTIVE: 08/05/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-MAT-AMD-00573
      State what the contract or         SERVICES /                           MATERIALS RESEARCH&DESIGN INC.
2.557 lease is for and the nature        CONSULTING-INDEPENDENT               300 EAST SWEDSFORD ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   WAYNE, PA 19087
                                         EFFECTIVE: 03/27/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-MAT-AMD-00572
      State what the contract or         SERVICES /                           MATERIALS RESEARCH&DESIGN INC.
2.558 lease is for and the nature        CONSULTING-INDEPENDENT               300 EAST SWEDSFORD ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   WAYNE, PA 19087
                                         EFFECTIVE: 12/31/2017
           State the term remaining
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-MAT-AMD-00574
      State what the contract or         SERVICES /                           MATERIALS RESEARCH&DESIGN INC.
2.559 lease is for and the nature        CONSULTING-INDEPENDENT               300 EAST SWEDSFORD ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   WAYNE, PA 19087
                                         EFFECTIVE: 07/16/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MAT-AMD-02446
      State what the contract or         SERVICES /                           MATERIALS RESEARCH&DESIGN INC.
2.560 lease is for and the nature        CONSULTING-INDEPENDENT               300 EAST SWEDSFORD ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   WAYNE, PA 19087
                                         EFFECTIVE: 08/16/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-MAT-AMD-00571
      State what the contract or         SERVICES /                           MATERIALS RESEARCH&DESIGN INC.
2.561 lease is for and the nature        CONSULTING-INDEPENDENT               300 EAST SWEDSFORD ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   WAYNE, PA 19087
                                         EFFECTIVE: 07/28/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-MAT-MAS-00470
      State what the contract or         SERVICES /                           MATERIALS RESEARCH&DESIGN INC.
2.562 lease is for and the nature        CONSULTING-INDEPENDENT               300 EAST SWEDSFORD ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   WAYNE, PA 19087
                                         EFFECTIVE: 01/23/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-MAT-IND-00489
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MATHWORKS INC.
2.563 lease is for and the nature        EFFECTIVE: 06/09/2019          PO BOX 21301
      of the debtor’s interest                                          NEW YORK, NY 10087-1301

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MAT-MAS-03698
      State what the contract or         SERVICES / STAFFING SERVICES         MATRIX RESOURCES, LLC
2.564 lease is for and the nature        EFFECTIVE: 08/10/2022                400 PERIMETER CENTER TERRACE
      of the debtor’s interest                                                SUITE 300
                                                                              ATLANTA, GA 30346
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MAT-SOW-03710
      State what the contract or         SERVICES / STAFFING SERVICES   MATRIX RESOURCES, LLC
2.565 lease is for and the nature        EFFECTIVE: 08/12/2022          400 PERIMETER CENTER TERRACE
      of the debtor’s interest                                          SUITE 300
                                                                        ATLANTA, GA 30346
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-MAT-IND-01920
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MATTERMOST, INC
2.566 lease is for and the nature        EFFECTIVE: 04/07/2021          20 CALIFORNIA ST
      of the debtor’s interest                                          SUITE 250
                                                                        SAN FRANCISCO, CA 94111
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-MAT-IND-00668
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MATTERMOST, INC
2.567 lease is for and the nature        EFFECTIVE: 06/30/2019          20 CALIFORNIA ST
      of the debtor’s interest                                          SUITE 250
                                                                        SAN FRANCISCO, CA 94111
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MAT-MAS-01943
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MATTERMOST, INC
2.568 lease is for and the nature        EFFECTIVE: 06/30/2021          20 CALIFORNIA ST
      of the debtor’s interest                                          SUITE 250
                                                                        SAN FRANCISCO, CA 94111
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MAT-IND-03510
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MATTERMOST, INC
2.569 lease is for and the nature        EFFECTIVE: 06/30/2022          20 CALIFORNIA ST
      of the debtor’s interest                                          SUITE 250
                                                                        SAN FRANCISCO, CA 94111
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-MAT-IND-00872
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MATTERMOST, INC
2.570 lease is for and the nature        EFFECTIVE: 06/30/2020          20 CALIFORNIA ST
      of the debtor’s interest                                          SUITE 250
                                                                        SAN FRANCISCO, CA 94111
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-MAT-MAS-00244
      State what the contract or         SERVICES /                           MATTHEW JANE
2.571 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 02/20/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MAT-SOW-02122
      State what the contract or         SERVICES /                     MATTHEW LA PAN (DBA LA PAN RESEARCH LLC)
2.572 lease is for and the nature        CONSULTING-INDEPENDENT         3826 W 105TH ST
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL          INGLEWOOD, CA 90303
                                         EFFECTIVE: 06/19/2021
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-MAT-MAS-01709
      State what the contract or         LICENSE AGREEMENT /                  MATTHEW LA PAN (DBA LA PAN RESEARCH LLC)
2.573 lease is for and the nature        TECHNOLOGY LICENSE                   3826 W 105TH ST
      of the debtor’s interest           AGREEMENT                            INGLEWOOD, CA 90303
                                         EFFECTIVE: 02/22/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-MAT-MAS-00246
      State what the contract or         SERVICES /                           MATTHEW LA PAN (DBA LA PAN RESEARCH LLC)
2.574 lease is for and the nature        CONSULTING-INDEPENDENT               3826 W 105TH ST
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                INGLEWOOD, CA 90303
                                         EFFECTIVE: 04/12/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MCG-T&C-02500
      State what the contract or         RENTAL & LEASE AGREEMENT /           MCGRATH RENTCORP DBA TRS-RENTELCO
2.575 lease is for and the nature        EQUIPMENT                            1830 WEST AIRFIELD DRIVE; DFW AIRPORT
      of the debtor’s interest           EFFECTIVE: 09/01/2021                P. O. BOX 619260
                                                                              DALLAS, TX 75261-9260
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MCK-T&C-01570
      State what the contract or         PURCHASING AGREEMENT                 MCKENNA ENGINEERING & EQUIPMENT CO., INC.
2.576 lease is for and the nature        EFFECTIVE: 01/05/2021                13720 CIMARRON AVENUE
      of the debtor’s interest                                                GARDENA, CA 90249-2462

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MCK-MAS-03766
      State what the contract or         SERVICES /                           MCKINSEY & COMPANY, INC.
2.577 lease is for and the nature        CONSULTING-INDEPENDENT               78 SW 7TH STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 1000
                                         EFFECTIVE: 09/12/2022                MIAMI, FL 33130
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MCK-MAS-01593
      State what the contract or         SERVICES /                           MCKINSEY & COMPANY, INC.
2.578 lease is for and the nature        CONSULTING-INDEPENDENT               78 SW 7TH STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 1000
                                         EFFECTIVE: 01/22/2021                MIAMI, FL 33130
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -MCK-SOW-01790
      State what the contract or         SERVICES /                           MCKINSEY & COMPANY, INC.
2.579 lease is for and the nature        CONSULTING-INDEPENDENT               78 SW 7TH STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 1000
                                                                              MIAMI, FL 33130
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-MEA-T&C-02559
      State what the contract or         PURCHASING AGREEMENT                 MEASUREMENT SPECIALTIES, INC.
2.580 lease is for and the nature        EFFECTIVE: 09/17/2021                1000 LUCAS WAY
      of the debtor’s interest                                                HAMPTON, VA 23666

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MEE-MAS-02325
      State what the contract or         LETTER AGREEMENT               MEEKS, BUTERA & ISRAEL PLLC
2.581 lease is for and the nature        EFFECTIVE: 06/29/2021          2020 PENNSYLVANIA AVENUE NW #478
      of the debtor’s interest                                          WASHINGTON, DC 20006

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MET-MAS-03951
      State what the contract or         SERVICES /                           MET OFFICE
2.582 lease is for and the nature        CONSULTING-INDEPENDENT               FITZROY ROAD
      of the debtor’s interest           CONTRACTOR-COMPANY                   EXETER, EXETER, EX1 3PB
                                         EFFECTIVE: 12/07/2022                UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-MET-MAS-00261
      State what the contract or         SERVICES /                           METROSYS, INC.
2.583 lease is for and the nature        CONSULTING-INDEPENDENT               113 W. G STREET #656
      of the debtor’s interest           CONTRACTOR-COMPANY                   SAN DIEGO, CA 92101
                                         EFFECTIVE: 11/25/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MET-MAS-03551
      State what the contract or         SERVICES /                           METROSYS, INC.
2.584 lease is for and the nature        CONSULTING-INDEPENDENT               113 W. G STREET #656
      of the debtor’s interest           CONTRACTOR-COMPANY                   SAN DIEGO, CA 92101
                                         EFFECTIVE: 06/15/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-MET-MAS-00196
      State what the contract or         SERVICES / STAFFING SERVICES         METROSYS, INC.
2.585 lease is for and the nature        EFFECTIVE: 03/23/2020                113 W. G STREET #656
      of the debtor’s interest                                                SAN DIEGO, CA 92101

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-MIC-MAS-01377
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MICRO MOTION, INC.
2.586 lease is for and the nature        EFFECTIVE: 01/17/2019          7070 WINCHESTER CIRCLE
      of the debtor’s interest                                          BOULDER, CO 80301

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-MIC-IND-03402
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MICROSOFT CORPORATION
2.587 lease is for and the nature        EFFECTIVE: 04/25/2022          1 MICROSOFT WAY
      of the debtor’s interest                                          REDMOND, WA 98052

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MIC-IND-03880
      State what the contract or         LICENSE AGREEMENT                    MICROSOFT CORPORATION
2.588 lease is for and the nature        EFFECTIVE: 08/13/2022                1 MICROSOFT WAY
      of the debtor’s interest                                                REDMOND, WA 98052

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-MIC-MAS-02367-U8592097-E415 MICROSOFT CORPORATION
2.589 lease is for and the nature        2472                             1 MICROSOFT WAY
      of the debtor’s interest           LICENSE AGREEMENT / SOFTWARE REDMOND, WA 98052
                                         EFFECTIVE: 08/05/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MIC-IND-03886
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MICROSOFT CORPORATION
2.590 lease is for and the nature        EFFECTIVE: 11/01/2022          1 MICROSOFT WAY
      of the debtor’s interest                                          REDMOND, WA 98052

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MIC-IND-03179
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MICROSOFT CORPORATION
2.591 lease is for and the nature        EFFECTIVE: 03/07/2022          1 MICROSOFT WAY
      of the debtor’s interest                                          REDMOND, WA 98052

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MIC-MAS-03687
      State what the contract or         LICENSE AGREEMENT                    MICROSOFT CORPORATION
2.592 lease is for and the nature        EFFECTIVE: 08/02/2022                1 MICROSOFT WAY
      of the debtor’s interest                                                REDMOND, WA 98052

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MIC-IND-03139
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MICROSOFT CORPORATION
2.593 lease is for and the nature        EFFECTIVE: 02/18/2022          1 MICROSOFT WAY
      of the debtor’s interest                                          REDMOND, WA 98052

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-MIC-IND-03799
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MICROSOFT CORPORATION
2.594 lease is for and the nature        EFFECTIVE: 09/23/2022          1 MICROSOFT WAY
      of the debtor’s interest                                          REDMOND, WA 98052

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MIL-MAS-03522
      State what the contract or         LETTER AGREEMENT / ADVISOR           MILBANK, LLP
2.595 lease is for and the nature        EFFECTIVE: 06/08/2022                55 HUDSON YARDS
      of the debtor’s interest                                                NEW YORK, NY 10001-2163

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MIR-SOW-03785
      State what the contract or         SERVICES /                           MIRG COMUNICAÇÃO & INTELIGÊNCIA ESTRATÉGICA
2.596 lease is for and the nature        CONSULTING-INDEPENDENT               RUA DO TAMBUS, 333
      of the debtor’s interest           CONTRACTOR-COMPANY                   MONTE CARMELO, MG, 38500
                                         EFFECTIVE: 09/30/2022                BRAZIL
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MIR-MAS-03775
      State what the contract or         SERVICES /                           MIRG COMUNICAÇÃO & INTELIGÊNCIA ESTRATÉGICA
2.597 lease is for and the nature        CONSULTING-INDEPENDENT               RUA DO TAMBUS, 333
      of the debtor’s interest           CONTRACTOR-COMPANY                   MONTE CARMELO, MG, 38500
                                         EFFECTIVE: 09/13/2022                BRAZIL
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-MOJ-AMD-01407
      State what the contract or         RENTAL & LEASE AGREEMENT /           MOJAVE AIR AND SPACE PORT
2.598 lease is for and the nature        FACILITY/ REAL ESTATE                1434 FLIGHTLINE
      of the debtor’s interest           EFFECTIVE: 06/14/2018                MOJAVE, CA 93501

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MOJ-IND-02788
      State what the contract or         RENTAL & LEASE AGREEMENT /           MOJAVE AIR AND SPACE PORT
2.599 lease is for and the nature        FACILITY/ REAL ESTATE                1434 FLIGHTLINE
      of the debtor’s interest           EFFECTIVE: 01/01/2022                MOJAVE, CA 93501

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MOJ-MAS-02866
      State what the contract or         RENTAL & LEASE AGREEMENT /           MOJAVE AIR AND SPACE PORT
2.600 lease is for and the nature        FACILITY/ REAL ESTATE                1434 FLIGHTLINE
      of the debtor’s interest           EFFECTIVE: 12/03/2021                MOJAVE, CA 93501

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-MOJ-MAS-02873
      State what the contract or         RENTAL & LEASE AGREEMENT /           MOJAVE AIR AND SPACE PORT
2.601 lease is for and the nature        FACILITY/ REAL ESTATE                1434 FLIGHTLINE
      of the debtor’s interest           EFFECTIVE: 01/27/2022                MOJAVE, CA 93501

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MOJ-IND-02879
      State what the contract or         RENTAL & LEASE AGREEMENT /           MOJAVE AIR AND SPACE PORT
2.602 lease is for and the nature        FACILITY/ REAL ESTATE                1434 FLIGHTLINE
      of the debtor’s interest           EFFECTIVE: 03/03/2022                MOJAVE, CA 93501

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-MON-MAS-03347
      State what the contract or         SERVICES /                     MONSOON SOLUTIONS, INC.
2.603 lease is for and the nature        CONSULTING-INDEPENDENT         2405 140TH AVE NE SUITE A115
      of the debtor’s interest           CONTRACTOR-COMPANY             BELLEVUE, WA 98005
                                         EFFECTIVE: 04/18/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-MOR-MAS-01349
      State what the contract or         LICENSE AGREEMENT / SOFTWARE MORE4APPS INC.
2.604 lease is for and the nature        EFFECTIVE: 01/01/2019          4695 MACARTHUR CT 11TH FL
      of the debtor’s interest                                          NEWPORT BEACH, CA 92660

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-MOS-MAS-00477
      State what the contract or         SERVICES /                     MOSAIC CONSULTING GROUP, LLC
2.605 lease is for and the nature        CONSULTING-INDEPENDENT         2503 EUGENIA AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY             NASHVILLE, TN 37211
                                         EFFECTIVE: 01/22/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -MOS-MAS-01878
      State what the contract or         SERVICES /                           MOSAIC CONSULTING GROUP, LLC
2.606 lease is for and the nature        CONSULTING-INDEPENDENT               2503 EUGENIA AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   NASHVILLE, TN 37211

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-TWO-MAS-00271
      State what the contract or         SERVICES / STAFFING SERVICES   MOTIVE WORKFORCE SOLUTIONS
2.607 lease is for and the nature        EFFECTIVE: 02/01/2018          5122 BOLSA AVENUE
      of the debtor’s interest                                          SUITE 112
                                                                        HUNTINGTON BEACH, CA 92649
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-TWO-AMD-00309
      State what the contract or         SERVICES / STAFFING SERVICES   MOTIVE WORKFORCE SOLUTIONS
2.608 lease is for and the nature        EFFECTIVE: 05/07/2018          5122 BOLSA AVENUE
      of the debtor’s interest                                          SUITE 112
                                                                        HUNTINGTON BEACH, CA 92649
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-MWC-T&C-01766
      State what the contract or         PURCHASING AGREEMENT           MW COMM SYSTEMS
2.609 lease is for and the nature        EFFECTIVE: 03/05/2021          408 ANTELOPE COURT
      of the debtor’s interest                                          MCKINNEY, TX 75071

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-SAA2-403586
      State what the contract or         SERVICES                             NASA AMES RESEARCH CENTER
2.610 lease is for and the nature        EFFECTIVE: 09/07/2020                PO BOX 1
      of the debtor’s interest                                                MOFFETT FIELD, CA 94035

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2022-SAA2-403586-ANX2-AMD5           NASA AMES RESEARCH CENTER
2.611 lease is for and the nature        SERVICES / STATEMENT OF WORK         PO BOX 1
      of the debtor’s interest           EFFECTIVE: 01/19/2022                MOFFETT FIELD, CA 94035

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2012-SAA2-402686
      State what the contract or         SERVICES /                           NASA AMES RESEARCH CENTER
2.612 lease is for and the nature        CONSULTING-INDEPENDENT               PO BOX 1
      of the debtor’s interest           CONTRACTOR-COMPANY                   MOFFETT FIELD, CA 94035
                                         EFFECTIVE: 07/13/2012
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         -SAA2-403586-ANX3-AMD2               NASA AMES RESEARCH CENTER
2.613 lease is for and the nature        SERVICES /                           PO BOX 1
      of the debtor’s interest           CONSULTING-INDEPENDENT               MOFFETT FIELD, CA 94035
                                         CONTRACTOR-COMPANY
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2023-NAS-SOW-03994
      State what the contract or         SERVICES                       NASA AMES RESEARCH CENTER
2.614 lease is for and the nature        EFFECTIVE: 01/06/2023          PO BOX 1
      of the debtor’s interest                                          MOFFETT FIELD, CA 94035

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #:
      State what the contract or         -SAA2-403586-ANX3-AMD3               NASA AMES RESEARCH CENTER
2.615 lease is for and the nature        SERVICES /                           PO BOX 1
      of the debtor’s interest           CONSULTING-INDEPENDENT               MOFFETT FIELD, CA 94035
                                         CONTRACTOR-COMPANY
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-NAS-AMD-03576
      State what the contract or         SERVICES                             NASA AMES RESEARCH CENTER
2.616 lease is for and the nature        EFFECTIVE: 10/06/2020                PO BOX 1
      of the debtor’s interest                                                MOFFETT FIELD, CA 94035

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-SAA2-403586-ANX2-AMD4           NASA AMES RESEARCH CENTER
2.617 lease is for and the nature        SERVICES                             PO BOX 1
      of the debtor’s interest           EFFECTIVE: 11/12/2021                MOFFETT FIELD, CA 94035

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2020-SAA2-403586-ANX1                NASA AMES RESEARCH CENTER
2.618 lease is for and the nature        SERVICES                             PO BOX 1
      of the debtor’s interest           EFFECTIVE: 09/07/2020                MOFFETT FIELD, CA 94035

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2022-VADR-IDIQ-220126                NASA KENNEDY SPACE CENTER
2.619 lease is for and the nature        BIZ DEV / OTHER                      NASA JOHN F. KENNEDY OFFICE OF PROCUREMENT
      of the debtor’s interest           REVENUE/FEASIBILITY STUDY            OP-LS
                                         EFFECTIVE: 01/26/2022                MERRITT ISLAND, FL 32899
           State the term remaining
           List the contract number of   80KSC022DA111
           any government contract

                                         CONTRACT #:
      State what the contract or         2022-KSC-RFP-10990021                NASA KENNEDY SPACE CENTER
2.620 lease is for and the nature        BIZ DEV                              NASA JOHN F. KENNEDY OFFICE OF PROCUREMENT
      of the debtor’s interest           EFFECTIVE: 02/09/2022                OP-LS
                                                                              MERRITT ISLAND, FL 32899
           State the term remaining
           List the contract number of   RFP10-99-0021 (IDIQ)
           any government contract

                                         CONTRACT #: -JSC-SAARA-2134796
      State what the contract or         SERVICES /                           NASA LYNDON B JOHNSON SPACE CENTER
2.621 lease is for and the nature        CONSULTING-INDEPENDENT               2101 E NASA PKWY
      of the debtor’s interest           CONTRACTOR-COMPANY                   HOUSTON, TX 77058
                                         EFFECTIVE: 10/11/2021
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2017-SAA8-1725209
      State what the contract or         SERVICES /                           NASA MARSHALL SPACE FLIGHT CENTER
2.622 lease is for and the nature        CONSULTING-INDEPENDENT               4600 RIDEOUT RD SW BLDG 4200
      of the debtor’s interest           CONTRACTOR-COMPANY                   HUNTSVILLE, AL 35812-0001
                                         EFFECTIVE: 06/09/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2023-NAS-SOW-04062
      State what the contract or         SERVICES / STATEMENT OF WORK NASA MARSHALL SPACE FLIGHT CENTER
2.623 lease is for and the nature                                       4600 RIDEOUT RD SW BLDG 4200
      of the debtor’s interest                                          HUNTSVILLE, AL 35812-0001

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-SAA8-1725209-ANX10              NASA MARSHALL SPACE FLIGHT CENTER
2.624 lease is for and the nature        SERVICES                             4600 RIDEOUT RD SW BLDG 4200
      of the debtor’s interest           EFFECTIVE: 07/20/2021                HUNTSVILLE, AL 35812-0001

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-NAS-RFP-03931
      State what the contract or         BIZ DEV / OTHER                      NASA NATIONAL AERONAUTIC AND SPACE ADMINISTRATION
2.625 lease is for and the nature        REVENUE/FEASIBILITY STUDY            300 E STREET SW
      of the debtor’s interest           EFFECTIVE: 11/22/2022                WASHINGTON, DC 20546

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-NAS-MAS-03930
      State what the contract or         BIZ DEV / OTHER                      NASA NATIONAL AERONAUTIC AND SPACE ADMINISTRATION
2.626 lease is for and the nature        REVENUE/FEASIBILITY STUDY            300 E STREET SW
      of the debtor’s interest           EFFECTIVE: 11/22/2022                WASHINGTON, DC 20546

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-NAT-AMD-00517
      State what the contract or         LICENSE AGREEMENT / SOFTWARE NATIONAL INSTRUMENTS CORPORATION
2.627 lease is for and the nature        EFFECTIVE: 04/28/2020          11500 N. MOPAC EXPRESSWAY
      of the debtor’s interest                                          AUSTIN, TX 78759-3504

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-NAT-T&C-03563
      State what the contract or         LICENSE AGREEMENT / SOFTWARE NATIONAL INSTRUMENTS CORPORATION
2.628 lease is for and the nature        EFFECTIVE: 06/21/2022          11500 N. MOPAC EXPRESSWAY
      of the debtor’s interest                                          AUSTIN, TX 78759-3504

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-NAT-AMD-00516
      State what the contract or         LICENSE AGREEMENT / SOFTWARE NATIONAL INSTRUMENTS CORPORATION
2.629 lease is for and the nature        EFFECTIVE: 06/20/2019          11500 N. MOPAC EXPRESSWAY
      of the debtor’s interest                                          AUSTIN, TX 78759-3504

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-NAT-MAS-03549
      State what the contract or         LICENSE AGREEMENT / SOFTWARE NATIONAL INSTRUMENTS CORPORATION
2.630 lease is for and the nature        EFFECTIVE: 06/15/2022          11500 N. MOPAC EXPRESSWAY
      of the debtor’s interest                                          AUSTIN, TX 78759-3504

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-NAT-T&C-00368
      State what the contract or         SERVICE AGREEMENT                    NATIONAL INSTRUMENTS CORPORATION
2.631 lease is for and the nature        EFFECTIVE: 04/18/2019                11500 N. MOPAC EXPRESSWAY
      of the debtor’s interest                                                AUSTIN, TX 78759-3504

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-NAT-MAS-00515
      State what the contract or         LICENSE AGREEMENT / SOFTWARE NATIONAL INSTRUMENTS CORPORATION
2.632 lease is for and the nature        EFFECTIVE: 06/15/2019          11500 N. MOPAC EXPRESSWAY
      of the debtor’s interest                                          AUSTIN, TX 78759-3504

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-NAT-IND-03076
      State what the contract or         TERM SHEET                           NATIONAL INSTRUMENTS CORPORATION
2.633 lease is for and the nature        EFFECTIVE: 02/15/2022                11500 N. MOPAC EXPRESSWAY
      of the debtor’s interest                                                AUSTIN, TX 78759-3504

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2019-WD-CSA-18-2681-1184             NAVAL AIR WARFARE CENTER WEAPONS DIVISION
2.634 lease is for and the nature        SERVICES                             DEPARTMENT OF THE NAVY
      of the debtor’s interest           EFFECTIVE: 03/18/2019                575 I AVENUE, SUITE 1
                                                                              POINT MUGU, CA 93042-5049
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2022-NAWCWD-18-2681-1184-A002        NAVAL AIR WARFARE CENTER WEAPONS DIVISION
2.635 lease is for and the nature        SERVICES                             DEPARTMENT OF THE NAVY
      of the debtor’s interest           EFFECTIVE: 02/14/2022                575 I AVENUE, SUITE 1
                                                                              POINT MUGU, CA 93042-5049
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #:
      State what the contract or         2020-WD-CSA-18-2681-1184-A001        NAVAL AIR WARFARE CENTER WEAPONS DIVISION
2.636 lease is for and the nature        SERVICES                             DEPARTMENT OF THE NAVY
      of the debtor’s interest           EFFECTIVE: 06/18/2020                575 I AVENUE, SUITE 1
                                                                              POINT MUGU, CA 93042-5049
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-NAV-IND-00462
      State what the contract or         LICENSE AGREEMENT / SOFTWARE NAVEX GLOBAL, INC.
2.637 lease is for and the nature        EFFECTIVE: 09/03/2019          6000 MEADOWS ROAD STE, 200
      of the debtor’s interest                                          LAKE OSWEGO, OR 97035

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-NAV-IND-02665
      State what the contract or         SERVICES / STATEMENT OF WORK         NAVEX GLOBAL, INC.
2.638 lease is for and the nature        EFFECTIVE: 10/11/2021                6000 MEADOWS ROAD STE, 200
      of the debtor’s interest                                                LAKE OSWEGO, OR 97035

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-NCF-T&C-02243
      State what the contract or         PURCHASING AGREEMENT                 NCFI POLYURETHANES, INC.
2.639 lease is for and the nature        EFFECTIVE: 06/25/2021                1515 CARTER ST.
      of the debtor’s interest                                                MT AIRY, NC 27030

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-NEV-MAS-02184
      State what the contract or         SERVICES /                           NEVELEX CORPORATION
2.640 lease is for and the nature        CONSULTING-INDEPENDENT               2950 METRO DRIVE, SUITE 104
      of the debtor’s interest           CONTRACTOR-COMPANY                   BLOOMINGTON, MN 55425
                                         EFFECTIVE: 06/08/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-NEV-SOW-02194
      State what the contract or         SERVICES /                     NEVELEX CORPORATION
2.641 lease is for and the nature        CONSULTING-INDEPENDENT         2950 METRO DRIVE, SUITE 104
      of the debtor’s interest           CONTRACTOR-COMPANY             BLOOMINGTON, MN 55425
                                         EFFECTIVE: 06/14/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-NEX-MAS-03893
      State what the contract or         SERVICES /                           NEXINFO
2.642 lease is for and the nature        CONSULTING-INDEPENDENT               615 W CIVIC CENTER DR SUITE 300
      of the debtor’s interest           CONTRACTOR-COMPANY                   SANTA ANA, CA 92701
                                         EFFECTIVE: 11/21/2022
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-NEX-MAS-00247
      State what the contract or         SERVICES /                           NEXTNEXTNEXT, LLC
2.643 lease is for and the nature        CONSULTING-INDEPENDENT               13228 CENTRAL AVE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                UNIT 104
                                         EFFECTIVE: 09/01/2019                HAWTHORNE, CA 90250
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-NIC-MAS-02989
      State what the contract or         SERVICES /                           NICHOLAS A.R. FOX
2.644 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 01/11/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-NIC-MAS-02964
      State what the contract or         SERVICES /                           NICHOLSON STAFFING SOLUTIONS LLC DBA NSS RPO
2.645 lease is for and the nature        CONSULTING-INDEPENDENT               13921 PARK CENTER RD
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 270
                                         EFFECTIVE: 01/17/2022                HERNDON, VA 20171
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-NIN-IND-00491
      State what the contract or         LICENSE AGREEMENT / SOFTWARE NINJIO LLC
2.646 lease is for and the nature        EFFECTIVE: 02/20/2019          2820 TOWNSGATE RD
      of the debtor’s interest                                          SUITE 101
                                                                        WESTLAKE VILLAGE, CA 91361
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-NOR-IND-01285
      State what the contract or         LICENSE AGREEMENT / SOFTWARE NORTHERN SKY RESEARCH, LLC
2.647 lease is for and the nature        EFFECTIVE: 10/20/2020          ONE MIFFLIN PLACE
      of the debtor’s interest                                          CAMBRIDGE, MA 02138

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-NOR-SLA-01088
      State what the contract or         LICENSE AGREEMENT / SOFTWARE NORTHWOODS SOFTWARE CORPORATION
2.648 lease is for and the nature        EFFECTIVE: 07/09/2019          142 MAIN ST
      of the debtor’s interest                                          NASHUA, NH 03060

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-NTW-MAS-01336
      State what the contract or         LICENSE AGREEMENT / SOFTWARE NT-WARE U.S.A., INC.
2.649 lease is for and the nature        EFFECTIVE: 07/29/2019          105 MAXESS ROAD, SUITE 129S
      of the debtor’s interest                                          MELVILLE, NY 11747

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: -NYB-MAS-03271
      State what the contract or         SERVICES / PEOPLE EVENT &            NYBLL
2.650 lease is for and the nature        SERVICES                             6851 THE TURN
      of the debtor’s interest           EFFECTIVE: 04/22/2019                OAKLAND, CA 94611

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-OCT-SOW-02013
      State what the contract or         SERVICES /                     OCTAGON II, INC.
2.651 lease is for and the nature        CONSULTING-INDEPENDENT         1800 OLD MEADOW ROAD #1119
      of the debtor’s interest           CONTRACTOR-COMPANY             MCLEAN, VA 22102
                                         EFFECTIVE: 05/17/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-OCT-ICA-MAS-02012               OCTAGON II, INC.
2.652 lease is for and the nature        SERVICES /                           1800 OLD MEADOW ROAD #1119
      of the debtor’s interest           CONSULTING-INDEPENDENT               MCLEAN, VA 22102
                                         CONTRACTOR-COMPANY
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-OFF-MAS-01335
      State what the contract or         LICENSE AGREEMENT / SOFTWARE OFFICESPACE SOFTWARE INC.
2.653 lease is for and the nature        EFFECTIVE: 01/01/2019          228 PARK AVENUE SOUTH
      of the debtor’s interest                                          #39903
                                                                        NEW YORK, NY 10003
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -ONE-MAS-03956
      State what the contract or         LETTER AGREEMENT                     ONEWEB, LTD.
2.654 lease is for and the nature        EFFECTIVE: 12/12/2022                1785 GREENSBORO STATION PLACE
      of the debtor’s interest                                                TOWER 3, SUITE 500
                                                                              MCLEAN, VA 22102
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-OPE-MAS-01368
      State what the contract or         LICENSE AGREEMENT / SOFTWARE OPENLM LTD
2.655 lease is for and the nature        EFFECTIVE: 06/29/2019          SDEROT HANASSI 1
      of the debtor’s interest                                          PARDESIYA, 4281500
                                                                        ISRAEL
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ORA-MAS-02455
      State what the contract or         LICENSE AGREEMENT / SOFTWARE ORACLE AMERICA, INC.
2.656 lease is for and the nature        EFFECTIVE: 08/18/2021          PO BOX 44471
      of the debtor’s interest                                          SAN FRANCISCO, CA 94144-4471

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-ORA-MAS-01939
      State what the contract or         SERVICES / PEOPLE EVENT &      ORANGE TREE EMPLOYMENT SCREENING LLC
2.657 lease is for and the nature        SERVICES                       7275 OHNS LANE
      of the debtor’s interest           EFFECTIVE: 07/01/2021          EDINA, MN 55439

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ORB-MAS-00429
      State what the contract or         RENTAL & LEASE AGREEMENT /     ORBIT COMMUNICATION SYSTEMS, INC
2.658 lease is for and the nature        REAL PROPERTY LEASE            716 S. MILITARY TRAIL
      of the debtor’s interest           EFFECTIVE: 11/27/2019          DEERFIELD BEACH, FL 33442

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ORK-MAS-00443
      State what the contract or         SERVICES /                     ORKIN SERVICES OF CALIFORNIA, INC
2.659 lease is for and the nature        CONSULTING-INDEPENDENT         12710 MAGNOLIA AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY             RIVERSIDE, CA 92503
                                         EFFECTIVE: 10/28/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-ORK-MAS-03854
      State what the contract or         SERVICES /                     ORKIN SERVICES OF CALIFORNIA, INC
2.660 lease is for and the nature        CONSULTING-INDEPENDENT         12710 MAGNOLIA AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY             RIVERSIDE, CA 92503
                                         EFFECTIVE: 10/18/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ORK-MAS-02394
      State what the contract or         SERVICES /                     ORKIN SERVICES OF CALIFORNIA, INC
2.661 lease is for and the nature        CONSULTING-INDEPENDENT         12710 MAGNOLIA AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY             RIVERSIDE, CA 92503
                                         EFFECTIVE: 08/09/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-ORO-T&C-02924
      State what the contract or         PURCHASING AGREEMENT                 OROLIA USA, INC.
2.662 lease is for and the nature        EFFECTIVE: 12/16/2021                45 BECKER ROAD
      of the debtor’s interest                                                SUITE A
                                                                              WEST HENRIETTA, NY 14586
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-OUT-AMD-00615
      State what the contract or         SERVICES /                           OUTER REACH LLC
2.663 lease is for and the nature        CONSULTING-INDEPENDENT               5139 WES 132ND STREET
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                HAWTHORNE, CA 90250
                                         EFFECTIVE: 09/09/2017
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2017-OUT-MAS-00421
      State what the contract or         SERVICES /                           OUTER REACH LLC
2.664 lease is for and the nature        CONSULTING-INDEPENDENT               5139 WES 132ND STREET
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                HAWTHORNE, CA 90250
                                         EFFECTIVE: 09/20/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-PAC-MAS-01672
      State what the contract or         RENTAL & LEASE AGREEMENT /           PACAIR PROPERTIES, LLC
2.665 lease is for and the nature        FACILITY/ REAL ESTATE                770 EAST SUNSET BOULEVARD
      of the debtor’s interest           EFFECTIVE: 06/01/2021                SUITE 220
                                                                              TIYAN, 96913
           State the term remaining                                           GUAM

           List the contract number of
           any government contract

                                         CONTRACT #: 2022-PAC-T&C-03289
      State what the contract or         PURCHASING AGREEMENT                 PACIFIC SCIENCE ENERGY MATERIALS COMPANY LLC
2.666 lease is for and the nature        EFFECTIVE: 03/29/2022                7073 W. WILLIS ROAD
      of the debtor’s interest                                                CHANDLER, AZ 85226

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-PAL-MAS-02398
      State what the contract or         SERVICE AGREEMENT                    PALANTIR TECHNOLOGIES INC.
2.667 lease is for and the nature        EFFECTIVE: 09/01/2021                1555 BLAKE ST.
      of the debtor’s interest                                                DENVER, CO 80202

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-PAN-MAS-02307
      State what the contract or         SERVICES                             PAN AM INTERNATIONAL FLIGHT ACADEMY, INC.
2.668 lease is for and the nature        EFFECTIVE: 01/01/2020                1771 WHITNEY MESA DR
      of the debtor’s interest                                                HENDERSON, NV 89014

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-PAN-AMD-02306
      State what the contract or         SERVICES                             PAN AM INTERNATIONAL FLIGHT ACADEMY, INC.
2.669 lease is for and the nature        EFFECTIVE: 01/01/2020                1771 WHITNEY MESA DR
      of the debtor’s interest                                                HENDERSON, NV 89014

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-PAN-AMD1-00727
      State what the contract or         SERVICES                        PAN AM INTERNATIONAL FLIGHT ACADEMY, INC.
2.670 lease is for and the nature        EFFECTIVE: 06/11/2020           1771 WHITNEY MESA DR
      of the debtor’s interest                                           HENDERSON, NV 89014

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-PAY-IND-00390
      State what the contract or         LICENSE AGREEMENT / SOFTWARE PAYSCALE, INC.
2.671 lease is for and the nature        EFFECTIVE: 06/27/2018          1000 1ST AVE S
      of the debtor’s interest                                          SEATTLE, WA 98134

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-PAY-
      State what the contract or         ORDERFORM-IND-02228          PAYSCALE, INC.
2.672 lease is for and the nature        LICENSE AGREEMENT / SOFTWARE 1000 1ST AVE S
      of the debtor’s interest           EFFECTIVE: 06/27/2021        SEATTLE, WA 98134

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-PCL-T&C-01419
      State what the contract or         PURCHASING AGREEMENT                 PCL INDUSTRIAL SERVICES, INC.
2.673 lease is for and the nature        EFFECTIVE: 11/06/2020                1500 SOUTH UNION AVENUE
      of the debtor’s interest                                                BAKERSFIELD, CA 93307

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-PCL-T&C-01154
      State what the contract or         SERVICE AGREEMENT                    PCL INDUSTRIAL SERVICES, INC.
2.674 lease is for and the nature        EFFECTIVE: 09/10/2020                1500 SOUTH UNION AVENUE
      of the debtor’s interest                                                BAKERSFIELD, CA 93307

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-PDS-MAS-00248
      State what the contract or         SERVICES / STAFFING SERVICES         PDS TECH, INC
2.675 lease is for and the nature        EFFECTIVE: 08/07/2017                1925 W. JOHN CARPENTER FWY, SUITE 550
      of the debtor’s interest                                                IRVING, TX 75063

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-PDS-AMD-00305
      State what the contract or         SERVICES / STAFFING SERVICES         PDS TECH, INC
2.676 lease is for and the nature        EFFECTIVE: 05/16/2018                1925 W. JOHN CARPENTER FWY, SUITE 550
      of the debtor’s interest                                                IRVING, TX 75063

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-DEB-AMD-00603
      State what the contract or         SERVICES /                           PDSINC, LLC
2.677 lease is for and the nature        CONSULTING-INDEPENDENT               D/B/A PDS
      of the debtor’s interest           CONTRACTOR-COMPANY                   6870 W 52ND AVE., SUITE 107
                                         EFFECTIVE: 04/26/2018                ARVADA, CO 80002
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-PDS-MAS-03697
      State what the contract or         SERVICES / STAFFING SERVICES         PDSINC, LLC
2.678 lease is for and the nature        EFFECTIVE: 08/10/2022                D/B/A PDS
      of the debtor’s interest                                                6870 W 52ND AVE., SUITE 107
                                                                              ARVADA, CO 80002
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-DEB-AMD-00604
      State what the contract or         SERVICES /                           PDSINC, LLC
2.679 lease is for and the nature        CONSULTING-INDEPENDENT               D/B/A PDS
      of the debtor’s interest           CONTRACTOR-COMPANY                   6870 W 52ND AVE., SUITE 107
                                         EFFECTIVE: 07/10/2018                ARVADA, CO 80002
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-DEB-AMD-01794
      State what the contract or         SERVICES /                           PDSINC, LLC
2.680 lease is for and the nature        CONSULTING-INDEPENDENT               D/B/A PDS
      of the debtor’s interest           CONTRACTOR-COMPANY                   6870 W 52ND AVE., SUITE 107
                                         EFFECTIVE: 03/07/2021                ARVADA, CO 80002
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-PDS-SOW-03765
      State what the contract or         SERVICES / RECRUITING & DIRECT PDSINC, LLC
2.681 lease is for and the nature        PLACEMENT                      D/B/A PDS
      of the debtor’s interest           EFFECTIVE: 09/07/2022          6870 W 52ND AVE., SUITE 107
                                                                        ARVADA, CO 80002
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-DEB-MAS-00412
      State what the contract or         SERVICES /                           PDSINC, LLC
2.682 lease is for and the nature        CONSULTING-INDEPENDENT               D/B/A PDS
      of the debtor’s interest           CONTRACTOR-COMPANY                   6870 W 52ND AVE., SUITE 107
                                         EFFECTIVE: 02/14/2018                ARVADA, CO 80002
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-PEL-MAS-01017
      State what the contract or         SERVICES /                           PELAGIC SPACE, LLC
2.683 lease is for and the nature        CONSULTING-INDEPENDENT               2605 ARMOUR LANE
      of the debtor’s interest           CONTRACTOR-COMPANY                   REDONDO BEACH, CA 90278
                                         EFFECTIVE: 08/24/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-PEL-SOW-01019
      State what the contract or         SERVICES /                           PELAGIC SPACE, LLC
2.684 lease is for and the nature        CONSULTING-INDEPENDENT               2605 ARMOUR LANE
      of the debtor’s interest           CONTRACTOR-COMPANY                   REDONDO BEACH, CA 90278
                                         EFFECTIVE: 08/24/2020
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-PER-MAS-02970
      State what the contract or         SERVICES                             PERFORMANCE REVIEW INSTITUTE, INC
2.685 lease is for and the nature        EFFECTIVE: 01/04/2022                161 THORN HILL ROAD
      of the debtor’s interest                                                WARRENDALE, PA 15086

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-PGI-MAS-02816
      State what the contract or         LICENSE AGREEMENT / SOFTWARE PGI DOING BUSINESS AS AMERICAN TELECONFERENCING
2.686 lease is for and the nature        EFFECTIVE: 11/15/2021          SERVICES, LTD., DBA PREMIERE GLOBAL SERVICES
      of the debtor’s interest                                          2475 NORTHWINDS PKWY
                                                                        SUITE 200
           State the term remaining                                     ALPHARETTA, GA 30009

           List the contract number of
           any government contract

                                         CONTRACT #: 2020-PGI-MAS-00347
      State what the contract or         LICENSE AGREEMENT / SOFTWARE PGI DOING BUSINESS AS AMERICAN TELECONFERENCING
2.687 lease is for and the nature        EFFECTIVE: 05/19/2020          SERVICES, LTD., DBA PREMIERE GLOBAL SERVICES
      of the debtor’s interest                                          2475 NORTHWINDS PKWY
                                                                        SUITE 200
           State the term remaining                                     ALPHARETTA, GA 30009

           List the contract number of
           any government contract

                                         CONTRACT #: 2019-PHI-MAS-00275
      State what the contract or         SERVICES /                           PHILIP AUSTIN DAVID
2.688 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 12/09/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-PIL-MAS-00333
      State what the contract or         SERVICES /                           PILO ENGINEERING, P.A.
2.689 lease is for and the nature        CONSULTING-INDEPENDENT               540 HIBISCUS BLVD
      of the debtor’s interest           CONTRACTOR-COMPANY                   MERRITT ISLAND, FL 32952
                                         EFFECTIVE: 04/22/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-PLU-MAS-00141
      State what the contract or         SERVICES /                           PLUMP ENGINEERING INC
2.690 lease is for and the nature        CONSULTING-INDEPENDENT               914 E KATELLA AVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   ANAHEIM, CA 92805
                                         EFFECTIVE: 02/28/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-PLU-SOW-00224
      State what the contract or         SERVICES /                     PLUMP ENGINEERING INC
2.691 lease is for and the nature        CONSULTING-INDEPENDENT         914 E KATELLA AVE
      of the debtor’s interest           CONTRACTOR-COMPANY             ANAHEIM, CA 92805
                                         EFFECTIVE: 02/28/2020
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2017-PMR-MAS-00242
      State what the contract or         SERVICES /                     PM ROLLING, INC
2.692 lease is for and the nature        CONSULTING-INDEPENDENT         259 SMOKE TREE AVE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL          OAK PARK, CA 91377
                                         EFFECTIVE: 08/28/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-POL-MAS-03202
      State what the contract or         BIZ DEV / LOI - NON-BINDING          POLISH SPACE AGENCY (POLSA)
2.693 lease is for and the nature        EFFECTIVE: 03/16/2022                TRZY LIPY 3 STREET
      of the debtor’s interest                                                (SECTION C) 80-172
                                                                              GDANSK, 360992221
           State the term remaining                                           POLAND

           List the contract number of
           any government contract

                                         CONTRACT #: 2021-POL-MAS-02513
      State what the contract or         LICENSE AGREEMENT / SOFTWARE POLITICO PRO
2.694 lease is for and the nature        EFFECTIVE: 09/18/2021          1000 WILSON BLVD
      of the debtor’s interest                                          ARLINGTON, VA 22209

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-POL-MAS-02514
      State what the contract or         LICENSE AGREEMENT / SOFTWARE POLITICO PRO
2.695 lease is for and the nature        EFFECTIVE: 09/18/2019          1000 WILSON BLVD
      of the debtor’s interest                                          ARLINGTON, VA 22209

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-POR-MAS-00373
      State what the contract or         SERVICES /                     PORTER CONCRETE CONSTRUCTION & DEMO
2.696 lease is for and the nature        CONSULTING-INDEPENDENT         7814 42ND STREET WEST
      of the debtor’s interest           CONTRACTOR-COMPANY             MOJAVE, CA 93501
                                         EFFECTIVE: 03/30/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-POW-SOW-02988
      State what the contract or         SERVICES /                     POWER SUPPLIES
2.697 lease is for and the nature        CONSULTING-INDEPENDENT         5405 SPRING CREEK DR
      of the debtor’s interest           CONTRACTOR-COMPANY             GUNTERSVILLE, AL 35976
                                         EFFECTIVE: 01/17/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-POW-MAS-02933
      State what the contract or         SERVICES /                     POWER SUPPLIES
2.698 lease is for and the nature        CONSULTING-INDEPENDENT         5405 SPRING CREEK DR
      of the debtor’s interest           CONTRACTOR-COMPANY             GUNTERSVILLE, AL 35976
                                         EFFECTIVE: 12/20/2021
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-PRA-MAS-03507
      State what the contract or         SERVICES /                           PRAECIPIO CONSULTING, LLC
2.699 lease is for and the nature        CONSULTING-INDEPENDENT               1511W HWY 71 SUITE 110-111
      of the debtor’s interest           CONTRACTOR-COMPANY                   AUSTIN, TX 78338
                                         EFFECTIVE: 06/03/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-PRE-MAS-00386
      State what the contract or         SERVICES /                           PRESENTATION MEDIA, INC
2.700 lease is for and the nature        CONSULTING-INDEPENDENT               1916 144TH ST
      of the debtor’s interest           CONTRACTOR-COMPANY                   GARDENA, CA 90249
                                         EFFECTIVE: 04/28/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-PRI-MAS-03629
      State what the contract or         LETTER AGREEMENT / ADVISOR           PRICEWATERHOUSECOOPERS LLP
2.701 lease is for and the nature        EFFECTIVE: 07/13/2022                4040 W BOY SCOUT BOULEVARD
      of the debtor’s interest                                                TAMPA, FL 33607

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-PWC-MAS-01864
      State what the contract or         LETTER AGREEMENT / ADVISOR     PRICEWATERHOUSECOOPERS LLP
2.702 lease is for and the nature        EFFECTIVE: 03/26/2021          4040 W BOY SCOUT BOULEVARD
      of the debtor’s interest                                          TAMPA, FL 33607

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-PWC-MAS-03000
      State what the contract or         LETTER AGREEMENT / AUDITOR     PRICEWATERHOUSECOOPERS LLP
2.703 lease is for and the nature        EFFECTIVE: 01/18/2022          4040 W BOY SCOUT BOULEVARD
      of the debtor’s interest                                          TAMPA, FL 33607

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-PRI-MAS-03287
      State what the contract or         LETTER AGREEMENT / ADVISOR           PRICEWATERHOUSECOOPERS LLP
2.704 lease is for and the nature        EFFECTIVE: 03/28/2022                4040 W BOY SCOUT BOULEVARD
      of the debtor’s interest                                                TAMPA, FL 33607

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-PRO-MAS-02168
      State what the contract or         SERVICES                       PROGRESSIVE BENEFIT SOLUTIONS, LLC
2.705 lease is for and the nature        EFFECTIVE: 01/01/2020          14 BUSINESS PARK DRIVE #8
      of the debtor’s interest                                          BRANFORD, CT 06405

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-PRO-T&C-02241
      State what the contract or         PURCHASING AGREEMENT                 PROTOCASE, INC
2.706 lease is for and the nature        EFFECTIVE: 06/25/2021                46 WABANA COURT
      of the debtor’s interest                                                SYDNEY, NS B1P 0B9
                                                                              CANADA
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-PRU-MAS-03342
      State what the contract or         SERVICES /                           PRUDENTIAL OVERALL SUPPLY INC. DBA PRUDENTIAL
2.707 lease is for and the nature        CONSULTING-INDEPENDENT               CLEANROOM SERVICES, INC.
      of the debtor’s interest           CONTRACTOR-COMPANY                   6948 BANDINI BOULEVARD
                                         EFFECTIVE: 04/18/2022                COMMERCE, CA 90040
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-PTC-MAS-01347
      State what the contract or         LICENSE AGREEMENT / SOFTWARE PTC INC.
2.708 lease is for and the nature        EFFECTIVE: 04/30/2018          121 SEAPORT BLVD
      of the debtor’s interest                                          BOSTON, MA 02210

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-PTC-MAS-01350
      State what the contract or         LICENSE AGREEMENT / SOFTWARE PTC INC.
2.709 lease is for and the nature        EFFECTIVE: 01/30/2019          121 SEAPORT BLVD
      of the debtor’s interest                                          BOSTON, MA 02210

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-PTC-MAS-01877
      State what the contract or         LICENSE AGREEMENT / SOFTWARE PTC INC.
2.710 lease is for and the nature        EFFECTIVE: 04/01/2021          121 SEAPORT BLVD
      of the debtor’s interest                                          BOSTON, MA 02210

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-QST-MAS-03808
      State what the contract or         LICENSE AGREEMENT / SOFTWARE QSTAC, INC.
2.711 lease is for and the nature        EFFECTIVE: 09/29/2022          2207 CONCORD PIKE
      of the debtor’s interest                                          #174
                                                                        WILMINGTON, DE 19803
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-QUE-MAS-01354
      State what the contract or         LICENSE AGREEMENT / SOFTWARE QUEST SOFTWARE INC.
2.712 lease is for and the nature        EFFECTIVE: 06/10/2019          4 POLARIS WAY
      of the debtor’s interest                                          ALISO VIEJO, CA 92656

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-QUI-MAS-00348
      State what the contract or         SERVICES /                           QUILTY ANALYTICS LLC
2.713 lease is for and the nature        CONSULTING-INDEPENDENT               33 6TH STREET SOUTH
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 204
                                         EFFECTIVE: 04/21/2020                ST. PETERSBURG, FL 33701
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2023-RAC-IND-03991
      State what the contract or         SERVICES /                           RACE COMMUNICATION CO.
2.714 lease is for and the nature        CONSULTING-INDEPENDENT               1325 HOWARD AVE.
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 604
                                                                              BURLINGAME, CA 94010
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-RAC-MAS-00448
      State what the contract or         SERVICES /                           RACE COMMUNICATION CO.
2.715 lease is for and the nature        CONSULTING-INDEPENDENT               1325 HOWARD AVE.
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 604
                                         EFFECTIVE: 12/21/2018                BURLINGAME, CA 94010
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-RAI-MAS-01988
      State what the contract or         LETTER AGREEMENT                     RAIMONDO PETIT GROUP
2.716 lease is for and the nature        EFFECTIVE: 06/19/2018                4500 EAST PACIFIC COAST HIGHWAY
      of the debtor’s interest                                                SUITE 300
                                                                              LONG BEACH, CA 90804
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-RAM-MAS-00266
      State what the contract or         SERVICES /                     RAMKABIR ANALYTICS, LLC
2.717 lease is for and the nature        CONSULTING-INDEPENDENT         4843 CORSICA DRIVE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL          CYPRESS, CA 90630
                                         EFFECTIVE: 04/04/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-RAP-MAS-00469
      State what the contract or         SERVICES /                           RAPID MANUFACTURING
2.718 lease is for and the nature        CONSULTING-INDEPENDENT               8080 EAST CRYSTAL DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   ANAHEIM, CA 92807
                                         EFFECTIVE: 07/12/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-RAP-AMD-00580
      State what the contract or         SERVICES /                           RAPID MANUFACTURING
2.719 lease is for and the nature        CONSULTING-INDEPENDENT               8080 EAST CRYSTAL DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   ANAHEIM, CA 92807
                                         EFFECTIVE: 07/27/2018
           State the term remaining
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-RAP-AMD-00583
      State what the contract or         SERVICES /                           RAPID MANUFACTURING
2.720 lease is for and the nature        CONSULTING-INDEPENDENT               8080 EAST CRYSTAL DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   ANAHEIM, CA 92807
                                         EFFECTIVE: 09/05/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-RAP-AMD-00582
      State what the contract or         SERVICES /                           RAPID MANUFACTURING
2.721 lease is for and the nature        CONSULTING-INDEPENDENT               8080 EAST CRYSTAL DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   ANAHEIM, CA 92807
                                         EFFECTIVE: 08/17/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-RAP-AMD-00581
      State what the contract or         SERVICES /                           RAPID MANUFACTURING
2.722 lease is for and the nature        CONSULTING-INDEPENDENT               8080 EAST CRYSTAL DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   ANAHEIM, CA 92807
                                         EFFECTIVE: 08/09/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RAP-MAS-03975
      State what the contract or         SERVICES / STATEMENT OF WORK         RAPID7 LLC
2.723 lease is for and the nature        EFFECTIVE: 11/14/2022                100 SUMMER ST. 13TH FLOOR
      of the debtor’s interest                                                BOSTON, MA 02110

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-RAP-MAS-01348
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RAPID7 LLC
2.724 lease is for and the nature        EFFECTIVE: 09/28/2018          100 SUMMER ST. 13TH FLOOR
      of the debtor’s interest                                          BOSTON, MA 02110

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RCM-MAS-03408
      State what the contract or         SERVICES / STAFFING SERVICES   RCM ENGINEERING, INC.
2.725 lease is for and the nature        EFFECTIVE: 05/04/2022          3 ENTERPRISE DR.
      of the debtor’s interest                                          SHELTON, CT 06484

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-REA-IND-00185
      State what the contract or         LICENSE AGREEMENT / SOFTWARE REAL-TIME INNOVATIONS, INC
2.726 lease is for and the nature        EFFECTIVE: 09/10/2019          232 E. JAVA DRIVE
      of the debtor’s interest                                          SUNNYVALE, CA 94089

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-REA-MAS-01344
      State what the contract or         LICENSE AGREEMENT / SOFTWARE REAL-TIME INNOVATIONS, INC
2.727 lease is for and the nature        EFFECTIVE: 03/28/2019          232 E. JAVA DRIVE
      of the debtor’s interest                                          SUNNYVALE, CA 94089

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RED-MAS-03749
      State what the contract or         SERVICES /                           RED V CONSULTING COMPANY
2.728 lease is for and the nature        CONSULTING-INDEPENDENT               511 WEST V=BAY STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 320
                                         EFFECTIVE: 09/01/2022                TAMPA, 33606
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         -RED8-SERVICETC-01432                RED8 LLC
2.729 lease is for and the nature        SERVICE AGREEMENT                    611 ANTON BLVD, SUITE 700
      of the debtor’s interest           EFFECTIVE: 11/13/2020                COSTA MESA, CA 92626

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-GIO-MAS-03503
      State what the contract or         SERVICES /                           REDACTED
2.730 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 05/27/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-RED-MAS-00484
      State what the contract or         SERVICES /                           REDI-RELIEF FIRST AID & SAFETY, INC.
2.731 lease is for and the nature        CONSULTING-INDEPENDENT               6111 S RICHFIELD CT
      of the debtor’s interest           CONTRACTOR-COMPANY                   AURORA, CO 80016
                                         EFFECTIVE: 01/22/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-RED-MAS-02554
      State what the contract or         PURCHASING AGREEMENT /               REDWIRE SPACE, INC.
2.732 lease is for and the nature        SUPPLIER AGREEMENT                   8226 PHILIPS HIGHWAY
      of the debtor’s interest           EFFECTIVE: 12/29/2021                SUITE 102
                                                                              JACKSONVILLE, FL 32256
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-REF-MAS-02971
      State what the contract or         SERVICES                             REFINITIV
2.733 lease is for and the nature        EFFECTIVE: 01/04/2022                22 THOMSON PLACE
      of the debtor’s interest                                                BOSTON, MA 02210

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: -REF-IND-03868
      State what the contract or         SERVICE AGREEMENT                    REFINITIV
2.734 lease is for and the nature        EFFECTIVE: 10/19/2022                22 THOMSON PLACE
      of the debtor’s interest                                                BOSTON, MA 02210

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-REG-MAS-03103
      State what the contract or         LICENSE AGREEMENT / SOFTWARE REGO CONSULTING CORPORATION
2.735 lease is for and the nature        EFFECTIVE: 02/17/2022          2115 N. MAIN STREET
      of the debtor’s interest                                          CENTERVILLE,, UT 84014

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RES-IND-03429
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.736 lease is for and the nature        EFFECTIVE: 05/31/2022          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-RES-IND-01825
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.737 lease is for and the nature        EFFECTIVE: 03/15/2021          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RES-IND-03721
      State what the contract or         SERVICES                             RESCALE INC.
2.738 lease is for and the nature        EFFECTIVE: 08/31/2022                33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                                SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RES-IND-03450
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.739 lease is for and the nature        EFFECTIVE: 05/31/2022          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RES-MAS-03614
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.740 lease is for and the nature        EFFECTIVE: 07/11/2022          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-RES-IND-02087
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.741 lease is for and the nature        EFFECTIVE: 05/11/2021          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RES-IND-03535
      State what the contract or         SERVICES                             RESCALE INC.
2.742 lease is for and the nature        EFFECTIVE: 06/17/2022                33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                                SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-RES-MAS-02488
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.743 lease is for and the nature        EFFECTIVE: 08/16/2021          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RES-IND-03028
      State what the contract or         RENTAL & LEASE AGREEMENT / IT        RESCALE INC.
2.744 lease is for and the nature        EQUIPMENT                            33 NEW MONTGOMERY ST #950
      of the debtor’s interest           EFFECTIVE: 01/28/2022                SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RES-IND-03959
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.745 lease is for and the nature        EFFECTIVE: 12/30/2022          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-RES-MAS-02417
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.746 lease is for and the nature        EFFECTIVE: 08/02/2021          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RES-IND-03589
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.747 lease is for and the nature        EFFECTIVE: 06/30/2022          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-RES-MAS-02424
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.748 lease is for and the nature        EFFECTIVE: 08/02/2021          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RES-IND-03435
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.749 lease is for and the nature        EFFECTIVE: 06/10/2022          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-RES-MAS-01358
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.750 lease is for and the nature        EFFECTIVE: 04/03/2020          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RES-IND-03870
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RESCALE INC.
2.751 lease is for and the nature        EFFECTIVE: 10/31/2022          33 NEW MONTGOMERY ST #950
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-RIC-MAS-00406
      State what the contract or         SERVICES /                           RICHARD NELSON
2.752 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 01/02/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-RIC-AMD-00569
      State what the contract or         SERVICES /                           RICHARD NELSON
2.753 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 01/01/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-RID-AMD-02827
      State what the contract or         SERVICES /                           RIDELINKS, INC.
2.754 lease is for and the nature        CONSULTING-INDEPENDENT               1 S. FAIR OAKS AVE. STE 302
      of the debtor’s interest           CONTRACTOR-COMPANY                   PASADENA, CA 91105
                                         EFFECTIVE: 10/27/2021
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-RID-MAS-01413
      State what the contract or         SERVICES /                           RIDELINKS, INC.
2.755 lease is for and the nature        CONSULTING-INDEPENDENT               1 S. FAIR OAKS AVE. STE 302
      of the debtor’s interest           CONTRACTOR-COMPANY                   PASADENA, CA 91105
                                         EFFECTIVE: 10/26/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-RID-IND-00201
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RIDELINKS, INC.
2.756 lease is for and the nature        EFFECTIVE: 04/01/2020          1 S. FAIR OAKS AVE. STE 302
      of the debtor’s interest                                          PASADENA, CA 91105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2023-RID-MAS-04053
      State what the contract or         SERVICES /                           RIDELINKS, INC.
2.757 lease is for and the nature        CONSULTING-INDEPENDENT               1 S. FAIR OAKS AVE. STE 302
      of the debtor’s interest           CONTRACTOR-COMPANY                   PASADENA, CA 91105
                                         EFFECTIVE: 11/28/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-RIG-MAS-03350
      State what the contract or         RENTAL & LEASE AGREEMENT /           RIG-TECH, LLC
2.758 lease is for and the nature        EQUIPMENT                            10555 WEST LITTLE YORK
      of the debtor’s interest           EFFECTIVE: 06/03/2022                HOUSTON, TX 77041

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ROC-MAS-00400
      State what the contract or         SERVICES /                     ROCK IT DRYWALL, INC.
2.759 lease is for and the nature        CONSULTING-INDEPENDENT         39434 VIA MONSERATE
      of the debtor’s interest           CONTRACTOR-COMPANY             MURRIETA, CA 92563
                                         EFFECTIVE: 01/18/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-RLL-T&C-01155
      State what the contract or         PURCHASING AGREEMENT                 ROLLED ALLOYS, INC.
2.760 lease is for and the nature        EFFECTIVE: 09/10/2020                125 W. STERNS ROAD
      of the debtor’s interest                                                TEMPERANCE, MI 48182

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-ROU-MAS-00256
      State what the contract or         SERVICES /                     ROULO CONSULTING, INC.
2.761 lease is for and the nature        CONSULTING-INDEPENDENT         8605 SANTA MONICA BLVD. #61189
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL          LOS ANGELES, CA 90069
                                         EFFECTIVE: 06/01/2018
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-RUA-T&C-03049
      State what the contract or         PURCHASING AGREEMENT                 RUAG SPACE USA ,INC.
2.762 lease is for and the nature        EFFECTIVE: 02/03/2022                5690 DTC BLVD, 515E
      of the debtor’s interest                                                GREENWOOD VILLAGE, CO 80111

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-RUS-MAS-00120
      State what the contract or         SERVICES /                           RUSSELL A. ELLIS CONSULTING
2.763 lease is for and the nature        CONSULTING-INDEPENDENT               12970 BRANDYWINE DRIVE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                SARATOGA, CA 95070
                                         EFFECTIVE: 02/21/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-RVT-MAS-01357
      State what the contract or         LICENSE AGREEMENT / SOFTWARE RVTOOLS
2.764 lease is for and the nature        EFFECTIVE: 03/23/2020          783 COUNTRY ROAD 42
      of the debtor’s interest                                          VICTOR, NY 14564

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-RYA-MAS-00255
      State what the contract or         SERVICES /                           RYAN JAMES OLLOS
2.765 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 08/22/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SAL-MAS-03919
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SALESFORCE.COM, INC
2.766 lease is for and the nature        EFFECTIVE: 11/30/2022          SAN FRANCISCO
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-SAL-IND-00800
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SALESFORCE.COM, INC
2.767 lease is for and the nature        EFFECTIVE: 08/25/2020          SAN FRANCISCO
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-SAL-IND-00726
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SALESFORCE.COM, INC
2.768 lease is for and the nature        EFFECTIVE: 07/25/2020          SAN FRANCISCO
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-SAL-IND-01330
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SALESFORCE.COM, INC
2.769 lease is for and the nature        EFFECTIVE: 11/01/2020          SAN FRANCISCO
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-SAL-IND-00481
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SALESFORCE.COM, INC
2.770 lease is for and the nature        EFFECTIVE: 07/25/2017          SAN FRANCISCO
      of the debtor’s interest                                          SAN FRANCISCO, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -SAR-MAS-03205
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SARATECH IS THE DBA FOR PAYDARFAR INDUSTRIES, INC
2.771 lease is for and the nature        EFFECTIVE: 03/15/2022        14 MONARCH BAY PLAZA #429
      of the debtor’s interest                                        DANA POINT, CA 92629

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SAR-MAS-03018
      State what the contract or         SERVICES                             SARATECH IS THE DBA FOR PAYDARFAR INDUSTRIES, INC
2.772 lease is for and the nature        EFFECTIVE: 01/25/2022                14 MONARCH BAY PLAZA #429
      of the debtor’s interest                                                DANA POINT, CA 92629

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-SAR-IND-00279
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SARATECH IS THE DBA FOR PAYDARFAR INDUSTRIES, INC
2.773 lease is for and the nature        EFFECTIVE: 05/01/2020          14 MONARCH BAY PLAZA #429
      of the debtor’s interest                                          DANA POINT, CA 92629

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-SAR-AMD-03046
      State what the contract or         SERVICES /                           SARATECH IS THE DBA FOR PAYDARFAR INDUSTRIES, INC
2.774 lease is for and the nature        CONSULTING-INDEPENDENT               14 MONARCH BAY PLAZA #429
      of the debtor’s interest           CONTRACTOR-COMPANY                   DANA POINT, CA 92629
                                         EFFECTIVE: 04/02/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-SAR-IND-00278
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SARATECH IS THE DBA FOR PAYDARFAR INDUSTRIES, INC
2.775 lease is for and the nature        EFFECTIVE: 05/01/2020          14 MONARCH BAY PLAZA #429
      of the debtor’s interest                                          DANA POINT, CA 92629

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2017-SAR-MAS-03044
      State what the contract or         SERVICES /                           SARATECH IS THE DBA FOR PAYDARFAR INDUSTRIES, INC
2.776 lease is for and the nature        CONSULTING-INDEPENDENT               14 MONARCH BAY PLAZA #429
      of the debtor’s interest           CONTRACTOR-COMPANY                   DANA POINT, CA 92629
                                         EFFECTIVE: 06/13/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-SAR-IND-00277
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SARATECH IS THE DBA FOR PAYDARFAR INDUSTRIES, INC
2.777 lease is for and the nature        EFFECTIVE: 05/01/2020          14 MONARCH BAY PLAZA #429
      of the debtor’s interest                                          DANA POINT, CA 92629

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-SAR-AMD-03045
      State what the contract or         SERVICES /                           SARATECH IS THE DBA FOR PAYDARFAR INDUSTRIES, INC
2.778 lease is for and the nature        CONSULTING-INDEPENDENT               14 MONARCH BAY PLAZA #429
      of the debtor’s interest           CONTRACTOR-COMPANY                   DANA POINT, CA 92629
                                         EFFECTIVE: 06/15/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -SAS-MAS-00231
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SAS INSTITUTE INC.
2.779 lease is for and the nature                                     SAS CAMPUS DRIVE
      of the debtor’s interest                                        CARY, NC 27513

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SAT-MAS-03608
      State what the contract or         RENTAL & LEASE AGREEMENT /           SATCO, INC.
2.780 lease is for and the nature        EQUIPMENT                            1601 E. EL SEGUNDO BLVD.
      of the debtor’s interest           EFFECTIVE: 06/28/2022                EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SAT-LSA-03100
      State what the contract or         BIZ DEV / LSA                        SATELLITE APPLICATIONS CATAPULT LTD.
2.781 lease is for and the nature        EFFECTIVE: 03/25/2022                ELECTRON BUILDING, FERMI AVENUE
      of the debtor’s interest                                                HARWELL CAMPUS
                                                                              DIDCOT, OX11 0QR
           State the term remaining                                           UNITED KINGDOM

           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SAT-AMD-03304
      State what the contract or         BIZ DEV / LSA                        SATREV, S.A.
2.782 lease is for and the nature        EFFECTIVE: 12/21/2022                STABLOWICKA 147
      of the debtor’s interest                                                WROCLAW, 54-066
                                                                              POLAND
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #:
      State what the contract or         2021-SAT-TERMSHEET-02454             SATREV, S.A.
2.783 lease is for and the nature        INVESTOR AGREEMENT /                 STABLOWICKA 147
      of the debtor’s interest           INVESTMENT IN 3PO                    WROCLAW, 54-066
                                         EFFECTIVE: 12/14/2021                POLAND
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SAT-SPA-03885
      State what the contract or         INVESTOR AGREEMENT /                 SATREV, S.A.
2.784 lease is for and the nature        INVESTMENT IN 3PO                    STABLOWICKA 147
      of the debtor’s interest           EFFECTIVE: 06/06/2022                WROCLAW, 54-066
                                                                              POLAND
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SCA-MAS-03822
      State what the contract or         LETTER AGREEMENT / AUDITOR           SCALAR CA, LLC
2.785 lease is for and the nature        EFFECTIVE: 10/03/2022                874 E PIONEER ROAD
      of the debtor’s interest                                                DRAPER, UT 84020

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-SEC-MAS-00710
      State what the contract or         SERVICES /                           SECOND ORDER EFFECTS, INC.
2.786 lease is for and the nature        CONSULTING-INDEPENDENT               711 HAWAII ST
      of the debtor’s interest           CONTRACTOR-COMPANY                   EL SEGUNDO, CA 90245
                                         EFFECTIVE: 11/06/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2023-SHA-MAS-04014
      State what the contract or         SERVICES /                           SHANG L HSIUNG
2.787 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 01/19/2023
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SHO-MAS-03845
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SHOPIFY
2.788 lease is for and the nature        EFFECTIVE: 10/12/2022          151 O'CONNOR STREET
      of the debtor’s interest                                          GROUND FLOOR
                                                                        OTTAWA, ONTARIO, K2P2L8
           State the term remaining                                     CANADA

           List the contract number of
           any government contract

                                         CONTRACT #: 2019-SHR-MAS-00427
      State what the contract or         SERVICES /                           SHRED-IT USA, LLC
2.789 lease is for and the nature        CONSULTING-INDEPENDENT               28883 NETWORK PLACE
      of the debtor’s interest           CONTRACTOR-COMPANY                   CHICAGO, IL 60673-1288
                                         EFFECTIVE: 08/12/2019
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: -SHR-MAS-04051
      State what the contract or         SERVICES /                           SHRED-IT USA, LLC
2.790 lease is for and the nature        CONSULTING-INDEPENDENT               28883 NETWORK PLACE
      of the debtor’s interest           CONTRACTOR-COMPANY                   CHICAGO, IL 60673-1288

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SIL-T&C-03764
      State what the contract or         PURCHASING AGREEMENT                 SILMID
2.791 lease is for and the nature        EFFECTIVE: 09/08/2022                UNIT 1 & 2 ROMAN PARK
      of the debtor’s interest                                                COLESHILL, BIRMINGHAM, B46 1HG
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-SIT-LSA-02151
      State what the contract or         BIZ DEV / LSA                        SITAEL S.P.A.
2.792 lease is for and the nature        EFFECTIVE: 02/09/2018                VIA SAN SABINO
      of the debtor’s interest                                                21 ZONA INDUSTRIALE
                                                                              MOLA DE BARI BA, APULIA, 70042
           State the term remaining                                           ITALY

           List the contract number of
           any government contract

                                         CONTRACT #: 2020-SKY-MAS-02529
      State what the contract or         INVESTOR AGREEMENT                   SKY AND SPACE GLOBAL (UK) LTD
2.793 lease is for and the nature        EFFECTIVE: 12/16/2020                201 HAVERSTOCK HILL
      of the debtor’s interest                                                SECOND FLOOR
                                                                              LONDON, ENGLAND, NW3 4QG
           State the term remaining                                           UNITED KINGDOM

           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-SKY-SASOPTIONS-02469            SKY AND SPACE GLOBAL (UK) LTD
2.794 lease is for and the nature        INVESTOR AGREEMENT                   201 HAVERSTOCK HILL
      of the debtor’s interest           EFFECTIVE: 08/20/2021                SECOND FLOOR
                                                                              LONDON, ENGLAND, NW3 4QG
           State the term remaining                                           UNITED KINGDOM

           List the contract number of
           any government contract

                                         CONTRACT #: 2021-SKY-AMD-02530
      State what the contract or         INVESTOR AGREEMENT                   SKY AND SPACE GLOBAL (UK) LTD
2.795 lease is for and the nature        EFFECTIVE: 09/10/2021                201 HAVERSTOCK HILL
      of the debtor’s interest                                                SECOND FLOOR
                                                                              LONDON, ENGLAND, NW3 4QG
           State the term remaining                                           UNITED KINGDOM

           List the contract number of
           any government contract

                                         CONTRACT #: 2019-SKY-MAS-01353
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SKYDEL SOLUTIONS INC.
2.796 lease is for and the nature        EFFECTIVE: 05/29/2019          1275 AVENUE DES CANADIENS-DE-MONTREAL, 5TH FLO
      of the debtor’s interest                                          MONTREAL, ON H3B 0G4
                                                                        CANADA
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-SLA-IND-01027
      State what the contract or         SERVICES / PEOPLE EVENT &            SLATE ADVISERS, INC.
2.797 lease is for and the nature        SERVICES                             255 CONSTITUTION DRIVE
      of the debtor’s interest           EFFECTIVE: 08/26/2020                MENLO PARK, CA 94025

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-SMA-MAS-00253
      State what the contract or         SERVICES / STAFFING SERVICES   SMA, INC.
2.798 lease is for and the nature        EFFECTIVE: 08/05/2019          18400 VON KARMAN AVE. STE 500
      of the debtor’s interest                                          IRVINE, CA 92612

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SMA-IND-03038
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SMARTSHEET, INC.
2.799 lease is for and the nature        EFFECTIVE: 01/31/2022          10500 NE 8TH STREET
      of the debtor’s interest                                          SUITE 1300
                                                                        BELLEVUE, WA 98004-4357
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SMA-CO-03647
      State what the contract or         PURCHASING AGREEMENT / IT            SMARTSHEET, INC.
2.800 lease is for and the nature        EQUIPMENT                            10500 NE 8TH STREET
      of the debtor’s interest           EFFECTIVE: 07/20/2022                SUITE 1300
                                                                              BELLEVUE, WA 98004-4357
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-SMA-IND-01321
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SMARTSHEET, INC.
2.801 lease is for and the nature        EFFECTIVE: 11/19/2020          10500 NE 8TH STREET
      of the debtor’s interest                                          SUITE 1300
                                                                        BELLEVUE, WA 98004-4357
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SMA-IND-03124
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SMARTSHEET, INC.
2.802 lease is for and the nature        EFFECTIVE: 02/17/2022          10500 NE 8TH STREET
      of the debtor’s interest                                          SUITE 1300
                                                                        BELLEVUE, WA 98004-4357
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SMA-MAS-03843
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SMARTSHEET, INC.
2.803 lease is for and the nature        EFFECTIVE: 10/31/2022          10500 NE 8TH STREET
      of the debtor’s interest                                          SUITE 1300
                                                                        BELLEVUE, WA 98004-4357
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-SMA-MAS-01173
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SMARTSHEET, INC.
2.804 lease is for and the nature        EFFECTIVE: 09/18/2020          10500 NE 8TH STREET
      of the debtor’s interest                                          SUITE 1300
                                                                        BELLEVUE, WA 98004-4357
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-SMA-IND-02886
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SMARTSHEET, INC.
2.805 lease is for and the nature        EFFECTIVE: 12/13/2021          10500 NE 8TH STREET
      of the debtor’s interest                                          SUITE 1300
                                                                        BELLEVUE, WA 98004-4357
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SMA-MAS-03655
      State what the contract or         PURCHASING AGREEMENT / IT      SMARTSHEET, INC.
2.806 lease is for and the nature        EQUIPMENT                      10500 NE 8TH STREET
      of the debtor’s interest           EFFECTIVE: 07/31/2022          SUITE 1300
                                                                        BELLEVUE, WA 98004-4357
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-SMA-SOW-02693
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SMARTSHEET, INC.
2.807 lease is for and the nature        EFFECTIVE: 10/20/2021          10500 NE 8TH STREET
      of the debtor’s interest                                          SUITE 1300
                                                                        BELLEVUE, WA 98004-4357
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SMS-MAS-03329
      State what the contract or         BIZ DEV / BILL OF SALE (SELLING SMS ENGINEERING, INC.
2.808 lease is for and the nature        ITEMS)                          2001 WILLIAMS DRIVE, SUITE 410
      of the debtor’s interest           EFFECTIVE: 04/12/2022           OXNARD, CA 93036

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-SON-AMD-00588
      State what the contract or         SERVICES /                     SON HA
2.809 lease is for and the nature        CONSULTING-INDEPENDENT         ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 06/08/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-SON-MAS-00422
      State what the contract or         SERVICES /                     SON HA
2.810 lease is for and the nature        CONSULTING-INDEPENDENT         ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 06/23/2018
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2017-SON-AMD-00586
      State what the contract or         SERVICES /                     SON HA
2.811 lease is for and the nature        CONSULTING-INDEPENDENT         ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 12/22/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-SOU-MAS-00267
      State what the contract or         SERVICES /                     SOUTH BAY CAD SERVICES, LLC
2.812 lease is for and the nature        CONSULTING-INDEPENDENT         26756 MENOMINEE PLACE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL          RANCHO PALOS VERDE, CA 90275
                                         EFFECTIVE: 12/09/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SOU-MAS-03498
      State what the contract or         LETTER AGREEMENT               SOUTH COAST AIR QUALITY MANAGEMENT DISTRICT
2.813 lease is for and the nature        EFFECTIVE: 05/31/2022          21865 COPLEY DRIVE
      of the debtor’s interest                                          DIAMOND BAR, CA 91765

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-SOU-MSA-03080
      State what the contract or         SERVICES                       SOUTHERN CALIFORNIA EDISON COMPANY
2.814 lease is for and the nature        EFFECTIVE: 11/06/2017          2244 WALNUT GROVE AVENUE
      of the debtor’s interest                                          ROSEMEAD, CA 91770

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2023-SOU-AMD-04027
      State what the contract or         BIZ DEV / MOUS/MOAS -          SOUTHWEST RESEARCH INSTITUTE (SWRI)
2.815 lease is for and the nature        NON-BINDING                    6220 CULEBRA ROAD
      of the debtor’s interest           EFFECTIVE: 12/30/2022          SAN ANTONIO, TX 78238-5166

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-SPA-MOU-02186
      State what the contract or         BIZ DEV / MOUS/MOAS -                SPACE STRATEGIES CONSULTING LTD
2.816 lease is for and the nature        NON-BINDING                          260 HEARST WAY SUITE 401
      of the debtor’s interest           EFFECTIVE: 11/18/2021                KANATA, ON K2L 3H1
                                                                              CANADA
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-SPA-T&C-02482
      State what the contract or         PURCHASING AGREEMENT                 SPACE VECTOR CORPORATION
2.817 lease is for and the nature        EFFECTIVE: 08/24/2021                20520 NORDOFF STREET
      of the debtor’s interest                                                CHATSWORTH, CA 91311

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-SPA-LSA-02854
      State what the contract or         BIZ DEV / LSA                        SPACEFLIGHT, INC.
2.818 lease is for and the nature        EFFECTIVE: 12/21/2021                1505 WESTLAKE AVE N
      of the debtor’s interest                                                SUITE 600
                                                                              SEATTLE, WA 98109
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SPA-AMD-03997
      State what the contract or         PURCHASING AGREEMENT /               SPACEPORT CORNWALL
2.819 lease is for and the nature        SUPPLIER AGREEMENT                   CHI AN LORELL, SECTOR 2
      of the debtor’s interest           EFFECTIVE: 12/22/2022                AEROHUB BUSINESS PARK
                                                                              ST MAWGAN, NEWQUAY, CORNWALL, TR8 4RZ
           State the term remaining                                           UNITED KINGDOM

           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SPA-MAS-03866
      State what the contract or         SERVICES / STATEMENT OF WORK         SPACEPORT CORNWALL
2.820 lease is for and the nature        EFFECTIVE: 10/31/2022                CHI AN LORELL, SECTOR 2
      of the debtor’s interest                                                AEROHUB BUSINESS PARK
                                                                              ST MAWGAN, NEWQUAY, CORNWALL, TR8 4RZ
           State the term remaining                                           UNITED KINGDOM

           List the contract number of
           any government contract

                                         CONTRACT #: 2021-SPA-MAS-02814
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SPACEWORKS ENTERPRISES, INC.
2.821 lease is for and the nature        EFFECTIVE: 11/15/2021          1050 CROWN POINTE PARKWAY SUITE 1400
      of the debtor’s interest                                          ATLANTA, GA 30338

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-SPE-IND-00480
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SPEC INNOVATIONS
2.822 lease is for and the nature        EFFECTIVE: 08/03/2019          10440 BALLS FORD RD.
      of the debtor’s interest                                          SUITE 230
                                                                        MANASSAS, VA 20109
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-SPE-T&C-02632
      State what the contract or         PURCHASING AGREEMENT                 SPECTRUM TECHNOLOGIES USA, INC.
2.823 lease is for and the nature        EFFECTIVE: 10/04/2021                3934 SANDSHELL DRIVE
      of the debtor’s interest                                                FORT WORTH, TX 76137

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SPI-LSA-03742
      State what the contract or         BIZ DEV / LSA                        SPIRE GLOBAL INC.
2.824 lease is for and the nature        EFFECTIVE: 09/30/2022                33 NORFOLK STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94103

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-SPR-IND-00755
      State what the contract or         LICENSE AGREEMENT                    SPRINGER NATURE SWITZERLAND AG
2.825 lease is for and the nature        EFFECTIVE: 01/16/2020                GEWERBESTR. 11 6330 CHAM
      of the debtor’s interest
                                                                              SWITZERLAND
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-STA-MAS-03552
      State what the contract or         LETTER AGREEMENT                     STATE OF CALIFORNIA EMPLOYMENT TRAINING PANEL
2.826 lease is for and the nature        EFFECTIVE: 06/15/2022                SACRAMENTO CENTRAL OFFICE
      of the debtor’s interest                                                1100 J STREET, 4TH FLOOR
                                                                              SACRAMENTO, CA 95814
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: ET20-0335
      State what the contract or         SERVICES                             STATE OF CALIFORNIA EMPLOYMENT TRAINING PANEL
2.827 lease is for and the nature        EFFECTIVE: 08/11/2020                SACRAMENTO CENTRAL OFFICE
      of the debtor’s interest                                                1100 J STREET, 4TH FLOOR
                                                                              SACRAMENTO, CA 95814
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-STA-MAS-00416
      State what the contract or         SERVICES /                           STATERA, INC.
2.828 lease is for and the nature        CONSULTING-INDEPENDENT               5619 DTC PARKWAY, SUITE 900
      of the debtor’s interest           CONTRACTOR-COMPANY                   GREENWOOD VILLAGE, CO 80111
                                         EFFECTIVE: 09/16/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-STA-SOW-00605
      State what the contract or         SERVICES /                           STATERA, INC.
2.829 lease is for and the nature        CONSULTING-INDEPENDENT               5619 DTC PARKWAY, SUITE 900
      of the debtor’s interest           CONTRACTOR-COMPANY                   GREENWOOD VILLAGE, CO 80111
                                         EFFECTIVE: 08/27/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-STE-MAS-00268
      State what the contract or         SERVICES /                           STEINHORST GROUP
2.830 lease is for and the nature        CONSULTING-INDEPENDENT               17440 DALLAS PARKWAY
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 204
                                         EFFECTIVE: 07/01/2019                DALLAS, TX 78287
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-STE-MAS-02361
      State what the contract or         SERVICES /                           STELLAR SOLUTIONS, INC.
2.831 lease is for and the nature        CONSULTING-INDEPENDENT               250 CAMBRIDGE AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 204
                                         EFFECTIVE: 07/27/2021                PALO ALTO, CA 94306
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: -STEVEB-MAS-01807
      State what the contract or         SERVICES /                           STEVEN A BOULEY CONSULTING, LLC
2.832 lease is for and the nature        CONSULTING-INDEPENDENT               5307 MOONSHADOW STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   SIMI VALLEY, CA 93063
                                         EFFECTIVE: 03/16/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -STEVEB-SOW1-01808
      State what the contract or         SERVICES /                     STEVEN A BOULEY CONSULTING, LLC
2.833 lease is for and the nature        CONSULTING-INDEPENDENT         5307 MOONSHADOW STREET
      of the debtor’s interest           CONTRACTOR-COMPANY             SIMI VALLEY, CA 93063
                                         EFFECTIVE: 03/22/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-STE-IND-03802
      State what the contract or         LETTER AGREEMENT / AUDITOR           STEWART & CO. LLP
2.834 lease is for and the nature        EFFECTIVE: 09/16/2022                KNOLL HOUSE, KNOLL ROAD
      of the debtor’s interest                                                CAMBERLEY, GU15 3SY
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-STR-MAS-00116
      State what the contract or         SERVICES /                           STRESS LESS, LLC
2.835 lease is for and the nature        CONSULTING-INDEPENDENT               5319 UNIVERSITY DRIVE #253
      of the debtor’s interest           CONTRACTOR-COMPANY                   IRVINE, CA 92612
                                         EFFECTIVE: 02/12/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-STU-MAS-00415
      State what the contract or         SERVICES /                           STUDIO 637 LLC
2.836 lease is for and the nature        CONSULTING-INDEPENDENT               637 CYPRESS AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   HERMOSA BEACH, CA 90254
                                         EFFECTIVE: 06/14/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-SUP-MAS-01532
      State what the contract or         SERVICES /                           SUPERCLUSTER LLC
2.837 lease is for and the nature        CONSULTING-INDEPENDENT               49 BLEECKER STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   NEW YORK, NY 10012
                                         EFFECTIVE: 12/03/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-SUP-SOW-02116
      State what the contract or         SERVICES /                     SUPERCLUSTER LLC
2.838 lease is for and the nature        CONSULTING-INDEPENDENT         49 BLEECKER STREET
      of the debtor’s interest           CONTRACTOR-COMPANY             NEW YORK, NY 10012
                                         EFFECTIVE: 12/22/2020
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-SWI-SOW-01669
      State what the contract or         SERVICES /                     SWITCH, LTD
2.839 lease is for and the nature        CONSULTING-INDEPENDENT         6795 S EDMOND ST SUITE 220
      of the debtor’s interest           CONTRACTOR-COMPANY             LAS VEGAS, NV 89118
                                         EFFECTIVE: 02/02/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-SWI-SOW-01592
      State what the contract or         SERVICES                       SWITCH, LTD
2.840 lease is for and the nature        EFFECTIVE: 01/25/2021          6795 S EDMOND ST SUITE 220
      of the debtor’s interest                                          LAS VEGAS, NV 89118

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-SWI-SOW-02537
      State what the contract or         SERVICES                       SWITCH, LTD
2.841 lease is for and the nature        EFFECTIVE: 09/13/2021          6795 S EDMOND ST SUITE 220
      of the debtor’s interest                                          LAS VEGAS, NV 89118

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-SWI-MAS-00450
      State what the contract or         SERVICES /                           SWITCH, LTD
2.842 lease is for and the nature        CONSULTING-INDEPENDENT               6795 S EDMOND ST SUITE 220
      of the debtor’s interest           CONTRACTOR-COMPANY                   LAS VEGAS, NV 89118
                                         EFFECTIVE: 03/01/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SWI-LTR-03682
      State what the contract or         SERVICES                             SWITCH, LTD
2.843 lease is for and the nature        EFFECTIVE: 08/05/2022                6795 S EDMOND ST SUITE 220
      of the debtor’s interest                                                LAS VEGAS, NV 89118

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SWI-IND-03530
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SWITCH, LTD
2.844 lease is for and the nature        EFFECTIVE: 08/10/2022          6795 S EDMOND ST SUITE 220
      of the debtor’s interest                                          LAS VEGAS, NV 89118

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SWI-IND-03888
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SWITCH, LTD
2.845 lease is for and the nature        EFFECTIVE: 11/04/2022          6795 S EDMOND ST SUITE 220
      of the debtor’s interest                                          LAS VEGAS, NV 89118

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-SYN-IND-01288
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SYNOPSYS
2.846 lease is for and the nature        EFFECTIVE: 11/20/2020          690 EAST MIDDLEFIELD ROAD
      of the debtor’s interest                                          MOUNTAIN VIEW, CA 94043

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-SYN-MAS-01362
      State what the contract or         LICENSE AGREEMENT / SOFTWARE SYNQOR, INC.
2.847 lease is for and the nature        EFFECTIVE: 09/17/2017          155 SWANSON RD
      of the debtor’s interest                                          BOXBOROUGH, MA 01719

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SYN-MAS-03489
      State what the contract or         BIZ DEV / MOUS/MOAS -                SYNSPECTIVE
2.848 lease is for and the nature        NON-BINDING                          THE BREW KIYOSUMISHIRAKAWA 1F
      of the debtor’s interest           EFFECTIVE: 06/06/2022                TOKYO, 3-10-3
                                                                              JAPAN
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-SYN-MAS-03488
      State what the contract or         BIZ DEV / MOUS/MOAS -                SYNSPECTIVE
2.849 lease is for and the nature        NON-BINDING                          THE BREW KIYOSUMISHIRAKAWA 1F
      of the debtor’s interest           EFFECTIVE: 06/06/2022                TOKYO, 3-10-3
                                                                              JAPAN
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-SYS-MAS-00381
      State what the contract or         SERVICES /                           SYSKA HENNESY GROUP, INC
2.850 lease is for and the nature        CONSULTING-INDEPENDENT               800 CORPORATE POINTE
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 200
                                         EFFECTIVE: 11/09/2018                CULVER CITY, CA 90230
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-TAB-IND-02681
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TABLEAU SOFTWARE, INC.
2.851 lease is for and the nature        EFFECTIVE: 10/13/2021          1621 N. 34TH ST.
      of the debtor’s interest                                          SEATTLE, WA 98103

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-TAB-MAS-01337
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TABLEAU SOFTWARE, INC.
2.852 lease is for and the nature        EFFECTIVE: 12/06/2018          1621 N. 34TH ST.
      of the debtor’s interest                                          SEATTLE, WA 98103

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-TAB-MAS-01338
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TABLEAU SOFTWARE, INC.
2.853 lease is for and the nature        EFFECTIVE: 10/14/2019          1621 N. 34TH ST.
      of the debtor’s interest                                          SEATTLE, WA 98103

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-TAL-MAS-03699
      State what the contract or         SERVICES / STAFFING SERVICES         TALENT ADVISORY GROUP LLC
2.854 lease is for and the nature        EFFECTIVE: 08/26/2022                1110 E PENNSYLVANIA ST
      of the debtor’s interest                                                TUCSON, AZ 85714

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-TAL-MAS-03465
      State what the contract or         SERVICES /                           TALENT LINK, LLC
2.855 lease is for and the nature        CONSULTING-INDEPENDENT               1999 AVE OF THE STARS
      of the debtor’s interest           CONTRACTOR-COMPANY                   CENTURY CITY, CA 90067
                                         EFFECTIVE: 04/28/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-TEC-MAS-00236
      State what the contract or         SERVICES /                           TECHNOSSUS LLC
2.856 lease is for and the nature        CONSULTING-INDEPENDENT               17885 VON KARMAN AVE STE 210
      of the debtor’s interest           CONTRACTOR-COMPANY                   IRVINE, CA 92614
                                         EFFECTIVE: 10/29/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-TEC-IND-00486
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TECHSMITH CORPORATION
2.857 lease is for and the nature        EFFECTIVE: 02/14/2019          2405 WOODLAKE DRIVE
      of the debtor’s interest                                          OKEMOS, MI 48864

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-TEC-MAS-01408
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TECHSOLVE, INC
2.858 lease is for and the nature        EFFECTIVE: 11/03/2020          6705 STEGER DRIVE
      of the debtor’s interest                                          CINCINNATI, OH 45237

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-TEC-MAS-01339
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TECPLOT INC
2.859 lease is for and the nature        EFFECTIVE: 05/17/2019          3535 FACTORIA BLVD SE, SUITE 530
      of the debtor’s interest                                          BELLEVUE, WA 98006

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-TER-AMD-01411
      State what the contract or         SERVICES /                           TERRY HANSON
2.860 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 11/01/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-TER-MAS-00402
      State what the contract or         SERVICES /                           TERRY HANSON
2.861 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 01/25/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-TET-T&C-03088
      State what the contract or         PURCHASING AGREEMENT                 TETHERS UNLIMITED, INC.
2.862 lease is for and the nature        EFFECTIVE: 02/15/2022                11711 N CREEK PKWY S
      of the debtor’s interest                                                STE D-113
                                                                              BOTHELL, WA 98011
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-THE-MAS-00496
      State what the contract or         SERVICES /                           THE AEROSPACE CORPORATION
2.863 lease is for and the nature        CONSULTING-INDEPENDENT               2310 EAST EL SEGUNDO BLVD
      of the debtor’s interest           CONTRACTOR-COMPANY                   LOS ANGELES, CA 90245
                                         EFFECTIVE: 02/15/2016
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-THE-AMD-02797
      State what the contract or         SERVICES /                           THE AEROSPACE CORPORATION
2.864 lease is for and the nature        CONSULTING-INDEPENDENT               2310 EAST EL SEGUNDO BLVD
      of the debtor’s interest           CONTRACTOR-COMPANY                   LOS ANGELES, CA 90245
                                         EFFECTIVE: 11/08/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-BRU-MAS-02713
      State what the contract or         SERVICES /                           THE CHESLEY GROUP, LLC
2.865 lease is for and the nature        CONSULTING-INDEPENDENT               1225 S CHURCH STREET
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                GEORGETOWN, TX 78626
                                         EFFECTIVE: 10/21/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2023-THE-MAS-03989
      State what the contract or         SERVICES /                           THE GRAND
2.866 lease is for and the nature        CONSULTING-INDEPENDENT               4101 E WILLOW ST
      of the debtor’s interest           CONTRACTOR-COMPANY                   LONG BEACH, CA 90815
                                         EFFECTIVE: 01/04/2023
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-THE-IND-00882
      State what the contract or         SERVICES / PEOPLE EVENT &            THE GUARDIAN LIFE INSURANCE COMPANY OF AMERICA
2.867 lease is for and the nature        SERVICES                             10 HUDSON YARDS
      of the debtor’s interest           EFFECTIVE: 08/01/2020                NEW YORK, NY 10001

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-THE-MAS-03659
      State what the contract or         SERVICES / RECRUITING & DIRECT       THE GUTHRIE GROUP
2.868 lease is for and the nature        PLACEMENT                            4019 WESTERLY PL # 203
      of the debtor’s interest           EFFECTIVE: 07/22/2022                NEWPORT BEACH, CA 92660

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-THE-MAS-00243
      State what the contract or         SERVICES /                           THE HIRE AGENCY INC
2.869 lease is for and the nature        CONSULTING-INDEPENDENT               13955 TAHITI WAY #256
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                MARINA DEL REY, CA 90292
                                         EFFECTIVE: 09/11/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-THE-MAS-02539
      State what the contract or         SERVICES /                           THE INN AT LAGUNA BEACH, LLC DBA THE INN AT LAGUNA
2.870 lease is for and the nature        CONSULTING-INDEPENDENT               BEACH
      of the debtor’s interest           CONTRACTOR-COMPANY                   211 N. COAST HIGHWAY
                                         EFFECTIVE: 09/13/2021                LAGUNA BEACH, CA 92621
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-THE-MAS-03546
      State what the contract or         SERVICES /                           THE INN AT LAGUNA BEACH, LLC DBA THE INN AT LAGUNA
2.871 lease is for and the nature        CONSULTING-INDEPENDENT               BEACH
      of the debtor’s interest           CONTRACTOR-COMPANY                   211 N. COAST HIGHWAY
                                         EFFECTIVE: 06/14/2022                LAGUNA BEACH, CA 92621
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-THE-LSA-03317
      State what the contract or         BIZ DEV / LSA                        THE INSTITUTE FOR Q-SHU PIONEERS OF SPACE, INC (IQPS)
2.872 lease is for and the nature        EFFECTIVE: 04/18/2022                5F 1-15-35 TENJIN
      of the debtor’s interest                                                CHUO-KU 810-0001 FUKUOKA, 810-0001
                                                                              JAPAN
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-IQPS-LS1-03325
      State what the contract or         BIZ DEV / LSA                        THE INSTITUTE FOR Q-SHU PIONEERS OF SPACE, INC (IQPS)
2.873 lease is for and the nature        EFFECTIVE: 01/10/2023                5F 1-15-35 TENJIN
      of the debtor’s interest                                                CHUO-KU 810-0001 FUKUOKA, 810-0001
                                                                              JAPAN
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-THE-MAS-00269
      State what the contract or         SERVICES /                           THE LAUNCH COMPANY, LLC
2.874 lease is for and the nature        CONSULTING-INDEPENDENT               721 DEPOT DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY                   ANCHORAGE, AK 99501
                                         EFFECTIVE: 03/16/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-THE-MAS-02160
      State what the contract or         PURCHASING AGREEMENT                 THE LEE COMPANY
2.875 lease is for and the nature        EFFECTIVE: 06/01/2021                2 PETTIPAUG ROAD
      of the debtor’s interest                                                WESTBROOK, CT 06498

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-THE-IND-00042
      State what the contract or         SERVICES                             THE M&P LAB, INC.
2.876 lease is for and the nature        EFFECTIVE: 12/23/2019                2210 TECHNOLOGY DRIVE
      of the debtor’s interest                                                SCHENECTADY, NY 12308

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-NAS-MAS-03114
      State what the contract or         SERVICES                             THE NASDAQ STOCK MARKET LLC
2.877 lease is for and the nature        EFFECTIVE: 12/28/2021                151 W. 42ND STREET
      of the debtor’s interest                                                NEW YORK, NY 10036

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-THE-MAS-03809
      State what the contract or         LICENSE AGREEMENT / SOFTWARE THE SAGE GROUP PLC
2.878 lease is for and the nature        EFFECTIVE: 10/18/2022          271 17TH STREET NORTHWEST
      of the debtor’s interest                                          ATLANTA, GA 30363

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-THE-MAS-03607
      State what the contract or         SERVICES                             THE SECRETARY OF STATE FOR DEFENCE OF THE
2.879 lease is for and the nature        EFFECTIVE: 07/01/2022                GOVERNMENT OF THE UNITED KINGDOM OF GREAT BRITAIN
      of the debtor’s interest                                                AND NORTHERN IRELAND ACTING THROUGH THE ROYAL AIR
                                                                              FORCE
           State the term remaining                                           HIGH WYCOMBE
                                                                              BUCKINGHAMPLACE, HP14 4UF
           List the contract number of                                        UNITED KINGDOM
           any government contract

                                         CONTRACT #:
      State what the contract or         2020-UKRAF-MAS-01681                 THE SECRETARY OF STATE FOR DEFENCE OF THE
2.880 lease is for and the nature        SERVICES                             GOVERNMENT OF THE UNITED KINGDOM OF GREAT BRITAIN
      of the debtor’s interest           EFFECTIVE: 11/12/2020                AND NORTHERN IRELAND ACTING THROUGH THE ROYAL AIR
                                                                              FORCE
           State the term remaining                                           HIGH WYCOMBE
                                                                              BUCKINGHAMPLACE, HP14 4UF
           List the contract number of                                        UNITED KINGDOM
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2017-THE-MAS-01393
      State what the contract or         LICENSE AGREEMENT / SOFTWARE THE ULTIMATE SOFTWARE GROUP, INC.
2.881 lease is for and the nature        EFFECTIVE: 01/01/2017          2000 ULTIMATE WAY
      of the debtor’s interest                                          WESTON, FL 33326

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-THE-MAS-00270
      State what the contract or         SERVICES /                           THE WEATHER REPORTER, LLC
2.882 lease is for and the nature        CONSULTING-INDEPENDENT               101 S COURTENAY PKWY
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                SUITE 206
                                         EFFECTIVE: 11/25/2019                MERRITT ISLAND, FL 32952
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-THE-MAS-00432
      State what the contract or         SERVICES /                           THERMOTRON INDUSTRIES
2.883 lease is for and the nature        CONSULTING-INDEPENDENT               PO BOX 689590
      of the debtor’s interest           CONTRACTOR-COMPANY                   CHICAGO, IL 60695-9590
                                         EFFECTIVE: 01/12/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-TOM-MAS-00494
      State what the contract or         SERVICES /                     TOM DONAHUE PLUMBING
2.884 lease is for and the nature        CONSULTING-INDEPENDENT         ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 02/26/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-TOT-MAS-00440
      State what the contract or         SERVICES /                           TOTAL ENVIRONMENTAL MANAGEMENT, INC.
2.885 lease is for and the nature        CONSULTING-INDEPENDENT               1415 N BURTON PLACE
      of the debtor’s interest           CONTRACTOR-COMPANY                   ANAHEIM, CA 92806
                                         EFFECTIVE: 03/31/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-TOT-MAS-02645
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TOTALREWARDS SOFTWARE, INC.
2.886 lease is for and the nature        EFFECTIVE: 10/10/2021          201 CREEKSIDE RIDGE COURT
      of the debtor’s interest                                          ROSEVILLE, CA 95678

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-TOW-MAS-03805
      State what the contract or         SERVICES /                     TOWNEPLACE SUITES BY MARRIOTT
2.887 lease is for and the nature        CONSULTING-INDEPENDENT         1052 MAGELLAN DRIVE
      of the debtor’s interest           CONTRACTOR-COMPANY             TEHACHAPI, CA 93561
                                         EFFECTIVE: 09/01/2022
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-TRA-SOW-03679
      State what the contract or         SERVICES / STATEMENT OF WORK TRACE3, LLC
2.888 lease is for and the nature        EFFECTIVE: 08/15/2022          7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest                                          IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-TRA-SOW-01849
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TRACE3, LLC
2.889 lease is for and the nature        EFFECTIVE: 03/26/2021          7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest                                          IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-TRA-CO-03863
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TRACE3, LLC
2.890 lease is for and the nature        EFFECTIVE: 10/21/2022         7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest                                         IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-TRA-SOW-01486
      State what the contract or         SERVICES /                     TRACE3, LLC
2.891 lease is for and the nature        CONSULTING-INDEPENDENT         7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest           CONTRACTOR-COMPANY             IRVINE, CA 92618
                                         EFFECTIVE: 07/02/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-TRA-MAS-01329
      State what the contract or         SERVICES /                           TRACE3, LLC
2.892 lease is for and the nature        CONSULTING-INDEPENDENT               7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest           CONTRACTOR-COMPANY                   IRVINE, CA 92618
                                         EFFECTIVE: 11/02/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-TRA-SOW-01961
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TRACE3, LLC
2.893 lease is for and the nature        EFFECTIVE: 03/21/2021          7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest                                          IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-TRA-SOW-03519
      State what the contract or         SERVICES / STATEMENT OF WORK TRACE3, LLC
2.894 lease is for and the nature        EFFECTIVE: 04/27/2022          7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest                                          IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #:
      State what the contract or         2021-TRA-SOW09-02572                 TRACE3, LLC
2.895 lease is for and the nature        SERVICES / STATEMENT OF WORK         7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest           EFFECTIVE: 09/16/2021                IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-TRA-IND-03591
      State what the contract or         SERVICES /                           TRACE3, LLC
2.896 lease is for and the nature        CONSULTING-INDEPENDENT               7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest           CONTRACTOR-COMPANY                   IRVINE, CA 92618
                                         EFFECTIVE: 06/27/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-TRA-SOW-03501
      State what the contract or         SERVICES /                     TRACE3, LLC
2.897 lease is for and the nature        CONSULTING-INDEPENDENT         7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest           CONTRACTOR-COMPANY             IRVINE, CA 92618
                                         EFFECTIVE: 05/01/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-TRA-SOW11-02574                 TRACE3, LLC
2.898 lease is for and the nature        SERVICES / STATEMENT OF WORK         7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest           EFFECTIVE: 09/20/2021                IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-TRA-MAS-01392
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TRACE3, LLC
2.899 lease is for and the nature        EFFECTIVE: 03/30/2020          7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest                                          IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-TRA-SOW13-02860                 TRACE3, LLC
2.900 lease is for and the nature        SERVICES                             7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest           EFFECTIVE: 12/06/2021                IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-TRA-SOW10-02573                 TRACE3, LLC
2.901 lease is for and the nature        SERVICES / STATEMENT OF WORK         7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest           EFFECTIVE: 09/20/2021                IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-TRA-CO-03236
      State what the contract or         SERVICES /                           TRACE3, LLC
2.902 lease is for and the nature        CONSULTING-INDEPENDENT               7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest           CONTRACTOR-COMPANY                   IRVINE, CA 92618
                                         EFFECTIVE: 03/25/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-TRA-AMD-03642
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TRACE3, LLC
2.903 lease is for and the nature        EFFECTIVE: 07/25/2022          7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest                                          IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-TRA-MAS-00673
      State what the contract or         SERVICES /                           TRACE3, LLC
2.904 lease is for and the nature        CONSULTING-INDEPENDENT               7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest           CONTRACTOR-COMPANY                   IRVINE, CA 92618
                                         EFFECTIVE: 01/04/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-TRA-IND-02821
      State what the contract or         SERVICES                             TRACE3, LLC
2.905 lease is for and the nature        EFFECTIVE: 11/19/2021                7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest                                                IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-TRA-T&C-02592
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TRACE3, LLC
2.906 lease is for and the nature        EFFECTIVE: 09/23/2021          7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest                                          IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-TRA-CO-03835
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TRACE3, LLC
2.907 lease is for and the nature        EFFECTIVE: 10/11/2022         7565 IRVINE CENTER DRIVE #200
      of the debtor’s interest                                         IRVINE, CA 92618

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-TRI-MAS-00435
      State what the contract or         SERVICES /                           TRIDENT CALIBRATION LABS
2.908 lease is for and the nature        CONSULTING-INDEPENDENT               9005 ETON AVE STE B
      of the debtor’s interest           CONTRACTOR-COMPANY                   CANOGA PARK, CA 91304
                                         EFFECTIVE: 06/05/2019
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-TRI-MAS-01369
      State what the contract or         LICENSE AGREEMENT / SOFTWARE TRIMBLE INC.
2.909 lease is for and the nature        EFFECTIVE: 07/29/2019          935 STEWART DRIVE
      of the debtor’s interest                                          SUNNYVALE, CA 94085

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-TRI-MAS-00414
      State what the contract or         SERVICES /                           TRINITY CONSULTANTS, INC.
2.910 lease is for and the nature        CONSULTING-INDEPENDENT               20 CORPORATE PARK SUITE 200
      of the debtor’s interest           CONTRACTOR-COMPANY                   IRVINE, CA 92606
                                         EFFECTIVE: 02/10/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-TRI-MAS-00251
      State what the contract or         SERVICES / STAFFING SERVICES         TRIPLE CROWN CONSULTING, LLC
2.911 lease is for and the nature        EFFECTIVE: 07/01/2019                10814 JOLLYVILLE RD
      of the debtor’s interest                                                SUITE 100
                                                                              AUSTIN, TX 78759
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-TRI-AMD-00301
      State what the contract or         SERVICES / STAFFING SERVICES         TRIPLE CROWN CONSULTING, LLC
2.912 lease is for and the nature        EFFECTIVE: 05/28/2018                10814 JOLLYVILLE RD
      of the debtor’s interest                                                SUITE 100
                                                                              AUSTIN, TX 78759
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-TRI-AMD-01910
      State what the contract or         SERVICES / STAFFING SERVICES         TRIPLE CROWN CONSULTING, LLC
2.913 lease is for and the nature        EFFECTIVE: 04/09/2021                10814 JOLLYVILLE RD
      of the debtor’s interest                                                SUITE 100
                                                                              AUSTIN, TX 78759
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-TWO-MAS-00444
      State what the contract or         SERVICES /                     TWO FURNISH
2.914 lease is for and the nature        CONSULTING-INDEPENDENT         2500 DE LA CRUZ BLVD
      of the debtor’s interest           CONTRACTOR-COMPANY             SANTA CLARA, CA 95050
                                         EFFECTIVE: 01/21/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-TYVAK-ICA-02104
      State what the contract or         SERVICES /                       TYVAK NANO-SATELLITE SYSTEMS INC.
2.915 lease is for and the nature        CONSULTING-INDEPENDENT           15330 BARRANCA PARKWAY
      of the debtor’s interest           CONTRACTOR-COMPANY               IRVINE,, CA 92618
                                         EFFECTIVE: 05/17/2021
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         MASTER LEASE AGREEMENT -
      State what the contract or         SCHEDULE 2090854                     U.S. BANK EQUIPMENT FINANCE, A DIVISION OF U.S. BANK
2.916 lease is for and the nature                                             NATIONAL ASSOCIATION
      of the debtor’s interest                                                1310 MADRID ST
                                                                              MARSHALL, MN 56258
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-UKS-MAS-01992
      State what the contract or         TERM SHEET                           UK SPACE AGENCY
2.917 lease is for and the nature        EFFECTIVE: 04/28/2021                POLARIS HOUSE
      of the debtor’s interest                                                NORTH STAR AVENUE
                                                                              SWINDON, WILTSHIRE, SN2 1SZ
           State the term remaining                                           UNITED KINGDOM

           List the contract number of
           any government contract

                                         CONTRACT #: 2019-UKSA-GFA-03383
      State what the contract or         BIZ DEV / OTHER                 UK SPACE AGENCY
2.918 lease is for and the nature        REVENUE/FEASIBILITY STUDY       POLARIS HOUSE
      of the debtor’s interest           EFFECTIVE: 11/05/2019           NORTH STAR AVENUE
                                                                         SWINDON, WILTSHIRE, SN2 1SZ
           State the term remaining                                      UNITED KINGDOM

           List the contract number of
           any government contract

                                         CONTRACT #: 2017-THE-MAS-00789
      State what the contract or         LICENSE AGREEMENT / SOFTWARE UKG INC.
2.919 lease is for and the nature        EFFECTIVE: 08/30/2017          900 CHELMSFORD ST
      of the debtor’s interest                                          LOWELL, MA 01851

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-THE-AMD-01225
      State what the contract or         LICENSE AGREEMENT / SOFTWARE UKG INC.
2.920 lease is for and the nature        EFFECTIVE: 08/30/2020          900 CHELMSFORD ST
      of the debtor’s interest                                          LOWELL, MA 01851

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-THE-AMD-00808
      State what the contract or         LICENSE AGREEMENT / SOFTWARE UKG INC.
2.921 lease is for and the nature        EFFECTIVE: 03/11/2019          900 CHELMSFORD ST
      of the debtor’s interest                                          LOWELL, MA 01851

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-THE-IND-00791
      State what the contract or         SERVICES /                           UKG INC.
2.922 lease is for and the nature        CONSULTING-INDEPENDENT               900 CHELMSFORD ST
      of the debtor’s interest           CONTRACTOR-COMPANY                   LOWELL, MA 01851
                                         EFFECTIVE: 03/20/2018
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-THE-AMD-00790
      State what the contract or         LICENSE AGREEMENT / SOFTWARE UKG INC.
2.923 lease is for and the nature        EFFECTIVE: 03/20/2018          900 CHELMSFORD ST
      of the debtor’s interest                                          LOWELL, MA 01851

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-THE-IND-00792
      State what the contract or         SERVICES / PEOPLE EVENT &            UKG INC.
2.924 lease is for and the nature        SERVICES                             900 CHELMSFORD ST
      of the debtor’s interest           EFFECTIVE: 07/23/2020                LOWELL, MA 01851

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-UNI-AMD-03397
      State what the contract or         RENTAL & LEASE AGREEMENT /           UNITED PACIFIC INDUSTRIES
2.925 lease is for and the nature        REAL PROPERTY LEASE                  3788 E. CONANT ST.
      of the debtor’s interest           EFFECTIVE: 04/01/2019                LONG BEACH, CA 90808

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-UNI-MAS-03745
      State what the contract or         LETTER AGREEMENT                     UNITED STATES GOVERNMENT
2.926 lease is for and the nature        EFFECTIVE: 08/29/2022                ADVOCACY CENTER
      of the debtor’s interest                                                OMB CONTROL NO. 0625-0143
                                                                              WASHINGTON, DC 20001
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2023-UNI-MAS-04028
      State what the contract or         LETTER AGREEMENT                     UNITED STATES GOVERNMENT
2.927 lease is for and the nature        EFFECTIVE: 01/23/2023                ADVOCACY CENTER
      of the debtor’s interest                                                OMB CONTROL NO. 0625-0143
                                                                              WASHINGTON, DC 20001
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-UNI-MAS-01385
      State what the contract or         LICENSE AGREEMENT / SOFTWARE UNIVERSAL TECHNICAL SYSTEMS, INC. (UTS)
2.928 lease is for and the nature        EFFECTIVE: 07/16/2019          4053 N PERRYVILLE RD
      of the debtor’s interest                                          LOVES PARK, IL 61111

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-UPK-AMD-03573
      State what the contract or         LICENSE AGREEMENT / SOFTWARE UPKEEP TECHNOLOGIES, INC.
2.929 lease is for and the nature        EFFECTIVE: 07/20/2021          10880 WILLSHIRE BLVD
      of the debtor’s interest                                          LOS ANGELES, CA 90024

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-UPK-MAS-02269
      State what the contract or         LICENSE AGREEMENT / SOFTWARE UPKEEP TECHNOLOGIES, INC.
2.930 lease is for and the nature        EFFECTIVE: 07/01/2021          10880 WILLSHIRE BLVD
      of the debtor’s interest                                          LOS ANGELES, CA 90024

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: -UPK-IND-03207
      State what the contract or         LICENSE AGREEMENT / SOFTWARE UPKEEP TECHNOLOGIES, INC.
2.931 lease is for and the nature                                     10880 WILLSHIRE BLVD
      of the debtor’s interest                                        LOS ANGELES, CA 90024

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-VAC-T&C-02715
      State what the contract or         PURCHASING AGREEMENT                 VACCO INDUSTRIES
2.932 lease is for and the nature        EFFECTIVE: 11/16/2018                1050 VACCO STREET
      of the debtor’s interest                                                SOUTH EL MONTE, CA 91733

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-VAI-MAS-01388
      State what the contract or         LICENSE AGREEMENT / SOFTWARE VAISALA INC
2.933 lease is for and the nature        EFFECTIVE: 08/10/2019          194 SOUTH TAYLOR AVE.
      of the debtor’s interest                                          LOUISVILLE, CO 80027-3024

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-VAR-MAS-03804
      State what the contract or         LICENSE AGREEMENT / SOFTWARE VARONIS SYSTEMS, INC.
2.934 lease is for and the nature        EFFECTIVE: 10/01/2022          1250 BROADWAY 29TH FLOOR
      of the debtor’s interest                                          NEW YORK, NY 10001

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-VEL-AMD-00570
      State what the contract or         SERVICES /                           VELOS LLC
2.935 lease is for and the nature        CONSULTING-INDEPENDENT               726 SECOND STREET, SUITE 3B
      of the debtor’s interest           CONTRACTOR-COMPANY                   ANNAPOLIS, MD 21403
                                         EFFECTIVE: 05/25/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-VEL-MAS-00407
      State what the contract or         SERVICES /                           VELOS LLC
2.936 lease is for and the nature        CONSULTING-INDEPENDENT               726 SECOND STREET, SUITE 3B
      of the debtor’s interest           CONTRACTOR-COMPANY                   ANNAPOLIS, MD 21403
                                         EFFECTIVE: 01/01/2019
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-VEN-MAS-00245
      State what the contract or         SERVICES /                           VENTURA ENERGY SYSTEMS LLC
2.937 lease is for and the nature        CONSULTING-INDEPENDENT               5362 BOLSA AVE, SUITE G
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL                HUNTINGTON BEACH, CA 92649
                                         EFFECTIVE: 03/23/2018
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-VIE-MAS-02953
      State what the contract or         INVESTOR AGREEMENT                   VIECO USA, INC.
2.938 lease is for and the nature        EFFECTIVE: 12/27/2021                4022 E CONANT STREET
      of the debtor’s interest                                                LONG BEACH, CA 90808

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-VIN-MAS-00249
      State what the contract or         SERVICES / STAFFING SERVICES         VINCENTBENJAMIN GROUP LLC
2.939 lease is for and the nature        EFFECTIVE: 12/17/2018                2415 E CAMELBACK RD STE 1000
      of the debtor’s interest                                                PHOENIX, AZ 85016

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-VIP-MAS-01046
      State what the contract or         RENTAL & LEASE AGREEMENT /           VIPTOGO AKA JOHN TO GO, INC.
2.940 lease is for and the nature        EQUIPMENT                            4 CAROL AVENUE
      of the debtor’s interest           EFFECTIVE: 08/26/2020                WEST HAVERSTRAW, NY 10993

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-VIP-MAS-03027
      State what the contract or         RENTAL & LEASE AGREEMENT /           VIPTOGO AKA JOHN TO GO, INC.
2.941 lease is for and the nature        FACILITY/ REAL ESTATE                4 CAROL AVENUE
      of the debtor’s interest           EFFECTIVE: 01/28/2022                WEST HAVERSTRAW, NY 10993

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-VIR-MAS-03068
      State what the contract or         SERVICES /                           VIRAG SHAH
2.942 lease is for and the nature        CONSULTING-INDEPENDENT               ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 02/14/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-VIR-IND-00754
      State what the contract or         LICENSE AGREEMENT                    VIRGIN ENTERPRISES LIMITED
2.943 lease is for and the nature        EFFECTIVE: 10/10/2019                THE BATTLESHIP BUILDING, 179 HARROW ROAD
      of the debtor’s interest                                                LONDON, ENGLAND, W2 6NB
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-VIR-TERM
      State what the contract or         SHEET-02188                          VIRGIN ENTERPRISES LIMITED
2.944 lease is for and the nature        TERM SHEET                           THE BATTLESHIP BUILDING, 179 HARROW ROAD
      of the debtor’s interest           EFFECTIVE: 06/06/2021                LONDON, ENGLAND, W2 6NB
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-VOX-STP27-AMD3                  VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.945 lease is for and the nature        BIZ DEV / LSA /                      1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL                  EL SEGUNDO, CA 90245
                                         EFFECTIVE: 02/11/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-VIR-AMD-03841
      State what the contract or         BIZ DEV / LSA /                      VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.946 lease is for and the nature        INTERORGANIZATIONAL                  1960 E GRAND AVENUE
      of the debtor’s interest           EFFECTIVE: 09/29/2022                EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-VOX-IND-01051
      State what the contract or         LICENSE AGREEMENT / SOFTWARE VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.947 lease is for and the nature                                       1960 E GRAND AVENUE
      of the debtor’s interest                                          EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-VOX-STP27-AMD4                  VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.948 lease is for and the nature        BIZ DEV / LSA /                      1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL                  EL SEGUNDO, CA 90245
                                         EFFECTIVE: 05/05/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2022-VOX-STP27-AMD6                  VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.949 lease is for and the nature        BIZ DEV / LSA /                      1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL                  EL SEGUNDO, CA 90245
                                         EFFECTIVE: 03/17/2022
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-VOX-LSA-MEDIOCRE-20-C-5004 VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.950 lease is for and the nature        BIZ DEV / LSA                   1960 E GRAND AVENUE
      of the debtor’s interest           EFFECTIVE: 11/04/2021           EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of   20-C-5004-P00009
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #:
      State what the contract or         2020-VOX-STP27-AMD2                  VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.951 lease is for and the nature        BIZ DEV / LSA /                      1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL                  EL SEGUNDO, CA 90245
                                         EFFECTIVE: 07/29/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2022-VOX-STP28-AMD4                  VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.952 lease is for and the nature        BIZ DEV / LSA /                      1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL                  EL SEGUNDO, CA 90245
                                         EFFECTIVE: 04/06/2022
           State the term remaining
           List the contract number of   FA8818-20-D-0007
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-VOX-STP28-AMD3                  VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.953 lease is for and the nature        BIZ DEV / LSA /                      1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL                  EL SEGUNDO, CA 90245
                                         EFFECTIVE: 10/06/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2020-VOX-STP28-AMD2                  VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.954 lease is for and the nature        BIZ DEV / LSA /                      1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL                  EL SEGUNDO, CA 90245
                                         EFFECTIVE: 12/21/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-VOX-AMD-03844
      State what the contract or         BIZ DEV / LSA /                      VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.955 lease is for and the nature        INTERORGANIZATIONAL                  1960 E GRAND AVENUE
      of the debtor’s interest           EFFECTIVE: 09/30/2022                EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-VOX-STP28-LSA
      State what the contract or         BIZ DEV / LSA /                      VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.956 lease is for and the nature        INTERORGANIZATIONAL                  1960 E GRAND AVENUE
      of the debtor’s interest           EFFECTIVE: 04/24/2020                EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of   FA8818-20-D-0007, Task Order
           any government contract       FA8818-20-F-0009

                                         CONTRACT #: 2022-VIR-MAS-03839
      State what the contract or         INTERORGANIZATIONAL                  VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.957 lease is for and the nature        AGREEMENTS (VOX, VOUK, GSM) /        1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL WORK             EL SEGUNDO, CA 90245
                                         ORDER
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #:
      State what the contract or         2020-VOX-STP28-LS3-C                 VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.958 lease is for and the nature        BIZ DEV / LSA /                      1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL                  EL SEGUNDO, CA 90245
                                         EFFECTIVE: 04/20/2020
           State the term remaining
           List the contract number of   FA8818-20-D-0007
           any government contract

                                         CONTRACT #: 2022-VOX-IOWA-03838
      State what the contract or         INTERORGANIZATIONAL             VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.959 lease is for and the nature        AGREEMENTS (VOX, VOUK, GSM) / 1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL WORK        EL SEGUNDO, CA 90245
                                         ORDER
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-VOX-STP27-LSA
      State what the contract or         BIZ DEV / LSA /                      VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.960 lease is for and the nature        INTERORGANIZATIONAL                  1960 E GRAND AVENUE
      of the debtor’s interest           EFFECTIVE: 10/01/2017                EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of   W15QKN-18-9-0001
           any government contract

                                         CONTRACT #:
      State what the contract or         2020-VOX-STP28-LS2-B                 VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.961 lease is for and the nature        BIZ DEV / LSA /                      1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL                  EL SEGUNDO, CA 90245
                                         EFFECTIVE: 04/20/2020
           State the term remaining
           List the contract number of   FA8818-20-D-0007
           any government contract

                                         CONTRACT #:
      State what the contract or         2020-VOX-STP28-AMD1                  VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.962 lease is for and the nature        BIZ DEV / LSA /                      1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL                  EL SEGUNDO, CA 90245
                                         EFFECTIVE: 09/01/2020
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2019-VOX-STP27-AMD1                  VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.963 lease is for and the nature        BIZ DEV / LSA /                      1960 E GRAND AVENUE
      of the debtor’s interest           INTERORGANIZATIONAL                  EL SEGUNDO, CA 90245
                                         EFFECTIVE: 06/20/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-VOX-MAS-02159
      State what the contract or         INTERORGANIZATIONAL                  VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.964 lease is for and the nature        AGREEMENTS (VOX, VOUK, GSM)          1960 E GRAND AVENUE
      of the debtor’s interest           EFFECTIVE: 12/01/2019                EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-VOX-AMD-03842
      State what the contract or         BIZ DEV / LSA                        VIRGIN ORBIT NATIONAL SYSTEMS, LLC
2.965 lease is for and the nature        EFFECTIVE: 09/30/2022                1960 E GRAND AVENUE
      of the debtor’s interest                                                EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-VIR-AMD-02388
      State what the contract or         INTERORGANIZATIONAL                  VIRGIN ORBIT UK LIMITED
2.966 lease is for and the nature        AGREEMENTS (VOX, VOUK, GSM)          66 PORCHESTER ROAD
      of the debtor’s interest           EFFECTIVE: 03/04/2021                LONDON, W2 6ET
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-MAS-VIR-01457
      State what the contract or         INTERORGANIZATIONAL                  VIRGIN ORBIT UK LIMITED
2.967 lease is for and the nature        AGREEMENTS (VOX, VOUK, GSM)          66 PORCHESTER ROAD
      of the debtor’s interest           EFFECTIVE: 11/06/2019                LONDON, W2 6ET
                                                                              UNITED KINGDOM
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-VIR-MAS-00431
      State what the contract or         SERVICES /                           VIRTEK VISION INTERNATIONAL, INC
2.968 lease is for and the nature        CONSULTING-INDEPENDENT               785 BRIDGE STREET
      of the debtor’s interest           CONTRACTOR-COMPANY                   WATERLOO, ON N2V 2K1
                                         EFFECTIVE: 03/16/2020                CANADA
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-VIR-T&C-01110
      State what the contract or         LICENSE AGREEMENT / SOFTWARE VIRTUSAERO LLC
2.969 lease is for and the nature        EFFECTIVE: 09/10/2020          111108 86TH AVE. N.
      of the debtor’s interest                                          MAPLE GROVE, MN 55369

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-VIT-MAS-01544
      State what the contract or         SERVICES /                           VITACARE MEDICAL ASSOCIATES
2.970 lease is for and the nature        CONSULTING-INDEPENDENT               966 S. WESTERN AVENUE
      of the debtor’s interest           CONTRACTOR-COMPANY                   #201
                                         EFFECTIVE: 12/21/2020                LOS ANGELES, CA 90006
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2019-VOG-CONANT-LEASE                VOGEL ENGINEERS, INC.
2.971 lease is for and the nature        RENTAL & LEASE AGREEMENT /           300 PASEO TESORO
      of the debtor’s interest           FACILITY/ REAL ESTATE                WALNUT, CA 91789
                                         EFFECTIVE: 10/28/2019
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2019-VOG-AMD-01398
      State what the contract or         RENTAL & LEASE AGREEMENT /     VOGEL ENGINEERS, INC.
2.972 lease is for and the nature        FACILITY/ REAL ESTATE          300 PASEO TESORO
      of the debtor’s interest           EFFECTIVE: 10/08/2019          WALNUT, CA 91789

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-VOG-AMD-00896
      State what the contract or         RENTAL & LEASE AGREEMENT /     VOGEL PROPERTIES, INC.
2.973 lease is for and the nature        FACILITY/ REAL ESTATE          300 PASEO TESORO
      of the debtor’s interest           EFFECTIVE: 07/24/2019          WALNUT, CA 91789

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-VOG-AMD-00897
      State what the contract or         RENTAL & LEASE AGREEMENT /     VOGEL PROPERTIES, INC.
2.974 lease is for and the nature        FACILITY/ REAL ESTATE          300 PASEO TESORO
      of the debtor’s interest           EFFECTIVE: 08/19/2020          WALNUT, CA 91789

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-WEL-MAS-00405
      State what the contract or         SERVICES /                     W. ELKMAN ENGINEERING, INC.
2.975 lease is for and the nature        CONSULTING-INDEPENDENT         ADDRESS ON FILE
      of the debtor’s interest           CONTRACTOR-INDIVIDUAL
                                         EFFECTIVE: 09/20/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-WAG-MAS-03692
      State what the contract or         BIZ DEV / MOUS/MOAS -          WAGNER CORPORATION
2.976 lease is for and the nature        NON-BINDING                    1 AIRPORT DRIVE
      of the debtor’s interest           EFFECTIVE: 08/09/2022          1511 TOOWOOMBA CECIL PLAINS ROAD
                                                                        WELLCAMP, QUEENSLAND, 4350
           State the term remaining                                     AUSTRALIA

           List the contract number of
           any government contract

                                         CONTRACT #: 2019-WAL-MAS-00395
      State what the contract or         SERVICES /                     WALLACE & SMITH CONTRACTORS
2.977 lease is for and the nature        CONSULTING-INDEPENDENT         3325 LANDCO DR
      of the debtor’s interest           CONTRACTOR-COMPANY             BAKERSFIELD, CA 93308
                                         EFFECTIVE: 12/31/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-WAT-MAS-03892
      State what the contract or         SERVICES /                           WATER TOWER RESEARCH, LLC
2.978 lease is for and the nature        CONSULTING-INDEPENDENT               200 2ND AVE SOUTH
      of the debtor’s interest           CONTRACTOR-COMPANY                   SUITE 718
                                         EFFECTIVE: 11/07/2022                ST PETERSBURG, FL 33701
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-WAT-MAS-02872
      State what the contract or         SERVICES                       WATT, INC. DBA NORTHSTAR
2.979 lease is for and the nature        EFFECTIVE: 12/07/2021          8605 SANTA MONICA BLVD
      of the debtor’s interest                                          HOLLYWOOD, CA 90069

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-WES-MAS-02234
      State what the contract or         LICENSE AGREEMENT / SOFTWARE WEST PUBLISHING CORPORATION D/B/A SERENGETI LAW, A
2.980 lease is for and the nature        EFFECTIVE: 07/01/2021          THOMSON REUTERS BUSINESS
      of the debtor’s interest                                          610 OPPERMAN DRIVE
                                                                        P.O. BOX 64833
           State the term remaining                                     ST. PAUL, MN 55164-1803

           List the contract number of
           any government contract

                                         CONTRACT #: 2021-WES-MAS-02365
      State what the contract or         PURCHASING AGREEMENT           WESTAIR GASES AND EQUIPMENT, INC
2.981 lease is for and the nature        EFFECTIVE: 07/28/2021          2506 MARKET STREET
      of the debtor’s interest                                          SAN DIEGO, CA 92102

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-WES-T&C-01908
      State what the contract or         SERVICE AGREEMENT                    WESTERN OILFIELDS SUPPLY COMPANY DBA RAIN FOR RENT
2.982 lease is for and the nature        EFFECTIVE: 04/09/2021                3404 STATE ROAD
      of the debtor’s interest                                                BAKERSFIELD, CA 93308

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-WHI-MAS-03126
      State what the contract or         PURCHASING AGREEMENT /               WHITMOR/WIRENETICS
2.983 lease is for and the nature        SUPPLIER AGREEMENT                   27737 AVENUE HOPKINS
      of the debtor’s interest           EFFECTIVE: 02/21/2022                VALENCIA, CA 91355

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-WIL-SOW-02969
      State what the contract or         RENTAL & LEASE AGREEMENT /           WILLIAMS SCOTSMAN, INC
2.984 lease is for and the nature        REAL PROPERTY LEASE                  901 SOUTH BOND STREET
      of the debtor’s interest           EFFECTIVE: 01/04/2022                SUITE 600
                                                                              BALTIMORE, MD 21231
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2021-WIL-AMD-W1065364-821796         WILLIAMS SCOTSMAN, INC
2.985 lease is for and the nature        RENTAL & LEASE AGREEMENT /           901 SOUTH BOND STREET
      of the debtor’s interest           REAL PROPERTY LEASE                  SUITE 600
                                         EFFECTIVE: 10/31/2021                BALTIMORE, MD 21231
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2021-WIL-MAS-01792
      State what the contract or         RENTAL & LEASE AGREEMENT /           WILLIAMS SCOTSMAN, INC
2.986 lease is for and the nature        REAL PROPERTY LEASE                  901 SOUTH BOND STREET
      of the debtor’s interest           EFFECTIVE: 02/11/2021                SUITE 600
                                                                              BALTIMORE, MD 21231
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #:
      State what the contract or         2018-WILLSCOT-MAS-821796             WILLIAMS SCOTSMAN, INC
2.987 lease is for and the nature        RENTAL & LEASE AGREEMENT /           901 SOUTH BOND STREET
      of the debtor’s interest           REAL PROPERTY LEASE                  SUITE 600
                                         EFFECTIVE: 04/26/2018                BALTIMORE, MD 21231
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-WIL-IND-03879
      State what the contract or         RENTAL & LEASE AGREEMENT /           WILLIAMS SCOTSMAN, INC
2.988 lease is for and the nature        FACILITY/ REAL ESTATE                901 SOUTH BOND STREET
      of the debtor’s interest           EFFECTIVE: 10/28/2022                SUITE 600
                                                                              BALTIMORE, MD 21231
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-WIL-IND-1704383
      State what the contract or         RENTAL & LEASE AGREEMENT /       WILLIAMS SCOTSMAN, INC
2.989 lease is for and the nature        FACILITY/ REAL ESTATE            901 SOUTH BOND STREET
      of the debtor’s interest           EFFECTIVE: 09/09/2022            SUITE 600
                                                                          BALTIMORE, MD 21231
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-WIN-MAS-02171
      State what the contract or         SERVICES /                           WINDHORSE ADVISORS LLC
2.990 lease is for and the nature        CONSULTING-INDEPENDENT               64 INDIGO WAY
      of the debtor’s interest           CONTRACTOR-COMPANY                   CASTLE ROCK, CO 80108
                                         EFFECTIVE: 06/03/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-WIN-SOW-02190
      State what the contract or         SERVICES /                     WINDHORSE ADVISORS LLC
2.991 lease is for and the nature        CONSULTING-INDEPENDENT         64 INDIGO WAY
      of the debtor’s interest           CONTRACTOR-COMPANY             CASTLE ROCK, CO 80108
                                         EFFECTIVE: 06/11/2021
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-WIR-MAS-03047
      State what the contract or         PURCHASING AGREEMENT /               WIREMASTERS, INC.
2.992 lease is for and the nature        SUPPLIER AGREEMENT                   1788 NORTHPOINTE ROAD
      of the debtor’s interest           EFFECTIVE: 02/02/2022                COLUMBIA, TN 38401

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                            Page 142 of 146
  Debtor      Virgin Orbit, LLC
                                  Case 23-10408-KBO           Doc 4      Filed 04/24/23     Page 620 of 626
                                                                                      Case number (If known): 23-10408
              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2022-WIR-MAS-03484
      State what the contract or         PURCHASING AGREEMENT /               WIREMASTERS, INC.
2.993 lease is for and the nature        SUPPLIER AGREEMENT                   1788 NORTHPOINTE ROAD
      of the debtor’s interest           EFFECTIVE: 05/25/2022                COLUMBIA, TN 38401

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-WOR-IND-03112
      State what the contract or         LICENSE AGREEMENT / SOFTWARE WORKIVA INTERNATIONAL LLC
2.994 lease is for and the nature        EFFECTIVE: 02/17/2022          2900 UNIVERSITY BLVD
      of the debtor’s interest                                          AMES, IA 50010

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-WOR-IND-03292
      State what the contract or         SERVICES                             WORKIVA INTERNATIONAL LLC
2.995 lease is for and the nature        EFFECTIVE: 03/29/2022                2900 UNIVERSITY BLVD
      of the debtor’s interest                                                AMES, IA 50010

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2022-WOR-MAS-02904
      State what the contract or         LICENSE AGREEMENT / SOFTWARE WORKIVA INTERNATIONAL LLC
2.996 lease is for and the nature        EFFECTIVE: 01/01/2022          2900 UNIVERSITY BLVD
      of the debtor’s interest                                          AMES, IA 50010

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2018-WOR-MAS-01536
      State what the contract or         SERVICES /                     WORM, LLC
2.997 lease is for and the nature        CONSULTING-INDEPENDENT         1624 NE TILLAMOOK STREET
      of the debtor’s interest           CONTRACTOR-COMPANY             #8
                                         EFFECTIVE: 10/18/2018          PORTLAND, OR 97212
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-WOR-SOW-01538
      State what the contract or         SERVICES /                     WORM, LLC
2.998 lease is for and the nature        CONSULTING-INDEPENDENT         1624 NE TILLAMOOK STREET
      of the debtor’s interest           CONTRACTOR-COMPANY             #8
                                         EFFECTIVE: 12/01/2020          PORTLAND, OR 97212
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-WOW-MAS-01356
      State what the contract or         LICENSE AGREEMENT / SOFTWARE WOWZA MEDIA SYSTEMS, LLC
2.999 lease is for and the nature        EFFECTIVE: 11/14/2019          523 PARK POINT DR #300
      of the debtor’s interest                                          GOLDEN, CO 80401

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                            Page 143 of 146
  Debtor      Virgin Orbit, LLC
                                  Case 23-10408-KBO           Doc 4      Filed 04/24/23     Page 621 of 626
                                                                                      Case number (If known): 23-10408
              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2020-WPE-IND-00490
       State what the contract or        LICENSE AGREEMENT / SOFTWARE WPENGINE, LLC
2.1000 lease is for and the nature       EFFECTIVE: 01/03/2020          504 LAVACA ST
       of the debtor’s interest                                         SUITE 1000
                                                                        AUSTIN, TX 78701
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2017-XP4-AMD-00613
       State what the contract or        SERVICES /                           XP4D, LLC
2.1001 lease is for and the nature       CONSULTING-INDEPENDENT               3101 NASA PARKWAY, SUITE L
       of the debtor’s interest          CONTRACTOR-INDIVIDUAL                SEABROOK, TX 77586
                                         EFFECTIVE: 03/15/2017
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2016-XP4-AMD-00611
       State what the contract or        SERVICES /                           XP4D, LLC
2.1002 lease is for and the nature       CONSULTING-INDEPENDENT               3101 NASA PARKWAY, SUITE L
       of the debtor’s interest          CONTRACTOR-INDIVIDUAL                SEABROOK, TX 77586
                                         EFFECTIVE: 09/20/2016
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-XP4-MAS-00420
       State what the contract or        SERVICES /                           XP4D, LLC
2.1003 lease is for and the nature       CONSULTING-INDEPENDENT               3101 NASA PARKWAY, SUITE L
       of the debtor’s interest          CONTRACTOR-INDIVIDUAL                SEABROOK, TX 77586
                                         EFFECTIVE: 07/31/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2016-XP4-AMD-00609
       State what the contract or        SERVICES /                           XP4D, LLC
2.1004 lease is for and the nature       CONSULTING-INDEPENDENT               3101 NASA PARKWAY, SUITE L
       of the debtor’s interest          CONTRACTOR-INDIVIDUAL                SEABROOK, TX 77586
                                         EFFECTIVE: 02/18/2016
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2015-XP4-AMD-00606
       State what the contract or        SERVICES /                           XP4D, LLC
2.1005 lease is for and the nature       CONSULTING-INDEPENDENT               3101 NASA PARKWAY, SUITE L
       of the debtor’s interest          CONTRACTOR-INDIVIDUAL                SEABROOK, TX 77586
                                         EFFECTIVE: 07/05/2015
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2016-XP4-AMD-00612
       State what the contract or        SERVICES /                           XP4D, LLC
2.1006 lease is for and the nature       CONSULTING-INDEPENDENT               3101 NASA PARKWAY, SUITE L
       of the debtor’s interest          CONTRACTOR-INDIVIDUAL                SEABROOK, TX 77586
                                         EFFECTIVE: 12/13/2016
           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                            Page 144 of 146
  Debtor      Virgin Orbit, LLC
                                  Case 23-10408-KBO           Doc 4      Filed 04/24/23     Page 622 of 626
                                                                                      Case number (If known): 23-10408
              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2015-XP4-AMD-00608
       State what the contract or        SERVICES /                           XP4D, LLC
2.1007 lease is for and the nature       CONSULTING-INDEPENDENT               3101 NASA PARKWAY, SUITE L
       of the debtor’s interest          CONTRACTOR-INDIVIDUAL                SEABROOK, TX 77586
                                         EFFECTIVE: 06/12/2015
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2015-XP4-AMD-00607
       State what the contract or        SERVICES /                           XP4D, LLC
2.1008 lease is for and the nature       CONSULTING-INDEPENDENT               3101 NASA PARKWAY, SUITE L
       of the debtor’s interest          CONTRACTOR-INDIVIDUAL                SEABROOK, TX 77586
                                         EFFECTIVE: 08/19/2015
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2016-XP4-AMD-00610
       State what the contract or        SERVICES /                           XP4D, LLC
2.1009 lease is for and the nature       CONSULTING-INDEPENDENT               3101 NASA PARKWAY, SUITE L
       of the debtor’s interest          CONTRACTOR-INDIVIDUAL                SEABROOK, TX 77586
                                         EFFECTIVE: 03/22/2016
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2021-XTE-T&C-01821
       State what the contract or        SERVICE AGREEMENT                    XTENTI, LLC
2.1010 lease is for and the nature                                            DOMINION PLAZA
       of the debtor’s interest                                               17304 PRESTON ROAD, SUITE 800
                                                                              DALLAS, TX 75252
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ZAC-MAS-00272
       State what the contract or        SERVICES /                           ZACK MISSIORECK
2.1011 lease is for and the nature       CONSULTING-INDEPENDENT               4 LAUREL SQUARE
       of the debtor’s interest          CONTRACTOR-INDIVIDUAL                MANHATTAN BEACH, CA 90266
                                         EFFECTIVE: 07/08/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ZOD-MAS-00372
       State what the contract or        SERVICES /                           ZODIAC DATA SYSTEMS, INC
2.1012 lease is for and the nature       CONSULTING-INDEPENDENT               3005 BUSINESS PARK DR
       of the debtor’s interest          CONTRACTOR-COMPANY                   NORCROSS, GA 30071
                                         EFFECTIVE: 11/25/2019
           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2020-ZOH-CO-00335
       State what the contract or        LICENSE AGREEMENT / SOFTWARE ZOHO CORPORATION
2.1013 lease is for and the nature       EFFECTIVE: 02/26/2020         4141 HACIENDA DR.
       of the debtor’s interest                                        PLEASANTON, CA 94588

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                            Page 145 of 146
  Debtor      Virgin Orbit, LLC
                                  Case 23-10408-KBO           Doc 4      Filed 04/24/23     Page 623 of 626
                                                                                      Case number (If known): 23-10408
              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         CONTRACT #: 2018-ZOH-IND-00334
       State what the contract or        LICENSE AGREEMENT / SOFTWARE ZOHO CORPORATION
2.1014 lease is for and the nature       EFFECTIVE: 12/28/2018          4141 HACIENDA DR.
       of the debtor’s interest                                         PLEASANTON, CA 94588

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ZOH-CO-00336
       State what the contract or        LICENSE AGREEMENT / SOFTWARE ZOHO CORPORATION
2.1015 lease is for and the nature       EFFECTIVE: 10/14/2019         4141 HACIENDA DR.
       of the debtor’s interest                                        PLEASANTON, CA 94588

           State the term remaining
           List the contract number of
           any government contract

                                         CONTRACT #: 2019-ZUK-MAS-01384
       State what the contract or        LICENSE AGREEMENT / SOFTWARE ZUKEN USA INC.
2.1016 lease is for and the nature       EFFECTIVE: 07/09/2019          238 LITTLETON ROAD, SUITE 100
       of the debtor’s interest                                         WESTFORD, MA 01886

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                            Page 146 of 146
                                  Case 23-10408-KBO                       Doc 4          Filed 04/24/23               Page 624 of 626
  Fill in this information to identify the case:

 Debtor name      Virgin Orbit, LLC

 United States Bankruptcy Court for the:    District of Delaware
                                                                                                                                                   ¨ Check if this is an
 Case number (If known):      23-10408                                                                                                                 amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                            12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
additional Page to this page.

   1. Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                                Column 2: Creditor

          Name                             Mailing address                                                                  Name                     Check all schedules
                                                                                                                                                     that apply:
 2.1   JACM Holdings, Inc.             4022 E CONANT STREET                                                              VIRGIN INVESTMENTS          þ D
                                       LONG BEACH, CA 90808                                                              LIMITED                     ¨ E/F
                                                                                                                                                     ¨ G



 2.2   JACM Holdings, Inc.             4022 E CONANT STREET                                                              VLADIMIR BOYKO, ON          ¨ D
                                       LONG BEACH, CA 90808                                                              BEHALF OF HIMSELF           þ E/F
                                                                                                                         AND ALL OTHERS
                                                                                                                         SIMILARLY SITUATED          ¨ G



 2.3   Vieco USA, Inc.                 4022 E CONANT STREET                                                              VIRGIN INVESTMENTS          þ D
                                       LONG BEACH, CA 90808                                                              LIMITED                     ¨ E/F
                                                                                                                                                     ¨ G



 2.4   Vieco USA, Inc.                 4022 E CONANT STREET                                                              VLADIMIR BOYKO, ON          ¨ D
                                       LONG BEACH, CA 90808                                                              BEHALF OF HIMSELF           þ E/F
                                                                                                                         AND ALL OTHERS
                                                                                                                         SIMILARLY SITUATED          ¨ G



 2.5   Virgin Orbit Holdings, Inc.     4022 E CONANT STREET                                                              MERCADO, MICHAEL A.         ¨ D
                                       LONG BEACH, CA 90808                                                                                          þ E/F
                                                                                                                                                     ¨ G



 2.6   Virgin Orbit Holdings, Inc.     4022 E CONANT STREET                                                              VIRGIN INVESTMENTS          þ D
                                       LONG BEACH, CA 90808                                                              LIMITED                     ¨ E/F
                                                                                                                                                     ¨ G




Official Form 206H                                                          Schedule H: Codebtors                                                          Page 1 of 2
                                Case 23-10408-KBO                    Doc 4         Filed 04/24/23            Page 625 of 626
   Debtor   Virgin Orbit, LLC                                                                    Case number (If known):   23-10408
            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name               Check all schedules
                                                                                                                                        that apply:

 2.7    Virgin Orbit Holdings, Inc.   4022 E CONANT STREET                                                        VLADIMIR BOYKO, ON    ¨ D
                                      LONG BEACH, CA 90808                                                        BEHALF OF HIMSELF     þ E/F
                                                                                                                  AND ALL OTHERS
                                                                                                                  SIMILARLY SITUATED    ¨ G



 2.8    Virgin Orbit National         1960 GRAND AVENUE                                                           MERCADO, MICHAEL A.   ¨ D
        Systems, LLC                  EL SEGUNDO, CA 90245                                                                              þ E/F
                                                                                                                                        ¨ G



 2.9    Virgin Orbit National         1960 GRAND AVENUE                                                           VIRGIN INVESTMENTS    þ D
        Systems, LLC                  EL SEGUNDO, CA 90245                                                        LIMITED               ¨ E/F
                                                                                                                                        ¨ G



 2.10   Virgin Orbit National         1960 GRAND AVENUE                                                           VLADIMIR BOYKO, ON    ¨ D
        Systems, LLC                  EL SEGUNDO, CA 90245                                                        BEHALF OF HIMSELF     þ E/F
                                                                                                                  AND ALL OTHERS
                                                                                                                  SIMILARLY SITUATED    ¨ G



 2.11                                                                                                                                   ¨ D
                                                                                                                                        ¨ E/F
                                                                                                                                        ¨ G



 2.12                                                                                                                                   ¨ D
                                                                                                                                        ¨ E/F
                                                                                                                                        ¨ G



 2.13                                                                                                                                   ¨ D
                                                                                                                                        ¨ E/F
                                                                                                                                        ¨ G



 2.14                                                                                                                                   ¨ D
                                                                                                                                        ¨ E/F
                                                                                                                                        ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                               Page 2 of 2
                                Case 23-10408-KBO                   Doc 4          Filed 04/24/23               Page 626 of 626
  Fill in this information to identify the case and this filing:


   Debtor name Virgin Orbit, LLC


   United States Bankruptcy Court for the: District of Delaware

   Case number (If known) 23-10408




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

           Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
        þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        þ Schedule H: Codebtors (Official Form 206H)
        þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ¨ Amended Schedule
        ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        ¨ Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 4/24/2023                                     X /s/ Brita O'Rear
                       MM / DD / YYYY                               Signature of individual signing on behalf of debtor



                                                                    Brita O'Rear
                                                                    Printed name

                                                                    Chief Financial Officer
                                                                    Position or relationship to debtor




   Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
